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                                        FOR THE COUNTY OF CLACKAMAS~--------
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                                                                                         18CV45257
        6
            TIMOTHY C. ROTE,                              ) Case No.:
                                                          )
        7
                                                          )
                         Plaintiff,                       )
        8                                                 ) COMPLAINT FOR:
                 vs.                                      )
        9                                                 )    (1) DEFAMATION;
            LINDA L. MARSHALL,                            )
       10                                                 )    (2) MALPRACTICE;
                                                          )
       11   JOEL CHRISTIANSEN,                            )    (3) BREACH OF CONTRACT;
                                                          )
       12                                                 )    (4) BREACH OF IMPLIED COVENANT
            ANDREW BRANDSNESS,
                                                          )       OF GOOF FAITH;
       13                                                 )
            CAROL BERNICK,                                )    (5) RACKETEERING; AND
       14                                                 )
            OREGON STATE BAR (PROFESSIONAL                )    (6) INTENTIONAL INFLICTION OF
       15                                                          EMOTIONAL DISTRESS.
       16   LIABILITY FUND),
                                                                   f1l/>f(o- /1,,L,Ju.,,-r ~ iflolb,eo'iJ
       17   JOHN DOES (1-5)
       18
                                                                   ,4,~~~
                         Defendants
       19

       20

       21
                                                                                  18CV46267
       22          Plaintiff Timothy C. Rote ("Rote") alleges as follows:           CM

       23                                                     1.
       24          Plaintiff is an individual residing in West Linn, Oregon.        i\\{i\\\\111\"\\I\\I
       25                                                     2.
       26          Defendant Linda L. Marshall (Marshall) practices law in Lake Oswego, Oregon.
       27                                                     3.
       28          Defendant Joel Christiansen (CHRISTIANSEN) practices law in Portland, Oregon.

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                           PLAINTIFF ACTION FOR DEFAMATION, MALPRACTICE AND BREACH




Rote v. Marshall                                                             Exhibit 2 - Part 1, Page 1 of 351
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23            2              Defendant Oregon State Bar (OSB) resides in Tigard, Oregon.
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+,            4              Defendant Andrew Brandsness resides in Klamath Falls, Oregon
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              6              Defendant Carol Bernick is CEO of the PLF and resides in Portland, Oregon
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              7                                                          7.
~I            8              John Doe 1-5 identities and addresses are undisclosed.
              9                                                          8.
             10                                        FIRST CLAIM FOR RELIEF
             11
                                     (Defamation against Marshall, CHRISTIANSEN & John Does 1-5)
             12
                                                                         9.
             13
                             Plaintiff alleges paragraphs 1-7.
             14                                                          10.
             15              Plaintiff has been the subject of defamatory statements intended to influence litigation
             16   pending in Federal Court where Rote is a Defendant, to defame Rote which falsely and maliciously
             17   attribute characteristics to Rote that are intended to demean and embarrass him and hold him in a
             18   false light.
             19                                                          11.
             20              Rote is the author and owner of a blog and other intellectual property addressing issues of
             21   bias and fraud arising during the course of litigation adjudicated in an arbitration lasting seven years.
             22   In particular Rote has asserted that a substantial and prior partner relationship between Marshall and
             23   the arbitrator (which was undisclosed by the arbitrator and concealed by Marshall) influenced the
             24   arbitrator and resulted in arbitrator bias.
             25                                                          12.
             26              In writing about the arbitration and subsequent litigation Rote exposed the testimony
             27   evidence, forensic reports, and other supporting evidence making his case for the extreme dangers of
             28   arbitration. Some of the forensic reports shine a poor light on the Plaintiff in that arbitration and by

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                                     PLAINTIFF ACTION FOR DEFAMATION, MALPRACTICE AND BREACH




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        association raises questions on whether Marshall knowingly advanced false evidence.
    2
        CHRISTIANSEN, Marshall and John Does took action to discredit Rote because of the information
    3
        disclosed in the blog. Subsequently, Rote met with the arbitrator and confirmed that he had referred
    4
        the opposing party to his former partner (Marshall) and had adopted her draft opinion because he did
    5
        not have the stamina to dive into the evidence.
    6                                                         13.
    7              On November 12, 2015 Rote published a post (Chapter 19) about the relative lack of appeal

    8   in arbitration. Marshall and Christiansen used that blog to justify publishing highly defamatory

    9   statements about Rote and refused to be honest about what they had said.

  10                                                          14.
   11              Later that day Rote's attorney was contacted by the U.S. Marshals service inquiring as to

   12   the meaning of the post. The U.S. Marshal Service had been contacted by someone (U.S. Marshal

   13   will not disclose who) from Judge Robert Jones chamber conveying that they received a tip from

   14   someone about Rote's blog post and that it was a veiled threat of physical violence Rote intended to

   15   execute on Judge Jones at the Awards Dinner that very night. Marshall has consistently engaged in

   16   this type of innuendo during and after the arbitration, accusing Rote of fraud in Pleadings whenever

   17   possible, as Rote has accused her.

   18                                                         15.

   19              Rote was contacted by the U.S. Marshals by phone while in the presence of his attorney.

   2o   Said attorney represented Rote on the matter involving the ongoing litigation with Marshall and

   21   CHRISTIANSEN's client. Rote's attorney on this matter, Jeff Hasson, is not the only attorney Rote

   22   uses. However, the U.S. Marshals service did contact Hasson and then Rote while they were at their

   23   Country Club at approximately 5:00 pm on November 12, 2015.
   24                                                         16.

   25              Rote had immediately reached out to Judge Robert Jones, but the U.S. Marshal Service has

   26   asked Rote to no longer contact them. Rote has asked CHRISTIANSEN and Marshall to disclose

   27   who among them engaged in this horrible act, but they refuse to admit or even engage on this topic.

   28   defamation claim has been filed against Marshall and CHRISTIANSEN's client, as a counterclaim in

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                          PLAINTIFF ACTION FOR DEFAMATION, MALPRACTICE AND BREACH




Rote v. Marshall                                                             Exhibit 2 - Part 1, Page 3 of 351
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                  an existing law suit in U.S. District Court of Oregon, but the court has not permitted Rote to join
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23            2
.....,            Marshall and Christiansen for diversity reasons. The defamatory actions were intended to influence
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                  two lawsuits now decided in the U.S. District Court of Oregon.
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u......       5              In a Declaration subject to the penalty of perjury, including disbarment, Christiansen
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              6   maintained only that he and Marshall conveyed the text of a blog post celebrating Judge Jones and
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              7   spun it into something to the contrary. In fact they did much more.
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~I            8                                                       18.

              9              Rote was forced to file a Freedom oflnformation Act request to the U.S. Marshal's Service,

             10   the results of which were produced to Rote on October 15, 2016. The documents show that Marshall

             11   and Christiansen conveyed that Rote was unstable, that he had threatened their client, that he had

             12   been arrested and prosecuted on a weapons charge, that he has engaged in fraudulent transfers to

             13   avoid a judgment against one of his companies and is a threat to Judge Jones.

             14                                                       19.

             15              Recently, Rote met with Judge Jones at his home, spending some time talking to Judge

             16   Jones and showcasing that he is not a threat to the Judge and his family. Rote has written elsewhere

             17   in his blog about how much he likes Judge Robert Jones and how much he looks forward to a

             18   friendship.

             19                                                       20.

             20              The Oregon State Bar Professional Liability Fund (PLF), Carol Bernick (PLF CEO) and
             21   counsel hired by the PLF were well aware that Christiansen and Marshall were lying about the extent

             22   and nature of the communication to Judge Jones chamber staff, the U.S. Marshal's Service and
             23   others, concealing the truth from this court in a prior case 16CV07564. That case was dismissed
             24   without prejudice, the U.S. Marshals evidence being unavailable until after the dismissal.

             25                                                       21.

             26              As a result of these actions, Rote is often asked to defend himself in a business context on

             27   the allegations of these threats which are a part of the public record.

             28


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                                    PLAINTIFF ACTION FOR DEFAMATION, MALPRACTICE AND BREACH




          Rote v. Marshall                                                           Exhibit 2 - Part 1, Page 4 of 351
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.....,        1                                      SECOND CLAIM FOR RELIEF
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23
              2                             (Malpractice against Defendant Andrew Brandsness)
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+,            4              Plaintiff incorporates the allegations of paragraph 1-21.
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u......       5                                                        23.
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  !:::        6              Defendant Brandsness was hired to represent corporate entities in two cases pending in the
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              7   U.S. District Court of Oregon, at the time of hire, February 2016, involving opposing counsel
·,:::;
~I            8   Christiansen (3:15-CV-2401) and Marshall (3:14-CV-0406). Both cases went to trial.

              9                                                        24.
             10              Case 3: 14-CV-0406 was a bench trial and the court found in favor of Rote ( a defendant in
             11   that case) and the corporate defendant's wherein the plaintiff (Zweizig) sought to recover a judgment

             12   against one of those corporate defendants alleging fraudulent transfers by Rote to avoid the judgment.

             13                                                        25.

             14              Case 3:15-CV-2401 was a jury trial in which the plaintiff Zweizig sought damages against

             15   Rote and corporate defendants for retaliation based on the sum of the content of the blog written by

             16   Rote. Christiansen represented the plaintiff in that case. The jury found in favor of the plaintiff.

             17                                                        26.

             18              The malpractice arose when Brandsness failed to file a Motion to Compel arbitration as the

             19   contract with Zweizig demanded and to file a Motion to Dismiss corporate defendants not Zweizig's

             20   employer. Instead Brandsness filed an Answer not addressing these issues.

             21                                                        27.

             22              Rote discovered this failure in Mid October 2016, notifying Brandsness of this malpractice.

             23   Rote filed his Motion to Dism!ss alleging the contract requires arbitration, that this question has

             24   already been decided in a court proceeding confirming the application of arbitration. Rote had not yet

             25   discovered that the conditions precedent to this litigation should have resulted in the action being

             26   dismissed for failing to bring the action timely.

             27                                                        28.

             28              The U.S. District Court rejected Rote's Motion to Dismiss based on a Motion to Compel


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                                    PLAINTIFF ACTION FOR DEFAMATION, MALPRACTICE AND BREACH




          Rote v. Marshall                                                            Exhibit 2 - Part 1, Page 5 of 351
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        arbitration and attendant lack of jurisdiction because both Rote and the corporate defendants had
    2   answered and engaged in litigation for close to eight months. The court denied Rote's Motion to
    3   Dismiss on January 5, 2017 and the potential damage to the corporate defendants did not mature until

    4   that time.

    5                                                            29.

    6                Brandsness withdrew from representation under a cloud of Rote raising this issue of

    7   malpractice on approximately October 15, 2016. The malpractice impact could have been mitigated

    8   had Brandsness filed a Motion to Compel and Dismiss, recognizing that the court did not deny this

    9   same claim by Rote until 2017.

   10                                                            30.

   11                While the jury trial result will be appealed, the PLF has refused to enter into a tolling

   12   agreement forcing the filing of this action.

   13                                          THIRD CLAIM FOR RELIEF
   14                 (Breach of Contract against Defendants Brandsness and Oregon State Bar PLF)

   15                                                            31.

   16                Plaintiff incorporates the allegations of paragraph 1-3 0.

   17                                                            32.

   18                Plaintiff tendered the very clear failure of Brandsness to file a Motion to Compel and

   19   Motion to Dismiss.

   20                                                            33.

   21                The Oregon State Bar PLF refused to repair and refused cover the malpractice by

   22   Brandsness and that coverage has a direct impact on whether there should have been a jury trial

   23   involving Rote as a defendant. Both Brandsness and the PLF refused to refund legal fees paid by

   24   Rote and the corporate defendants. Both Brandsness and the PLF refused to cover the jury award, if

   25   any.

   26                                                            34.

   27                Rote files a Motion For Summary Judgment on the Arbitration Agreement in the Zweizig

   28   contract and the court has refused to follow the precedent that this issue was resolved in a court

                                                             -    6 -
                            PLAINTIFF ACTION FOR DEFAMATION, MALPRACTICE AND BREACH




Rote v. Marshall                                                                Exhibit 2 - Part 1, Page 6 of 351
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0                 proceeding in New Jersey in 2005. The contract with Zweizig was upheld in its entirety.
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23            2
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  ~           3                                      FOURTH CLAIM FOR RELIEF
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              4     (Breach oflmplied Covenant of Good Faith against Defendants Brandsness, Bernick and Oregon
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u......       5                                                 State Bar PLF)
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              6                                                       35.
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              7              Plaintiff incorporates the allegations of paragraph 1-34.
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~I            8                                                       36.

              9              The Oregon State Bar PLF (PLF) serves a dual purpose, to protect the public from
            10    malpractice and to protect attorneys from malpractice costs (cost sharing) under a standard insurance

            11    coverage theory.

            12                                                        37.

            13               The PLF had adopted a sue us position in submitting claims, daring the public claimant to

            14    file a lawsuit, forcing them to find counsel and pay even more legal fees. As citizens we would not

            15    tolerate this behavior of an insurance company under the jurisdiction of the Oregon Insurance

            16    Commission.

            17                                                        38.

            18               The PLF is not subject to the jurisdiction of the Oregon Insurance Commission. The PLF is

            19    in fact a captive insurance company that has not been forced to pay out a minimum number of claims

            20    and in fact pays 5 times more for defense than it does in claims.

            21                                                        39.
            22               The PLF no longer has an annual audit done. The PLF no longer publishes its annual
            23    financial statements. As of this date, based on the financial information the plaintiff has been able to
            24    acquire, the PLF generates annually $25 Million in gross premiums, pay about $2.5 Million in
            25    claims, $10 Million in defense through outside counsel, $7 .5 Million in administration and makes $5
            26    Million in net income. The PLF pays no tax on its net income and now has a war chest of over $60
            27    Million.
            28                                                        40.


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                                     PLAINTIFF ACTION FOR DEFAMATION, MALPRACTICE AND BREACH



          Rote v. Marshall                                                            Exhibit 2 - Part 1, Page 7 of 351
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.....,
00            1              Carol Bernick, CEO, was scheduled to be a witness in the 3:15-CV-2401 case. Instead of
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°'            2   communicating with defendant Rote, she conspired with Christiansen to avoid having to testify.
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              3   Through that series of communications it was clear that the PLF was assisting Christiansen with his
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+,            4   case against Rote, crossing the line to advocate for a party.
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u......       5                                                         41.
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  !:::        6              Bernick, in representing the PLF and advocating for a party in which the PLF had no
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  V           7   interest showcases the unrestrained abuses of the PLF. Rote has long advocated through his blog and
·,:::;
~I            8   publicly that the PLF is denying claims not based on the merits of the malpractice, but in retaliation

              9   against parties like plaintiff Rote who raise community awareness of the PLF's failures to perform, to

             10   disclose and to pay out on claims. Rote has also argued publicly that the PLF has engaged the Chief

             11   Judges of the TRI-County area to assign cases against attorneys to protem Judges with conflicts.

             12                                                         42.

             13              Protem Judges have undisclosed conflicts that arise from their firms representation of

             14   attorneys accused of malpractice. Case in point, Skip Winters served as a judge protem on

             15   16CV07564 wherein the PLF represented parties Christiansen and Marshall. Winters firm, Body

             16   Feltmount performs a lot of work with the PLF. Winters did not step down. The PLF counsel did not

             17   disclose this conflict to me. Bernick knew of the conflict.

             18                                                         43.
             19              The PLF staff attorney adjudicating the claim against Brandsness is Pam Stengahl, a former
             20   partner at Bodyfelt Mount. Pam has denied the malpractice claim. Bernick has not reversed
             21   Stengahl' s decision.
             22

             23                                         FIFTH CLAIM FOR RELIEF
             24                      Oregon Civil Racketeer Influenced and Corrupt Organizations Act
             25                                           (Against All Defendants)

             26                                                         44.
             27              Plaintiff incorporates the allegations of paragraph 1-43.

             28                                    Count 1 - Violation of ORS 166. 720(2)

                                                                    -    8 -
                                    PLAINTIFF ACTION FOR DEFAMATION, MALPRACTICE AND BREACH



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23            2              Plaintiff alleges that the Defendants individually and collectively engaged in racketeering
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              3   activity by means to commit, to attempt to commit, to conspire to commit, or to solicit, coerce or
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              4   intimidate another person to commit bribery, perjury, obstructing judicial administration, presenting
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u......       5   false evidence, spoliation of evidence, unswom falsification & perverting the course of justice.
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              6                                                         46.
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              7              The PLF indirectly and directly acquired and maintained control of the enterprise through a
·,:::;
~I            8   pattern ofracketeering activity by committing or attempting to commit the crimes of bribery (ORS

              9   162.015 & 162.025), perjury (ORS 162.065), unswom falsification (ORS 162.085), obstructing

             10   judicial administration (ORS 162.235) (to include witness tampering, spoliation, false evidence and

             11   perverting the course of justice) and Coercion (ORS 163.275). The incidents alleged are not isolated.

             12                                                         47.

             13              Defendants' actions were willful, wanton, malicious, oppressive and fraudulent, and a

             14   conscious disregard of Oregon law resulting in injury to Rote and entitling Rote to punitive and

             15   exemplary damages. These acts were committed with the knowledge and consent of Defendants' or

             16   were ratified by Defendants after the fact.

             17                                                         48.

             18              The organization and PLF enjoys unfettered opportunity. They do not publish financial

             19   statements, do not engage an outside auditor, engage firms where partners serve as judges protem,

             2o   pay out little in claims and pay no income tax on the spoils.

             21                                    Count 2- Violation of ORS 166.720(3)

             22                                                         49.

             23              Bernick, the PLF & John Doess have operated continuously as an associated-in-fact

             24   enterprise since before 2010 to present, as described above. The common purpose of this enterprise is

             25   to subvert the civil litigation process, extracting judgments and sharing the spoils. This enterprise is

             26   organized and executed through the PLF, the Oregon State Bar and employ others to also participate

             27   in the enterprise. Christiansen, Marshall and Brandsness have joined the enterprises and are co-

             2B   conspirators. Christiansen was specifically induced or voluntarily engaged in preparing a false

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                                    PLAINTIFF ACTION FOR DEFAMATION, MALPRACTICE AND BREACH




          Rote v. Marshall                                                             Exhibit 2 - Part 1, Page 9 of 351
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    1
         declaration.
    2                                                         50.
    3              The Defendants, John Does and their employees participated in the enterprise through a

    4   pattern of racketeering activity by committing or attempting to commit the crimes of bribery (ORS

    5    162.015 & 162.025), perjury (ORS 162.065), unsworn falsification (ORS 162.085), obstructing

    6   judicial administration (ORS 162.235, to include witness tampering, spoliation, false evidence and

    7    perverting the course of justice) and Coercion (ORS 163.275).

    8                                                         51.

    9              Defendants' actions were willful, wanton, malicious, oppressive and fraudulent, and a

  10     conscious disregard of Oregon law resulting in injury to Rote and entitling Rote to punitive and

  11     exemplary damages. These acts were committed with the knowledge and consent of Defendants or

  12     were ratified by Defendants after the fact.

  13                                                          52.

  14               For the violations of ORS 166.720(3) by Defendants, Rote is requesting three fold the

  15     special damages sustained in an amount to be determined at trial for the costs and time associated
  16     with the last 15 years of this litigation or in the alternative three fold the damages pursuant to ORS
  17     166. 725(7), an amount to be determined at trial, plus punitive damages.
  18

  19                                          SIXTH CLAIM FOR RELIEF
  20                                   Intentional Infliction of Emotional Distress
   21                                           (Against All Defendants)
  22

  23                                                          53.
   24              Plaintiff incorporates the allegations of paragraph 1-52.

   25                                                         54.

  26               As a further proximate result of Defendants' wrongful conduct, Rote has suffered, and will

  27     continue to suffer, emotional distress, pain and suffering, mental anguish, and embarrassment, all in

   28    an amount not yet calculated, but reasonably believed to exceed the jurisdictional minimum of this

                                                          -   10 -
                          PLAINTIFF ACTION FOR DEFAMATION, MALPRACTICE AND BREACH



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    1
         court. Rote will seek leave of the court to plead the true amount of his damages once they are fully
    2
         ascertained.
    3                                                        55.
    4              Defendants' actions were willful, wanton, malicious, oppressive and fraudulent, and a
    5    conscious disregard of Oregon law resulting in injury to Rote and entitling Rote to punitive and
    6    exemplary damages. These acts were committed with the knowledge and consent of Defendants' or
    7    were ratified by Defendants after the fact.
    8


    9    WHEREFORE, Rote prays for relief as follows:
  10     1. For General and Economic damages in an amount not yet ascertained but to be established at trial,
  11     but not less than $600,000;
  12     2. For Special damages in an amount not yet ascertained but to be established at trial;

  13     3. For Noneconomic Damages to be established at Trial
  14     3. For Treble damages on the racketeering cause of action;
  15     4. For Punitive damages on the all causes of action;
  16     5. For Costs and attorneys' fees as permitted by law;
  17     6. For Prejudgment interest as otherwise authorized by law; and
  18     For such other and further relief as the Court may deem just and proper.
  19

  20
         DATED: October 5, 2018                                         ~(J_~
  21
                                                                         Isl Timothy C. Rote
  22                                                                      Timothy C. Rote
                                                                          ProSe
  23                                                                       24790 SW Big Fir Rd.
                                                                           West Linn, OR 97068
  24                                                                       (503) 702-7225
  25

  26

  27

  28


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                          PLAINTIFF ACTION FOR DEFAMATION, MALPRACTICE AND BREACH




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-,.- ..                                               11/25/2018 2:43 PM
                                                          18CV45257




                                          IN THE CIRCUIT COURT OF THE STATE OF OREGON
                                             FOR THE COUNTY OF    Clackamas

                                                                            Case No: ~1_
                                                                                       sc_v_4_52_5_7 _ _ __ _ __

                TIMOTHY C. ROTE                                             CERTIFICATE OF SERVICE
                                                            Plaintiff                (ORCP 7D(2))
                                   V.                                        D (a) Personal Service
                                                                             D (b) Substitute Service
                                                                             D (c) Office Service
                CAROL BERNICK                                                D (d) Service by Mail
                                                          Defendant

                 I, (name)      ~ + : fiZe JJL ,.                       ,
                                                                       declare that I am a resident of the state of
                    Q~          ....             .I am a competent person 18 years of age or older and not a party
                              r
                 to or 1 ~ in this case. I certify that the person served is the person named below.

                 I served true copies of the original Petition, Claim, or Complaint and Summons (with attached
                 notices of mediation and other information P.rovided by the court clerk) and: (name any
                                                 :,=•=~~LI...IO&....,ict'\L+
                 additional forms served) _ _ . .C                         J._
                                                                             : _ _ _ _________ _ _____


                 by (check a, b, c, or d and complete all information):
                         (a) D Personal Service on (date) _ __ ______ , at                    a.m./p.m., to
                 { D Plaintiff D Defendant}                             (name) in person at the following
                 address                                                              in the County of _ _
                 _ __ _ _ _ _ _, State of _ _ _ __ __ _

                            (b) cro Substitute Service on (date)    0t,hk.r     ll,zou(,
                                                                                      at 1:Y~       a.m.@ , by
                 delivering them t o the following address 1'4,()~1 ~ Lltpc-r ~w\.L\          fL,,"f
                                                                                                  f_.{
                 il)...the Co111ttt of W 13 bL.. ~      , State of Q ~ . Delivered to (name) _ __ _ _
                  ~ " ' M~1W1\0 &I\          ~ h o is a person age~older and who lives there.
                 (Complete the section below only if the server also did the follow-up mailing required by ORCP
                 7D(2)(b). If a person other than the server did the follow-up mailing, that person must
                 complete a separate Certificate of Service Mailing .)

                                 ~ On (date)    10/,,/1 ~       ,I personally deposited a true copy of the same
                 documents served with the U.s.'J>cfstal Service, via first class mail, in a 1ealed en::-lo pe, postage
                 paid, addressed to the party to be served: p( Plaintiff D Defendant         ~r-0 \ ~M V\.\ c.k..
                 _______(name), at the party's home address listed above, together with a statement of
                 the date, time and place that the documents were hand-delivered to the party's dwelling
                 (residence).

                         (c) D Office Service on (date)                         , at         a.m./ p.m., by
                 delivering them to the office of the party to be served, located at: - - - -- - -- -- - -
                 - - - -- - - - -- - -- - (address), during normal working hours for that office,
                 where I left the documents with                                            (name) , who is a
                 person apparently in charge, to give the documents to the party to be served.


                 Certificate of Service
                 Page 1 of2                                                                    Case No.: _ _ _ _ __ __




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--· ..



               (Complete the section below only if the server also did the follow-up mailing required by ORCP
               7D(2)(c). If a person other than the server did the follow-up mailing, that person must
               complete a separate Certificate of Service Mailing.)

                               D On ( date)                , I personally deposited a true copy of the same
               documents served with the U.S. Postal Service, via first class mail, in a sealed envelope, postage
               paid, addressed to the party to be served: D Plaintiff D Defendant (name) _ _ __ _ __ _
               _ __ _ _ _ __ _, at the party's: D home address at: - - - - - - - - - - - - -
               - - - -- - -- - - -- -- ' OR O business address above, together with a statement
               of the date, time and place that the documents were hand-delivered to t he party's office.

                       (d) D Service by Mail, Return Receipt Requested on (date)                            I
               personally deposited two true copies with the U.S. Postal Service. One by first class mail, and
               the other by certified or registered mail, Return Receipt Requested, or by express mail, postage
               paid, addressed to the party to be served: D Plaintiff D Defendant
               - - - - - - - - - - - (name), at the party's home address located at:_ _ _ _ _ __
               _ _ _ _ _ _ _ _ _ __ __ _ _ __ _ _ (address). (NOTE: If mailed Return Receipt
               Requested, the return receipt must be attached to this Certificate ofService.)

               ~e~cate of Document Preparation. Check all that apply:
               ~ I chose this form for myself and completed it without paid help.
               DA legal help organization helped me choose or complete this form, but I did not pay money to anyone.
               DI paid (or will pay)                            for help choosing, completing, or reviewing t his form.
               D TurboCourt selected and completed this form and I did not pay anyone to review the completed form
               I hereby declare that the above statements are true to the best of my knowledge
               and belief, and that I understand they are made for use as evidence in court and I
               am subject to penalty for perjury.


                   C>~~\\ .~\~
                Date                                                   Signature o Server

                                                                            ~ e.~-o-u;
                                                                        Print Name

               If person serving is NOT a sheriff or sheriff's deputy, address and phone number of server:

                   J , 1- W\.o.., S \.-  ,A           Q 1 .-<. Q"' ~ h, G{l__ 9 ?<54s-




                Certificate of Service
                Page 2 of2                                                                     Case No.: _ _ _ _ __ _ _




         Rote v. Marshall                                                              Exhibit 2 - Part 1, Page 13 of 351
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                                                    11/27/2018 1:00 PM
                                                        18CV45257




                                        IN THE CIRCUIT COURT OF THE STATf, OF OREGON
                                           FOR THE COUNTY OF    Clackamas

                                                                    Cas,e No:   _1_
                                                                                  ac_v_4_52_5_7_ _ _ _ _ __


        TIMOTHY C. ROTE                                             CERTIFICATE OF SERVICE
                                                       Plaintiff            (ORCP 7D(2))
                         v.                                         2{J (a) Personal Service
                                                                    D (b) Substitute Service
                                                                    D (c) Office Service
        ANDREW BRANDSNESS                                           D (Id) Service by Mail
                                                     Defendant

         I, (name)       (±,-e.£9 Rok.                           , declare that I am a resident of the state of
              Q'fl.E(-<)      u               .
                                            I am a competent person 18 years of age or older and not a party
         to or lawyer in this case. I certify that the person served is tlle person named below.

         I served h·ue copies of the original Petition, Claim, or Comp aint and Swnmons (~ith attaehed
         notices of mediation and other information provided by the pourt clerk) and: (name any
         additional forms served) _ _ _ _ _ _ _ _ _ _ _ _ __ __ _ _ __ __ _ _ __


         by (check a, b, c, or d and complete all information):

         { D Plaintiff !li(Defen~ant}
         address                   fl
                         4 LL ,,_,:e
                                            =:1 \~~).lZJ
                 (a) !1;:l:- Persona1Serviccon(date) l\-\3-.;?Cri;

                                                                Ls .
                                                                       ,at \:58        a.m @
                                                                 (name) in pers?n at the follo.vmg
                                                                               m the County of _ _
                                                                                                   to


           :KlG..Nc..Mt\.          , State of <!!JR E'10&>
                 (b) 0 Substitute Service on (date)                           , at           a.m./p.m., by
         delivering them to the following address---------- - - - - - - -- - - - -
         in the County of                      , State of              . Delivered to (name) _ _ _ _ __
         - -- - -- -- - - -' who is a person age 14 or older and who lives there.
         (Complete the section below only if the server also did the follow-up mailing required by ORCP
         7D(2)(b). if a person othe1· than the server did the follow-up mailing, that person must
         complete a separate Certificate ofService Mailing.)

                         D On (date)                  , I personally deposited a true copy of the same
         documents served with the U.S. Postal Service, via first clas~ mail, in a sealed envelope, postage
         paid, addressed to the party to be served: D Plaintiff O Defendant - - - - - - - -- - -
         _ _ __ _ _(name), at the party's home address listed above, together ,vith a statement of
         the date, time and place that the documents were hand-delivered to t he party's dwelling
         (residence).

                 (c) [J Office Service on (date)                         , at _ _ _ a.m./ p.m., by
         delivering them to t he office of the party to be served, located at: - - - - - - --·- -- -
         - -- - - - - - -- - - -                 (address), during normal working hours for that office,
         where I left the documents with                                             (name), who is a
         person apparently in charge, to give the documents to t he party to be served.


          Certificate of Service
          Page I of2                                                                   Case No. : -- - - - - --




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        (Complete the sect-ion below only if the server also did the      !low-up mailing required by ORCP
        7D(2)(c). If a person other than the server did thefollow-u J mailing, that person must
         complete a separate Certificate of Service Mailing.)

                         D On (date)                  , I personally ~eposited a true copy of the same
         documents served with the U.S. Postal Service, via first clas~ mail, in a sealed envelope, postage
         paid, addressed to the party to be served: D Plaintiff D De~endant (name) _ _ _ _ _ __
         _ _ _ _ _ __ __ , at the party's: D home address a t e - - - - - - - -- - - - - -
         - - - - - - -- - - - -- - ' OR O business addrkss above, together with a statement
         of the date, time and place that the documents were hand-df livered to the pa1ty's office.

                (d) Cl Service by Mail, Return Receipt Reque~ ed on (date)                          .I
         personally deposited two true copies with the U.S. Postal Service. One by first class m ail, and
         the other by certified or registered mail, Return Receipt Requested, or by express mail, postage
         paid, addressed to the party to be served: D Plaintiff D Defendant
         - - -- -- - - - - - (name), at the party's home ~dress located at: _ _ _ _ _ __
         _ _ _ _ _ _ _ _ _ _ _ __ _ __ _ _(addre~s) . (NOTE: If mailed Return Receipt
         Requested, the return receipt must be attached to this Certificate ofService.)

         Certificate of Document Preparation. Check all that apply:
         0 l chose this form for myself and completed it without paid hel~.
         0 A legal help organization helped me choose or complete this for m, but I did not pay money to a nyone.
         0 I paid (or will pay)                           for help choosing, completing, or reviewing this form.
         0 TurboCourt selected and completed this form and I did not pa,y anyone to review the completed form

         I hereby declare that the above statements are true to the best of my knowledge
         and belief, and that I understand they are made for use as evidence in court and I
         am subj ect to penalty for perj ury.



         Date




         Ifperson serving is NOT a sheriff or sheriffs deputy, addr~ss and phone number of server:

              ~ a..s M.C:. u &-\- . K\.6Mcd-kt                  Qb . c 12eqob)                 q "1. l c. o (




          Certificate of Service
          Page 2 of 2                                                                    Case No.: _ _ __ __ __




Rote v. Marshall                                                                    Exhibit 2 - Part 1, Page 15 of 351
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                                              11/27/2018 1:29 PM
                                                  18CV45257




                                  IN THE CIRCUIT COURT OF THE STATE OF OREGON
                                     FOR THE COUN'IY OF   Clackamas

                                                                    Case No: ..c1a~c'-'~-4s"'2cc.s1_ _ _~ - - -

        TIMOTHY C. ROTE                                             CERTIFICATE OF SERVICE
                                                    Plaintiff                  (ORCP 7D(2))
                         v.                                         D (a) Personal Service
                                                                    D (b) Substitute Service
                                                                    i;;J!.(c) Office Service
        JOEL CHRISTIANSEN                                           D (d) Service by Mail
                                                 Defendant

         I, (name)
            (2v-l)°?' .
                       CA,1 s ~
                              . :
                                                                ,declare thatI am a resident of the state of
                                          I ama competent perso~ 18 years of age or older and not a party
         to or lawyer m this case. I certify that the person served 1s the person named below.

         I served true copies of the original Petition, Claim, or Complaint and Summons (with attached
         notices of meiliation and other infortnation provided by the court clerk) and: (name any
         additional forms served) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~ - - - - - - - -


         by (check a, b, c, or d and complete all information):
                (a) D Personal Service on (date)_ _ _ _ _ _ _ _, at                    a.m./p.m., to
         { 0 Plaintiff O Defendant }                            ( name) in person at the following
         address                                                               in the County of _ _
         - - - - - - - ~ State of _ _ _ _ _ __

                 (b) D SubstituteServiceon(date)                              ,.at            a.m./p.m.,J,y
         delivering them to the following a d d r e s s - - - - - - - - - - - - - - - ~ - - - -
         in the County of                      State of                . Delivered to (name). _ _ _ __
         -----,------,---,--• who is a person age 14 or older and who lives there.
         (Complete the section below only if the server also did the follow-up mailing required by ORCP
         7D(2)(b). Jjaperson other than the server did the follow-up mailing, that person must
         complete a separate Certificate ofService Mailing.)

                         D On (date)                   I personally deposited a true copy of the same
         documents served with the U.S. Postal Service, via first class mail, in a sealed envelope, postage
         paid, addressed to the party to be served: D Plaintiff D Defendant - - - - - - - - - -
         _ _ _ _ _ _(name), at the party's home address listed above, together with astatement of
         the date, time and place that the documents were hand-delivered to the party's dwelling
         (residence).

                  (c) riiJ-Office Service on (date) [)~J(;-b>tj'        , at    ) './)    a,,,ti.iN)I., b¥.
         ~livrpnp them40 the office of the party to be served, located at I l»o . fl,) {"-xl-;a.;,;.1 'Z.:> "'"
         _r;,,.~_;o/L. 'l'21>f .             (<1.ddress)zduring normal working hours for that office,
         where I left the documents with rhAHkJtw l<A hlM.J•.-,                     (name), who is a
         person apparently in charge, to give the documents to the party to be served.


         Certificate of Service
         Page 1 of2                                                                      Case No., _ _ _ _ _ _ __




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         (Complete the section below only if the server also did the follow-up mailing required by ORCP
         7D(2)(c). Jf a person other than the server did the follow-up mailing, that.person must
         complete a separate Certifi.cate ofService Mailing.)

                         lii(l On (date) lo,g s:/tt .      I personally deposited a true copy of the same
         documents served with the U.S. Postal Service, via first class mail, in a sealed envelope, postage .
         paid, addressed to the party to be served: D Plaintiff'lll.Defendant (name) Vu ~L .
         'C,/,£/~71,1-,s,=J          . at the party's: D home address a t : - - - - - - - - - - - - -
         - - - - - - - - - - - - ~ ORi!'.2Jbusiness address above, together with a statement
         of the date, time and place that the documents were hand-deHvered to the party's office.

                 (d) D Service by Mail, Return Receipt Requested on (date)                           I
         personally deposited two true copies with the U.S. Postal Service. One by first class mail, and
         the other by certified or registered mail, Return Receipt Requested, or by express mail, postage
         paid, addressed to the party to be served: D Plaintiff D Defendant
         _ _ _ _ _ _ _ _ _ _ (name), at the party's home address locamd at: _ _ _ _ _ __
         _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _(address). (NOTE: Jjmailed Return Receipt
         Requested, the return receipt must be attached to this Certificate ofService)

         Certificate of Document Preparation. Check all that apply:
         SJ chose this form for myself and completed it without paid help.
         DA legal help organization helped me choose or complete this form, but I did not payinoneyto anyone.
         DI paid (otwill pay)                           for help choosing, completing, or reviewing this form.
         D TurboCourt selected and completed this form "I'd I did not pay anyone to review the completed form
         I hereby declare that the above statements are true to the best of my knowledge
         and belief, and that I understand they are made for use as evidence in court and I
         am su):uect to penalty for perjury.




                                                                 Print Name

         Ifperson serving is NOT a sheriff or sheriffs deputy, address and phone number of server:

          Qt b~~]xt,                                                          S1>J't/?/Ni>J-




         Certificate of Service
         .Page2 of2                                                                    Case N o . : - - - - - - - -




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                                                  18CV45257




                                   lNTHE CIRCUIT COURT OF THE STATE OF OREGON
                                     FOR THE COUNI'Y OF   Clackamas

                                                                   Case No: -'1""8C~V-'45cc2cc.57'-------

       TIMOTHY C. ROTE                                             CERTIFICATE OF SERVICE
                                                   Plaintiff                (ORCP 7D(2))
                        v.                                        0 (a) Personal Service
                                                                  0 (b) Substitute Service
                                                                  && (c) Office Service
       LINDA L. MARSHALL                                          0 ( d) Service by Mail
                                                Defendant

        I, (name)       {:),,    Y/J .~ r                       , declare thatI am a resident of the state of
         /9r-{1o Ct                       . I am a competent person 18years of age or older and not a party
        to or lawyer in this case. I certify that the person served is the person named below.

        I served true copies of the original Petit/on, Claim, or Complaint and Summons (with attached
        notices of mediation and other information provided by the court clerk) and: (name any
        additional forms served) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


        by (check a, b, c, or d and complete all infonnation):
               (a) D Personal Service on (date) _ _ _ _ _ _ _~ at                    a.m./p.m., to
        {D Plaintiff D Defendant}                              (name) in person at the following
        address                                                              in the County of _ __
        -------~State of _ _ _ _ _ __
                (b) D Substitute Service on (date)                          , at           a.m./p.m., by
        delivering them to the following a d d r e s s - - - - - - - - - - - - - - - - - - -
        in the County of                     , State of              . Delivered to (name) _ _ _ __
         - - - - - , . - - - - - ~ who is a person age 14 or older and who lives there.
        (Complete the section below only ifthe server also did the follow-up mailin.g required by ORCP
        7D(2)(b). Jfaperson other than the server did thefollow-up mailing, that person must
        complete a separate Certificate ofServiceMailing.)

                       D On (date)     A,§  fh"f" , I personally deposited a true copy of the same
        docwnents setved with the U.S. Posfal Service, via first class mail,ina sealed envelope, postage
        paid, addressed to the party to be served: D Plaintiff D Defendant - - - - - ~ - - - -
        _ _ _ _ _ _(name), at the party's home address listed above, together with a statement of
        the date, time and place that the documents were hand-delivered to the party's dwelling
        (residence).

                 (c)  ~ Office Service on (date)Orjpbtr,l5 l 0 l'i, at f: /5 @ll/p.!Jl., by
        d!ili"l'~ring thJ:ID to the office of the party to be s~ed. located a t ~ W . ~ ' ! S i ';I, z;»,,
         H>>'-tw,J!, /) Iv'f '7 Z.O 5       .       ({1,ddresA <;luring normal working hours for tfu& office,
        where I left the documents with fTlA..·f!:!){.V f5!i[iJ..f,J,So')          (name), who is a
        person apparently in charge, to give the documents to the party to be served.


        Certificate of Service
        Page 1 of2                                                                    Case No.:,,..--------




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        (Complete the section below only if the server also did the follow-up mailing required by ORCP
        7D(2)(c). If a person other than the server did the followsup mailing, that person must
        complete a separate Certificate ofService Mailing.)

                        0 On(date) 1,,/.;s/;i
                                          1
                                                       , Ipersonallydepositedatruecopyofthesame
        documents served with the U.S. Postal Service, via first class mail, in a sealed eyvelope, postage
        paid, addressed to the party to be served: D Plaintiff lll'oefendant (name) ,t:_ / ..,,,/"'-      ·
          JY/~~.l,,j/             , at the party's: 0 home address a t : - - - - - - - - - - - - -
        - - - - - - - - - - - - ~ OR 18husiness address above, together with a statement
        of the date, time and place that the documents were hand-delivered to the party's office.

               (d) 0 Service by Mail, Return Recejpt Requested on (date)                               I
        personally deposited 1lY.!! true copies with the U.S. Postal Service. One byfirst class mail, and
        the other by certified or registered mail, Return Receipt Requested, or by express mail, postage
        paid, addressed to the party to be served: D Plaintiff D Defendant
        _ _ _ _ _ _ _ _ _ _ (name), at the party's home address located at: _ _ _ _ _ __
        -----::--:c-------:-----,---:--:---:c<·address). (NOTE: If mailed Return Receipt
        Requested, the return receipt must be attached to this Certificate ofService.)

         Certificate of Document Preparation. Check all that apply:
         fia.I chose this form for myself and completed it without paid help.
        0 Alegal help organization helped me choose or complete this form, but I did not pay money to anyone,
        D I paid (or will pay) .                       for help choosing, completing, or reviewing this fonn. :
         D TurboCourt selected and completed this form and I did not pay anyone to review the complete:d form:
         I hereby declare that the above statements are true to the best of my knowledge
         and belief, and that I understand they are made for use as evidence in court and I
         am subject to penalty for perjury.



         Date
                                                                   ~tc
                                                                   Print Name
                                                                                c Ftf'(/or
         Jjperson seroing is NOT a sheriff or sheriffs deputy, address and phone number ofserver:
            \>b bo~               '-\lit..                                      §'o J ·7 IJ <lfai°'




         Certificate of Service
         Page2 of2                                                                       Case N o . : - - - - - - - -




                                                                --~~----

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                                                11/27/2018 1:24 PM
                                                    18CV45257




                                     !N THE CIRCUIT COURT OF THE STATE OF OREGON
                                        FOR THE COUNT\;' OF  Clackamas

                                                                   Case No: _1_ac_v_45_2_s1_ _ _ _ _ __

        TIMOTHY C. ROTE                                            CERTIFICATE OF SERVICE
                                                    Plaintiff              (ORCP 7D(2))
                         v.                                        D (a) PersonalService
                                                                   D (b) Substitute Service
                                                                   D (c) Office Service
        OREGON STATE BAR PROFESSIONAL LIABILITY FUND               D (d) Service by Mail
                                                  Defendant

         I, (name)       '2o\,e.t\. ~ ( ,              .declare that lam a resident of the state of
            CJ P..C k...,.....o, \   I ama competent person 18 years of age or older and not a party
                                           .
         to or lawyer in this case. I certifythatthe person served is the person named below.

         I served true copies of the original Petition. Claim. or Complaint and Summons (with attached
         not.ices of mediation and other j.nformation provided by the court clerk) and: (name any
                                                         =;-"1.,,,\:__________________
         additional forms serued) _.......,,Ll!...,,M.e:c~"'-


         by (check a. b, c. or d and complete all · ormatio ):
                (a) 1J!I Personal        ·c                                        3:
                                                (date.<--'f,0,_,fc.::"Z,=J-L-"----'~a~     r/'S'" a . ~ t o
         {D Plaintiff )811 Defendant}                                                · person at the following
         address             2.. "1                                                        in the County of __
         _.==n..==--•               ate of__1.).I::-""'----'
        ·        (b)12'!-Suhstitute Service on (date) fl> /1-:i. /; 8'       , at J: ¥-.I , a . ~ y
         delivering them to the ~llpwing address 7 !$:J. NW ! 1~ f}v..e..                           -r,      .
         in the County of Mt<J f'w,._.'L      • State of 41f--        . Delivered to (name) .5,§v<- t/.ae,,./1-:s
         -:-c---c---c----c--c--,--' who is a person age 14 or older and who lives there.
         ( Complete the section below only ifthe seroer also did thefollow·up mailing required by ORCP
         7D(2)(b). If a person other than the seruer did the follow-up mailing., that person must
         complete a separate Certificate ofService Mailing.)

                         fX[ On (date)     lo/,:,./tl ,  I personally deposited a true copy of the same
         do.cuments served with the U.S. Postal Service, via first class mail. in a <jea}ed en:Jll!IO,lIB, postage
         paid, a~ressed to the party to be served: D Plaint~Defendant            D5,,B        !2:_.fu,=( 41&/,Y;P
           &.~               (name), at the party's home address listed above, together with a statement of /
         the date, time and place that the documents were hand-deliveredto the party's dwelling
         {residence).

                 (c) D Office Service on (date)                          at          a.m./p.m., by
         delivering them to the office of the party to be served, located at: - - - - - - - - - - -
         _ _ _ _ _ _ _ _ _ _ _ _ _ (address). during normal working hours for that office,
         where! left the documents with                                             (name). who.is a
         person apparently in charge, to give the documents to the party to be served.


         Certificate of Service
         Page I of2                                                                   Case No.: _ _ _ _ _ _ __




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         (Complete the section below only if the server also did the follow-up mailing required by ORCP
         7D(2)(c). If a person other than the server didthe follow-up mailing, that person must
         complete a separate Certifieate ofService Mailing.)

                         D On ( date)                  I personally deposited a true copy of the same
         documents se:rved with the.U.S. Postal Service, via first class mail, in a sealed envelope, postage
         paid, addressed to the party to be served: D Plaintiff D Defendant ( n a m e ) - - - - - - -
          - - - - - - - - ' at the party's: 0 home address at: _ _ _ _ _ _ _ _ _ _ __
          - - - - - - - - - - - - ~ ' OR Obusiness address above, together with a statement
         of the date, time and place that the documents were hand-delivered to the party's office,

                 (d) 0 Service by Mail, Return Receipt Requested on (date)                            I
         personally deposited two true copies with the U.S. Postal Service. One by first class mail, and
         the other by certified or registered mail, Return Receipt Requested, or by express mail, ppstage
         paid, addressed to the party to be served: D PlaintiffD Defendant
         - - - - - - - - - - (name), at the party's home address located at: _ _ _ _ _ __
         _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _(address). (NOTE: If mailed Return Receipt
         Requested, the return receipt must be attached to this Certificate ofService.}

         Certificate of Document Preparation. Check all that apply:
         DI chose this form for myself ancl completed it without paid help.
         DA legal help organization helped me choose or complete this form, but I did not pay money to anyone.
         D I paid (,:,r will pay)                         for help choosing, completing, or re,ciewing this form.
         D TnrboCourt selected and completed this form and I did not pay anyone to review the completed form
         I hereby declare that the above statements are true to the best ofmy knowledge
         and belief, and that I understand they are made for use as evidence in court and I
         am subject to penalty for perjury.



         Date       I                                            Signature of Server
                                                                       (L.
                                                                 Print Name
                                                                              'l,..u l n ~
         Ifperson serving is NOT a sheriffor sheriffs deputy, address and phone number ofserver:
                                                                    0/J...




         Certificate of Service
         Page2 of2                                                                       Case No.: _ _ _ _ _ _ __




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                                        12/6/2018 5:30 PM
                                           18CV45257


 1

 2

 3
                                IN THE CIRCUIT OF THE STATE OF OREGON
 4
                                   FOR THE COUNTY OF CLACKAMAS
 5

 6
     TIMOTHY C. ROTE,                               ) Case No.: 18CV45257
                                                    )
 7
                   Plaintiff,                       )
                                                    )
 8                                                  ) FIRST AMENDED COMPLAINT FOR:
            vs.                                     )
 9                                                  ) (1) DEFAMATION;
     LINDA L. MARSHALL,                             )
10                                                  ) (2) MALPRACTICE;
                                                    )
11   JOEL CHRISTIANSEN,                             ) (3) BREACH OF CONTRACT;
                                                    )
12                                                  ) (4) BREACH OF IMPLIED COVENANT
     ANDREW BRANDSNESS,
                                                    )     OF GOOF FAITH;
13                                                  )
     CAROL BERNICK,                                 ) (5) RACKETEERING;
14                                                  )
     OREGON STATE BAR (PROFESSIONAL                 ) (6) INTENTIONAL INFLICTION OF
15                                                        EMOTIONAL DISTRESS; AND
16   LIABILITY FUND),                                   (7) FRAUD.
17   MATT KALMANSON,
                                                                JURY TRIAL REQUESTED
18
     JANE DOE,
19
     PAM STENDAHL,
20
     JOHN DOES (4-5)
21

22                 Defendants

23

24

25

26
              Plaintiff Timothy C. Rote (“Rote”) alleges as follows:
                                                       1.
27
             Plaintiff is an individual residing in West Linn, Oregon.
28


                                              - 1 -
                     PLAINTIFF ACTION FOR DEFAMATION, MALPRACTICE AND BREACH




Rote v. Marshall                                                         Exhibit 2 - Part 1, Page 22 of 351
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 1                                                      2.

 2            Defendant Linda L. Marshall (Marshall) practices law in Lake Oswego, Oregon.

 3                                                      3.

 4            Defendant Joel Christiansen (CHRISTIANSEN) practices law in Portland, Oregon.
                                                   4.
 5
              Defendant Oregon State Bar (OSB) resides in Tigard, Oregon.
 6
                                                        5.
 7
              Defendant Andrew Brandsness resides in Klamath Falls, Oregon
 8
                                                        6.
 9
              Defendant Carol Bernick is CEO of the PLF and resides in Portland, Oregon
10
                                                        7.
11
              Defendant Jane Doe is a court reporter licensed in Oregon and resides in Portland, Oregon
12
                                                        8.
13

14
              Defendant Matt Kalmanson is an attorney practicing in Oregon and resides in Portland,
     Oregon
15
                                                        9.
16
              Defendant Pam Stendahl is an attorney practicing in Oregon and resides in Tigard, Oregon
17
                                                       10.
18
              John Doe 4-5 identities and addresses are undisclosed.
19

20
                                        FIRST CLAIM FOR RELIEF
21
                      (Defamation against Marshall, CHRISTIANSEN & John Does 4-5)
22
                                                       11.
23
              Plaintiff alleges paragraphs 1-7.
24
                                                       12.
25
              Plaintiff has been the subject of defamatory statements intended to influence litigation
26
     pending in Federal Court where Rote is a Defendant, to defame Rote which falsely and maliciously
27
     attribute characteristics to Rote that are intended to demean and embarrass him and hold him in a
28


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                     PLAINTIFF ACTION FOR DEFAMATION, MALPRACTICE AND BREACH




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 1
       false light.
 2
                                                          13.
 3
                  Rote is the author and owner of a blog and other intellectual property addressing issues of
 4
       bias and fraud arising during the course of litigation adjudicated in an arbitration lasting seven years.
 5
       In particular Rote has asserted that a substantial and prior partner relationship between Marshall and
 6
       the arbitrator (which was undisclosed by the arbitrator and concealed by Marshall) influenced the
 7
       arbitrator and resulted in arbitrator bias.
 8
                                                          14.
 9                In writing about the arbitration and subsequent litigation Rote exposed the testimony
10     evidence, forensic reports, and other supporting evidence making his case for the extreme dangers of
11
       arbitration. Some of the forensic reports shine a poor light on the Plaintiff in that arbitration and by
12     association raises questions on whether Marshall knowingly advanced false evidence.
13     CHRISTIANSEN, Marshall and John Does took action to discredit Rote because of the informatio n
14     disclosed in the blog. Subsequently, Rote met with the arbitrator and confirmed that he had referred
15     the opposing party to his former partner (Marshall) and had adopted her draft opinion because he did
16     not have the stamina to dive into the evidence.
17                                                        15.
18                On November 12, 2015 Rote published a post (Chapter 19) about the relative lack of appeal

19     in arbitration. Marshall and Christiansen used that blog to justify publishing highly defamatory

20     statements about Rote and refused to be honest about what they had said.

21                                                        16.

22                Later that day Rote’s attorney was contacted by the U.S. Marshals service inquiring as to

23     the meaning of the post. The U.S. Marshal Service had been contacted by someone (U.S. Marshal

24     will not disclose who) from Judge Robert Jones chamber conveying that they received a tip from

25     someone about Rote’s blog post and that it was a veiled threat of physical violence Rote intended to

26     execute on Judge Jones at the Awards Dinner that very night. Marshall has consistently engaged in

27     this type of innuendo during and after the arbitration, accusing Rote of fraud in Pleadings whenever

28     possible, as Rote has accused her.


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                         PLAINTIFF ACTION FOR DEFAMATION, MALPRACTICE AND BREACH




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 1
                                                         17.
 2
                Rote was contacted by the U.S. Marshals by phone while in the presence of his attorney.
 3
       Said attorney represented Rote on the matter involving the ongoing litigation with Marshall and
 4
       CHRISTIANSEN’s client. Rote’s attorney on this matter, Jeff Hasson, is not the only attorney Rote
 5
       uses. However, the U.S. Marshals service did contact Hasson and then Rote while they were at their
 6
       Country Club at approximately 5:00 pm on November 12, 2015.
 7
                                                         18.
 8
                Rote had immediately reached out to Judge Robert Jones, but the U.S. Marshal Service has
 9
       asked Rote to no longer contact them. Rote has asked CHRISTIANSEN and Marshall to disclose
10
       who among them engaged in this horrible act, but they refuse to admit or even engage on this topic. A
11
       defamation claim has been filed against Marshall and CHRISTIANSEN’s client, as a counterclaim in
12
       an existing law suit in U.S. District Court of Oregon, but the court has not permitted Rote to join
13
       Marshall and Christiansen for diversity reasons. The defamatory actions were intended to influence
14
       two lawsuits now decided in the U.S. District Court of Oregon.
15                                                       19.
16              In a Declaration subject to the penalty of perjury, including disbarment, Christiansen
17     maintained only that he and Marshall conveyed the text of a blog post celebrating Judge Jones and
18     spun it into something to the contrary. In fact they did much more.
19                                                       20.
20              Rote was forced to file a Freedom of Information Act request to the U.S. Marshal’s Service,
21     the results of which were produced to Rote on October 15, 2016. The documents show that Marshall
22     and Christiansen conveyed that Rote was unstable, that he had threatened their client, that he had
23     been arrested and prosecuted on a weapons charge, that he has engaged in fraudulent transfers to
24     avoid a judgment against one of his companies and is a threat to Judge Jones.
25                                                       21.
26              Recently, Rote met with Judge Jones at his home, spending some time talking to Judge
27     Jones and showcasing that he is not a threat to the Judge and his family. Rote has written elsewhere
28     in his blog about how much he likes Judge Robert Jones and how much he looks forward to a

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                        PLAINTIFF ACTION FOR DEFAMATION, MALPRACTICE AND BREACH




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 1
       friendship.
 2
                                                           22.
 3
                 The Oregon State Bar Professional Liability Fund (PLF), Carol Bernick (PLF CEO) and
 4
       counsel hired by the PLF (Kalmanson) were well aware that Christiansen and Marshall were lying
 5
       about the extent and nature of the communication to Judge Jones chamber staff, the U.S. Marshal’s
 6
       Service and others, concealing the truth from this court in a prior case 16CV07564. That case was
 7
       dismissed without prejudice, the U.S. Marshals evidence being unavailable until after the dismissal.
 8
                                                           23.
 9
                 As a result of these actions, Rote is often asked to defend himself in a business context on
10
       the allegations of these threats which are a part of the public record.
11

12                                        SECOND CLAIM FOR RELIEF
13                               (Malpractice against Defendant Andrew Brandsness)
14                                                         24.
15               Plaintiff incorporates the allegations of paragraph 1-21.
16                                                         25.
17               Defendant Brandsness was hired to represent corporate entities in two cases pending in the
18     U.S. District Court of Oregon, at the time of hire, February 2016, involving opposing counsel
19     Christiansen (3:15-CV-2401) and Marshall (3:14-CV-0406). Both cases went to trial.
20                                                         26.
21               Case 3:14-CV-0406 was a bench trial and the court found in favor of Rote (a defendant in
22     that case) and the corporate defendant’s wherein the plaintiff (Zweizig) sought to recover a judgment
23     against one of those corporate defendants alleging fraudulent transfers by Rote to avoid the judgment.
24                                                         27.
25               Case 3:15-CV-2401 was a jury trial in which the plaintiff Zweizig sought damages against
26     Rote and corporate defendants for retaliation based on the sum of the content of the blog written by
27     Rote. Christiansen represented the plaintiff in that case. The jury found in favor of the plaintiff.
28                                                         28.

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                        PLAINTIFF ACTION FOR DEFAMATION, MALPRACTICE AND BREACH




     Rote v. Marshall                                                            Exhibit 2 - Part 1, Page 26 of 351
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 1
                    The malpractice arose when Brandsness failed to file a Motion to Compel arbitration as the
 2
       contract with Zweizig demanded and to file a Motion to Dismiss corporate defendants not Zweizig’s
 3
       employer. Instead Brandsness filed an Answer not addressing these issues.
 4
                                                              29.
 5
                    Rote discovered this failure in Mid October 2016, notifying Brandsness of this malpractice.
 6
       Rote filed his Motion to Dismiss alleging the contract requires arbitration, that this question has
 7
       already been decided in a court proceeding confirming the application of arbitration. Rote had not yet
 8
       discovered that the conditions precedent to this litigation should have resulted in the action being
 9     dismissed for failing to bring the action timely.
10                                                            30.
11                  The U.S. District Court rejected Rote’s Motion to Dismiss based on a Motion to Compel
12     arbitration and attendant lack of jurisdiction because both Rote and the corporate defendants had
13     answered and engaged in litigation for close to eight months. The court denied Rote’s Motion to
14     Dismiss on January 5, 2017 and the potential damage to the corporate defendants did not mature until

15     that time.

16                                                            31.

17                  Brandsness withdrew from representation under a cloud of Rote raising this issue of

18     malpractice on approximately October 15, 2016. The malpractice impact could have been mitigated

19     had Brandsness filed a Motion to Compel and Dismiss, recognizing that the court did not deny this

20     same claim by Rote until 2017.

21                                                            32.

22                  While the jury trial result will be appealed, the PLF has refused to enter into a tolling

23     agreement forcing the filing of this action. A general judgment was issued on November 20, 2018 for

24     $500,000, plus interest at 2.7% per annum. The Claim is for this amount.

25

26                                            THIRD CLAIM FOR RELIEF

27       (Breach of Contract against Defendants Brandsness, Bernick, Stendahl and Oregon State Bar PLF)

28                                                            33.

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                           PLAINTIFF ACTION FOR DEFAMATION, MALPRACTICE AND BREACH




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 1
               Plaintiff incorporates the allegations of paragraph 1-33.
 2
                                                       34.
 3
               Plaintiff tendered the very clear failure of Brandsness to file a Motion to Compel and
 4
     Motion to Dismiss.
 5
                                                       35.
 6
               The Oregon State Bar PLF refused to repair and refused cover the malpractice by
 7
     Brandsness and that coverage has a direct impact on whether there should have been a jury trial
 8
     involving Rote as a defendant. Both Brandsness and the PLF refused to refund legal fees paid by
 9
     Rote and the corporate defendants. Both Brandsness and the PLF refused to cover the jury award, if
10
     any.
11
                                                       36.
12
               Rote files a Motion For Summary Judgment on the Arbitration Agreement in the Zweizig
13
     contract and the court has refused to follow the precedent that this issue was resolved in a court
14
     proceeding in New Jersey in 2005. The contract with Zweizig was upheld in its entirety.
15

16                                     FOURTH CLAIM FOR RELIEF
17    (Breach of Implied Covenant of Good Faith against Defendants Brandsness, Bernick, Stendahl and
18                                           Oregon State Bar PLF)
19                                                     37.
20             Plaintiff incorporates the allegations of paragraph 1-36.

21                                                     38.
22             The Oregon State Bar PLF (PLF) serves a dual purpose, to protect the public from
23   malpractice and to protect attorneys from malpractice costs (cost sharing) under a standard insurance
24   coverage theory.

25                                                     39.
26             The PLF had adopted a sue us position in submitting claims, daring the public claimant to
27   file a lawsuit, forcing them to find counsel and pay even more legal fees. As citizens we would not

28   tolerate this behavior of an insurance company under the jurisdiction of the Oregon Insurance

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                        PLAINTIFF ACTION FOR DEFAMATION, MALPRACTICE AND BREACH




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 1
       Commission.
 2
                                                          40.
 3
                  The PLF is not subject to the jurisdiction of the Oregon Insurance Commission. The PLF is
 4
       in fact a captive insurance company that has not been forced to pay out a minimum number of claims
 5
       and in fact pays 5 times more for defense than it does in claims.
 6
                                                          41.
 7
                  The PLF no longer has an annual audit done. The PLF no longer publishes its annual
 8
       financial statements. As of this date, based on the financial information the plaintiff has been able to
 9
       acquire, the PLF generates annually $25 Million in gross premiums, pay about $2.5 Million in
10
       claims, $10 Million in defense through outside counsel, $7.5 Million in administration and makes $5
11
       Million in net income. The PLF pays no tax on its net income and now has a war chest of over $60
12
       Million.
13
                                                          42.
14                Carol Bernick, CEO, was scheduled to be a witness in the 3:15-CV-2401 case. Instead of
15     communicating with defendant Rote, she conspired with Christiansen to avoid having to testify.
16     Through that series of communications it was clear that the PLF was assisting Christiansen with his
17     case against Rote, crossing the line to advocate for a party.

18                                                        43.

19                Bernick, in representing the PLF and advocating for a party in which the PLF had no

20     interest showcases the unrestrained abuses of the PLF. Rote has long advocated through his blog and

21     publicly that the PLF is denying claims not based on the merits of the malpractice, but in retaliation

22     against parties like plaintiff Rote who raise community awareness of the PLF’s failures to perform, to

23     disclose and to pay out on claims. Rote has also argued publicly that the PLF has engaged the Chief

24     Judges of the TRI-County area to assign cases against attorneys to protem Judges with conflicts.

25                                                        44.
26                Protem Judges have undisclosed conflicts that arise from their firms representation of

27     attorneys accused of malpractice. Case in point, Skip Winters served as a judge protem on

28     16CV07564 wherein the PLF represented parties Christiansen and Marshall. Winters firm, Body

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                         PLAINTIFF ACTION FOR DEFAMATION, MALPRACTICE AND BREACH




     Rote v. Marshall                                                         Exhibit 2 - Part 1, Page 29 of 351
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 1
        Feltmount performs a lot of work with the PLF. Winters did not step down. The PLF counsel did not
 2
        disclose this conflict to me. Bernick knew of the conflict.
 3
                                                           45.
 4
                 The PLF staff attorney adjudicating the claim against Brandsness is Pam Stengahl, a former
 5
        partner at BodyFelt Mount. Pam has denied the malpractice claim without justiication. Bernick has
 6
        not reversed Stengahl’s decision.
 7

 8
                                             FIFTH CLAIM FOR RELIEF
 9
                          Oregon Civil Racketeer Influenced and Corrupt Organizations Act
10
                                                (Against All Defendants)
11
                                                           46.
12
                 Plaintiff incorporates the allegations of paragraph 1-45.
13
                                        Count 1 – Violation of ORS 166.720(2)
14                                                         47.
15               Plaintiff alleges that the Defendants individually and collectively engaged in racketeering
16      activity by means to commit, to attempt to commit, to conspire to commit, or to solicit, coerce or
17      intimidate another person to commit bribery, perjury, obstructing judicial administration, presenting
18      false evidence, spoliation of evidence, unsworn falsification & perverting the course of justice.
19                                                         48.
20               The PLF indirectly and directly acquired and maintained control of the enterprise through a
21      pattern of racketeering activity by committing or attempting to commit the crimes of bribery (ORS
22      162.015 & 162.025), perjury (ORS 162.065), unsworn falsification (ORS 162.085), obstructing
23      judicial administration (ORS 162.235) (to include witness tampering, spoliation, false evidence and
24      perverting the course of justice) and Coercion (ORS 163.275). The incidents alleged are not isolated.

25                                                         49.
26               Defendants’ actions were willful, wanton, malicious, oppressive and fraudulent, and a
27      conscious disregard of Oregon law resulting in injury to Rote and entitling Rote to punitive and

28      exemplary damages. These acts were committed with the knowledge and consent of Defendants’ or

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                         PLAINTIFF ACTION FOR DEFAMATION, MALPRACTICE AND BREACH




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 1
       were ratified by Defendants after the fact.
 2
                                                          50.
 3
                 The organization and PLF enjoys unfettered opportunity. They do not publish financial
 4
       statements, do not engage an outside auditor, engage firms where partners serve as judges protem,
 5
       pay out little in claims and pay no income tax on the spoils.
 6
                                       Count 2 – Violation of ORS 166.720(3)
 7
                                                          51.
 8
                 Bernick, the PLF & John Doess have operated continuously as an associated-in-fact
 9
       enterprise since before 2010 to present, as described above. The common purpose of this enterprise is
10
       to subvert the civil litigation process, extracting judgments and sharing the spoils. This enterprise is
11
       organized and executed through the PLF, the Oregon State Bar and employ others to also participate
12
       in the enterprise. Christiansen, Marshall and Brandsness have joined the enterprises and are co-
13
       conspirators. Christiansen was specifically induced or voluntarily engaged in preparing a false
14
       declaration.
15                                                        52.
16               The Defendants, John Does and their employees participated in the enterprise through a
17     pattern of racketeering activity by committing or attempting to commit the crimes of bribery (ORS
18     162.015 & 162.025), perjury (ORS 162.065), unsworn falsification (ORS 162.085), obstructing
19     judicial administration (ORS 162.235, to include witness tampering, spoliation, false evidence and
20     perverting the course of justice) and Coercion (ORS 163.275).
21                                                        53.
22               Defendants’ actions were willful, wanton, malicious, oppressive and fraudulent, and a
23     conscious disregard of Oregon law resulting in injury to Rote and entitling Rote to punitive and
24     exemplary damages. These acts were committed with the knowledge and consent of Defendants or
25     were ratified by Defendants after the fact.
26                                                        54.
27               For the violations of ORS 166.720(3) by Defendants, Rote is requesting three fold the
28     special damages sustained in an amount to be determined at trial for the costs and time associated

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                        PLAINTIFF ACTION FOR DEFAMATION, MALPRACTICE AND BREACH




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 1
       with the last 15 years of this litigation or in the alternative three fold the damages pursuant to ORS
 2
       166.725(7), an amount to be determined at trial, plus punitive damages.
 3

 4
                                             SIXTH CLAIM FOR RELIEF
 5
                                       Intentional Infliction of Emotional Distress
 6
                                                (Against All Defendants)
 7
                                                           55.
 8
                 Plaintiff incorporates the allegations of paragraph 1-54.
 9
                                                           56.
10
                 As a further proximate result of Defendants’ wrongful conduct, Rote has suffered, and will
11
       continue to suffer, emotional distress, pain and suffering, mental anguish, and embarrassment, all in
12
       an amount not yet calculated, but reasonably believed to exceed the jurisdictional minimum of this
13
       court. Rote will seek leave of the court to plead the true amount of his damages once they are fully
14
       ascertained.
15
                                                           57.
16
                 Defendants’ actions were willful, wanton, malicious, oppressive and fraudulent, and a
17
       conscious disregard of Oregon law resulting in injury to Rote and entitling Rote to punitive and
18
       exemplary damages. These acts were committed with the knowledge and consent of Defendants’ or
19
       were ratified by Defendants after the fact.
20

21
                                           SEVENTH CLAIM FOR RELIEF
22
                                                        FRAUD
23
                         (Against Marshall, Christiansen, Bernick, Kalmanson and Jane Doe)
24
                                                           58.
25
                        Plaintiff incorporates the allegations of paragraph 1-57.
26
                                                           59.
27
       Defendants Marshall, Christiansen, Kalmanson and Bernick were well aware that the assertions made
28
       by these parties in case 16CV07564 to secure an anti-SLAPP Motion to Strike dismissal of the case

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                         PLAINTIFF ACTION FOR DEFAMATION, MALPRACTICE AND BREACH




     Rote v. Marshall                                                          Exhibit 2 - Part 1, Page 32 of 351
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 1
       were untruth and constituted perjury before the court.
 2
                                                          60.
 3
                  Anti-SLAPP Motions are dismissed without prejudice. Plaintiff is reasserting the
 4
       defamation claim, adding claims and seeking to recover those fees, non-economic and punitive
 5
       damages.
 6
                                                          61.
 7
                  Jane Doe was the court reporter in Federal Case 3:15CV2401. This case is under appeal.
 8
       Jane Doe prepared a partial transcript of the jury trial. She has knowingly removed and modified
 9     statements made by opposing counsel Christiansen during open statements and closing statements
10     that are material to the appeal such as the annual income of the defendant in that case (Rote) asserted
11
       by Christiansen, those statements prejudicial when seeking non-economic damages. The false and
12     inappropriate assertions by Christiansen poisoned the jury. Jane Doe has refused to turn over copies
13     of the tapes of the hearing to another court reporter for review even with the purchase of the
14     transcript. A criminal complaint has been filed.
15                                                        62.
16                Christiansen has admitted to influencing defendant Jane Doe and has intimated that Jane
17     Doe and Christiansen have a personal relationship of some form. Plaintiff seeks discovery of the
18     relationship, the tapes and third party transcripts to compare to those prepared by Jane Doe. Damages
19     to be asserted at trial.
20                                                        63.
21                Co-conspirator Christiansen has, more than 5 times, with the publishing of Motions and
22     documents to the U.S. District Court of Oregon asked for prejudicial treatment and criminal misuse
23     of office. Christiansen can be prosecuted under 18 USC 201, 18 USC 1951, 18 USC 1343, 18 USC
24     1962 and State and Local Criminal Statutes for asking the court to set the facts aside and reward him
25     and the court with some benefit.
26

27

28


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                          PLAINTIFF ACTION FOR DEFAMATION, MALPRACTICE AND BREACH




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 1
     WHEREFORE, Rote prays for relief as follows:
 2
     1. For General and Economic damages in an amount not yet ascertained but to be established at trial,
 3
     but not less than $6,600,000;
 4
     2. For Special damages in an amount not yet ascertained, to be established at trial, but not less than
 5
     $45,000 for prior legal fee judgments procured by fraud;
 6
     3. For Noneconomic Damages to be established at Trial but not less than $2,000,000.
 7
     3. For Treble damages on the racketeering cause of action;
 8
     4. For Punitive damages on all causes of action;
 9   5. For Costs and attorneys’ fees as permitted by law;
10   6. For Prejudgment interest as otherwise authorized by law; and
11
     For such other and further relief as the Court may deem just and proper.
12

13

14   DATED: December 5, 2018

15
                                                                      /s/ Timothy C. Rote
                                                                        Timothy C. Rote
16
                                                                        Pro Se
                                                                        24790 SW Big Fir Rd.
17
                                                                        West Linn, OR 97068
                                                                        (503) 702-7225
18

19

20

21

22

23

24

25

26

27

28


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                      PLAINTIFF ACTION FOR DEFAMATION, MALPRACTICE AND BREACH




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 1

 2

 3                                   CERTIFICATE OF SERVICE
 4

 5       I hereby certify that I served the Plaintiff’s Amended Complaint on:

 6           STEPHEN VOORHEES
             (BERNICK, PLF, STENDAHL)
 7
             732 NW 19T H AVE.
 8           PORTLAND, OR 97209
             503-224-0055
 9           Email to: SVOORHEES@KILMERLAW.COM
10          MATT KALMANSON
11          (Christiansen, Marshall, Kalmanson)
            HART WAGNER
12          PORTLAND, OR 97205
            503-222-4499
13          Email to: MJK@HARTWAGNER.COM
14

15

16       [X] Via First Class Mail
17
         [X] Via Email
18
         [ ] Via Hand Delivery
19
         [ ] Via ECF Notification (Federal)
20

21       [X] Via OECF Notification

22                 DATED: December 4, 2018
23

24
                                                      /s/ Timothy C. Rote
25
                                                      Timothy C. Rote
26
                                                      tim@rote-enterprises.com
27                                                    Pro se

28


                                               - 14 -
                      PLAINTIFF ACTION FOR DEFAMATION, MALPRACTICE AND BREACH




Rote v. Marshall                                                      Exhibit 2 - Part 1, Page 35 of 351
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                                             12/17/2018 2:22 PM
                                                 18CV45257


   1   Timothy C. Rote
       24790 SW Big Fir Rd.
   2
       West Linn, OR 97068
   3   503.702.7225
       Timothy.rote@gmail.com
   4

   5                      IN THE CIRCUIT COURT OF THE STATE OF OREGON
   6
                                   FOR THE COUNTY OF CLACKAMAS
   7
       TIMOTHY C. ROTE,                                   Case No.: 18CV45257
   8
                      Plaintiff,
   9

       vs.                                                DECLARATION AND SUPPORTING
  10
                                                          EXHIBITS
  11   LINDA MARSHALL, ET. AL.
  12                  Defendants
  13

  14
              I, TIMOTHY ROTE, do hereby declare:
  15

  16

  17          1.      I represent myself in the above-captioned case. I make this declaration on

  18    personal knowledge and am competent to testify to the matters stated herein.

  19          2.      Attached hereto as Ex 1 is Joel Christiansen’s Declaration in Federal Court
  20    wherein he commits perjury by omission. The omissions were the statements actually made as
  21    evidenced in Ex 3. Christiansen used that Declaration to secure an anti-SLAPP Motion to
  22    Strike in Clackamas County and the U.S. District Court of Oregon. Defendants Marshall,

  23    Christiansen, Kalmanson, Bernick and the PLF all knew the declaration omitted material

  24    statements that each had a duty to disclose to the court, but did not intervene or correct the

  25    knowingly false declaration.

  26          3.      Attached hereto as Ex 2 is a Declaration by Matt Kalmanson, then counsel to

       DECLARATION AND SUPPORTING EXHIBITS - 1




Rote v. Marshall                                                        Exhibit 2 - Part 1, Page 36 of 351
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   1    Marshall and Christiansen. Kalmanson was hired by the PLF. The Declaration is a transparent
   2    request for the abuse of a public office in favor of defendants Christiansen and Marshall.
   3    Soliciting the abuse of office is a felony. Specifically, Kalmanson asks the court to grant an
   4    anti-SLAPP motion to strike because of several unrelated hearings involving plaintiff Rote.

   5          4.      Attached hereto as Ex 3 is evidence of the statements made by Christiansen and

   6    Marshall to a deputy clerk of the U.S. District Court of Oregon, to the U.S. Marshals Service

   7    and to others not yet identified. This evidence was acquired and discovered on October 14,

   8    2106, via Subpoena and Freedom of Information Act requests to the U.S. Marshals Service. A

   9    portion of those statements claim that Rote engaged in (1) fraudulent transfers; (2) is unstable;

  10    (3) intimated that Rote was arrested and convicted for domestic violence; and (4) claimed that

  11    plaintiff was going to attack Judge Robert E. Jones at his lifetime achievement award dinner.

  12          5.      Attached hereto as Ex 4 is a transcript of a hearing in the U.S. District Court of

  13    Oregon in 2001 wherein Robert E. Jones recused himself after a jury trial. Marshall and

  14    Christiansen have repeatedly filed this transcript asking the court to set aside the facts of the

  15    case and find in their favor, as an act of retribution. Kalmanson also filed the transcript in case

  16    16CV07564 and in so doing asked the Clackamas County court to set the facts aside and find

  17    for his clients. This transcript was first submitted to the New Jersey Federal Court

  18    (nefariously) in a meeting between Kugler’s law clerk and Sandra Ware (Zweizig’s girlfriend

  19    and New Jersey attorney). Plaintiff’s position is that Ex 4 and Ex 5 were filed in Clackamas

  20    County to seek criminal abuse of office and to deflect the courts attention away from the fact

  21    that defendants’ client Zweizig downloaded porn on rape, sodomy, brother to brother sex,

  22    sister to sister sex and other child pornography. See Ex 6.

  23          6.      Attached hereto as Ex 5 is an order to show cause in 2005 in the United States

  24    District Court, District of New Jersey Case Max Zweizig v. Timothy C. Rote, et al, Case No.

  25    04-2025. Kalmanson filed this in case 16CV07564 and in so doing asked the court to ignore

  26    the facts and act prejudicially. The show cause hearing arose because Rote notified Judge

       DECLARATION AND SUPPORTING EXHIBITS - 2




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   1    Kugler that his law clerk had met privately with the girlfriend of the opposing party (Zweizig)
   2    in that action. Zweizig’s girlfriend, Sandra Ware, went to Rutgers Law with the law clerk and
   3    provided to him a copy of Ex 4 asking of Judge Kugler that he engage in felony abuse of
   4    office. And Kugler did by rejecting the Zweizig case transfer to Federal Court, with prejudice,
   5    and sending the case back to New Jersey State Court. The U.S. Attorneys office was in
   6    attendance at the show cause hearing and opened an investigation on the clerk immediately
   7    thereafter. After the hearing Kugler met with Rote’s counsel in Chambers and agreed to no
   8    longer abuse his office in this manner and plaintiff Rote agreed to not press his complaint to
   9    the 3rd Circuit. The clerk was removed shortly thereafter. Plaintiff was not held in contempt
  10    and the U.S. Attorneys office categorically refused to press any charge against Rote for
  11    notifying Kugler that Kugler’s clerk met nefariously with Sandra Ware and may be engaged in
  12    a relationship with her. The forensic report filed as Ex 6 shows that Zweizig downloaded porn
  13    using a peer to peer program, subjecting his employer to malware and ransomware. The porn
  14    saved on the hard drive by Zweizig references rape, young teens, brother to brother sex, sister
  15    to sister sex and a range of other interests. The law clerk has never denied meeting with
  16    Sandra Ware. Sandra Ware has never denied meeting with the law clerk.
  17          7.      Attached hereto as Ex 6 is a Forensics Report provided to Judge Kugler as an
  18    attachment to a letter delivered to him detailing the ex-parte contact between his clerk and
  19    Sandra Ware (a New Jersey Attorney). The forensic report shows that Sandra Ware’s house
  20    partner, Max Zweizig, downloaded Movies and Music (which were copyright violations),
  21    downloaded porn, stole confidential customer information owned by his employer’s clients (to
  22    sell), compiled and ultimately destroyed software programs owned by his employer, all of this
  23    to a business hard drive Zweizig maintained had crashed and was permanently destroyed. The
  24    porn found appeared to be child porn and a criminal complaint was filed against Zweizig in
  25    New Jersey. Marshall and Christiansen knowingly made the defamation per se statements
  26    regarding plaintiff in retaliation for Rote publishing the forensic reports. Three forensic

       DECLARATION AND SUPPORTING EXHIBITS - 3




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   1    experts evaluated the Zweizig hard drive and all three found that Zweizig had downloaded the
   2    material previously referenced and he was the only person to ever use that hard drive. All
   3    three forensic experts concluded Zweizig reformatted this hard drive to destroy evidence. Ex 6
   4    is but one of ten Computer Forensic Reports generated for an arbitration hearing. Ex 6 was
   5    turned over to law enforcement in Woodbury New Jersey.
   6          8.      Examples of Ex 6 named files are:
   7                  A. “Older Muscle Guy Fucks Young Twink”;
   8                  B. “older sisters get lesbian with little sister”;
   9                  C. “Older teen kisses, sucks and fucks hairless brother”; and

  10                  D. “Let daddy do it”.

  11                  And the list goes on. This is a matter of public concern as Zweizig teaches guitar

  12                  lesson to children in his home.

  13          9.      Attached hereto as Ex 7 is a Statement provided by Greg Rote confirming that

  14    the emails he wrote to Zweizig and provided by Kalmanson were rash and stupid lies sent in

  15    retaliation for a separate legal action involving Greg Rote and plaintiff Rote. Marshall and

  16    Christiansen knew the emails had been retracted before Kalmanson filed the exhibit

  17    requesting felony abuse of office. Plaintiff does not know if Kalmanson was informed and

  18    knowingly filed the emails or was duped by Christiansen and Marshall.

  19          10.     Attached hereto as Ex 8 is an email provided by Jeffrey Hasson, confirming that

  20    his conversation with the U.S. Marshals service was about the safety of Judge Jones and

  21    whether plaintiff was a threat to the Judge. The U.S. Marshals Service did not convey who

  22    filed the complaint.

  23          11.     Plaintiff has subsequently met with Judge Jones to address the false statements

  24    made by Christiansen, Marshall and Kalmanson and to assure Judge Jones that he was not

  25    threatened. Judge Jones was very pleasant and invited the plaintiff into his home.

  26          12.     Attached hereto as Ex 9 are emails to Carol Bernick wherein plaintiff Rote

       DECLARATION AND SUPPORTING EXHIBITS - 4




Rote v. Marshall                                                           Exhibit 2 - Part 1, Page 39 of 351
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   1    repeatedly asked Bernick and the PLF to intervene and stop the perjury committed by
   2    Christiansen, Marshall and Kalmanson in the 16CV07564 case. She refused to do so.
   3           13.    Attached hereto as Ex 10 are emails to Pam Stendahl and John Berge, Claims
   4    attorneys for the PLF, requesting coverage for malpractice. The PLF requires a Form be filled
   5    out and those documents will be provided in discovery. There are multiple malpractice claims
   6    and Motion failures.

   7           14.    Attached hereto as Ex 11 are denial letters from the PLF, refusing to cover the

   8    malpractice by Brandsness. The court in case 3:15-CV-2401 specifically found that the

   9    defendants had engaged in this case too long before filing a Motion to Compel arbitration. The

  10    question of whether the U.S. District Court had jurisdiction to proceed with this case is under

  11    appeal. Brandsness refused to continue representation once Plaintiff discovered and informed

  12    him of failure to file a motion to compel. The PLF specifically refused to hire counsel to

  13    repair in this matter, to hire counsel for the appeal or pay for the appeal. The minimum

  14    amount of the judgment is $500,000 plus interest. Christiansen’s many acts of perjury also

  15    represent an appealable issue on prejudice.

  16           15.    Attached hereto as Ex 12 are emails to Carol Bernick from plaintiff attempting

  17    to arrange testimony in case 3:15-CV-2401. In response, Bernick sent opposing counsel

  18    Christiansen a confidential email in an effort to not testify. The court did not permit Bernick to

  19    testify.

  20           16.    Attached hereto as Ex 13 is a list of Body Feltmount’s clients directly from that

  21    firm’s Website showing the OSB Professional Liability Fund as a client. Pro-tem Judge Skip

  22    Winters, a partner with Body Feltmount considered the anti-SLAPP Motion to Strike by

  23    Kalmanson. Winters, Kalmanson, Bernick, OSB PLF, Marshall and Christiansen did not

  24    disclose their knowledge that Winters had a conflict and should have recused himself from

  25    considering this matter.

  26           17.    Attached hereto as Ex 14 is a Motion For Sanctions against Christiansen.

       DECLARATION AND SUPPORTING EXHIBITS - 5




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   1    Specific Defendants CLIENT MAX ZWEIZIG first conspired to benefit from the felony of
   2    abuse of a public office in 2005 with the filing of Ex 4 with JUDGE ROBERT KUGLER.
   3    Defendants have continued to file Ex 4 and Ex 5 since that time, the latest just weeks ago in
   4    U.S. District Court Case 3:15-CV-2401, Doc #243-12 and #243-13. Defendants have
   5    collectively filed Ex 4 and Ex 5 in litigation involving the plaintiff, or a company he owned, in
   6    New Jersey Federal Court (nefarious), New Jersey State Court (ex-parte), Denver State Court
   7    (nefarious), Oregon Federal Court, Oregon Arbitration, Clackamas County Circuit Court and
   8    the Oregon Court of Appeals. Christiansen filing Ex 4 and Ex 5 after the trial as well as a blog
   9    posts published by Rote is an admission by defendant that he received preferential treatment
  10    during the trial and is seeking it again on post-trial motions.
  11          18.     Defendants have been effective in calling on the court to engage in criminal
  12    misconduct. Defendant’s request of the courts to commit a felony is also a felony. Kugler
  13    dismissed the diversity transfer with prejudice and concealed the nefarious meeting with his
  14    clerk and Ware. Kugler used the show cause hearing as an attempt to restrain Rote from
  15    publishing the meeting between the clerk and Sandra Ware. Arbitrator Crow concealed his
  16    referral of Zweizig to his former partner (Marshall) and refused to consider 2000 documents,
  17    the testimony of ten witnesses and three computer forensic experts. Crow specifically
  18    acknowledged receiving and considering Ex 4 and Ex 5. Judge Papak confirmed the award in
  19    spite of Crow recusing himself from the arbitration and returning to the case only to refuse to
  20    consider plaintiff Rote’s aforementioned evidence, also receiving a copy of Ex 4 and Ex 5.
  21    Judge Hernandez did not allow the forensic reports in as evidence for a jury to consider under
  22    a re-litigation ruling but did allow an uncorroborated letter Kugler (which was subject to the
  23    same re-litigation theory) to be presented to a jury. Judge Hernandez allowed Christiansen to
  24    tell the jury, without instruction to ignore, that Rote should be punished (on a non-economic
  25    damage claim) claiming that Rote makes $4 Million a year, that his client should be
  26    compensated for Rote challenging Kugler concealment of his clerks nefarious contact with

       DECLARATION AND SUPPORTING EXHIBITS - 6




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   1    Ware, publishing the forensic report to Kugler (Crow specifically refused to award damages)
   2    and filing a complaint with the third circuit. Christiansen told five other lies to the jury
   3    without specific instruction by the court to ignore. The trial was a sham. A juror accosted Rote
   4    after the trial referencing the jury’s punishment based on Christiansen’s knowingly inaccurate
   5    and prejudicial misrepresentation of Rote’s income.
   6          19.      Marshall and Christiansen represented Max Zweizig in various fake retaliation
   7    claims. Kalmanson represented Marshall and Christiansen in a prior defamation lawsuit in
   8    Clackamas County. Why the PLF decided to represent Marshall and Christiansen is unknown
   9    and is a question that will be answered at some point in this litigation. Bernick, Stendahl and

  10    the PLF have engaged in several acts of retaliation against plaintiff for filing the 16CV07564

  11    lawsuit and for publishing articles about the PLF, including articles on financial irregularities

  12    identified in the PLF’s annual financial statements. The refusal to cover malpractice is one of

  13    those acts of retaliation.

  14          20.      There are numerous investigations underway by major news organizations

  15    stemming from a core base of evidence discovered by plaintiff. That evidence includes

  16    insurance and tax fraud. The Oregon State Bar Professional Liability Fund is a captive

  17    insurance company. As such it should not be a tax-exempt organization under the Oregon

  18    Department of Justice via the Oregon State Bar. In the past the PLF produced annual financial

  19    statements, published as an agency under the Oregon Department of Justice. However, that

  20    practice stopped more than six years ago and the ODJ no longer even reviews the PLF

  21    financials to ensure compliance with Oregon Law. Moreover, the PLF no longer engages an

  22    outside CPA firm to audit and opine on its financial statements. The fox is in charge of the

  23    henhouse as it were. Plaintiff has published these concerns and the PLF has retaliated by not

  24    covering the malpractice claims, assisting counsel in an unrelated case and hiring counsel to

  25    represent Marshall and Christiansen on a defamation defense clearly not covered under the

  26    attorneys’ malpractice policy.

       DECLARATION AND SUPPORTING EXHIBITS - 7




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  1          21.     The PLF pays less than 10% of its annual gross revenue of $25 Million on
  2    claims. Evaluated as an insurance provider, it would be in violation of the law for paying too
  3    little out in claims if it was under the jurisdiction of the Oregon Insurance Commission.
  4    Plaintiff ‘s operating theory is that some of the PLF’s substantial resources is making its way

  5    into the pockets of our Judiciary and some of the money is being used to promote the political

  6    agenda of the Democratic Party of Oregon. Some of the money goes to recruiting and

  7    supporting judicial candidates. This fraud ensures the PLF’s extraordinary success in court on

  8    malpractice claims.

  9          22.     The PLF also appears to have some connection to the Oregon Cannabis Industry,

 10    as a promoter and investor. Both activities violate Oregon Law and should result in the PLF

 11    being shutdown, the $50 Million in assets secured by the Oregon Department of Justice and

 12    managed over a liquidation period of no more than six years. In the event the ODJ is

 13    complicit and implicated in the crimes being committed by the PLF, the U.S. Department of

 14    Justice should intervene and take control of this independently managed organization of the

 15    Oregon State Bar.

 16

 17   I HEREBY DECLARE THAT THE ABOVE STATEMENT IS TRUE TO THE BEST OF

 18   MY KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND IT IS MADE FOR USE
 19
      AS EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR PERJURY.
 20

 21

 22
                     Dated this 17th day of December, 2018
 23

 24
                                                       /s/ Timothy C. Rote
 25                                                    Timothy C. Rote, Pro Se
 26


      DECLARATION AND SUPPORTING EXHIBITS - 8




Rote v. Marshall                                                       Exhibit 2 - Part 1, Page 43 of 351
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     1                                   CERTIFICATE OF SERVICE
     2
              I hereby certify that I served the Plaintiff’s Declaration on:
     3
                   HART WAGNER LLP
     4             ATTN: MATT KALMANSON
                   COUNSEL FOR MARSHALL, CHRISTIANSEN,
     5             1000 SW BROADWAY, 20TH FLOOR
                   PORTLAND, OR 97205
     6             T: (503) 222-4499
     7
                   KILMER VOORHEES & LAURICK
     8             ATTN: STEPHEN VOORHEES
                   COUNSEL FOR BERNICK, PLF, STENDAHL
     9             732 NW 19TH AVENUE
                   PORTLAND, OR 97209
    10             T: (503) 244-0055
    11
                   MERSEREAU AND SHANNON
    12             ATTN: PETER MERSEREAU
                   COUNSEL FOR BRANDSNESS
    13             111 SW COLUMBIA STREET, SUITE 1100
                   PORTLAND, OR 97201
    14             T: (503) 226-6400
    15
                   DAVIS ROTHWELL
    16
                   ATTN: PAUL XOCHIHUA
                   COUNSEL FOR KALMANSON
    17             200 SOUTHWEST MARKET STREET, SUITE 1800
                   PORTLAND, OR 97201
    18             T: (503) 222-4422

    19

    20
              [X] Via First Class Mail

    21        [X] Via Email

    22        [X] Via OECF Notification
    23
                      DATED: December 17, 2018
    24

    25
                                                             /s/ Timothy C. Rote
    26                                                       Timothy C. Rote
                                                             Pro Se
          DECLARATION AND SUPPORTING EXHIBITS - 9




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                Joel Christiansen, OSB #080561
                VOGELE & thCHRISTIANSEN
                812 NW 17 Avenue
                Portland, OR 97209
                T: (503) 841-6722
                E: joel@oremploymentlawyer.com

                Attorney for Plaintiff


                                         IN THE UNITED STATES DISTRICT COURT
                                              FOR THE DISTRICT OF OREGON
                                                     PORTLAND DIVISION

                 MAX ZWEIZIG,                                        Case No. 3:15-cv-02401-HZ

                                                 Plaintiff,          DECLARATION OF JOEL
                                                                     CHRISTIANSEN IN SUPPORT OF
                          v.                                         PLAINTIFF'S SPECIAL MOTION TO
                                                                     STRIKE
                 TIMOTHY C. ROTE, a citizen of the
                 state of Oregon, NORTHWEST DIRECT
                 TELESERVICES, INC., an Oregon for-
                 profit corporation, NORTHWEST
                 DIRECT MARKETING OF OREGON,
                 INC., an Oregon for-profit corporation,
                 NORTHWEST DIRECT MARKETING,
                 INC., an Oregon for-profit corporation,
                 NORTHWEST DIRECT OF IOWA,
                 INC., an Iowa for-profit corporation,
                 ROTE ENTERPRISES, LLC, an Oregon
                 limited liability company, NORTHWEST
                 DIRECT MARKETING, INC., aka
                 Northwest Direct Marketing (Delaware),
                 Inc., a Delaware Corporation, and DOES 1
                 through 5,

                                                 Defendants.


                         I, Joel Christiansen, hereby declare:
                         1.     I represent the plaintiff in the above-captioned case. I make this declaration on
                personal knowledge and am competent to testify to the matters stated herein.


                Page 1 of 3 - DECLARATION OF JOEL CHRISTIANSEN IN SUPPORT OF PLAINTIFF'S
                SPECIAL MOTION TO STRIKE

                                                          Exhibit 1 page 1
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                         2.    I attempted to confer with Defendant Timothy C. Rote ("Rote") before filing
                this motion. As of filing, the parties have not been able to resolve their dispute.
                         3.    Attached hereto as EXHIBIT 1 is a true and accurate copy of a web page titled
                "About" from Rote's Sitting Duck Portland website,
                https://sittingduckportland.wordpress.com/about/.
                         4.    Attached hereto as EXHIBIT 2 is a true and accurate copy of Chapter 1 of
                Rote's Sitting Duck Portland website, https://sittingduckportland.wordpress.com/2015/02/.
                         5.    Attached hereto as EXHIBIT 3 is a true and accurate copy of Chapter 19 of
                Rote's Sitting Duck Portland website,
                https://sittingduckportland.wordpress.com/2015/11/12/chapter-19-are-arbitrators-above-the-
                law/. After reviewing Rote's comments contained in Chapter 19, Linda Marshall (Plaintiff's
                counsel in another matter) and I contacted Judge Jones' courtroom deputy and informed the
                court of Rote's publication concerning Judge Jones, which: (1) identified Judge Jones'
                physical location at a specific time and location to receive a lifetime achievement award, (2)
                evidenced Rote's belief that there would be media presence at the event, and (3) commented
                that "[p]erhaps more often than not our legacies are not what we wanted them to be."
                         6.    Attached hereto as EXHIBIT 4 is a true and accurate copy of the transcript
                from the March 18, 2001 Status Conference in the United States District Court, District of
                Oregon Case Jones v. North West Telemarketing, Inc., Case No. CV 99-990.
                         7.    Attached hereto as EXHIBIT 5 is a true and accurate copy of the Order to
                Show Cause in the United States District Court, District of New Jersey Case Max Zweizig v.
                Timothy C. Rote, et al, Case No. 04-2025.
                         8.    Attached hereto as EXHIBIT 6 is a true and accurate copy of January and
                October 2008 email messages from Greg Rote to Max Zweizig.
                         Dated: May 9, 2016

                                                                            /s/ Joel Christiansen
                                                                            Joel Christiansen, OSB #080561
                                                                            Of Attorneys for Plaintiff


                Page 2 of 3 - DECLARATION OF JOEL CHRISTIANSEN IN SUPPORT OF PLAINTIFF'S
                SPECIAL MOTION TO STRIKE

                                                         Exhibit 1 page 2
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                                                CERTIFICATE OF SERVICE

                I hereby certify that I served the foregoing DECLARATION OF JOEL CHRISTIANSEN IN
                SUPPORT OF PLAINTIFF'S SPECIAL MOTION TO STRIKE on:

                         Timothy Rote
                         24790 SW Big Fir Rd.
                         West Linn, OR 97068
                         Pro Se Defendant

                         Andrew C. Brandsness
                         BRANDSNESS, BRANDSNESS & RUDD, P.C.
                         411 Pine Street
                         Klamath Falls, OR 97601
                         Of Attorneys for Defendants Northwest Direct Teleservices, Inc.; Northwest Direct
                         Marketing of Oregon, Inc.; Northwest Direct Marketing, Inc.; Northwest Direct of
                         Iowa, Inc.; Rote Enterprises, LLC; Northwest Direct Marketing, Inc. aka Northwest
                         Direct Marketing (Delaware), Inc.

                through the Court's electronic filing system on May 9, 2016.

                                                              /s/ Joel Christiansen
                                                              Joel Christiansen, OSB #080561
                                                              Of Attorneys for Plaintiff




                Page 3 of 3 - DECLARATION OF JOEL CHRISTIANSEN IN SUPPORT OF PLAINTIFF'S
                SPECIAL MOTION TO STRIKE

                                                       Exhibit 1 page 3
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18CV45257




        1
       2

       3
       4                      IN THE CIRCUIT COURT OF THE STATE OF OREGON
                                     FOR THE COUNTY OF CLACKAMAS
       5
             TIMOTHY C. ROTE,                   )               Case No. 16CV07564
       6                                        )
                  Plaintiff,                    )
       7                                        )               DECLARATION OF MATTHEW
                  v.                            )               KAMLANSON IN SUPPORT OF
       8                                        )               DEFENDANTS LINDA L. MARSHALL
             LINDA MARSHALL, JOEL CHRISTIANSEN, )               AND JOEL CHRISTIANSEN’S ANTI-
       9     OREGON STATE BAR, JOHN DOES (1-5), )               SLAPP MOTION
                                                )
      10          Defendants.                   )
                                                )
      11                                        )
      12     I, Matthew Kalmanson, being first duly sworn, depose and say:

      13            1.     I make this declaration based on my personal knowledge and am competent to

      14                   testify to the matters herein.

      15            2.     I am one of the attorneys for defendants.

      16            3.     Attached hereto as Exhibit 1 is the Complaint in the United States District Court,

      17                   District of Oregon Case Max Zweizig v. Timothy C. Rote, et al, Case No. 3:15-cv-

      18                   2401.

      19            4.     Attached hereto as Exhibit 2 is a true and accurate copy of the April 5, 2011

      20                   Arbitration Order and Award in Northwest Direct Teleservices, Inc. v. Max

      21                   Zweizig, ASP No. 050511-1.

      22            5.     Attached hereto as Exhibit 3 is the Complaint in the United States District Court,

      23                   District of Oregon Case Max Zweizig v. Timothy C. Rote, et al, Case No. 3:2014-

      24                   cv-00406.

      25            6.     Attached hereto as Exhibit 4 is a true and accurate copy of "About" from

      26                   Plaintiff's Blog, https://sittingduckportland.wordpress.com/about/.

      Page 1 – DECLARATION OF MATTHEW KALMANSON IN                                       HART WAGNER LLP
                                                                                             Trial Attorneys
               SUPPORT OF DEFENDANTS LINDA L.                                     1000 S.W. Broadway, Twentieth Floor
               MARSHALL AND JOEL CHRISTIANSEN’S ANTI-                                    Portland, Oregon 97205
               SLAPP MOTION                                                             Telephone: (503) 222-4499
                                                                                           Fax:(503) 222-2301
                                                             Ex.2 page1
    Rote v. Marshall                                                      Exhibit 2 - Part 1, Page 48 of 351
    3:19-cv-00082
            Case 3:19-cv-00082-MO         Document 1-2          Filed 01/16/19     Page 49 of 351

18CV45257




        1          7.     Attached hereto as Exhibit 5 is a true and accurate copy of Chapter 1 of Plaintiff's

       2                  Blog, https://sittingduckportland.wordpress.com/2015/02/.

       3           8.     Attached hereto as Exhibit 6 is a true and accurate copy of Chapter 19 of

       4                  Plaintiff's Blog, https://sittingduckportland.wordpress.com/2015/11/12/chapter-

       5                  19-are-arbitrators-above-the-law/.

       6           9.     Attached hereto as Exhibit 7 is a true and accurate copy of the transcript from the

       7                  March 18, 2001 Status Conference in the United States District Court, District of

       8                  Oregon Case Jones v. North West Telemarketing, Inc., Case No. CV 99-990.

       9           10.    Attached hereto as Exhibit 8 is a true and accurate copy of the Order to Show

      10                  Cause in the United States District Court, District of New Jersey Case Max

      11                  Zweizig v. Timothy C. Rote, et al, Case No. 04-2025.

      12           11.    Attached hereto as Exhibit 9 is a true and accurate copy of a January and October

      13                  2008 e-mail from Greg Rote to Max Zweizig.

      14           I HEREBY DECLARE THAT THE ABOVE STATEMENT IS TRUE TO THE

      15     BEST OF MY KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND IT IS MADE

      16     FOR USE AS EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR

      17     PERJURY.

      18           DATED this 26th day of April, 2016.
                                                               HART WAGNER LLP
      19
      20                                               By: /s/ Matthew Kalmanson
                                                           Matthew Kalmanson, OSB #041280
      21                                                   mjk@hartwagner.com
                                                           Carey Caldwell, OSB #093032
      22                                                   cpc@hartwagner.com
                                                           Of Attorneys for Defendants
      23
                                                               Trial Attorney: Matt Kalmanson , OSB #041280
      24

      25
      26

      Page 2 – DECLARATION OF MATTHEW KALMANSON IN                                       HART WAGNER LLP
                                                                                             Trial Attorneys
               SUPPORT OF DEFENDANTS LINDA L.                                     1000 S.W. Broadway, Twentieth Floor
               MARSHALL AND JOEL CHRISTIANSEN’S ANTI-                                    Portland, Oregon 97205
               SLAPP MOTION                                                             Telephone: (503) 222-4499
                                                                                           Fax:(503) 222-2301
                                                            Ex.2 page2
    Rote v. Marshall                                                      Exhibit 2 - Part 1, Page 49 of 351
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        1                                        CERTIFICATE OF SERVICE

        2              I hereby certify that on the 26th day of April, 2016, I served the foregoing

        3     DECLARATION OF MATTHEW KALMANSON IN SUPPORT OF DEFENDANTS

        4     LINDA L. MARSHALL AND JOEL CHRISTIANSEN’S ANTI-SLAPP MOTION, on the

        5     following party at the following address:

        6              Timothy Rote
                       24790 SW Big Fir Rd.
        7              West Linn, OR 97068
                             Defendant Pro Se
        8
                       Mark Johnson Roberts
        9              16037 SW Upper Boones Ferry Rd.
                       Tigard, OR 97281
      10                      Attorney for Defendant OSB
      11
              by e-mailing and mailing to him a true and correct copy thereof, certified by me as such, placed
      12
              in sealed envelope, addressed to him at the address set forth above, and deposited in the U.S.
      13
              Post Office at Portland, Oregon on said day with postage prepaid.
      14
      15                                                          /s/ Matther Kalmanson
                                                                  Matthew Kalmanson, OSB #041280
      16

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      18

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      20

      21
      22

      23
      24

      25
      26

       Page 1 – CERTIFICATE OF SERVICE                                                        HART WAGNER LLP
                                                                                                  Trial Attorneys
                                                                                       1000 S.W. Broadway, Twentieth Floor
                                                                                              Portland, Oregon 97205
                                                                                             Telephone: (503) 222-4499
                                                                                                Fax:(503) 222-2301

                                                                 Ex.2 page3
    Rote v. Marshall                                                          Exhibit 2 - Part 1, Page 50 of 351
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                                          TU THE UNITED STATES DISTRICT COURT

                       2                        FOR THE DISTRIG-k OF OREGCH

                       3   SEAll JCNMS,

                       4                      Plaintlff                    CV 9.5-9.90 JO

                       5             vs.                              )    March le, 2c02

                       6   NORTH WEST TELZMARÉtffle,                   1   rorLlend, Orte.n
                           INC.,
                       7
                                             Defendent.
                       a
                                              t'SANSGRTPT OV STATUS CONFEREUCE

                      10                   BEFOle Tm: HONORABLE, ROBERT E. eme

                      11                    UNITED ETATIS DISTRICT COURT JUDGE

                      12                                  APPPXRANCCS

                      13    POR 1:H2 PLAINTTFrI     A.E. BUD pAILEY
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                      14                            eloo s.w. Nybers, Road, suite 201
                                                    Tua:-Rtin, Or   97062-6438
                      15                            523 691-6267

                      16    FOR THE LYOPFXDANT:     JOHN W. WEI:
                            Northweet               Hooper Holland b We11 LLP
                      17                            1100 U.W. 6t1, Ave., Suite I5C7
                                                    Portland, Or 97201
                      le                            503 221-0309

                      19    FOR THE DE FENDANT:     EE1,5N BRUCE CRAMES
                            Rote                    Chumes & Cialeep
                      ZO                            29781 S.W. Town Conter Loop
                                                    Wilsonville, Or 5/U70
                      21                            un 682-8940

                      22
                            COURT REPORTER:     :Çasherines. Riemann, CSP, CPR, RISK
                      23                   1000 S.W. Third Ave., Room 301
                                           Portland, OR 91205 (5JJ) 326-8188
                      24
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                       4               THE COURT:      Al!                 Ure       here, eo what do

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        Rote v. Marshall                                                                          Exhibit 2 - Part 1, Page 51 of 351
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                       'a        a allow cause hearing, and then kind
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                       9         recycle, to terms or the discovery that

                      lc]                   -a.uae hearing.
                                 do the show.
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                      11                     And Nr. Weil and I talked about that

                                                                        we Mqht do.
                                 I think that's kind of what we thought

                                             MR. Ism/L:   I think that's co:rect.     And ?our
                      11
                                                                           the defendant
                      14         uonor, for the record. elaan, I represent

                       LS        Nortwest '7etemorketing from the oriQinel
                                                                           Darr...       And theft

                                                                  two corporate defendants,
                       16        heye been asked to roprevent the
                                                                           DirtCt
                       17        Northwest Dirrct of Sinters and Northwest
                                                                       t 2.11 three corporate
                       L         TelasciCaS, so I WOVIA ropres
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                                 dofendanes, .1.14 Mr. Chantal', the individual defenda

                       20        Mr. Rote.
                                                                                            ng
                       21                    r   believe that there are Rome issue? regardi

                                 servicti of process in this Cd5e.      We probably ovAlhr, Itc nave
                       22
                                                                  crikOtoza h:,11 and malybe
                       23        or opportunity to respond to the
                                                                                a:td have a
                       :44       file anme motions to get the pleadings tented.
                                                                             schadulo a trial
                       25         discovery schedule, with set-off, And then
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                            1     date on the unoerying claim.

                                             MR. cgmB51       I concur With that, your HOA5t.

                                                               to -- when Mr. Voll-idenxifi d e
                            3     had been asked by Mr. ROLF..
                                                                              and the companies
                            4     poterwcial cond.:ict between him personally

                                                            -- to represent him here,     To date,
                            5     that he's lao0;.ved

                                  ail X have, seed        rngusuL fox discovery by Mr, Bailey,

                                                                        as a matter of fact,
                                  which came through Mr. Weil's office,
                                                                    ry request that he had
                            8     and put a time,Inc on the discove

                                                   thloh would be three days hence.      And, so, T
                            9     sert, wh1Ch
                                                                     st, that ,
                            10    havtn't had an opportunity to look
                                                                                   Bailey has
                           11                 I think a lot of the thinqa that Mr,

                                                                      ry, probably would be
                            12    requested, pursuant to this discove
                                                                           ha would be required
                            13     objectionable or *mmeed the scope wi.th
                                                                         yo,.. have proviOlatlY
                            14    to delve j.ntv, given t4,* r-ii4a that




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        Rote v. Marshall                                                                         Exhibit 2 - Part 1, Page 52 of 351
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                                            • BLUMBERG AND LINDNER LLC                                            P,13/15
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                     15         mode.

                     tit                   acs, I nerd       some   tine to yet in and look at the

                                                                      soma objeorions and
                     17         cleadings and be able to k_nd of make
                                                                         chink somo of the
                     IS         make some reasoned arguments as to why I

                     19         tnjngs that he      requesting maY oz may not be applicably.

                     20                    MR. BAILEY;         i don't know that there's any -- I

                     21         don't know what their issues are.            Aq the court knows, tne

                                                                                          Today is the
                     22         order in thin matter teat out socmo time ago.
                                                                            to represent
                     23         first day I have known Mr. Chames was gain;

                     74          L. Rote personally .n this           matter.


                                                                                        or not
                                           I thi.r,k -- 1 don't recall, I mean, whether
                                                                                      4



                                you responded to my merlon in this cos            earlier, nn behalf
                       1

                                of all, the individuals cot not.          I don't, recall what the
                       2

                       3        response wets even    was.



                          4                MR, WEIL.         z :..emponned on behalf ne the defendant

                                                                    entered, your Vonot.             I
                       5         against whom rhe judgment has Dean
                                                                                       z onlY appeared
                       6         didn't entur an appearance for she others,

                           "i    on behalf of Northwest :elemaz",ceting.

                                            MR. &KILEY:         It's likely then that what 1 need to

                           5     have from the cort.         ID an °Trier for a Dhow cause hearing
                                                                      serve each of the
                      10        friths date, so T. can nerve them, --
                                                                     st that they know whon the
                      1:         grantee defendo4tS With t;-.e dote,

                                 show caute bearing would be.            had then r at. that paint, it
                      12
                                                                        of discovery dates and
                      13         seems *like we work backwardo in termf
                                                                    ry.
                      14         Aeything else thab Airy be necessa

                                            TrtfI COURT:       Ono of the reasons I wanted you to
                       15
                                                                   with you the letter he
                       16        come in here, has Mr. Rote shared

                       17        wrote ta the court?
                                                                                               Honor.
                       le                        1,714,IL:    I haVe not seen the letter, your

                                            MR. CliArtES        I have not teen the lettcrr, no.
                       13

                       2C                   TAE COURT:         D10 you give them the cov.rtesy or the

                       21        letter?

                                                              I don't recall that I did.      I don't
                       22                    MR. ROTE:


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        Rote v. Marshall                                                                          Exhibit 2 - Part 1, Page 53 of 351
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        JUL 11 2005 9: 16FiM          LEVOW        AND COSTELLO                      056         4257726                p.4
                                             SLUMBERG *ID LINDNER LLC                                         P.14/15
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                       23    think so.

                       24                 TRE OMIT:       Anyway, i don't want anything to do

                       25    with this case.      I have utter Contempt for this person.          He
                                                                                    A


                             rotete the OuurE A very peraons%, very nasty letter.            A

                        2    hypocrite.     go. got out ot hero.        I AM not going to hove

                             anything to do with this.         I '4,;.1 remise myself,   X wil

                        4    teassign it to another judge.

                        5                 04r. Rote left the room.)

                        6                 ma.   CHAMZS:    Okay,

                        7                 MR, BAILEY:      Do I need to do anything?

                        a                 TFiS COURT;     You edn't.    1 Alm jiwt -- I an asz --

                        9                 MR. CHAMM        Did you want to aay anything else Cu

                       10    os, yo'. r Honor?

                       11                 THM COIIRT!     I am Itist saying to you that th.e guy

                       12    wrote a letter where I couldn't aoss.i.bly be impartial.

                       13    Thank you_

                                          MR. WL11.:    I 4z very aarzy0 your Honor.     And I

                       :5    apologize and understand,         I haven't seen it, but --

                       16                 TRI1 tOGRT:     He's a menbor of our thaxch and sold

                       17    what kind of A Christian could I to to make such docizions

                       le    and all that sort 0: wtuff.           And it wouldn't go to Judge

                       15    Marsh either. who is also a member of the chUrch.

                       20                 Okmy.   Thant you.

                       21                 MR. ImIL:     Thank you, Aids*.

                                                        (Recess 9:03 a.m.)

                       23

                       24

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                        3                 C certify, by oigninq below, that thT foa4vir.43 is




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        Rote v. Marshall                                                                     Exhibit 2 - Part 1, Page 54 of 351
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                            KATHERINE E/SMANK, C$R, CHR, RD1          DAME
                            cdfioiel Court Reporter

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        Rote v. Marshall                                                                Exhibit 2 - Part 1, Page 55 of 351
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             Case 1:04-cv-02025-RBK-JBR Document 22 Filed 05/27/05 Page 1 of 2 PagelD: 374



                                      IN THE UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF NEW JERSEY
                                               CAMDEN VICINAGE
                                          HONORABLE ROBERT B. KUGLER


             MAX ZWEIZIG,

                                    Plaintiff(s),

                                    v.                                 Civil No. 04-2025(RBK)
             TIMOTHY ROTE,INDIVIDUALLY AND
             D/B/A NORTHWEST DIRECT
             TELESERVICES,INC., JOHN DOES 1-5,
             AND JOHN DOES 6-10,

                                    Defendant(s).



                                                ORDER TO SHOW CAUSE


                            THIS MATTER HAVING come before the Court upon its own Motion, and it

             appearing that Timothy C. Rote,on May 22,2005,faxed to the undersigned,a letter ofthe same date

             which purports to seek "reconsideration" of an Order ofthis Court, and it further appearing that in

             this letter, Mr. Rote implies that a law clerk employed in this Court had improper contact with

             plaintiffthrough plaintiff's girlfriend, and it further appearing that Mr.Rote implies that a law clerk

             employed in this Court had improper contact with plaintiffthrough a pedophile web site, and that

             these comments, and the conduct in contacting the Court, may constitute contempt,

                            IT IS ON THIS           27th   day of May,2005, ORDERED that Timothy C. Rote,

             SHOW CAUSE before this Court on June 21,2005,at 4:00 P.M., in Courtroom 4D, Mitchell H.

             Cohen United States Courthouse, 1 John F. Gerry Plaza, Camden, New Jersey, why he should not

             be subject to CRIMINAL CONTEMPT PROCEEDINGS,pursuant to F.R.Crim.P. 42(a). Rote

             is cautioned that failure to appear in Court on that date in response to this Order to Show Cause may

             result in an arrest warrant being issued to take him into custody.



                                                                       s/Robert B. Kugler
                                                                       ROBERT B. KUGLER
                                                                       United States District Judge

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               From: grote8503@charter.net To: maxz@erois.com Subject: Tim Rote Date: 1/162008
               12:12:59 AM

                Max,

               I am writing this email to see how your legal actions came out against Tim Rote. He has filed a
               law suit against me, even though I am his brother. I know that you are probably reluctant to
               speak to me, but I was curious if you know about any other law suits that Tim has filed.

               Greg Rote
               •iwww.adw.


               From: grote@fireserve.net To: maxz@erols.com Subject: Tim Rote Date: 10 /2008 4:52:56
               PM


               Max, you to not know me but my brother is Tim Rote. Tim explained to me an incident he had
               with you, where he claimed you were suing him for 50K, he also said your wife was an attorney.
               Tim is now suing me, for monies not owed to him as he violated a contract we had.

               I am writing you because approximately 1.5 - 2 years ago, Tim wanted me to fly to New Jersey
               and send you a message. He wanted me to commit a criminal act. I obviously would not comply
               with him demands, so I was biting the hand that fed me.

               I am wanting to know how many other bullshit law suits tim has filed on people. as he was going
               to court in Klamath County Oregon very soon. Please have your wife check with the courts I am
               not lying to you.

               If you would like to talk please email back.

               Greg Rote




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                                                                 Ex.2 page11

        Rote v. Marshall                                                             Exhibit 2 - Part 1, Page 58 of 351
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                                  Exhibit 1 page 1

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                                  Exhibit 1 page 2

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                                            Exhibit 1 page 3




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Ex.3 page 5
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                                            Exhibit 1 page 4




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Ex.3 page 6
18CV45257
                                                             Exhibit 1 page 5


                September 20, 2016

                Ms. Janice Hebert
                Assistant U.S. Attorney
                Mark O. Hatfield US Courthouse
                1000 SW Third Avenue, Suite 600
                Portland, Oregon 97204

                Ms. Hebert:

                I have enclosed herewith a copy of a letter from The US Marshals Service regarding a subpoena I served
                on them last week. The letter conveys that I need to provide a written assertion to you as to the relevance
                of documentary information being sought.

                In response, and believing this is the written assertion required, I am seeking evidence that is responsive
                to claims I have in several lawsuits arising from actions taken by two opposing attorneys. Those
                attorneys allege in a declaration filed by Joel Christiansen that on around November 12, 2015 they
                together contacted the deputy clerk of The Honorable Robert Jones chamber and alleged that I presented
                a threat to Judge Jones the night of his lifetime achievement award dinner. In response, the clerk
                contacted the U.S. Marshals service and asked them to investigate. Politely, one of the agents for
                Marshals Service in Portland contacted my attorney and in turn I contacted him about his inquiry. That
                inquiry was specific and referenced a blog post I published the day before congratulating Judge Jones.
                My attorney and I separately affirmed that I represented no threat to Judge Jones.

                The two attorneys have on two occasions attempted to enlist the help of Judge Jones to assist in their
                lawsuits against me and companies I own. I was surprised though that as a result of their assertions, I
                was put on a watch list for the U.S. District Court of Oregon. My threat apparently was writing about the
                attorney behavior and that of an arbitrator.

                The information I seek is the evidence of the attorneys contact to the clerk, notes and other evidence
                acquired by the U.S. Marshals service leading to the U.S. Marshals decision to place me on the watch
                list. I had previously asked the FBI and U.S. Attorneys office to investigate the contact by these
                attorneys and any response by Judge Jones to influence litigation. I have absolutely no evidence that
                Judge Jones has interfered with my life in any manner. Judge Jones adjudicated litigation I was involved
                in some 15 years ago and while he did a wonderful job in the trial (even though I lost), new evidence
                like the attorneys contact continues to surface.

                Nonetheless, these two attorneys seem to believe that Judge Jones will influence my litigation behind
                closed doors and/or incite some concern based on what I believe is highly defamatory allegations by
                these attorneys. The subpoena seeks that information leading to a decision by the Marshals Service to
                place me on the watch list. I have asked the U.S. Marshals to contact me further on this matter and they
                have refused.

                Very truly yours,


                /s Timothy C. Rote
                Timothy C. Rote




                Timothy C. Rote         24790 SW Big Fir Rd., West Linn, OR 97068                    503.702.7225
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       Kelly, Brian (USMS)

       From:                         Joel Christiansen <joel@oremploymentlawyer.com >
       Sent:                         Thursday, November 12, 2015 2:30 PM
       To:                           Kelly, Brian (USMS)
       Cc:                           Linda Marshall
       Subject:                      Timothy Rote/Sitting Duck Portland



       Brian,

       Thanks for the call a few minutes ago. Per your request, Mr. Rote's address is 24790 SW Big Fir Road, West
       Linn, OR 97068.

       Mr. Rote's ex-wife's name was Catherine Rote. My co-counsel, Linda Marshall, and I will let you know if we
       can track down her maiden name.
       I
       Please feel free to call my cell if you need anything further: 503-915-1094.

       Joel



       Joel Christiansen I voGELE & CHRISTIANSEN
       812 NW 17th Avenue, Portland, OR 97209
       (p) 503-841-6722 (e) joel@oremploymentlawyer.com




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               Telephone call 11/12/15

               Linda Marshal (attorney)
               Mr. Joel Christiansen 503-915-1094 (attorney)

               2001 Judge Jones handled a simple wage case with Tim Rote
               Tim Fraudulently transferred money
               Defendant wrote a letter to the judge and the judge they don't know what it contained
               Recently in the last year Rote is writing a blog
               Sitting duck blog within the last couple of days he posted information about Judge Jones
               Congratulations Judge Jones our legacy is not always what we want it to be. (on post)
               This fellow is following Judge Jones career and to make the statement is disturbing to the attorneys
              TIM (Z.o~
               ~rrested in 2004 sitting in his car sitting outside his former wife's house with latex gloves and a gun
               with the serial number rubbed off. He also a concealed carry permit. 7

               Following the blog because he is harassing their client.

               Not sure he is stable.

               Current case with Judge Stewart.

               Brown, Papak and Hernandez have all ruled against Mr. Rote.

               u rl sitti ngd uckportla nd. word press.com

               He writes about Arbitrator corruption




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      ·: Kelly, Brian (USMS)

       From:                                            @ord.uscourts.gov
       Sent:
       I-'
                                           Friday, January 15, 2016 7:39 AM
       to:                                 Kelly, Brian (USMS)
       Subject:                            RE: Nov 12th Life Time Achievement Award Dinner



       I don't think I saved any of that information. I typed it up and gave it to you.



       Judicial Assistant/Courtroom Deputy to the Honorable Judge Robert E. Jones
                      Chambers
                      Fax

        Ability is what you are capable of doing.
        ~otivation determines what you do.
                                                                                                                         •   • • • • •~.;&.:..

       "Attitude determines how well you do it.
        ~9U Holtz
       s.
       t

       From: "Kelly, Brian (USMS)" <Brian.Kelly2@usdoj.gov>
       To:                r@ord.uscourts.gov" <           @ord.uscourts.gov>
       Date: 01/14/2016 03:46 PM
       Subject:RE: Nov 12th Life Time Achievement Award Dinner




       Ok, can you send me his attorneys name and contact info again.
       Thanks,
       ~·
       Brian C. Kelly
       ~.11, USMS
       fortland, OR
                        - Desk
                        - Cell

       -----Original Message-----
       From:               @ord.uscourts.gov [mailto:        @ord.uscourts.gov]
       Sent: Thursday, January 14, 2016 3:31 PM
       To: Kelly, Brian (USMS)
       Subject: Fw: Nov 12th Life Time Achievement Award Dinner



       l do not want to respond to this email. I truthfully don't even know who called. I gave the information to you.


       tudicial Assistant/Courtroom Deputy to the Honorable Judge Robert E. Jones
                      Chambers

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                          Fax

       Ability is what you are capable of doing.
       Motivation determines what you do.
       Attitude determines how well you do it.
       Lou Holtz
            I

       1r-- Forwarded by              /ORD/09/USCOURTS on 01/14/2016 03:29 PM -----

       "
       ¥rom:               <tim@rote-enterprises.com>
        ,p:                          r@ord.uscourts.gov
       Date:
       11-
                           01/14/2016 03:24 PM
       Subject:            Nov 12th Life Time Achievement Award Dinner




       Hi           :

       Apparently, in the afternoon of this big event someone from your office received a call about a blog post of mine,
       inferring that I intended to do some harm to The Honorable Robert E. Jones. The Marshals Service called me and I
       assured them that was not the case then and is not the case now, nor will it ever be.

       But I would like to find out who made the call. Would you share that with me please.




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       Kelly, Brian (USMS)

       From:                                                       USMS)
       Sent:                                 Friday, August 12, 2016 9:20 AM
       To:                                                      (USMS);          (USMS)
       Cc:                                   Kelly, Brian (USMS);            (USMS)
       Subject:                              FW: Inquiry
       Attachments:·                                         .doc



       Brian,

       Pursuant to our conversation, I am forwarding you the letter that was sent to the USMS Wanted tip email inbox. IOD CIB
       monitors that and sends leads. This, of course, is not a lead but a request to be removed from the district list maintained
       at the screening station.

       As you are also named in it, I am sending to the ACDUSM and JSI in the event the district determines they need to
       handle this subject using different personnel.

       IOD has not contacted the sender beyond the automated response every email gets that the message was received and
       they may be further contacted if necessary. That should come locally as IOD would not get involved in a local judicial
       ~ecurity matter.
       s
       l::.also did not forward to JSD OPI as any interaction with them can be done via your district if you wish to do that.

       If the sender contacts the tipline again, we'll continue to send to Oregon.

             please file this received email in the closed archive. Thanks I I! I



       Chief
       U.S. Marshals Service
       IOD Criminal Intelligence Branch




       From:                   (USMS)
       Sent: Friday, August 12, 2016 9:52 AM
       To:                        (USMS)
       Sub]ect: FW: Inquiry

       Good morning Chief,

       I am monitoring the tip-line this week. This email was filed on the USMS wanted tip-line in care of the AD.



      Thanks-


      From: tim@rote-enterorises.com [mailto:tim@rote-enterprises.com]
      Sent: Thursday, August 11, 2016 6:02 PM

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       Subject: Inquiry




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       I




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                August 11, 2016

                Mr.
                Assistant Director
                Investigative Operations

                Mr.

                I am writing you about an issue of some import to me. A few weeks ago I went to the U.S.
                District Court in Oregon to file a Judges copy of a motion. I was detained after going through
                security. I was detained because I'm on a watch list. My photo and information is on a
                dedicated page in a three ring binder at the security station.

                While I don't know for sure why I am on the watch list, I suspect it is because of action taken
                by two attorneys representing an opposing party in litigation pending in Federal Court. I called
                your agents once my business was done and inquired as to why I was on the list and was told it
                would be investigated and I would be called. I am more than happy to meet with the U.S.
                Marshal's service.

                I suspect I am on the watch list because Judge Jones asked that I be put on it. In 2001 Judge
                Jones and I had a bit of disagreement on a matter over him presiding in a trial, possibly
                involving a family member. The issue passes and arose again in 2010 in an unrelated
                arbitration. In that arbitration opposing counsel, Linda Marshall, implored the arbitrator to
                contact Judge Jones about his opinion of me. While the behavior was outrageous there is some
                evidence that Judge Jones influenced the outcome. I had refuted that conclusion until recently.
                In 2015 I published a blog on the arbitration including the evidence of arbitrator failures and
                corruption.

                One of the blog post, Chapter 19, concluded that arbitrators are effectively above the law
                because they are so seldom reversed and take great liberty with evidence, either accepting or
                dismissing it. At the end of that blog I noted that Judge Jones was receiving a lifetime
                achievement award at a dinner in his honor and wished him well. I also noted that our legacies
                are not always what we wanted them to be. I know mine is not.

                The opposing attorneys then contacted Judge Jones deputy and intimated that my blog post was
                a veiled threat to come to Judge Jones' dinner to do him so kind of harm. Brian Kelley from
                your office contacted me early that evening to determine if I intended to come to the dinner and
                if I further had some intention to do Judge Jones harm. I assured him I did not. My attorney was
                with me and assured him also in a separate call. Brian was very professional.

                In response I sued the attorneys for defamation, civil conspiracy and a few other claims. In
                preparing for the case I contacted Judge Jones deputy and received another call from Brian
                Kelley telling me not to call or email them. Now I hope you understand that the conversation
                between the deputy clerk and the opposing attorneys is potentially material to my case. I should
                point out that there is no doubt in my mind that the attorneys contacted Judge Jones to influence
                other litigation pending and painted a threatening picture to advance their interests. I did not
                and do not advocate violence. Moreover until that contact it seemed unlikely that Judge Jones



                Timothy C. Rote       24790 SW Big Fir Rd., West Linn, OR 97068                503.702.7225



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                had influenced any of my litigation. But since that time, following the lead by these attorneys,
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                they appear to know something I do not. Moreover they have claimed they reached out to Judge
                Jones because of information I had recently acquired regarding Judge Jones' influence. That of
                course was not true.

                But now as a result of their spurious behavior I am on a watch list and I can only surmised that
                this is because of the intimation to the deputy clerk. And so I want to know when and why I
                was put on the watch list. If this needs to follow a protocol request as in a Freedom of
                Information request, let me know.

                I'd like to be taken off the list. I can imagine that the attorneys did not envision that the deputy
                would publish their misleading and defamatory statements to the U.S. Marshals service, but
                they were published and were discovered.

                My blog on this 7 year arbitration and now 5 year post arbitration litigation speaks to issues of
                some concern to the public and as a blogger I am a member of the media. It would be contrary
                to public policy to be put on a watch list for publishing my findings on arbitration and judicial
                corruption. I know Judges hate being examined in such a fomm as a blog, but that is the price
                of free speech and that speech cannot be silenced through punitive actions when focused on a
                judge and especially not on a Senior U.S. Federal Judge who can still influence the outcome of
                pending litigation.

                Thank you for your consideration.

                Very truly yours,


                s/ Timothy C. Rote
                Timothy C. Rote




               Timothy C. Rote        24790 SW Big Fir Rd., West Linn, OR 97068                 503. 702. 7225



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                    Regarding an email sent to Max Zweizig & used in the Arbitration Hearing of Northwest
                                           Direct Teleservices, Inc. vs Max Zweizig




                   Gregory Rote states –

               •           My name is Greg Rote. My address is 4104 Bisbee, Klamath Falls, OR 97603.

                   During the course of litigation between Northwest Direct Teleservices and Max Zweizig,
                   I attempted contact via email with Max Zweizig.

                    I attempted a second contact via email with Max Zweizig. I sent an email to Zweizig
                   claiming that Tim Rote had asked me to fly to New Jersey to send him a message. I
                   further indicated that Tim wished for me to commit a criminal act. I was concerned
                   that if I were to contact Max Zweizig, then it could be viewed as Harassment on my
                   part.

                           Tim Rote never asked for me to commit a criminal act, I was mad at my brother
                           over a law suit he had filed against me so this was why I sent out the email.

                   My intentions when making these statements were to hurt my brother, and to get
                   information I could use against him. After sending the email, I regretted that I had
                   been untruthful concerning the threats that were never made.

                       •    I was never contacted to make a sworn statement, if contacted I would not
                           have been able to swear to my initial statement. I believe that Max Zweizig
                           must have been aware that the email statement was false, as they never
                           contacted me to make a sworn notarized statement.




                   Dated this 19th day of April 2016
                   Gregory Rote…………………………… (Signed by Gregory Rote




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    4/30/2016                                                                                     Workspace Webmail :: Print

      Print | Close Window

        Subject: RE: 3:14-cv-00406-ST Zweizig v. Rote et al Response to Motion to Amend
          From: Jeffrey Hasson <Hasson@dhlaw.biz>
            Date: Mon, Dec 28, 2015 6:17 pm
              To: " tim@rote-enterprises.com" <tim@rote-enterprises.com>

        The US Marshall was investigating if you presented a threat to Judge Jones at the reception. I assured him that they did not have to be concerned about you.



        Jeffrey Hasson
        Sent from my Verizon Wireless 4G LTE smartphone



        -------- Original message --------
        From: tim@rote-enterprises.com
        Date: 12/28/2015 5:46 PM (GMT-08:00)
        To: Jeffrey Hasson <Hasson@dhlaw.biz>
        Subject: RE: 3:14-cv-00406-ST Zweizig v. Rote et al Response to Motion to Amend

        The commentary that this was a threat of harm is important. Is that what the US Marshals conveyed to you.


            -------- Original Message --------
            Subject: RE: 3:14-cv-00406-ST Zweizig v. Rote et al Response to Motion
            to Amend
            From: Jeffrey Hasson <Hasson@dhlaw.biz>
            Date: Mon, December 28, 2015 4:24 pm
            To: "tim@rote-enterprises.com" <tim@rote-enterprises.com>

            Not much to say.

            Received a message at office to call US Marshall about Rote.

            After gfing with you, called number and US Marshall asked if I represented you. I said yes. He said there was a concern
            about you related to Judge Jones' reception that evening. He asked if he should be concerned about you and I said no. I
            told him I was with you and would have you call him. I asked if he wanted the blog to come down. He said no but to let
            you know the US Marshall knows about it. I told him I thought the complaint was from Marshall but he said the call came
            from Judge Jones office. He said that as long as you were not going to Judge Jones' reception that he was done with it. I
            told you about it and had you call the US Marshall.

            Anything else?


    https://email11.godaddy.com/view_print_multi.php?uidArray=3|INBOX.Litigation.314&aEmlPart=0          Ex.8 page 1                                                   1/6
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            Check Email         Compose        Address Book         Settings          Tools     Help


                                                              Save Search As:                              Add
                   Search ...

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                                                               Search Results (Options) (Edit Search Parameters)                                          Display    40
               Unlimited             Usage: 3070MB                        Folder                    From                          Subject                                                           Date
                                                                         Litigation                 tim@rote-enterprises.c…          RE: Why don't I come by and see you?
                                                                         Litigation                 Carol Bernick                    RE: Why don't I come by and see you?
                    Inbox                       (1)                     Litigation                 tim@rote-enterprises.c…        RE: Why don't I come by and see you?

                    Bulk Mail      [purge]   (174)                       Litigation                 John Berge                       RE: Why don't I come by and see you?
                                                                         Litigation                 tim@rote-enterprises.c…        Why don't I come by and see you?
                    Drafts
                                                                         Litigation                 John Berge                       RE: Please confirm that you are getting my submissions
                    Templates
                                                                         Litigation                 tim@rote-enterprises.c…        Please confirm that you are getting my submissions
                    Send Later                                           Litigation                 tim@rote-enterprises.c…        RE: Bill Crow
                    Sent Items                                           Litigation                 tim@rote-enterprises.c…        RE: Bill Crow

                    Trash          [purge]      (9)                      Litigation                 Carol Bernick                    RE: Bill Crow
                                                                         Litigation                 Carol Bernick                  Automatic reply: Revised Chapter 90
                                                                         Litigation                 Carol Bernick                      RE: Revised Chapter 90
                  Acquisitions
                  Adwords                                                Litigation                 Carol Bernick                    RE: PLF Tax
                  Aggregators                                            Litigation                 Carol Bernick                    RE: PLF Tax
                  AICPA
                                                                         Litigation                 tim@rote-enterprises.c…        RE: I know you don't like emails from me
                  Allstate
                  Alva                                                   Litigation                 Carol Bernick                    RE: I know you don't like emails from me
                  Answering Service                                      Litigation                 tim@rote-enterprises.c…        RE: I know you don't like emails from me
                  Appfire                              
                                                                         Litigation                 tim@rote-enterprises.c…        RE: I know you don't like emails from me
                  Auto
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            Check Email         Compose        Address Book         Settings       Tools        Help


                                                              Save Search As:                              Add
                   Search ...

                 Go                          Adv. Search                                                                                            Move
                                                                                                                           Move to Folder


                                                               Search Results (Options) (Edit Search Parameters)                                         Display    40
               Unlimited             Usage: 3070MB                        Folder                    From                        Subject
                                                                         Sent Items                 tim@rote-enterprises.com     I added you to the case today
                                                                         Sent Items                 tim@rote-enterprises.com     Will you accept service for a lawsuit files against
                    Inbox                       (1)                     Sent Items                 tim@rote-enterprises.com     Preparing to refile on Christiansen and Marshall

                    Bulk Mail      [purge]   (174)                       Sent Items                 tim@rote-enterprises.com     Please Feel Free to make comments on line
                                                                         Sent Items                 tim@rote-enterprises.com      My Response
                    Drafts
                                                                         Sent Items                 tim@rote-enterprises.com     Received Your Letter
                    Templates
                                                                         Sent Items                 tim@rote-enterprises.com     March 5th letter
                    Send Later
                    Sent Items
                    Trash          [purge]      (9)


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                  Allstate
                  Alva
                  Answering Service
                  Appfire                              
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            April 28, 2018



            Ms. Pamela Stendahl
            Claims Denial Specialist
            OSB Professional Liability Fund

            Re:    Brandsness and Hasson Claims

            Dear Ms. Stendahl:


            some of your facts. Certainly I take issue with your conclusions.

            Mr. Brandsness and I did in fact spend part of an afternoon implementing his decision to file an
            Answer to the complaint. There was no discussion as to a Motion to Strike or Motion to Dismiss.
            I was following Brandsness decision and was not in a position to challenge it, for lack of
            sophistication. You should not and cannot vacate professional responsibility because a party
            joined the conversation. That would be ridiculous.

            As you know by now, Mr. Zweizig filed a lawsuit against me and his employer NDT in 2004 for
            retaliation under ORS 659A. He filed that in New Jersey and we filed a Motion to Compel. The
            Motion to Compel was successful in New Jersey and both NDT and I participated in the
            arbitration. The contract with Zweizig was upheld.


            the other entities. Brandsness should have filed a Motion to Strike the complaint against the other
                                only NDT had a contract with Zweizig and the only claim against the corporate


            The claims against me under ORS 659A.030 (1) (g) may be defeated by defeating the (1) (f)
            claim. I think I have provided you that legal authority.

            I realize you are advancing ridiculous arguments having no reasonable basis to deny the claim
            and counting on the compensated favor of the Clackamas County Court, a carryover from your
            Bodyfelt Mount days. Skip Winters will not be the Judge this time and neither will Judge
            Herndon.




            Timothy C. Rote           24790 SW Big Fir Rd., West Linn, OR 97068                 503-702-7225

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            The underlying contract with Zweizig has several sections, including (1) arbitration, (2)
                                                                                    The question as to why an
            experienced attorney does not take the short road and file to dismiss is perplexing but I think I

            right?

            Equitable estoppel would have allowed the case to be moved to arbitration. No doubt. We meet
            the two requirements as espoused by the 9th Circuit. But even that is unnecessary. You see in

            was pled.

            And because he had to get to NDT to get to me under of (1) (g) for aiding and abetting, the
            contract is implicated. When it is implicated the condition precedent of Notice and Mediation
            time bar the claim if not brought within 90 days. There was no notice within 90 days. The
            contract provides that the provisions stand alone and even when a motion to compel is not filed
            timely it does not mean that the condition precedents have been satisfied. Mr. Brandsness did not
            apparently look at the contract.

            Timely and professional dismissal of the claim under the terms of the contract was all that was
            required. Surely you see that. And again when NDT is out, I am also out of the case.

            The court lacked subject matter jurisdiction on the claims brought by your boy Joel Christiansen.
            I know you knuckle heads love these retaliation claims, but it was not timely filed and was
            subject to arbitration.

            The Supreme Court in 2013 determined that the causation for retaliation is          -
            Christiansen agreed with that in his proposed jury instructions. I agreed with that as well and
            both of us cited 9th Circuit Model Instructions. See Nassar. Precedent in Oregon supports that as
            well. The court replaced the parties joint proposed instructions and in doing so made a clear error
            when it provided a motivating factor standard.

            Separately, Christiansen engaged in 8 counts of misconduct in the closing statement alone. This
            case was a mess from the beginning. He extended his perjury in the Clackamas County case to
            this case.

            Working with law enforcement, most of the trial was independently recorded. The two
            transcripts I ordered and received from the court reporter have serious errors in them. I have
            asked for corrections and reassurances.




            Timothy C. Rote           24790 SW Big Fir Rd., West Linn, OR 97068                  503-702-7225

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            Although I am not willing to believe that Judge Hernandez would ever ask his court reporter to
            clean up a record, I would not discount incompetence or misconduct by other parties.

            I am guessing the PLF is being influenced, as in asked to not cover this clear malpractice? That
            would have to come from a Judge, presumably under threat of reprisal. I am having a hard time
            finding a more probable explanation. The default judgment it appears will be reduced to
            $140,000. What a story.

            Back to the central issue. The case against the corporate defendants should have been dismissed
            in short order. Dismissing the case would have also resolved claims against me. If you are not
            going to cover clear and irrefutable evidence of malpractice, then what is your purpose? Your
            charge is not just to protect attorneys practicing in Oregon. There is a public safety factor here.

            More and more I wonder how attorneys resolve the many moral conflicts faced by them. Why
            for example void your moral teachings in order to practice law? Why not find a way to merge the
            two and engage in honest commerce?

            Have Carol call me.

            Very truly yours,

            /s/ Timothy C. Rote
            Timothy C. Rote




            Timothy C. Rote           24790 SW Big Fir Rd., West Linn, OR 97068                   503-702-7225

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             Subject:   RE: Evidence Forensics
               From:    tim@rote-enterprises.com
                Date:   Sun, Jan 07, 2018 8:01 pm
                 To:    "John Berge" <johnb@osbplf.org>
                 Cc:    "Carol Bernick" <carolb@osbplf.org>

             Mr. Berge, it has come to my attention that Mr. Brandsness should have filed a summary
             judgment motion in the 3:15-CV-2401 suit because the former employer of the plaintiff,
             Northwest Direct Teleservices, Inc. was administratively dissolved well before the complaint
             was filed and the employee relationship was severed 12 years prior. You have the 3:15-CV-
             2401 complaint and attached is the administrative dissolution date. The plaintiff's claim
             requires an employer/employee relationship and that could not have been true if the
             employer dissolved prior to the actionable behavior alleged by the defendant in the complaint.


                -------- Original Message --------
                Subject: RE: Evidence Forensics
                From: John Berge <johnb@osbplf.org>
                Date: Wed, October 25, 2017 7:42 am
                To: "tim@rote-enterprises.com" <tim@rote-enterprises.com>

                Mr. Rote,
                Have you now supplied all you intend to supply in support of your claim against Mr. Hasson?
                JB

                From: tim@rote-enterprises.com [mailto:tim@rote-enterprises.com]
                Sent: Tuesday, October 24, 2017 4:47 PM
                To: John Berge <johnb@osbplf.org>
                Subject: RE: Evidence Forensics

                Here's a better version.

                And as to the 2 year deadline, I would argue that with respect to 3:11cv the
                discovery rule is in play and extends to all work that would have been unnecessary
                for the 3:14cv case, which had its own unique malpractice events.
                   -------- Original Message --------
                   Subject: RE: Evidence Forensics
                   From: <tim@rote-enterprises.com>
                   Date: Tue, October 24, 2017 11:36 am
                   To: "John Berge" <johnb@osbplf.org>




                        -------- Original Message --------
                        Subject: RE: Evidence Forensics
                        From: John Berge <johnb@osbplf.org>
                        Date: Tue, October 24, 2017 7:46 am
                        To: "tim@rote-enterprises.com" <tim@rote-enterprises.com>

                        Mr. Rote,



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            I received two emails from you yesterday with attachments. Please let me
            know if that completes the information you intend to supply in response to
            my request? If so, I will begin my review. If not, I will wait until you have
            submitted all that you choose before I start my review. Thank you.
            JB

            From: tim@rote-enterprises.com [mailto:tim@rote-enterprises.com]
            Sent: Monday, October 23, 2017 4:34 PM
            To: John Berge <johnb@osbplf.org>
            Subject: Evidence Forensics

            The reports are extensive.

            Included herein:

            Report from Forensics expert Williams on Exit Time
            Declaration from Forensics expert Mark Cox
            Forensics Report from McAnn, Zweizig expert.
            Declaration of Mark Cox offered as refuting McAnn statements under
            oath challenging that logs exist on exit time for email.

            Have testimony in transcripts as well.

            Offered as evidence that in addition to hard copy of email and letter,
            we provided the native digital email, computer on which it was
            saved, and other evidence in support including forensics. Hasson
            knew of the evidence and his filings in that case support that
            conclusion.


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                                                                             Filed :: Print
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      Print       | Close W indow

       Subject: Re: FW: Going to serve you with a subpoena to appear at trial the 17th
            From: Timothy Rote <timothy .rote@gmail.com>
             Date: Fri, Jan 12, 2018 1 1:56 am
               To: Joel Christiansen <joel@oremploymentlawyer  .com>
               Cc: Jennifer_Paget@ord.uscourts.gov , tim@rote-enterprises.com

       Not necessary but do want to put on the email. It was intended to show the collusion between counsel and the PLF. I'll label the
       email and get it to you as an Exhibit. Thanks Joel and Carol.

       On Fri, Jan 12, 2018 at 10:33 AM, Joel Christiansen <joel@oremploymentlawyer.com> wrote:
        Ms. Paget,

            I'm forwarding this email as an FYI for the Court in the Zweizig v. Northwest Direct Teleservices, Inc. matter (3:15-cv-02401-HZ)
            set for trial next Tues 1/16. My understanding from the pretrial conference was that Mr. Rote was not to be calling this witness at
            trial. It is my understanding that Ms. Bernick hasn't actually received a subpoena but I wanted to alert the Court at this early
            juncture in case we need to have a telephone conference before Tues to address this issue.

            Joel

            Joel Christiansen | VOGELE & CHRISTIANSEN
            812 NW 17th Avenue, Portland, OR 97209
            (p) 503-841-6722 (e) joel@oremploymentlawyer.com

            ---------- Forwarded message ----------
            From: Carol Bernick <carolb@osbplf.org>
            Date: Fri, Jan 12, 2018 at 10:20 AM
            Subject: FW: Going to serve you with a subpoena to appear at trial the 17th
            To: Joel Christiansen <joel@oremploymentlawyer.com>



            FYI



            From: m@rote-enterprises.com [mailto: m@rote-enterprises.com]
            Sent: Friday, January 12, 2018 9:15 AM
            To: Carol Bernick <carolb@osbplf.org>
            Subject: Going to serve you with a subpoena to appear at trial the 17th




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      We are proud of our work for the following clients:

      AM Trust

      Berkshire Hathaway Group of Insurance Companies

      Canal Insurance Co.

      Certain Underwriters at Lloyd's

      Chubb Group of Insurance Companies

      Church Mutual Insurance Co.

      Cincinnati Insurance Co.

      CNA Insurance Companies

      Country Financial

      Crossroads RV

      First Mercury Insurance Co.

      Gallagher Bassett Services, Inc.

      Great American Insurance Co.

      James River Insurance Co.

      Keystone RV

      Markel Corp.

      Maxum Insurance Co.

      Mid-Continent Group

      Oregon Insurance Guaranty Assoc.

      Oregon State Bar Professional Liability Fund

      Philadelphia Insurance Co.

      Professional Liability Insurance Services, Inc.

      Professional Risk Management Service, Inc.
    http://bodyfeltmount.com/representative_clients.html                                                                          1/2
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      Resolute Management, Inc.

      Safeway, Inc.

      Sentry Insurance Co.

      Stanley Black & Decker, Inc.

      The Hartford

      Thor Motor Coach

      Tokio Marine & Nichido Fire Insurance Co.

      Travelers

      United States Liability Insurance Group

      YorkPro, Inc.

      Walsh Construction

      Westcap Insurance Services, Inc.

      West Coast Casualty Service Inc.

      Western Surety Co.

      Zurich




    http://bodyfeltmount.com/representative_clients.html                                                                          2/2
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            Timothy C. Rote                                                  Honorable Marco Hernandez
            24790 SW Big Fir Rd.
            West Linn, OR 97068
            Phone: (503) 702-7225
            E-Mail: timothy.rote@gmail.com
            Pro Se Defendant




                                          UNITED STATES DISTRICT COURT

                                           FOR THE DISTRICT OF OREGON

                                                  PORTLAND DIVISION

            MAX ZWEIZIG,                                      Case No.: 3:15-CV-2401-HZ

                   Plaintiff,                                 DEFENDANT’S MOTION FOR SANCTIONS
                                                              AGAINST PLAINTIFF AND COUNSEL
                   vs.                                        CHRISTIANSEN

            TIMOTHY C. ROTE, et al.,

                   Defendants.



                                              MOTION FOR SANCTIONS

                   Defendant offers his Motion for Sanctions against Plaintiff and Plaintiff Counsel for

            continuing to ask the court for preferential treatment because of the Kugler and Jones documents

            (transcripts, motions, etc.). Local Rule 7 requires a separate Motion and it is provided herein.

            Plaintiff was noticed years ago to stop this behavior. Both the defendant and the court have

            warned plaintiff counsel against filing Docs #243-12 and #243-13 and intimating in those filings

            that the court would act partially.




            PAGE 1. DEFENDANT MOTION FOR SANCTIONS


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                                                           FACTS

                   Plaintiff counsel Christiansen has repeatedly filed transcripts of hearings or motions

            related to hearing which defendant will refer to as the Kugler matter (Doc #243-12) and the

            Jones matter (Doc #243-13). Early on in this case Judge Hernandez told Christiansen that he did

            not care what happened in another case and to stop bringing it up. Christiansen, however, has

            filed these documents in this case multiple times and each time it is a call for the court to act

            prejudicially. Each time Christiansen files these documents he commits a felony by attempting to

            compromise the integrity of the court or as a threat to the court.

                   Zweizig initially filed his lawsuit in New Jersey State Court in March of 2004 against

            former employer NDT and Defendant Rote. Defendant would ask the court to take note that

            Sandra Ware secured a copy of the Jones transcript on February 4, 2004, as indicated on the

            document fax receipt stamped at the top of Doc #243-13. The firm of Blumberg and Lindner

            LLC employed Sandra Ware at the time.

                   Defendant transferred the case to New Jersey State Court under diversification and took

            further steps to compel arbitration. The case was assigned to Magistrate Robert Kugler. Sandra

            Ware then met with the law clerk of Judge Kugler surreptitiously and handed over to him a copy

            of the Jones Transcript. The law clerk and Sandra Ware attended Rutgers Law together and

            Judge Kugler typically hired his law clerks from Rutgers Law.

                   Kugler thereafter removed the case with prejudice remanding the case back to the New

            Jersey State Court citing a deficient Notice of Transfer.

                   After the Kugler court removed the case, Rote informed Kugler of the ex-parte contact

            between his clerk and Sandra Ware. Judge Kugler then demanded that Rote appear for a motion



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            for contempt. Rote’s counsel argued that a letter to Judge did not justify this action, that Kugler

            would have to recuse himself from the matter. Kugler pressed the U.S. Attorneys office to press

            charges against Rote and the U.S. Attorneys Office declined noting that the letter constituted free

            speech.

                      At the same time a complaint was filed with the Third Circuit against Judge Kugler and

            the clerk citing abuse of office. After the hearing, counsel for Rote met Judge Kugler in

            Chambers where the parties agreed that Rote would not press the complaint against Kugler and

            Kugler would agree to no longer abuse his office to protect a clerk. While the clerk made a

            mistake, Sandra Ware knew she was in fact engaging in ex-parte contact and that the contact was

            unlawful. Sandra Ware was at that time an attorney, lived with Zweizig and was then his fiancée.

                                                   LEGAL STANDARD

                      Federal courts generally have three sources of power from which to impose sanctions:

                        1. Rule 11 of the Federal Rules of Civil Procedure;

                        2. 28 U.S.C. § 1927; and

                        3. The inherent power of the court.



                      A. Federal Rule of Civil Procedure 11

                         Federal Rule of Civil Procedure 11 authorizes federal courts to issue sanctions against

            parties or their attorneys who file pleadings, motions, or other papers that are filed for an

            improper purpose or lack a required level of evidentiary or legal support. Rule 11 sanctions are

            not available for other sorts of misconduct, like discovery abuse or actions during a trial. The aim

            of Rule 11 is to deter frivolous filings, to "curb abuses of the judicial system, and to require




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            litigants to refrain from conduct that frustrates Rule 11’s goal of the “just, speedy, and

            inexpensive determination of every action.”

                       Rule 11(b) provides that, by presenting to the court a pleading, written motion, or

            other paper--whether by signing, filing, submitting, or later advocating it--an attorney or

            unrepresented party certifies that to the best of the person's knowledge, information, and belief,

            formed after an inquiry reasonable under the circumstances” that the material presented is not

            filed for an improper purpose and has the requisite degree of evidentiary and legal support. This

            language raises two interpretive questions: what "later advocating" means and what "a

            reasonable inquiry under the circumstances" entails.

                       Rule 11(b) enumerates four standards to which litigants and counsel must adhere

            when presenting materials to the court. First, Rule 11(b)(1) requires that the papers not be

            presented for an improper purpose. Prohibited improper purposes include harassment,

            unnecessary delay, and the needless increase in the cost of litigation.23 Despite the subjective

            connotation of “improper purpose,” most courts agree that the test is an objective one based upon

            a totality of the circumstances at the time the paper is filed.24 Courts adhering to the objective

            test will look to "objective indicators of purpose from which to infer improper purpose” and will

            not consider or attempt to divine an individual litigant's subjective purpose. Frivolousness alone

            is not a basis for inferring improper purpose. Courts using this test must identify specific

            “unusual circumstances” that show an improper purpose, such as excessive filing of motions that

            are substantially similar to earlier, unsuccessful motions. While most circuits addressing the

            issue agree that finding an improper purpose is a purely objective task, a few courts disagree,

            leaving unresolved the question of whether, and to what extent, subjective intent should be

            considered as a factor in determining the litigant's purpose.



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                       Second, Rule 11(b)(2) states that any claims, defenses, or legal contentions presented

            to the court must be grounded in existing law, asserted to extend, modify, or reverse existing law,

            or establish new law. This requires attorneys to make an objectively reasonable inquiry under the

            circumstances into the state of the law. The standard is not met when the legal assertion is (1)

            objectively baseless and (2) the attorney has not made a “reasonable and competent inquiry”

            before making it. The notion is that sanctions are warranted when a reasonable inquiry would

            reveal frivolousness to a competent attorney. A court need not find bad faith to issue sanctions;

            good faith is no defense. Thus, an "empty head, pure heart" defense to a motion for sanctions

            must fail. A legal position will be sanctionable only when it can be said that a “reasonable

            attorney in like circumstances could not have believed his actions to be legally justified.”

                       Third, Rule 11(b)(3) requires that any factual allegation either have evidentiary

            support or, if identified as such, be “likely to have evidentiary support after a reasonable

            opportunity for further investigation or discovery.” Evidentiary support can include reasonable

            inferences from facts or circumstantial evidence.

                       Fourth, Rule 11(b)(4) states that any denials of factual contentions must be either

            “warranted on the evidence” or, if identified as such, “reasonably based on a lack of information

            or belief.” Thus, denials of fact are treated like factual assertions and must be objectively

            reasonable.

                       Rule 11 authorizes the court to sanction both attorneys and their clients. Rule

            11(c)(1)(A) further provides that, “absent exceptional circumstances, a law firm shall be held

            jointly responsible for violations committed by its partners, associates, and employees.”

                       A court may also levy sanctions sua sponte but may do so only after issuing a specific

            order describing the perceived misconduct and allowing the possible offender an opportunity to



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            show cause why the sanction should not be issued. The rule incorporates a measure of due

            process protection. However, because a sua sponte order to show cause does not allow an

            attorney the opportunity to withdraw the offending filing, courts are cautioned to “reserve such

            sanctions for situations that are akin to a contempt of court.”

                   B. 28 U.S.C. § 1927

                       Another basis for sanctions lies in 28 U.S.C. § 1927, which serves “to deter

            unnecessary delays in litigation.” The statute authorizes sanctions in the form of “excess costs,

            expenses, and attorneys fees” against any attorney who “multiplies the proceedings in any case

            unreasonably and vexatiously.”

                       The scope of authority to sanction under § 1927 is both broader and narrower than

            Rule 11. Section 1927 is broader in that the attorney’s behavior is examined throughout the

            entire litigation, as a “course of conduct,” while Rule 11 applies to individual filings. The filing

            of a frivolous complaint, alone, may violate Rule 11, but not § 1927 because such a complaint

            does not "multiply" the proceedings. Conversely, a course of conduct can be sanctionable under

            § 1927 even though the individual filings during that conduct comport with Rule 11 standards.

                       Section 1927 is narrower because, unlike Rule 11 requirement of objective

            reasonableness, § 1927 generally requires subjective bad faith. Some courts, however, interpret §

            1927 as authorizing sanctions when attorney conduct falls short of bad faith: “viewed

            objectively, manifests either intentional or reckless disregard of the attorney’s duties to the

            court.” For these courts, malicious intent or bad purpose is not required. Thus, the "circuits are

            split as to whether § 1927 requires a showing of subjective bad faith or whether mere

            recklessness is sufficient.




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                       Since Rule 11 and § 1927 have different standards, courts deciding whether to issue

            sanctions under both may conduct a separate inquiry into § 1927 and Rule 11, but a court

            proceeding sua sponte under either rule must give the subject attorney notice and an opportunity

            to respond. The resulting findings must detail the basis for the sanctions, link the conduct to the

            sanctions awarded, and distinguish among sanctions awarded under different theories. Sanctions

            under § 1927 serve both deterrence and compensatory functions. As a result, the amount awarded

            need not be the least amount necessary to deter subsequent misconduct and is appropriately

            payable to the opposing party. The circuits are divided on whether it is not an abuse of discretion

            for a trial court to reduce a fee award to account for the sanctioned attorney's ability to pay it.

                   C. The Inherent Power of the Court

                       The sanctioning power of the federal courts "is not limited to what is enumerated in

            statutes or in the rules of civil procedure." Federal courts have the inherent power to punish

            persons who abuse the judicial process. The inherent power of the court is an "implied power

            squeezed from the need to make the courts function." Rule 11 and § 1927 do not displace the

            court's inherent power, but instead they exist concurrently.

                       The inherent power to sanction is broad. The scope of the power reaches "any abuse"

            of the judicial process. This includes the authority to sanction for conduct that occurs outside of

            the courtroom and is not limited to attorneys or parties. Courts also have broad discretion to

            determine the appropriate sanction to be imposed.

                       One such sanction, "limited to those cases where the litigant has engaged in bad-faith

            conduct or willful disobedience" is attorney fees. Those fees, however, must be compensatory in

            nature, rather than punitive. Thus the attorney fee award is limited to the amount of fees

            expended because of the misconduct at issue. That is, the court may generally award fees only



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            for legal work that would not have been necessary but for the misconduct. Where appropriate,

            courts may impose attorney fees representing the entire cost of litigation or the entire cost after

            some point in time. But such a case is "exceptional" and occurs when all of the expenses were

            caused by the sanctioned behavior.

                                                       ARGUMENT

                   All three opportunities to impose sanctions on the plaintiff and plaintiff counsel are

            available. Christiansen has filed to the Kugler and Jones documents multiple times in this case

            after Judge Hernandez told him to stop the infusion from other cases.

                   A. Requests By Christiansen Constitute a Felony

                       Commercial Bribery, Corrupt Influence, Illegal Gratuity, Misuse of Office and RICO

            are all implicated by Christiansen asking the court to help him conceal the lies he told in this

            action, his perjury in the Clackamas case and the favor he sought from the court for contacting

            Judge Jones deputy clerk.

                       Plaintiff is asking the court to engage in extra-judicial and non-immune activity

            because of the Kugler and Jones documents.

                       Christiansen can be prosecuted under 18 USC 201, 18 USC 1951, 18 USC 1343, 18

            USC 1962 and State and Local Criminal Statutes for asking the court to set the facts aside and

            reward him and the court with some benefit.

                       Doc #243-12 has been filed by Christiansen in this case some 5 times or so. It is

            tantamount to an admission that because of this exhibit the defendant did not receive a fair and

            independent trial on the merits of this case.

                       Doc #243-13 has been filed several times and is tantamount to an admission that

            because of this exhibit the defendant did not receive a fair and independent trial on the merits of



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            this case. This however is particularly disturbing to the defendant. Defendant Rote decided to go

            see Judge Robert Jones and make sure he understood that Rote was sorry for that hearing and

            more importantly was not a threat to him or his family. Rote has published that Judge Jones is

            one of his favorite Judges. Rote went to Judge Jones home and Judge Jones talked with him as

            old friends that day, in Judge Jones’ home, with his wife Pearl present. And the next day Rote

            brought over a Traeger roasted pork dinner as a gesture of friendship which Judge Jones

            accepted warmly.

                         The filing of these transcripts by opposing counsel is a horrible testimony that

            attorneys believe the court has and will abuse its office and that a judge is a recipient of some

            benefit in doing so. The public statement by the attorney challenges the credibility of the

            judiciary.

                     B. The Kugler and Jones documents filed by Christiansen seek partiality of the court and

                         are a specific violation of ORPC 3.5:

                         “RULE 3.5 IMPARTIALITY AND DECORUM OF THE TRIBUNAL

                         A lawyer shall not:

                         (a) seek to influence a judge, juror, prospective juror or other official by means prohibited by law;

                         (b) communicate ex parte on the merits of a cause with such a person during the proceeding unless

            authorized to do so by law or court order;

                         (c) communicate with a juror or prospective juror after discharge of the jury if: (1) the communication

            is prohibited by law or court order; (2) the juror has made known to the lawyer a desire not to communicate; or (3)

            the communication involves misrepresentation, coercion, duress or harassment;

                         (d) engage in conduct intended to disrupt a tribunal; or

                         (e) fail to reveal promptly to the court improper conduct by a venireman or a juror, or by another

            toward a venireman or a juror or a member of their families, of which the lawyer has knowledge.”




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                         Marshall represented Zweizig in an arbitration and filed the Kugler and Jones

            documents. The arbitrator was influenced by them as the transcript so reveals.

                         Christiansen has filed the Kugler and Jones transcripts in Clackamas County. Judge

            Herndon acknowledged the influence the transcripts had on his decision to dismiss the original

            case, confirmed ex-parte contact with the PLF, confirmed another request asking for dismissal

            from an unidentified Judge, recognizes there are criminal statutes in play and has responded

            further by reminding Rote of his judicial immunity.

                         There is another possible interpretation of the plaintiff bringing up the Kugler and

            Jones documents and that it is a form of a threat to expose something about the court. If so,

            defendant would ask the court to stand strong and deny him the attempt to extort favorable

            decisions.

                                                       CONCLUSION

                   The only way to curb the abuses of counsel is to sanction counsel in some form. The truth

            is that the attorney misconduct during the trial will likely force a new trial. Plaintiff has arguably

            compromised a jury trial at great economic cost to the public.

                   Even still, plaintiff counsel asking the court to join his felonious activity must be stopped

            for the good of our community and to restore confidence in the judiciary. In a broader sense it is

            an endemic issue interfering with court efficiency.

                         To the extent the court believes it can remain in the case on this issue, defendant asks

            the court to sanction the plaintiff and plaintiff counsel in an amount the court finds appropriate.

            The most appropriate sanction would be to vacate the judgment; however, defendant recognizes

            that the court may have divested itself of this opportunity. A financial sanction against plaintiff

            counsel and plaintiff equal to the judgment is therefore requested.



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                 Dated: December 3, 2018


                                               s/ Timothy C. Rote
                                               Timothy C. Rote
                                               Pro Se Defendant




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                                                  Certificate of Service

                   I hereby certify that on December 3, 2018, I electronically filed the foregoing with the
            Clerk of the Court using the CM/ECF System which will send notification of such filing to the
            following:

                   Joel Christiansen

                    and I hereby certify that I have mailed by United States Postal Service the document to
            the following non-CM/ECF participants:


                                                         s/ Timothy C. Rote
                                                         Timothy C. Rote
                                                         Pro Se Defendant
                                                         E-Mail: Timothy.Rote@gmail.com




            PAGE 1. CERTIFICATE OF SERVICE


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 1

 2

 3

 4                       IN THE CIRCUIT COURT OF THE STATE OF OREGON

 5                                   FOR THE COUNTY OF CLACKAMAS

 6   TIMOTHY C. ROTE,                                     Case No. 18CV45257

 7                    Plaintiff,                          DEFENDANTS LINDA L. MARSHALL
                                                          AND JOEL CHRISTIANSEN’S
 8             v.                                         MOTIONS TO DISMISS PLAINTIFF’S
                                                          FIRST AMENDED COMPLAINT AND,
 9   LINDA L. MARSHALL, JOEL
     CHRISTIANSEN, ANDREW BRANDSNESS,                     IN THE ALTERNATIVE, MOTION TO
10   CAROL BERNICK, OREGON STATE BAR                      DISMISS UNDER ORS 31.150 (ANTI-
     (PROFESSIONAL LIABILITY FUND),                       SLAPP)
11   MATT KALMANSON, NANCY WALKER,
     PAM STENDAHL, JOHN DOES (4-5),                       Prayer: $8,645,000
12
                      Defendants.                         Oral Argument Requested
13

14                                     UTCR 5.050 INFORMATION
15             Time requested for argument:                30 minutes
               Telephone argument requested:               No
16             Counsel more than 25 miles from court:      No
               Court reporting services requested:         Yes
17

18                       CERTIFICATE OF COMPLIANCE WITH UTCR 5.010

19             Pursuant to UTCR 5.010, counsel for defendants Linda L. Marshall and Joel Christiansen

20   made good faith efforts to confer with pro se plaintiff on the issues raised herein through a

21   conversation and also forwarding a copy of this motion five days before filing it.

22                                      SUMMARY OF MOTIONS

23             Motion 1 ORCP 21 A(9): Plaintiff’s first (defamation) and sixth (IIED) claims are time-

24   barred.

25             Motion 2 ORCP 21 A(8): Plaintiff’s fifth (ORICO) and seventh (fraud) claims are barred

26   for failure to state a claim.

 Page 1 – DEFENDANTS LINDA L. MARSHALL AND JOEL                                  HART WAGNER, LLP
                                                                                     Trial Attorneys
          CHRISTIANSEN’S MOTIONS TO DISMISS                               1000 S.W. Broadway, Twentieth Floor
          PLAINTIFF’S FIRST AMENDED COMPLAINT                                    Portland, Oregon 97205
                                                                                Telephone: (503) 222-4499
          AND, IN THE ALTERNATIVE, MOTION TO                                       Fax: (503) 222-2301
          DISMISS UNDER ORS 31.150 (ANTI-SLAPP)
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 1           Motion 3 ORS 31.150: In the alternative to Motions 1 and 2, all of plaintiff’s claims must

 2   be dismissed pursuant to Oregon’s anti-SLAPP statute.

 3                        MEMORANDUM OF POINTS AND AUTHORITIES

 4   I.      Summary

 5           This is the latest chapter in pro se plaintiff Timothy Rote’s dispute with Linda L.

 6   Marshall and Joel Christiansen (“moving defendants”), both of whom are lawyers who represent

 7   an individual (Max Zweizig) who has been litigating with plaintiff for over a decade. Plaintiff

 8   first tried to add the moving defendants to one of the federal lawsuits involving Mr. Zweizig, but

 9   that motion was denied. Plaintiff then filed a lawsuit in this court, which Judge Herndon

10   dismissed based on Oregon’s anti-SLAPP statute. The dismissal was without prejudice, but

11   plaintiff appealed the judgment and it was affirmed in its entirety. Plaintiff has now filed the

12   present lawsuit, which adds numerous additional parties, although the claims against the moving

13   defendants are substantially the same.

14           This court should dismiss all of plaintiff’s claims. First, plaintiff’s defamation and IIED

15   claims are time-barred. Second, his ORICO and fraud claims do not state a claim upon which

16   relief can be granted. And third, if any of plaintiff’s claims survive Motions 1 and 2, those

17   claims implicate Oregon’s anti-SLAPP statute, and plaintiff cannot provide evidence to support

18   them. Given this is the second lawsuit that plaintiff has filed, after litigating the previous one

19   through appeal, moving defendants request that this court dismiss plaintiff’s claims with

20   prejudice unless plaintiff can articulate specific allegations that state a claim for relief.

21   II.     Request for Judicial Notice and Background of Dispute

22           Before describing plaintiff’s latest complaint, this court must take judicial notice of the

23   history of this litigation, which is told in court documents attached to the declaration of Matthew

24   Kalmanson, all of which were filed in cases involving these same parties.

25   ///

26   ///

 Page 2 – DEFENDANTS LINDA L. MARSHALL AND JOEL                                     HART WAGNER, LLP
                                                                                        Trial Attorneys
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 1             A.      Legal standard for judicial notice.

 2             This court must take judicial notice of documents that are capable of accurate and ready

 3   determination by resort to sources whose accuracy cannot reasonably be questioned. OEC

 4   201(b); see also OEC 201(d)(2) (“A court shall take judicial notice if requested by a party and

 5   supplied with the necessary information.”). The court may take judicial notice at any stage of the

 6   proceeding. OEC 201(f). The court may take judicial notice of both facts (OEC 201(b)) and

 7   law, which includes “decisional” law and official acts of the Oregon courts (OEC 202(1)(2)).

 8             Moving defendants request that this court take judicial notice of documents from the

 9   previous litigation involving these issues and parties. Many of those documents are attached to

10   the declaration of Matthew Kalmanson, which are from case No. 16CV07564 and its appeal, and

11   federal case No. 3:15-cv-02401 (the “federal case”), which is one of the cases involving plaintiff

12   and Christiansen and Marshall’s client, Max Zweizig. This court, if it wishes, may take judicial

13   notice of any document in those court’s files, as the rules allow judicial notice “whether

14   requested or not.” See OEC 201(c), (d)(1). Taking judicial notice would allow this court to

15   understand the circumstances of the prior cases arising out of these events, and provide relevant

16   context for moving defendants’ alternative anti-SLAPP motion. ORS 31.150(4) (allowing court

17   to consider declarations in context of anti-SLAPP motion).

18             B.      Plaintiff’s disputes with Zweizig and others.

19             Mr. Zweizig alleged that he worked for a business entity owned by plaintiff called

20   Northwest Direct Teleservices (“NDT”). (Kalmanson Declaration, Ex 2 at 6.) An employment

21   dispute arose between Zweizig and NDT/plaintiff, which eventually was arbitrated. (Id., Ex 2 at

22   7-8.) The arbitrator, Bill Crow, found in Zweizig’s favor. (Id., Ex 2 at 14-20.) NDT did not

23   satisfy the judgment, and Zweizig sued NDT, Rote and his other entities for fraudulent transfers

24   (the “collection action”). (Id., Ex 2 at 23-45.) Defendant Marshall was lead attorney in the

25   arbitration and the collection action.1 (Id.)

26
     1
         The federal court ruled in plaintiff’s favor in the collection action, and that case is closed.
 Page 3 – DEFENDANTS LINDA L. MARSHALL AND JOEL                                       HART WAGNER, LLP
                                                                                          Trial Attorneys
          CHRISTIANSEN’S MOTIONS TO DISMISS                                    1000 S.W. Broadway, Twentieth Floor
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 1          Zweizig alleged that, around February of 2015, plaintiff started a blog called “Sitting

 2   Duck Portland,” in which he wrote about Zweizig and the arbitration, inter alia. (Id., Ex 2 at 5-

 3   6, 47-65.) Plaintiff made a number of statements about Zweizig in the blog, and he claimed to be

 4   the victim of a conspiracy between Zweizig, Marshall, the arbitrator and others. (Id.) On

 5   December 24, 2015, Zweizig sued Rote, alleging that the blog posts about him were additional

 6   adverse employment actions (the “retaliation action”). (Id., Ex 2 at 4.) Defendant Christiansen

 7   represented Zweizig in the retaliation action. (Id.)

 8          Plaintiff’s blog was not only about Zweizig. Plaintiff described it as an “effort to expose

 9   issues that have arisen when Judges and Arbitrators give into activism, cronyism and

10   favoritism.” (Id., Ex 2 at 47.) Plaintiff claimed to be a victim of “bias, of cronyism, perhaps of

11   bribery, of corruption, of fraud” by “Judges coast to coast.” (Id., Ex 2 at 53.) One of the judges

12   plaintiff identified in his blog was federal Judge Robert E. Jones, who presided over another

13   lawsuit involving plaintiff captioned Jones v. North West Telemarketing, Inc., US District Court

14   of Oregon, CV 99-990. (Id., Ex 2 at 56-57.)

15          Plaintiff at times has sent ex parte letters to judges who are presiding over his cases. In

16   the first iteration of the Zweizig lawsuit, which began in New Jersey, plaintiff wrote a letter to the

17   judge that resulted in an order to show cause as to why Rote should not be held in contempt.

18   (Id., Ex 2 at 63.) According to the court, the letter implied “that a law clerk employed in this

19   Court had improper contact with plaintiff through plaintiff’s girlfriend, and it further appearing

20   that Mr. Rote implies that a law clerk employed in this Court had improper contact with plaintiff

21   through a pedophile web site * * * .” (Id.)

22          Similarly, in the Jones case in Oregon, plaintiff sent a letter to Judge Jones, which

23   resulted in him stating: “I don’t want anything to do with this case. I have utter contempt for this

24   person. He wrote the court a very personal, very nasty letter. A hypocrite. So, get out of here. I

25   am not going to have anything to with this. I will recuse myself.” (Id., Ex 2 at 61.)

26   ///

 Page 4 – DEFENDANTS LINDA L. MARSHALL AND JOEL                                   HART WAGNER, LLP
                                                                                      Trial Attorneys
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 1          C.      Previous litigation over plaintiff’s blog post about Judge Jones.

 2          On November 12, 2015, plaintiff posted the nineteenth entry in his blog, in which he

 3   claimed that Marshall tried to influence the arbitration by implying that Judge Jones did not like

 4   plaintiff. Plaintiff concluded: “The Honorable Robert E. Jones is receiving a lifetime

 5   achievement award tomorrow night. The press will be there. Congratulations Judge Jones.

 6   Perhaps more often than not our legacies are not what we wanted them to be.” (Id., Ex 2 at 57.)

 7          In the first iteration of this lawsuit, plaintiff alleged that the moving defendants had

 8   reported the blog post to Judge Jones’ chambers as a “veiled threat of physical violence.” (Id.,

 9   Ex 1 at 4.) The US Marshals contacted plaintiff and his attorney, and interviewed them to

10   determine if plaintiff was a threat. (Id., Ex 1 at 5.) This event is the primary basis for plaintiff’s

11   claims against moving defendants.

12          Plaintiff first asserted a counterclaim against Zweizig in the federal retaliation case for

13   defamation and IIED, inter alia, and moved to join Christiansen and Marshall as defendants.

14   (Id., Ex 8.) Federal Judge Marco Hernandez denied plaintiff’s request to add Christiansen and

15   Marshall as parties, but allowed the claims to proceed against Zweizig. (Id.) Judge Hernandez

16   eventually dismissed the defamation claim against Zweizig under Oregon’s anti-SLAPP statute.

17   (Id., Exs 9, 10.) The court ruled that plaintiff could not show a probability of prevailing on the

18   merits of any claim arising out of reporting the potential threat because the report was an opinion

19   protected by the First Amendment. (Id., Ex 9 at 13-14.) The court also held that the IIED claim

20   failed “as a matter of law” because no reasonable factfinder could conclude that the statements

21   were “outrageous conduct.” (Id., Ex 9 at 15-16.)

22          While these matters were being litigated in federal court, plaintiff filed a lawsuit against

23   the moving defendants in this court, asserting claims for defamation, IIED, ORICO, conspiracy,

24   and aiding and abetting. (Id., Ex 1.) Defendants moved to dismiss under ORS 31.150, which

25   this court granted. (Id., Ex 3.) The court awarded defendants their attorney fees, ruling that

26   plaintiff’s claims were “frivolous in every respect.” (Id., Ex 4 at 1.) Plaintiff appealed and the

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 1   Court of Appeals affirmed in full. (Id., Ex 7.) While the appeal was ongoing, plaintiff filed a

 2   number of ORCP 71 motions in this court, all of which this court denied. (Id., Ex. 6.)

 3           D.     Plaintiff’s allegations in this lawsuit.

 4           On or around October 8, 2018, plaintiff filed this lawsuit against moving defendants and

 5   others, including the attorney who represented him in the litigation against Zweizig, the

 6   Professional Liability Fund and its CEO. On or around December 4, 2018, plaintiff filed an

 7   amended complaint which added as defendants the undersigned counsel, Judge Hernandez’s

 8   court reporter and a PLF claims attorney.

 9           The allegations against moving defendants arise out of the same events as the previous

10   lawsuit. Plaintiff repeats his allegation that moving defendants tried to influence the outcome of

11   the federal lawsuits by reporting to Judge Jones that plaintiff’s blog post was a “veiled threat of

12   physical violence.” (Am Cmplt, ¶ 16.) Plaintiff also alleges that he received documents

13   pursuant to a “Freedom of Information Act request” on “October 15, 2016” which show that

14   moving defendants “conveyed that Rote was unstable, that he had threatened their client, that he

15   had been arrested and prosecuted on a weapons charge, that he has engaged in fraudulent

16   transfers to avoid a judgment against one of his companies and is a threat to Judge Jones.” (Id., ¶

17   20.) Plaintiff also alleges that moving defendants lied in the previous case before this court.

18   (Id., ¶ 22.)

19           Plaintiff asserts four claims against these defendants: defamation, IIED, ORICO and

20   fraud. The defamation claim is based on the statements purportedly made to Judge Jones’

21   chambers. (Id., ¶ 15.) The ORICO claim is light on details, but is based on “bribery, perjury,

22   obstructing judicial administration, presenting false evidence, spoliation of evidence, unsworn

23   falsification and perverting the court of justice.” (Id., ¶ 47.) The only allegation relating to the

24   moving defendants is that defendant Christiansen purportedly prepared “a false declaration.”

25   (Id., ¶ 51.) The IIED claim incorporates the previous allegations in the complaint. (Id., ¶ 55.)

26   ///

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 1           Finally, plaintiff included a “fraud” claim in the amended complaint, in which he alleges

 2   that the moving defendants and others “were well aware that the assertions made by these parties

 3   in case 16CV07564 to secure an anti-SLAPP Motion to Strike dismissal of the case were untruth

 4   [sic] and constituted perjury before the court.” (Id., ¶ 59.) Plaintiff also alleges a conspiracy of

 5   some sort between defendants Christiansen and Judge Hernandez’s court reporter.

 6                                             MOTION 1
                      Motion to Dismiss First (Defamation) and Sixth (IIED) Claims
 7                           with Prejudice Based on Statute of Limitations

 8           A.      Standard of review.

 9           This court must dismiss a claim under ORCP 21 A(9) if the complaint establishes that the

10   action is untimely. Kastle v. Salem Hosp., 284 Or App 342, 348 (2017).

11           B.      Plaintiff’s defamation claim is time-barred.

12           The statute of limitations for defamation is one year. ORS 12.120(2); see also Coe v.

13   Statesman-Journal Co., 277 Or 117, 120 (1977) (so stating). Plaintiff alleges in his amended

14   complaint that he learned that moving defendants reported his blog post as a “veiled threat of

15   physical violence” on November 12, 2015, approximately two years and eleven months before

16   he filed this lawsuit on October 8, 2018. (Am Cmplt, ¶ 17.) Plaintiff also alleges that he

17   received his “new evidence” on October 15, 2016, about a year and eleven months before he

18   filed this lawsuit. (Id., ¶ 20).

19           Thus his defamation claim is time-barred and must be dismissed with prejudice.

20           C.      Plaintiff’s IIED claim is time-barred.

21           Plaintiff’s IIED claim is also time-barred, for two reasons. First, plaintiff’s IIED claim

22   against these defendants is his defamation claim in different clothing. Plaintiff’s IIED claim

23   does nothing more than incorporate the preceding paragraphs, which means that plaintiff is

24   alleging that the moving defendants intentionally caused plaintiff emotional distress by making

25   defamatory statements. This is a defamation claim.

26   ///

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 1          IIED is not subject to a specific statute of limitations identified in Chapter 12. This court

 2   therefore must determine the appropriate limitation period by looking to the nature of the

 3   conduct complained of, i.e., “the predominant characteristic of the action” and not the label

 4   provided by plaintiff. See Bradbury v. Teacher Standards & Practices Comm'n, 328 Or 391, 398

 5   (1999). Plaintiff cannot procure a longer limitation period by characterizing his defamation

 6   claim as IIED. Coe v. Statesman-Journal Co., 277 Or 117, 120 (1977) (claim barred by one-year

 7   defamation limitation period, despite plaintiff’s labelling it as an action for negligence); Magenis

 8   v. Fisher Broad., Inc., 103 Or App 555, 560 (1990) (claim was barred by one-year defamation

 9   period because to “hold otherwise would permit a plaintiff to elect the longer limitation period of

10   ORS 12.110(1) simply by characterizing a defamation claim as one for false light”); Stacy v

11   Koin-TV, No. 0506-05987, 2006 WL 5106114 (Or Cir Jan. 27, 2006) (“Because the predominant

12   characteristic of Plaintiff’s complaint is defamation, the one year statute of limitations controls

13   his claim for intentional infliction of emotional distress and therefore, this claim is time-barred.”)

14   (Kalmanson Dec, Ex 15.). Thus, plaintiff’s IIED claim is time-barred.

15          Even if plaintiff’s IIED claim is two years, it still is time-barred. Plaintiff’s IIED claim

16   accrued when plaintiff knew or should have known of a substantial possibility of harm,

17   causation, and tortious conduct. Gaston v. Parsons, 318 Or 247, 256 (1994). The claim accrued

18   when plaintiff knew of the substantial possibility that he suffered some harm due to defendants’

19   conduct, not the full extent of the harm or all the details of the claim:

20                  [The discovery rule] does not contemplate that a plaintiff’s actual
                    or inquiry knowledge extends to all of the particulars of his or her
21                  ultimate injury. Rather, the rule delays the running of the
                    limitations period only until the plaintiff knows or should know
22
                    that some harm has been incurred and that a claim exists. The
23                  statute is not delayed until the plaintiff is or should be aware of the
                    full extent of his or her damage or of all the details relevant to the
24                  claim.

25   Widing v. Schwabe, Williamson & Wyatt, 154 Or App 276, 283-84 (1998).

26   ///

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 1            Here, plaintiff alleges that he knew that moving defendants had contacted Judge Jones’

 2   chambers when the US Marshals contacted him to determine if he was a threat, which occurred

 3   on November 12, 2015. At that time, plaintiff learned that moving defendants told Judge Jones’

 4   chambers that plaintiff had made a veiled threat of physical violence. (Am Cmplt, ¶ 16-19.)

 5   Plaintiff then brought the first iteration of this lawsuit, which specifically alleged that he suffered

 6   emotional harm arising out of the report to Judge Jones.

 7            Thus, even if the limitation period is two years, his IIED claim is time-barred.

 8                                              Motion 2
                      Motion to Dismiss Fifth (ORICO) and Seventh (Fraud) Claims
 9                                    for Failure to State a Claim

10            Plaintiff’s fifth (ORICO) and seventh (fraud) claims are incomprehensible. Given the

11   history of this litigation, moving defendants request that this court dismiss these claims with

12   prejudice, unless plaintiff can articulate facts that he can allege in good faith which might state a

13   claim.

14            A.     Plaintiff’s ORICO claim does not state a claim against moving defendants.

15            In order to state a claim under ORICO, plaintiff must prove that the moving defendants

16   were “associated with, any enterprise to conduct or participate, directly or indirectly, in such

17   enterprise through a pattern of racketeering activity or the collection of an unlawful debt.” ORS

18   166.720(3). A “pattern of racketeering activity” means “engaging in at least two incidents of

19   racketeering activity that have the same or similar intents, results, accomplices, victims or

20   methods of commission or otherwise are interrelated by distinguishing characteristics.” ORS

21   166.715(4); see also Kotera v. Daioh Int'l U.S.A. Corp., 179 Or App 253, 278 (2002) (noting to

22   assert an ORICO claim a plaintiff must establish the commission of two related “predicate acts”).

23   “Predicate acts” include the commission of certain crimes, identified in ORS 166.725(7)(a)(B).

24            ORS 166.720 contains its own specific pleading standard for a RICO claim:

25                   An allegation of a pattern of racketeering activity is sufficient if it
                     contains substantially the following:
26   ///

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 1                   (a) A statement of the acts constituting each incident of
                     racketeering activity in ordinary and concise language, and in a
 2                   manner that enables a person of common understanding to know
                     what is intended;
 3
                     (b) A statement of the relation to each incident of racketeering
 4                   activity that the conduct was committed on or about a designated
                     date, or during a designated period of time;
 5
                     (c) A statement, in the language of ORS 166.715 (4) or other
 6                   ordinary and concise language, designating which distinguishing
                     characteristic or characteristics interrelate the incidents of
 7                   racketeering activity; and

 8                   (d) A statement that the incidents alleged were not isolated.

 9   ORS 166.720(6).

10           Plaintiff has not stated a claim against moving defendants under ORICO that satisfies

11   ORS 166.720 or that addresses the elements of such a claim. His allegations in paragraphs 47-57

12   are a collection of conclusory statements devoid of ultimate facts. See ORCP 18 A (requiring

13   complaint to contain a “plain and concise statement of the ultimate facts constituting a claim for

14   relief without unnecessary repetition.”); Fearing v. Bucher, 328 Or 367, 371 (1999)

15   (“Conclusions of law alone . . . are insufficient” to state a claim). The only allegation against

16   moving defendants is that defendant Christiansen prepared a “false declaration,” a single act that

17   does not establish the existence of an “enterprise” or a “pattern of racketeering activity.”

18           Plaintiff alleges that “defendants” committed a number of crimes, but he has failed to

19   allege ultimate facts that state a claim for any of those crimes, much less two predicate criminal

20   acts. Plaintiff makes a vague reference to a “false declaration,” but does not quote the

21   declaration or provide any facts that state a claim for perjury. Nor are there allegations about

22   some other predicate act that might show a “pattern of racketeering,” or allegations that relate

23   those acts to each other and some common enterprise.

24           Indeed, there are no allegations at all about defendant Marshall, other than that she

25   litigated a case on behalf of a client against plaintiff. That alone is not sufficient to state an

26   ORICO claim against moving defendants, or any claim for that matter. See Reynolds v. Schrock,

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 1   341 Or 338, 350 (2006) (holding “a lawyer acting on behalf of a client and within the scope of

 2   the lawyer-client relationship is protected by such a privilege and is not liable for assisting the

 3   client in conduct that breaches the client's fiduciary duty to a third party”).

 4           This court should dismiss plaintiff’s ORICO claim.

 5           B.      Plaintiff’s fraud claim does not state a claim against moving defendants.

 6           Plaintiff’s seventh claim for relief (fraud) is also incomprehensible. To prove a claim for

 7   fraud, plaintiff must prove that the defendant (1) made a material misrepresentation that was

 8   false; (2) the defendant did so knowing that the representation was false; (3) the defendant

 9   intended the plaintiff to rely on the misrepresentation; (4) the plaintiff justifiably relied on the

10   misrepresentation; and (5) the plaintiff was damaged as a result of that reliance. Murphy v.

11   Allstate Ins. Co., 251 Or App 316, 324 (2012).

12           None of plaintiff’s allegations state a claim for fraud against moving defendants.

13   Plaintiff alleges that defendants Christiansen and Marshall knew that “assertions made by these

14   parties in case 16CV07654 . . . were untruth [sic] and constituted perjury before the court,” but

15   that does not state a claim for fraud. (Am Cmplt, ¶ 59.) Plaintiff does not (and cannot) allege

16   that moving defendants induced plaintiff to justifiably rely on some misrepresentation to his

17   detriment.

18           Plaintiff also alleges something about defendant Christiansen having “admitted” to

19   influencing Judge Hernandez’s court reporter in preparing a transcript. Even if this allegation

20   were true, and it is not, its relationship to “fraud” is unknown. And if plaintiff believes he has a

21   claim for something that moving defendants said in federal court, their statements were

22   absolutely privileged from a civil claim by plaintiff. Wollam v. Brandt, 154 Or App 156, 162–63

23   (1998) (noting existence of absolute privilege based on a public policy of securing to attorneys

24   “the utmost freedom in their efforts to secure justice for their clients”) (quoting Restatement of

25   Torts § 586 comment a).

26           Thus this court should dismiss plaintiff’s fraud claim.

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 1          C.      This court should not permit plaintiff to replead against moving defendants.

 2          Although this action was filed in October of 2018, it has been in the courts for almost

 3   three years. Plaintiff filed several complaints in the previous iteration of this case, and Judge

 4   Herndon called these claims “frivolous in every respect.” Moving defendants request that this

 5   court dismiss these claims with prejudice, unless plaintiff can articulate specific allegations that

 6   he has a good faith basis to allege, which might state a claim for ORICO or fraud.

 7                                           Motion 3
                    Motion to Dismiss any Remaining Claims Based on ORS 31.150
 8

 9          Moving defendants’ third motion is brought in the alternative under Oregon’s anti-

10   SLAPP statute, ORS 31.150, if this court believes that any of plaintiff’s allegations state a claim

11   or otherwise survive Motions 1 and 2.

12          A.      Plaintiff’s claims implicate ORS 31.150(2).

13          The purpose of a special motion to strike is to expeditiously terminate unfounded claims

14   that threaten constitutional free speech rights. Staten v. Steel, 222 Or App 17 (2008). It permits

15   a “defendant who is sued over certain actions taken in the public arena to have a questionable

16   case dismissed at an early stage.” Mullen v. Meredith Corp., 271 Or App 698, 700 (2015); see

17   also Handy v. Lane County, 274 Or App 644, 650 (2015) (anti-SLAPP statute provides an

18   “inexpensive and quick process by which claims that might infringe on the right to petition and

19   free speech on public issues could be evaluated to determine if they were frivolous”), rev

20   allowed, 358 Or 550 (2016).

21          There are two steps to an anti-SLAPP motion. ORS 31.150(3). Defendants first must

22   establish that the claims arise out of protected rights of expression, i.e., statements, documents or

23   conduct described in ORS 31.150(2)(a)-(d). The burden then shifts to plaintiff to show “there is

24   a probability that [plaintiff] will prevail on the claim by presenting substantial evidence to

25   support a prima facie case.” ORS 31.150(3).

26   ///

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 1          The protected rights of expression described in ORS 31.150(2) are as follows:

 2              A special motion to strike may be made under this section against any claim in
                a civil action that arises out of:
 3
                (a) Any oral statement made, or written statement or other document
 4
                submitted, in a legislative, executive or judicial proceeding or other
 5              proceeding authorized by law;

 6              (b) Any oral statement made, or written statement or other document
                submitted, in connection with an issue under consideration or review by a
 7              legislative, executive or judicial body or other proceeding authorized by law;
 8
                (c) Any oral statement made, or written statement or other document
 9              presented, in a place open to the public or a public forum in connection with
                an issue of public interest; or
10
                (d) Any other conduct in furtherance of the exercise of the constitutional right
11              of petition or the constitutional right of free speech in connection with a
                public issue or an issue of public interest.
12

13          This court ruled in the first iteration of this case that plaintiff’s claims arising out of these

14   facts implicate ORS 31.150(2). Thus under the doctrine of issue preclusion, that issue cannot be

15   relitigated in this action. Rawls ex rel. Dep't of Human Res., Adult & Family Servs. & Senior &

16   Disabled Servs. Div. v. Evans, 182 Or App 75, 85 (2002) (noting issue preclusion applies when

17   “a claim is litigated to final judgment, the decision on a particular issue or determinative fact

18   [will be] conclusive in a later or different action between the same parties if the determination

19   was essential to the judgment”). The court’s previous ruling dismissing this case based on ORS

20   31.150(2) involved the same parties who are named in this lawsuit, and it resulted in a final

21   ///

22   ///

23   ///

24   ///

25   ///

26   ///

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 1   judgment, which was affirmed on appeal. Thus plaintiff is precluded from arguing that his

 2   allegations do not implicate ORS 31.150. 2

 3           Plaintiff therefore must show a probability that he will prevail on the merits through

 4   substantial evidence supporting a prima facie case. He cannot do so.

 5           B.      Plaintiff cannot establish a prima facie case.

 6           As noted above, plaintiff’s defamation claim and IIED claims are time-barred. Plaintiff’s

 7   ORICO and fraud claims do not state a claim. If this court disagrees, then under this alternative

 8   motion, plaintiff must present substantial evidence supporting a prima facie case of those torts,

 9   that somehow survives the strong First Amendment and attorney/client protections and privileges

10   that are implicated by plaintiff’s allegations. He cannot do so, and his claims must be dismissed.

11           C.      Defendants request their attorney fees.

12           If this court grants this motion, it must award the attorney defendants their attorney fees

13   under ORS 31.152(3). Defendants will submit an attorney fee statement pursuant to ORCP 68 if

14   the court grants this motion.

15                                              CONCLUSION

16           The moving defendants respectfully request that this court dismiss the fraud and IIED

17   claims with prejudice, and the ORICO and fraud claims with prejudice unless plaintiff can

18   articulate specific allegations that will state a claim for relief. If this court believes plaintiff has

19   ///

20
     2
       Plaintiff’s allegations, on their face, implicate moving defendants’ conduct in litigation or
21   relating to litigation (Am Cmplt, ¶¶ 12-14, 19-20, 22, 47, 51-53, 55, 58-63,relating to alleged
     conduct in the arbitration or litigation), as well as statements made in furtherance of the right to
22   free speech in connection with a public issue or an issue of public interest (Id., ¶ 15, reporting a
     potential threat to a judge). On their face, they implicate ORS 31.150 irrespective of issue
23   preclusion. Young v. Davis, 259 Or App 497, 502 (2013) (noting trial court had held that anti-
     SLAPP law applied to allegedly false accusation to sheriff, but deciding issue on other grounds);
24   Comstock v. Aber, 212 Cal App 4th 931, 941 (2012) (interpreting anti-SLAPP statute on which
     Oregon law is based to mean that “communications to the police are within SLAPP”);
25   Wattenburg v. United Med. Labs., Inc., 269 Or 377, 380 (1974) (noting there is a qualified
     privilege for statements made “on a subject of mutual concern to defendants and the persons to
26   whom the statement was made”).

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 1   stated a claim, then defendants move to dismiss under ORS 31.150 unless plaintiff can present

 2   evidence that supports his conspiracy theories.

 3          DATED this 17th day of December, 2018.

 4                                         HART WAGNER, LLP

 5
                                     By: /s/ Matthew J. Kalmanson
 6                                       Matthew J. Kalmanson, OSB No. 041280
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 9
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10

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 1                                    CERTIFICATE OF SERVICE

 2          I hereby certify that on the 17th day of December, 2018, I served the foregoing

 3   DEFENDANTS LINDA L. MARSHALL AND JOEL CHRISTIANSEN’S MOTIONS TO

 4   DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT AND, IN THE

 5   ALTERNATIVE, MOTION TO DISMISS UNDER ORS 31.150 (ANTI-SLAPP), on the

 6   following party at the following address:

 7          Timothy C. Rote
            24790 SW Big Fir Road
 8          West Linn, OR 97068
            tim@rote-enterprises.com
 9             Pro Se Plaintiff

10   via the Court’s Efiling system, and by emailing and mailing to him a true and correct copy

11   thereof, certified by me as such, placed in a sealed envelope addressed to him at the address set

12   forth above, and deposited in the U.S. Post Office at Portland, Oregon on said day with postage

13   prepaid.

14

15                                               /s/ Matthew J. Kalmanson
                                                 Matthew J. Kalmanson, OSB No. 041280
16

17

18

19

20

21

22

23

24

25

26

 Page 1 – CERTIFICATE OF SERVICE                                                HART WAGNER LLP
                                                                                    Trial Attorneys
                                                                         1000 S.W. Broadway, Twentieth Floor
                                                                                Portland, Oregon 97205
                                                                               Telephone: (503) 222-4499
                                                                                  Fax: (503) 222-2301
           Case 3:19-cv-00082-MO           Document  1-24:20Filed
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                                                18CV45257


 1

 2

 3

 4                       IN THE CIRCUIT COURT OF THE STATE OF OREGON

 5                                  FOR THE COUNTY OF CLACKAMAS

 6   TIMOTHY C. ROTE,                                     Case No. 18CV45257

 7                    Plaintiff,                          DECLARATION OF MATTHEW J.
                                                          KALMANSON IN SUPPORT OF
 8             v.                                         DEFENDANTS LINDA L. MARSHALL
                                                          AND JOEL CHRISTIANSEN’S
 9   LINDA L. MARSHALL, JOEL
     CHRISTIANSEN, ANDREW BRANDSNESS,                     MOTIONS TO DISMISS PLAINTIFF’S
10   CAROL BERNICK, OREGON STATE BAR                      FIRST AMENDED COMPLAINT AND,
     (PROFESSIONAL LIABILITY FUND),                       IN THE ALTERNATIVE, MOTION TO
11   MATT KALMANSON, NANCY WALKER,                        DISMISS UNDER ORS 31.150 (ANTI-
     PAM STENDAHL, JOHN DOES (4-5),                       SLAPP)
12
                      Defendants.
13

14             I, Matthew J. Kalmanson, being first duly sworn, do hereby depose and state that:

15             1.     I am one of the attorneys for defendants Linda L. Marshall and Joel Christiansen,

16   and I make this declaration in support of Defendants Linda L. Marshall and Joel Christiansen’s

17   Motions to Dismiss Plaintiff’s First Amended Complaint and, in the Alternative, Motion to

18   Dismiss under ORS 31.150 (Anti-SLAPP). This declaration is based upon personal knowledge,

19   except where stated below. I am over the age of 18 and am competent to testify to the matters

20   herein.

21             2.     Attached as Exhibit 1 is a true and correct copy of the Second Amended

22   Complaint in Clackamas County Circuit Court Case No. 16CV07564, filed on March 25, 2016.

23             3.     Attached as Exhibit 2 is a true and correct copy of the Declaration of Matthew J.

24   Kalmanson in Support of Defendants Linda L. Marshall and Joel Christiansen’s Anti-SLAPP

25   Motion, filed on April 26, 2016 in Case No. 16CV07564, and accompanying exhibits.

26   ///

 Page 1 – DECLARATION OF MATTHEW J. KALMANSON IN                                   HART WAGNER, LLP
                                                                                       Trial Attorneys
          SUPPORT OF DEFENDANTS LINDA L. MARSHALL                           1000 S.W. Broadway, Twentieth Floor
          AND JOEL CHRISTIANSEN’S MOTIONS TO DISMISS                               Portland, Oregon 97205
                                                                                  Telephone: (503) 222-4499
          PLAINTIFF’S FIRST AMENDED COMPLAINT AND,                                   Fax: (503) 222-2301
          IN THE ALTERNATIVE, MOTION TO DISMISS
          UNDER ORS 31.150 (ANTI-SLAPP)
           Case 3:19-cv-00082-MO        Document 1-2       Filed 01/16/19      Page 176 of 351




 1          4.     Attached as Exhibit 3 is a true and correct copy of the Order on (1) Plaintiff’s

 2   Motion to Reconsider and (2) the Attorney Defendants’ Anti-SLAPP Motion, entered on August

 3   16, 2016 in Case No. 16CV07564.

 4          5.     Attached as Exhibit 4 is a true and correct copy of The Honorable Robert D.

 5   Herndon’s Opinion on defendants’ motion for attorney fees, dated December 30, 2016 in Case

 6   No. 16CV07564.

 7          6.     Attached as Exhibit 5 is a true and correct copy of the Limited Judgment of

 8   Dismissal, entered on August 16, 2016 in Case No. 16CV07564.

 9          7.     Attached as Exhibit 6 is a true and correct copy of the Order on Plaintiff’s ORCP

10   71 Motion to Vacate the Supplemental Judgment, Motion for Leave to Amend, and Motion for

11   Relief of Judgment Dates August 16, 2016, entered on September 26, 2017 in Case No.

12   16CV07564.

13          8.     Attached as Exhibit 7 is a true and correct copy of the Appellate Judgment and

14   Supplemental Judgment, entered on April 27, 2018 in Case No. 16CV07564.

15          9.     Attached as Exhibit 8 is a true and correct copy of the Opinion & Order on

16   Defendant Rote’s Motion to Join Parties, entered on February 25, 2016 in Oregon USDC Case

17   No. 3:15-cv-02401-HZ.

18          10.    Attached as Exhibit 9 is a true and correct copy of the Opinion & Order on

19   Plaintiff’s Motion to Strike, entered on September 26, 2016 in Case No. 3:15-cv-02401-HZ.

20          11.    Attached as Exhibit 10 is a true and correct copy of the Opinion & Order on

21   Defendant Rote’s Objection to Plaintiff’s Proposed Form of Judgment, Motion for Stay, and

22   Motion for Relief from the Court’s Anti-SLAPP Order, entered on November 20, 2018 in Case

23   No. 3:15-cv-02401-HZ.

24          12.    Attached as Exhibit 11 is a true and correct copy of the Judgment, entered on

25   November 20, 2018 in Case No. 3:15-cv-02401-HZ.

26   ///

 Page 2 – DECLARATION OF MATTHEW J. KALMANSON IN                                 HART WAGNER, LLP
                                                                                     Trial Attorneys
          SUPPORT OF DEFENDANTS LINDA L. MARSHALL                         1000 S.W. Broadway, Twentieth Floor
          AND JOEL CHRISTIANSEN’S MOTIONS TO DISMISS                             Portland, Oregon 97205
                                                                                Telephone: (503) 222-4499
          PLAINTIFF’S FIRST AMENDED COMPLAINT AND,                                 Fax: (503) 222-2301
          IN THE ALTERNATIVE, MOTION TO DISMISS
          UNDER ORS 31.150 (ANTI-SLAPP)
          Case 3:19-cv-00082-MO         Document 1-2       Filed 01/16/19     Page 177 of 351




 1          13.    Attached as Exhibit 12 is a true and correct copy of the court docket for

 2   Clackamas County Circuit Court Case No. 16CV07564.

 3          14.    Attached as Exhibit 13 is a true and correct copy of the court docket for Oregon

 4   USDC Case No. 3:14-cv-00406-HZ.

 5          15.    Attached as Exhibit 14 is a true and correct copy of the court docket for Oregon

 6   USDC Case No. 3:15-cv-02401-HZ.

 7          16.    Attached as Exhibit 15 is a true and correct copy of Order & Opinion Regarding

 8   Defendants’ Motions to Dismiss, Motions to Strike and Motions for Summary Judgment in Stacy

 9   v Koin-TV, No. 0506-05987, 2006 WL 5106114 (Or. Cir. Jan. 27, 2006).

10          I HEREBY DECLARE THAT THE ABOVE STATEMENT IS TRUE TO THE

11   BEST OF MY KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND IT IS MADE

12   FOR USE AS EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR

13   PERJURY.

14          DATED this 17th day of December, 2018.

15

16                                  By: /s/ Matthew J. Kalmanson
                                        Matthew J. Kalmanson, OSB No. 041280
17                                      mjk@hartwagner.com
                                        Of Attorneys for Defendants Linda L. Marshall and Joel
18                                      Christiansen

19

20

21

22

23

24

25

26

 Page 3 – DECLARATION OF MATTHEW J. KALMANSON IN                                HART WAGNER, LLP
                                                                                    Trial Attorneys
          SUPPORT OF DEFENDANTS LINDA L. MARSHALL                        1000 S.W. Broadway, Twentieth Floor
          AND JOEL CHRISTIANSEN’S MOTIONS TO DISMISS                            Portland, Oregon 97205
                                                                               Telephone: (503) 222-4499
          PLAINTIFF’S FIRST AMENDED COMPLAINT AND,                                Fax: (503) 222-2301
          IN THE ALTERNATIVE, MOTION TO DISMISS
          UNDER ORS 31.150 (ANTI-SLAPP)
      Case 3:19-cv-00082-MO       3/25/2016 11:03:06
                               Document     1-2 FiledAM 01/16/19   Page 178 of 351
                                        16CV07564




 1   TIMOTHY C. ROTE
     24790 SW BIG FIR RD.
 2   WEST LINN, OR 97068
     Direct: 503.702.7225
 3   Email: timothy.rote@gmail.com

 4

 5
     TIMOTHY C. ROTE, PROSE

 6

 7

 8
                       IN THE CIRCUIT OF THE STATE OF OREGON

 9                            FOR THE COUNTY OF CLACKAMAS

10

11

12
     TIMOTHY C. ROTE,                       ) Case No.: 16cv07564
13                                          )
               Plaintiff,                   ) SECOND AMENDED COMPLAINT FOR:
14                                          )
                                            )    (1) DEFAMATION
15       vs.                                )
                                            )    (2) INTENTIONAL INFLICTION
16   LINDA L. MARSHALL,                     )         OF EMOTIONAL DISTRESS
                                            )
17                                          )    (3) CONSPIRACY
     JOEL CHRISTIANSEN,                     )
18                                          )    (4) AIDING & ABETTING
     OREGON STATE BAR,                      )
19                                          )    (5) RACKETEERING
     JOHN DOES (1-5)                        )
20
                                            )
                                            )       JURY TRIAL REQUESTED
               Defendants                   )
21
                                                   PRAYER FOR: $9,000,000
22

23
     Plaintiff Timothy C. Rote (“Rote”)alleges as follows:
24

25

26                                            1.
27        Plaintiff is an individual residing in West Linn, Oregon.
28


                                          - 1 -
                          SECOND AMENDED COMPLAINT FOR DAMAGES
                                                                               Exhibit 1
                                                                               1 of 19
      Case 3:19-cv-00082-MO   Document 1-2    Filed 01/16/19   Page 179 of 351




 1                                           2.

 2     Defendant Linda L. Marshall (Marshall) resides in Lake Oswego,
 3
                                           Oregon.
 4
                                             3.
 5
       Defendant Joel CHRISTIANSEN (CHRISTIANSEN) resides in Portland,
 6

 7                                         Oregon.

 8                                           4.

 9       Defendant Oregon State Bar (OSB) resides in Tigard, Oregon.
10
                                             5.
11
           John Doe 1-5 identities and addresses are undisclosed.
12
                               FIRST CLAIM FOR RELIEF
13

14       (Defamation against Marshall, CHRISTIANSEN & John Does 1-5)

15                                           6.
16                     Plaintiff alleges paragraphs 1-5.
17
                                             7.
18
         Plaintiff    has     been   the     subject   of      defamatory    statements
19
     intended to influence litigation pending in Federal Court where
20

21   Rote is a Defendant, to defame Rote which falsely and maliciously

22   attribute characteristics to Rote that are intended to demean and
23
     embarrass him and hold him in a false light.
24
                                             8.
25
         Over the last 13 years one of Rote’s business entities has
26

27
     been engaged in litigation against a former employee, whom Marshall

28   and CHRISTIANSEN represent.

                                         - 2 -
                         SECOND AMENDED COMPLAINT FOR DAMAGES
                                                                            Exhibit 1
                                                                            2 of 19
      Case 3:19-cv-00082-MO       Document 1-2    Filed 01/16/19   Page 180 of 351




 1

 2                                               9.
 3
          Rote is the author and owner of a blog and other intellectual
 4
     property addressing issues of bias and fraud arising during the
 5
     course of litigation adjudicated in an arbitration lasting seven
 6

 7   years. In particular Rote has asserted that a substantial and prior

 8   partner relationship between Marshall and the arbitrator (which was

 9   undisclosed by the arbitrator and concealed by Marshall) and the
10
     first    of   two   causes    of   the   arbitrator      bias.    The   second         cause
11
     appears to be influence and intimidation of the arbitrator by a
12
     Judge.
13

14                                            10.

15        In    writing    about    the   arbitration      and     subsequent    litigation
16   Rote exposed the testimony evidence, forensic reports, and other
17
     supporting evidence making his case for the extreme dangers of
18
     arbitration. Some of the forensic reports shine a poor light on the
19
     Plaintiff in that arbitration and by association raises questions
20

21   on      whether     Marshall       knowingly       advanced       false       evidence.

22   CHRISTIANSEN, Marshall and John Does took action to discredit Rote
23
     because of the information disclosed in the blog.
24

25
                                              11.
26

27

28


                                            - 3 -
                            SECOND AMENDED COMPLAINT FOR DAMAGES
                                                                                Exhibit 1
                                                                                3 of 19
          Case 3:19-cv-00082-MO              Document 1-2     Filed 01/16/19   Page 181 of 351




 1   On November 12, 2005 Rote published a post (Chapter 19)1 about the

 2   relative lack of appeal in arbitration and in the last paragraph
 3
     noted that The Honorable Robert E. Jones was receiving a lifetime
 4
     achievement award that evening and congratulating him. Marshall had
 5
     often attempted to influence the arbitration by claiming to the
 6

 7   arbitrator            that      Rote     and     Judge    Jones    were    at    odds       over    past

 8   litigation             and      that      the     arbitrator       should       take        that    into

 9   consideration in the arbitration, over the objection of Rote. The
10
     arbitrator accepted the evidence offered off the record. At the
11
     initial stage of this investigation Rote took a position in the
12
     blog that it would be very hard to believe that Judge Jones would
13

14   be interested let alone so careless as to intimidate an arbitrator

15   on any matter involving Rote. Rote had a very high regard for Judge
16   Jones, but it has become clear that Marshall is reaching out to
17
     Judge Jones for a reason of influence.
18
                                                         12.
19
               Later       that     day      Rote’s    attorney      was   contacted        by    the    U.S.
20

21   Marshals service inquiring as to the meaning of the post. The U.S.

22   Marshal Service had been contacted by someone (U.S. Marshal will
23
     not disclose who) from Judge Robert Jones chamber conveying that
24
     they received a tip from someone about Rote’s blog post and that it
25
     was a veiled threat of physical violence Rote intended to execute
26

27
     on Judge Jones at the Awards Dinner that very night. Marshall has

28   1
         Sittingduckportland.wordpress.com

                                                       - 4 -
                                       SECOND AMENDED COMPLAINT FOR DAMAGES
                                                                                             Exhibit 1
                                                                                             4 of 19
      Case 3:19-cv-00082-MO   Document 1-2   Filed 01/16/19   Page 182 of 351




 1   consistently engaged in this type of innuendo during and after the

 2   arbitration,   accusing     Rote   of   fraud     in     Pleadings    when       ever
 3
     possible, as Rote has accused her.
 4
                                          13.
 5
         Rote was contacted by the U.S. Marshals by phone while in the
 6

 7   presence of his attorney. Said attorney represented Rote on the

 8   matter   involving    the    ongoing     litigation       with    Marshall        and

 9   CHRISTIANSEN’s client. Rote’s attorney on this matter, Jeff Hasson,
10
     is not the only attorney Rote uses. However, the U.S. Marshals
11
     service did contact Hasson and then Rote while they were at their
12
     Country Club at approximately 5:00 pm on November 12, 2015.
13

14                                        14.

15       The blog has not been marketed and receives very few visitors
16   each day, averaging just a few. However, Marshall, their client and
17
     CHRISTIANSEN visit the blog often.
18
                                          15.
19
         While the U.S. Marshals Service was satisfied that Rote was no
20

21   threat, the goal of Marshall and CHRISTIANSEN to permanently harm

22   Rote with the U.S. District Court and in a broader sense with the
23
     public has been successful.
24
                                          16.
25
         Rote has reached out to Judge Robert Jones, but he will not
26

27
     engage by phone or email and the U.S. Marshal Service has asked

28   Rote to no longer contact them. Rote has asked CHRISTIANSEN and

                                          - 5 -
                          SECOND AMENDED COMPLAINT FOR DAMAGES
                                                                          Exhibit 1
                                                                          5 of 19
      Case 3:19-cv-00082-MO   Document 1-2   Filed 01/16/19   Page 183 of 351




 1   Marshall to disclose who among them engaged in this horrible act,

 2   but they refuse to admit or even engage on this topic. A defamation
 3
     claim has been filed against Marshall and CHRISTIANSEN’s client, as
 4
     a counter claim in an existing law suit in U.S. District Court of
 5
     Oregon, but the court has not permitted Rote to join Marshall and
 6

 7   CHRISTIANSEN   for   diversity   reasons.    The    defamatory     actions       were

 8   intended to influence two lawsuits pending in the U.S. District

 9   Court.
10
                                          17.
11
         Rote has reached out to The Honorable Jeffrey Jones, Clackamas
12
     County Judge, to convey that he does not represent a threat to his
13

14   father or family in any way, but Judge Jones has not responded

15   either. Rote has lived in this community for more that 25 years.
16                                        18.
17
         Rote has made every effort to contact the Defendants to
18
     determine their involvement on the matter. None of the Defendants
19
     have denied the allegation.
20

21                                        19.

22       Plaintiff has been damaged by the Defendants’ actions in an
23
     amount to be proved at trial but no less than $9,000,000.
24

25
                              SECOND CLAIM FOR RELIEF
26
      (Intentional Infliction of Emotional Distress against Defendants
27

28                  Marshall, CHRISTIANSEN & John Does 1-5)

                                          - 6 -
                          SECOND AMENDED COMPLAINT FOR DAMAGES
                                                                          Exhibit 1
                                                                          6 of 19
      Case 3:19-cv-00082-MO   Document 1-2   Filed 01/16/19   Page 184 of 351




 1   Rote adopts and incorporates the allegations of paragraphs 1-19.

 2                                       20.
 3
         As a further proximate result of Defendants’ wrongful conduct,
 4
     Rote has suffered, and will continue to suffer, emotional distress,
 5
     pain and suffering, mental anguish, and embarrassment, all in an
 6

 7   amount not yet calculated, but reasonably believed to exceed the

 8   jurisdictional minimum of this court. Rote will seek leave of the

 9   court to plead the true amount of his damages once they are fully
10
     ascertained.
11
                                         21.
12
         Defendants’ actions were willful, wanton, malicious,
13

14   oppressive and fraudulent, and a conscious disregard of Oregon law

15   resulting in injury to Rote and entitling Rote to punitive and
16   exemplary damages. These acts were committed with the knowledge and
17
     consent of Defendants’ or were ratified by Defendants after the
18
     fact.
19
                               THIRD CLAIM FOR RELIEF
20

21           (Conspiracy against Marshall, CHRISTIANSEN & John Does)

22                                       22.
23
     Rote adopts and incorporates the allegations of paragraphs 1-21.
24
                                         23.
25
         Rote alleges that Marshall and CHRISTIANSEN were conspirators
26

27
     with their client in making (1) a false representation as to the

28   meaning of the blog post, (2) knowledge or belief that the

                                         - 7 -
                         SECOND AMENDED COMPLAINT FOR DAMAGES
                                                                          Exhibit 1
                                                                          7 of 19
       Case 3:19-cv-00082-MO   Document 1-2   Filed 01/16/19   Page 185 of 351




 1   representation was false, with the (3) intent that Judge Jones

 2   would act to influence the actions of the Portland Division as well
 3
     an interfere with other litigation Rote was or has been engaged in,
 4
     resulting in economic and defamatory damages to Rote. Marshall and
 5
     CHRISTIANSEN had already demanded that Rote take down the blog.
 6

 7   Rote refused but has offered to retract anything the parties

 8   believe unsupportable. Defendants have not responded but did file a

 9   lawsuit in retaliation for the blog.
10
                                          24.
11
          Defendants’ actions were willful, wanton, malicious,
12
     oppressive and fraudulent, and a conscious disregard of Oregon law
13

14   resulting in injury to Rote and entitling Rote to punitive and

15   exemplary damages. These acts were committed with the knowledge and
16   consent of Defendants’ or were ratified by Defendants after the
17
     fact.
18
                               FOURTH CLAIM FOR RELIEF
19
                   (Aiding & Abetting against all Defendants)
20

21                                        25.

22   Rote adopts and incorporates the allegations of paragraphs 1-24.
23
                                          26.
24
          Rote has filed two ethics complaints against Marshall with the
25
     Oregon State Bar. The first complaint alleged areas of misconduct
26

27
     in the arbitration, including advancing evidence she knew to be

28


                                          - 8 -
                          SECOND AMENDED COMPLAINT FOR DAMAGES
                                                                           Exhibit 1
                                                                           8 of 19
      Case 3:19-cv-00082-MO   Document 1-2   Filed 01/16/19   Page 186 of 351




 1   false. The second was for harassment in the 2014 Federal court case

 2   and the defamatory actions described heretofore.
 3
                                         27.
 4
         The Oregon State Bar is tasked with a number of public, quasi-
 5
     government functions. To practice law in Oregon, an attorney must
 6

 7   be a member of the Oregon State Bar. The Bar has numerous other

 8   roles but among the most significant is to protect the public from

 9   unscrupulous and unethical behavior of attorneys, to discipline and
10
     if necessary disbar those engaging in unacceptable conduct.
11
                                         28.
12
         The Bar does not however perform the public protection duties
13

14   tasked to it in most circumstances, for example choosing to not

15   independently evaluate allegations of conspiracy, fraud, unethical
16   behavior and false evidence when a matter has already been
17
     adjudicated. As a result, fraud (particularly in the context of
18
     arbitration) goes unchecked.
19
                                         29.
20

21       Marshall & CHRISTIANSEN have launched numerous unsupported

22   legal attacks against Rote in retaliation for his complaints to the
23
     Bar, with the full knowledge of and endorsement by the Bar. That
24
     retaliation also includes the defamatory statements made to or in
25
     concert with Judge Robert E. Jones as well as taking actions to
26

27
     attempt to conceal the evidence of bias and corruption in the

28   arbitration (where forensic evidence including the testimony of

                                         - 9 -
                         SECOND AMENDED COMPLAINT FOR DAMAGES
                                                                          Exhibit 1
                                                                          9 of 19
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 1   more than 10 witnesses was summarily dismissed with the

 2   counterclaims asserted by Rote’s company). Much of this is
 3
     discussed in Rote’s blog and in great detail.
 4
                                         30.
 5
         Likewise, complaints on judicial and arbitrator misconduct
 6

 7   receive only cursory reviews and punitive behavior by adjudicators

 8   has also been endorsed through the Bar’s inaction and disregard for

 9   its duty to the public in the performance of licensing and
10
     discipline responsibilities. Arbitrators operate virtually above
11
     the law.
12
                                         31.
13

14       Defendants’ actions were willful, wanton, malicious,

15   oppressive and fraudulent, and a conscious disregard of Oregon law
16   resulting in injury to Rote and entitling Rote to punitive and
17
     exemplary damages. These acts were committed with the knowledge and
18
     consent of Defendants’ or were ratified by Defendants after the
19
     fact.
20

21                             FIFTH CLAIM FOR RELIEF

22     Oregon Civil Racketeer Influenced and Corrupt Organizations Act
23
     (Against Marshall, John Doe Defendants & OSB (Aiding and Abetting))
24
                                         32.
25
     Rote adopts and incorporates the allegations of paragraphs 1-31.
26
                     Count 1 – Violation of ORS 166.720(2)
27

28                                       33.

                                        - 10 -
                         SECOND AMENDED COMPLAINT FOR DAMAGES
                                                                          Exhibit 1
                                                                          10 of 19
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 1   Plaintiff alleges that the Defendants individually and collectively

 2   engaged in racketeering activity by means to commit, to attempt to
 3
     commit, to conspire to commit, or to solicit, coerce or intimidate
 4
     another person to commit bribery, perjury, obstructing judicial
 5
     administration, presenting false evidence, spoliation of evidence,
 6

 7   unsworn falsification & perverting the course of justice.

 8                                       34.

 9   Marshall and John Does have operated continuously as an associated-
10
     in-fact enterprise from or just before July 1 2009. Shortly
11
     thereafter Marshall became counsel for a client of public record
12
     and shall go by “M”. Marshall represented M in an arbitration
13

14   hearing beginning May 24, 2010 and ending in April 2011. The

15   enterprise has continued to harass and intimidate the Defendant
16   even now. The remaining enterprise participants were confirmed on
17
     and just after November 12, 2015.
18
                                         35.
19
     Marshall and John Does indirectly and directly acquired and
20

21   maintained control of the Enterprise through a pattern of

22   racketeering activity by committing or attempting to commit the
23
     crimes of bribery (ORS 162.015 & 162.025), perjury (ORS 162.065),
24
     unsworn falsification (ORS 162.085), obstructing judicial
25
     administration (ORS 162.235) (to include witness tampering,
26

27
     spoliation, false evidence and perverting the course of justice)

28   and Coercion (ORS 163.275). The incidents alleged are not isolated.

                                        - 11 -
                         SECOND AMENDED COMPLAINT FOR DAMAGES
                                                                          Exhibit 1
                                                                          11 of 19
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 1                                       36.

 2   The enterprise affiliates manage a complex racketeering operation
 3
     targeting financially healthy businesses and individuals (who are
 4
     participating in what they believe is an independent arbitration
 5
     run by the Arbitration Service of Portland). The common purpose of
 6

 7   this enterprise is to subvert the civil litigation process,

 8   extracting judgments, generating legal fees for the participants

 9   and otherwise sharing the spoils. This enterprise is organized and
10
     executed preferably in arbitrations where there is minimal review.
11
     The racketeers target profitable small businesses and seek out
12
     litigants pursuing large claims.
13

14                                       37.

15   Prior to the arbitration hearing beginning May 24, 2010, forensic
16   material including hard drives and personal computers of M were
17
     destroyed by him at the direction of Marshall and John Does, in
18
     direct violation of a litigation hold. M pursued damages of $1
19
     million. The spoliated evidence was material to the participants’
20

21   plan of presenting false evidence and testimony during the hearing.

22                                       38.
23
     Summary Judgement & Post Hearing Motions to dismiss “Ms” claims,
24
     after testimony by M acknowledging the spoliation of evidence and
25
     forensics reports confirming the importance of that evidence, were
26

27
     denied.

28                                       39.

                                        - 12 -
                         SECOND AMENDED COMPLAINT FOR DAMAGES
                                                                          Exhibit 1
                                                                          12 of 19
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 1   False evidence by and on behalf of M was knowingly submitted by

 2   Marshall numerous times with the knowledge and participation of
 3
     John Does. Forensic evidence and reports identified 10 separate and
 4
     material incidents of false evidence and testimony.
 5
                                         40.
 6

 7   False testimony by and on behalf of M was knowingly submitted by

 8   Marshall numerous times with the knowledge and participation of

 9   John Does. Forensic evidence and reports identified 10 separate and
10
     material incidents of false evidence and testimony.
11
                                         41.
12
     M was bribed and or coerced into accepting unreasonable high
13

14   contingent fee legal fee terms from Marshall and John Does and

15   encouraged to present the false evidence as planned by the
16   enterprise participants. M was no stranger to submitting false
17
     evidence, but his testimony during the arbitration indicated that
18
     he was conflicted while providing false testimony.
19
                                         42.
20

21   Marshall attempted to and did provide unsworn falsified evidence to

22   the arbitrator on and off the record designed to instruct,
23
     intimidate, bribe or coerce. The arbitrator accepted that false
24
     evidence which includes a surreptitious recording by M between him
25
     and a former employee of Defendant’s company, regarding some of the
26

27
     evidence presented by Marshall and sworn to by M.

28                                       43.

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                         SECOND AMENDED COMPLAINT FOR DAMAGES
                                                                          Exhibit 1
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 1   Two key witnesses were bribed or coerced to bear false witness and

 2   to testify against Defendant Rote’s company’s damages in the
 3
     arbitration. For Rote, the damages were supported by the testimony
 4
     of six witnesses in favor of Rote’s company’s claims and the
 5
     testimony of the two experts that independently prepared forensic
 6

 7   evaluations.

 8                                       44.

 9   A Summary Judgment Motion was filed on the merits of the forensic
10
     reports prior to the hearing seeking to eliminate M’s claims. The
11
     Summary Judgment Motion was denied.
12
                                         45.
13

14   With the Post Hearing Memorandum, Defendant Rote raised issues of

15   bias (undisclosed 7 years working together as partners in a local
16   law firm) as well as behaviors heretofore noted identifying them as
17
     actions of Marshall & John Does intended to pervert the course of
18
     justice. The arbitrator immediately recused himself. Marshall
19
     insisted he reconsider. The arbitrator reverses his own recusal
20

21   after the decision of the ASP allowing him to reverse.

22                                       46.
23
     In spite of 10 witnesses testifying on behalf of Rote’s company,
24
     supported by six separately examined forensic reports detailing and
25
     supporting its claims & case, all of the evidence was dismissed by
26

27
     the arbitrator for the benefit of M.

28                                       47.

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                         SECOND AMENDED COMPLAINT FOR DAMAGES
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 1   The OSB is aware of the enterprise and has allowed it to operate

 2   with quiet support.
 3
                                           48.
 4
     Rote has written a blog comprised of 54 Chapters (to date)
 5
     analyzing the arbitration, exploring the evidence, outlining the
 6

 7   dangers of arbitration, the targeting of small business and

 8   identifying the participants Rote has chosen to disclose. In

 9   response and as predicted, one or more enterprises participants
10
     engaged in the Defamatory actions also raised in this complaint in
11
     an attempt to silence, coerce and intimidate Rote. This is an act
12
     by an enterprise participant and unfortunately it intimates that
13

14   there may be an enterprise connection to the U.S. District Court of

15   Oregon. While shocking, this is the third time Marshall has made an
16   attempt to enlist the backroom help of a specific U.S. District
17
     Court Judge. This is a perversion of the judicial process.
18
                                           49.
19
         Defendants’ actions were willful, wanton, malicious,
20

21   oppressive and fraudulent, and a conscious disregard of Oregon law

22   resulting in injury to Rote and entitling Rote to punitive and
23
     exemplary damages. These acts were committed with the knowledge and
24
     consent of Defendants’ or were ratified by Defendants after the
25
     fact.
26

27
                                           50.

28


                                          - 15 -
                           SECOND AMENDED COMPLAINT FOR DAMAGES
                                                                          Exhibit 1
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 1   For the violations of ORS 166.720(2) by Marshall, John Does and OSB

 2   (Aiding and Abetting), Rote is requesting three fold the actual
 3
     damages sustained of no less than $350,000 pursuant to ORS
 4
     166.725(7), an amount of no less than $1,050,000, plus punitive
 5
     damages.
 6

 7

 8                   Count 2 – Violation of ORS 166.720(3)

 9                                       51.
10
     Marshall, the OSB & John Does have operated continuously as an
11
     associated-in-fact enterprise since before 2010 to present, as
12
     described in paragraphs 34-50. The common purpose of this
13

14   enterprise is to subvert the civil litigation process, extracting

15   judgments and sharing the spoils. This enterprise is organized and
16   executed through arbitrations controlled by John Does and employ
17
     others to also participate in the enterprise.
18
                                         52.
19
     Marshall, the OSB, John Does and their employees participated in
20

21   the enterprise through a pattern of racketeering activity by

22   committing or attempting to commit the crimes of bribery (ORS
23
     162.015 & 162.025), perjury (ORS 162.065), unsworn falsification
24
     (ORS 162.085), obstructing judicial administration (ORS 162.235, to
25
     include witness tampering, spoliation, false evidence and
26

27
     perverting the course of justice) and Coercion (ORS 163.275).

28                                       53.

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                         SECOND AMENDED COMPLAINT FOR DAMAGES
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 1   Marshall, the OSB, John Does and their employees committed or

 2   attempted to commit the crime of bribery prior to and including the
 3
     hearing, prior to May 24, 2010 and continuing to the present day.
 4
                                          54.
 5
     Marshall, the OSB, John Does and their employees committed or
 6

 7   attempted to commit the crime of perjury during the pendency of the

 8   hearing, from May 24, 2010 and continuing to the present day.

 9                                        55.
10
     Marshall, the OSB, John Does and their employees committed or
11
     attempted to commit the crime of unsworn falsification during and
12
     over the course of the hearing, prior to May 24, 2010 through
13

14   November 2010.

15                                        56.
16   Marshall, the OSB, John Does and their employees committed or
17
     attempted to commit the crime of obstructing judicial
18
     administration by perverting the course of justice, witness
19
     tampering, false evidence, and spoliation of evidence over the
20

21   course of the arbitration from January 2006 through the present

22   day.
23
                                          57.
24
            Defendants’ actions were willful, wanton, malicious,
25
     oppressive and fraudulent, and a conscious disregard of Oregon law
26

27
     resulting in injury to Rote and entitling Rote to punitive and

28   exemplary damages. These acts were committed with the knowledge and

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                          SECOND AMENDED COMPLAINT FOR DAMAGES
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 1   consent of Defendants’ or were ratified by Defendants after the

 2   fact.
 3
                                         58.
 4
     For the violations of ORS 166.720(3) by Marshall, John Does and OSB
 5
     (Aiding and Abetting), Rote is requesting three fold the special
 6

 7   damages sustained of no less than $500,000 for the costs and time

 8   associated with the last 13 years of this litigation or in the

 9   alternative three fold the damages pursuant to ORS 166.725(7), an
10
     amount of no less than $1,050,000, plus punitive damages.
11
                                         59.
12
     For the violations of ORS 166.720, Defendant is seeking a permanent
13

14   injunction prohibiting the OSB from engaging, hiring, reimbursing,

15   or underwriting the legal counsel or fees for its member Defendants
16   in an action brought against them for violations of ORS 166.720.
17

18
         WHEREFORE, Rote prays for relief as follows:
19
     1. For general and compensatory damages in an amount not yet
20

21   ascertained but to be established at trial, but not less than $9

22   million;
23
     2. For special damages in an amount not yet ascertained but to be
24

25   established at trial;

26
     3. For treble damages on the racketeering cause of action;
27

28
     4. For punitive damages on the all causes of action;

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 1   5. For costs and attorneys’ fees as permitted by law;

 2
     6. For prejudgment interest as otherwise authorized by law; and
 3

 4

 5   For such other and further relief as the Court may deem just and

 6   proper.
 7

 8

 9

10

11

12   DATED: March 25, 2016

13                                                     /s/ Timothy C. Rote
                                                         Timothy C. Rote
14                                                       ProSe

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                                                   16CV07564




 1

 2
 3

 4                    IN THE CIRCUIT COURT OF THE STATE OF OREGON
                             FOR THE COUNTY OF CLACKAMAS
 5
     TIMOTHY C. ROTE,                   )                   Case No. 16CV07564
 6                                      )
          Plaintiff,                    )
 7                                      )                   DECLARATION OF MATTHEW
          v.                            )                   KAMLANSON IN SUPPORT OF
 8                                      )                   DEFENDANTS LINDA L. MARSHALL
     LINDA MARSHALL, JOEL CHRISTIANSEN, )                   AND JOEL CHRISTIANSEN’S ANTI-
 9   OREGON STATE BAR, JOHN DOES (1-5), )                   SLAPP MOTION
                                        )
10        Defendants.                   )
                                        )
11                                      )
12   I, Matthew Kalmanson, being first duly sworn, depose and say:

13          1.     I make this declaration based on my personal knowledge and am competent to

14                 testify to the matters herein.

15          2.     I am one of the attorneys for defendants.

16          3.     Attached hereto as Exhibit 1 is the Complaint in the United States District Court,

17                 District of Oregon Case Max Zweizig v. Timothy C. Rote, et al, Case No. 3:15-cv-

18                 2401.

19          4.     Attached hereto as Exhibit 2 is a true and accurate copy of the April 5, 2011

20                 Arbitration Order and Award in Northwest Direct Teleservices, Inc. v. Max

21                 Zweizig, ASP No. 050511-1.

22          5.     Attached hereto as Exhibit 3 is the Complaint in the United States District Court,

23                 District of Oregon Case Max Zweizig v. Timothy C. Rote, et al, Case No. 3:2014-

24                 cv-00406.

25          6.     Attached hereto as Exhibit 4 is a true and accurate copy of "About" from

26                 Plaintiff's Blog, https://sittingduckportland.wordpress.com/about/.

Page 1 – DECLARATION OF MATTHEW KALMANSON IN                                       HART WAGNER LLP
                                                                                       Trial Attorneys
         SUPPORT OF DEFENDANTS LINDA L.                                     1000 S.W. Broadway, Twentieth Floor
         MARSHALL AND JOEL CHRISTIANSEN’S ANTI-                                    Portland, Oregon 97205
         SLAPP MOTION                                                             Telephone: (503) 222-4499
                                                                                     Fax:(503) 222-2301
                                                                                                 Exhibit 2
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 1        7.     Attached hereto as Exhibit 5 is a true and accurate copy of Chapter 1 of Plaintiff's

 2               Blog, https://sittingduckportland.wordpress.com/2015/02/.

 3        8.     Attached hereto as Exhibit 6 is a true and accurate copy of Chapter 19 of

 4               Plaintiff's Blog, https://sittingduckportland.wordpress.com/2015/11/12/chapter-

 5               19-are-arbitrators-above-the-law/.

 6        9.     Attached hereto as Exhibit 7 is a true and accurate copy of the transcript from the

 7               March 18, 2001 Status Conference in the United States District Court, District of

 8               Oregon Case Jones v. North West Telemarketing, Inc., Case No. CV 99-990.

 9        10.    Attached hereto as Exhibit 8 is a true and accurate copy of the Order to Show

10               Cause in the United States District Court, District of New Jersey Case Max

11               Zweizig v. Timothy C. Rote, et al, Case No. 04-2025.

12        11.    Attached hereto as Exhibit 9 is a true and accurate copy of a January and October

13               2008 e-mail from Greg Rote to Max Zweizig.

14        I HEREBY DECLARE THAT THE ABOVE STATEMENT IS TRUE TO THE

15   BEST OF MY KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND IT IS MADE

16   FOR USE AS EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR

17   PERJURY.

18        DATED this 26th day of April, 2016.
                                                      HART WAGNER LLP
19

20                                              By: /s/ Matthew Kalmanson
                                                    Matthew Kalmanson, OSB #041280
21                                                  mjk@hartwagner.com
                                                    Carey Caldwell, OSB #093032
22                                                  cpc@hartwagner.com
                                                    Of Attorneys for Defendants
23
                                                      Trial Attorney: Matt Kalmanson , OSB #041280
24

25

26

Page 2 – DECLARATION OF MATTHEW KALMANSON IN                                    HART WAGNER LLP
                                                                                    Trial Attorneys
         SUPPORT OF DEFENDANTS LINDA L.                                  1000 S.W. Broadway, Twentieth Floor
         MARSHALL AND JOEL CHRISTIANSEN’S ANTI-                                 Portland, Oregon 97205
         SLAPP MOTION                                                          Telephone: (503) 222-4499
                                                                                  Fax:(503) 222-2301
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 1                                    CERTIFICATE OF SERVICE

 2          I hereby certify that on the 26th day of April, 2016, I served the foregoing

 3   DECLARATION OF MATTHEW KALMANSON IN SUPPORT OF DEFENDANTS

 4   LINDA L. MARSHALL AND JOEL CHRISTIANSEN’S ANTI-SLAPP MOTION, on the

 5   following party at the following address:

 6          Timothy Rote
            24790 SW Big Fir Rd.
 7          West Linn, OR 97068
                  Defendant Pro Se
 8
            Mark Johnson Roberts
 9          16037 SW Upper Boones Ferry Rd.
            Tigard, OR 97281
10                 Attorney for Defendant OSB
11
     by e-mailing and mailing to him a true and correct copy thereof, certified by me as such, placed
12
     in sealed envelope, addressed to him at the address set forth above, and deposited in the U.S.
13
     Post Office at Portland, Oregon on said day with postage prepaid.
14

15                                                     /s/ Matther Kalmanson
                                                       Matthew Kalmanson, OSB #041280
16

17

18

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21

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24

25

26

Page 1 – CERTIFICATE OF SERVICE                                                    HART WAGNER LLP
                                                                                       Trial Attorneys
                                                                            1000 S.W. Broadway, Twentieth Floor
                                                                                   Portland, Oregon 97205
                                                                                  Telephone: (503) 222-4499
                                                                                     Fax:(503) 222-2301
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 Joel Christiansen, OSB #080561
 VOGELE & fHRISTIANSEN
 812 NW 17 Avenue
 Portland, OR 97209
 T: (503) 841-6722
 E: joel@oremploymentlawyer.com

  Attorney for Plaintiff


                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF OREGON
                                         PORTLAND DIVISION

   MAX ZWEIZIG,                                     Case No. 3: l 5-cv-2401

                                      Plaintiff,    COMPLAINT

           v.                                       Whistleblower Retaliation (ORS 659A.230,
                                                    ORS 659A.199); Retaliation for Opposing
   TIMOTHY C. ROTE, a citizen of the                Unlawful Employment Practices (ORS
   state of Oregon, NORTHWEST DIRECT                659A.030(1)(f)); Aiding and Abetting
   TELESERVICES, INC., an Oregon for-               (ORS 659A.030(l)(g))
   profit corporation, NORTHWEST
   DIRECT MARKETING OF OREGON,                      DEMAND FOR JURY TRIAL
   INC., an Oregon for-profit corporation,
   NORTHWEST DIRECT MARKETING,
   INC., an Oregon for-profit corporation,
   NORTHWEST DIRECT OF IOWA,
   INC., an Iowa for-profit corporation,
   ROTE ENTERPRISES, LLC, an Oregon
   limited liability company, NORTHWEST
   DIRECT MARKETING, INC., aka
   Northwest Direct Marketing (Delaware),
   Inc., a Delaware Corporation, and DOES 1
   through 5,

                                      Defendants.


                                             JURY DEMAND
          1.      Plaintiff Max Zweizig ("Plaintiff') demands a trial by jury of all issues
  properly subject to a jury trial.



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                                   NATURE OF THE ACTION
         2.      This is an action under Oregon's state unlawful employment practices statutes,
  ORS 659A.230, ORS 659A.199, ORS 659A.030(1)(f), and ORS 659A.030(1)(g).
                                  JURISDICTION AND VENUE
         3.      This court has jurisdiction of this action under 28 U.S.C. § 1332 because the
  matter in controversy exceeds the sum or value of $75,000, exclusive of interest and costs,
  and is between citizens of different states.
         4.      The unlawful employment actions alleged herein were committed in the
  District of Oregon and venue is proper in this district.
                                                 PARTIES
          5.     Plaintiff Max Zweizig is an individual resident of the State of New Jersey.
         6.      Defendant Timothy C. Rote ("Rote") is an individual resident of the state of
  Oregon.
          7.      Defendant Northwest Direct Teleservices, Inc. ("NOT") is a for-profit
  corporation existing under the laws of the State of Oregon with its principal place of business
  in Oregon.
          8.      Defendant Northwest Direct Marketing of Oregon, Inc. ("NDMO") is a for-
  profit corporation organized and existing under the laws of the State of Oregon with its
  principal place of business in Oregon.
          9.      Defendant Northwest Direct Marketing, Inc. ("NDM") is a for-profit
  corporation organized and existing under the laws of the State of Oregon with its principal
  place of business in Oregon. Northwest Direct of Eugene, Inc. ("NOE") is a for-profit
  corporation organized under the laws of the State of Oregon with its principal place of
  business in Oregon. On or about June 30, 2010, NOE changed its name to and began
  operating as NDM.
          10.     Defendant Northwest Direct oflowa, Inc. ("NDI") is a for-profit corporation
  organized under the laws of the State oflowa with its principal place of business in Oregon.
          11.     Defendant Rote Enterprises, LLC ("Rote Enterprises") is a limited liability



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  company organized under the laws of the State of Oregon with its principal place of business
  in Oregon. In July 1995, Rote filed Articles of Organization with the Oregon Secretary of
  State for Rote Enterprises that describes the company as a holding company. Its members
  include Rote and Rote & Company, P.C.
            12.   Defendant Northwest Direct Marketing, Inc., aka Northwest Direct Marketing
  (Delaware), Inc. ("NDM Delaware"), is a for-profit corporation organized under the laws of
  the state of Delaware.
            13.   Upon information and belief, each DOE defendant is an entity with a principal
  place of business in a state other than New Jersey and/or is a citizen of a state other than New
  Jersey.
                           SUCCESSOR LIABILITY ALLEGATIONS
            14.   At all times relevant to this complaint, Rote has directly or indirectly owned
  and operated telemarketing businesses including call centers providing inbound and outbound
  telemarketing services to a variety of clients nationwide. During this time, Rote has operated
  two call centers at a time - one in Oregon and one in Iowa. Yet, Rote has created a complex,
  confusing, and ever-changing web of corporate entities to own and operate these call centers.
  Rote is and has at all relevant times been the chief executive, president, and primary owner of
  each of the named corporate entities.
            15.   As set forth herein, NOT was Plaintiffs employer. However, NDMO, NDM,
  NDI, Rote Enterprises, and NDM Delaware are liable to Plaintiff as NDT's successors.
  Specifically: (1) the successors knew or reasonably should have known of Plaintiffs
  employment-related claims resulting from Defendants' concerted activities, (2) NOT was and
  may remain unable to provide relief to Plaintiff; (3) there has been a substantial continuity of
  business operations between NOT and its successors; (4) the successors have used the same
  facilities, equipment, and methods of service provision as NOT to conduct their business; ( 5)
  the successors have used the same work force and have maintained substantially similar
  working conditions as NOT in carrying out their business; and (6) the successors have
  produced the same work product as NOT.



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                                            COMMON FACTS
          16.         NDT, under one ultimate owner corporation, employed Plaintiff as Director of
  Information Technology. Pursuant to the parties' employment agreement, Plaintiff and NDT
  agreed that Oregon substantive law would apply to all disputes related to Plaintiffs
  employment.
          17.         During Plaintiffs employment, Plaintiff reported to the Oregon Department of
  Justice and the Lane County District Attorney information that Plaintiff reasonably believed
  to be evidence that NDT had engaged in criminal activity (mail and wire fraud with respect to
  client billings).
          18.         As a direct result of Plaintiffs protected reports, Rote and NDT took adverse
  employment actions against Plaintiff, including terminating Plaintiffs employment, because
  of Plaintiffs protected reports of criminal activity. Rote and NDT also took adverse actions
  against Plaintiff after Plaintiffs employment ended because of Plaintiffs protected reports,
  including publishing statements to third parties and the general public accusing Plaintiff of
  destroying data and engaging in other criminal and civil misconduct during his employment
  with Defendants.
          19.         Plaintiff opposed Rote and NDT's unlawful employment practices by filing a
  complaint and pursuing legal claims for whistleblower retaliation against Rote and NDT.
  After a series procedural motions, the matter was transferred to arbitration in Oregon. Plaintiff
  pursued claims against NDT for: (1) whistleblower retaliation under ORS 659A.230; and (2)
  wrongful termination. NDT pursued claims against Plaintiff for: (1) breach of contract; (2)
  conversion; (3) breach of fiduciary duty; (4) attorneys' fees associated with pre-arbitration
  litigation; and (5) court reporting fees associated with the arbitration proceedings.
          20.         As part of the parties' litigation, NDT and Plaintiff became subject to
  stipulations and protective orders that restricted the dissemination and publication of certain
  materials associated with the parties dispute. One such order restricted the parties from using
  electronic media produced in the arbitration outside of those proceedings.
          21.         After several years of protracted litigation, an arbitrator found in Plaintiffs



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  favor on his whistleblower claims, ruling that "[Plaintiff] was terminated at the time he was
  because of retaliation" and awarded damages to Plaintiff. The arbitrator denied NDT's claims
  against Plaintiff with the exception of ordering Plaintiff to pay his pro rata share of court
  reporting fees associated with the arbitration proceedings.
           22.     Plaintiffs arbitration award was later reduced to a judgment in the United
  States District Court for the District of Oregon. NDT has failed to satisfy that judgment.
           23.     In a continuing effort to oppose Defendant's unlawful employment practices
  and enforce his employment-related rights, Plaintiff filed a lawsuit on March 11, 2014 in the
  United States District Court against NOT, Rote, and related corporate entities. Plaintiffs
  operative complaint alleges that Defendants violated the Uniform Fraudulent Transfer Act
  and engaged in other fraudulent activity to defeat Plaintiffs ability to enforce his
  whistleblower retaliation judgment.
           24.     In direct response to Plaintiffs protected conduct, on or about February 27,
  2015, Defendants created a website titled Sitting Duck Portland1 ("Sitting Duck Portland
  Website"). Upon information and belief, Defendant Rote is the author of the Sitting Duck
  Portland Website. The Sitting Duck Portland Website is fully accessible. to the general public.
           25.     According to the Sitting Duck Portland Website, the website tells a "story[ ...]
  about an arbitration involving one of [Rote's] companies and a former IT manager by the
  name of Max Zweizig." The Sitting Duck Portland Website purports to monetize the
  experience of its employment-related arbitration with Plaintiff on behalf of Defendants'
  family of corporate entities, which includes all corporate entities named in this lawsuit.
           26.     Defendants have used the Sitting Duck Portland Website as tool to
  discriminate and retaliate against Plaintiff because of Plaintiffs protected conduct.
  Specifically, the Sitting Duck Portland Website:
           (a)     Prominently identifies Plaintiff, Plaintiffs fiance, and Plaintiffs counsel by
                   name;


  1
      https://sittingduckportland.wordpress.com


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         (b)     Disparages Plaintiff in his profession in a personally identifiable manner;
         (c)     Asserts that Plaintiffs arbitration victory was the result of "bias, of cronyism,
                 perhaps ofbribery, ofcorruption, of fraud."
         (d)     Accuses Plaintiff, Plaintiffs fiance, and Plaintiffs counsel of engaging in
                 widespread criminal conduct and other unlawful conduct;
         (e)      Publishes photographs suggesting that Plaintiff, Plaintiff, Plaintiffs fiance, and
                 Plaintiffs counsel are criminals;
         (f)     Publishes and threatens to continue publishing sensitive and disparaging
                 documents subject to protective stipulations and orders;
         (g)     Accuses Plaintiff of viewing homosexual pornography, specifically drawing
                 Plaintiffs (heterosexual) fiance's attention to such allegations;
         27.     As a result of Defendants' efforts to optimize their discriminatory and
  retaliatory publications for internet search engines, content from the Sitting Duck Portland
  Website, including images Defendants have intentionally associated with Plaintiffs name,
  now appear prominently in search results for Plaintiff, Plaintiffs fiance, and Plaintiffs
  counsel's names. The content from the Sitting Duck Portland Website that appears in search
  engine results prominently suggests that Plaintiff is a criminal, a frivolous litigant, and unfit
  to work as an information technology professional.
          28.     The content of the Sitting Duck Portland Website outlined in paragraph 27
  constitutes a series of ongoing adverse employment actions against Plaintiff targeted at
  Plaintiff as a result of Plaintiffs participation in protected conduct as set forth herein.
  Defendants' conduct would dissuade a reasonable worker from making or supporting a charge
  of discrimination.
          29.     As a result of Defendants' publications outlined in paragraph 27, Plaintiff has
  suffered damages in the form of damage to reputation, loss of enjoyment oflife,
  inconvenience, frustration, fear, dread, stress, helplessness, hopelessness, humiliation, and
  anxiety.
          30.     Plaintiff seeks an assessment of punitive damages against Defendants because



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  Defendants have acted with malice and have shown a reckless and outrageous indifference to
  a highly unreasonable risk of harm and have acted with a conscious indifference to the health
  and welfare of others.
                                  FIRST CLAIM f OR RELIEF
                           (Whistleblower Discrimination and Retaliation)
               Against NDT, NDMO, NDM, NDL Rote Enterprises and NDM Delaware
                                      Count 1 - ORS 659A.230
         31.      Plaintiff realleges paragraphs 1-30 by reference.
         32.      Plaintiff engaged in protected conduct by reporting in good faith NDT's
  information and by, in good faith: (1) filing a complaint against NDT; (2) cooperating with
  law enforcement agencies responsible for conducting a criminal investigation; (3) bringing a
  civil proceeding against an employer; and (4) testifying in good faith at a civil proceeding.
         33.      NDT, NDMO, NDM, NDI, Rote Enterprises and NDM Delaware
  discriminated and retaliated against Plaintiff by subjecting Plaintiff to adverse employment
  actions because of Plaintiff's protected conduct set forth in the preceding paragraph.
         34.      Plaintiff suffered damages as set forth in paragraph 29 as a direct and
  proximate result of the unlawful employment practices ofNDT, NDMO, NDM, NDI, Rote
  Enterprises and NDM Delaware.
         3 5.     Plaintiff seeks an assessment of punitive damages against NDT, NDMO,
  NDM, NDI, Rote Enterprises and NDM Delaware as set forth in paragraph 30.
         36.      Plaintiff seeks temporary and permanent injunctive relief and any other
  equitable relief that may be appropriate, including but not limited to an order restraining
  NDT, NDMO, NDM, NDI, Rote Enterprises and NDM Delaware from further discrimination
  and retaliation against Plaintiff because of Plaintiffs protected conduct.
          3 7.    Plaintiff is entitled to recover attorney fees and expert witness fees pursuant to
  ORS 659A.885 and ORS 20.107. Plaintiff also seeks an award of statutory interest and
  reasonable costs incurred in pursuing this matter.




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                                      Count 2 - ORS 659A.I99
         38.     Plaintiff realleges paragraphs 1-30 by reference.
         39.     Plaintiff engaged in protected conduct by reporting in good faith information
  that Plaintiff believed was evidence of a violation of a state or federal law, rule or regulation.
         40.     NDT, NDMO, NDM, NDI, Rote Enterprises and NDM Delaware
  discriminated and retaliated against Plaintiff by subjecting Plaintiff to adverse employment
  actions because of Plaintiffs protected reports set forth in the preceding paragraph.
         41.     Plaintiff suffered damages as set forth in paragraph 29 as a direct and
  proximate result of the unlawful employment practices ofNDT, NDMO, NDM, NDI, Rote
  Enterprises and NDM Delaware.
         42.     Plaintiff seeks an assessment of punitive damages against NDT, NDMO,
  NDM, NDI, Rote Enterprises and NDM Delaware as set forth in paragraph 30.
         43.     Plaintiff seeks temporary and permanent injunctive relief and any other
  equitable relief that may be appropriate, including but not limited to an order restraining
  NDT, NDMO, NDM, NDI, Rote Enterprises and NDM Delaware from further discrimination
  and retaliation against Plaintiff because of Plaintiffs protected conduct.
         44.      Plaintiff is entitled to recover attorney fees and expert witness fees pursuant to
  ORS 659A.885 and ORS 20.107. Plaintiff also seeks an award of statutory interest and
  reasonable costs incurred in pursuing this matter.
                                 SECOND CLAIM FOR RELIEF
                (Retaliation for Opposing Unlawful Conduct - ORS 659A.030(1)(t))
                                       Against All Defendants
          45.     Plaintiff realleges paragraphs 1-30 by reference.
          46.     Plaintiff engaged in protected conduct by reporting in good faith NDT's
  information and by, in good faith: (1) opposing Defendants' unlawful practices; (2) filing a
  complaint against Defendants, (3) testifying and assisting in a proceeding under ORS Chapter
  659A; and (4) attempting to testify and assist in a proceeding under ORS Chapter 659A.
          47.     NDT, NDMO, NDM, NDI, Rote Enterprises and NDM Delaware



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  discriminated and retaliated against Plaintiff by subjecting Plaintiff to adverse employment
  actions because of Plaintiffs protected conduct set forth in the preceding paragraph.
         48.      Plaintiff suffered damages as set forth in paragraph 29 as a direct and
  proximate result of the unlawful employment practices ofNDT, NDMO, NDM, NDI, Rote
  Enterprises and NDM Delaware.
         49.      Plaintiff seeks an assessment of punitive damages against Defendants NDT,
  NDMO, NDM, NDI, Rote Enterprises and NDM Delaware as set forth in paragraph 30.
         50.      Plaintiff seeks temporary and permanent injunctive relief and any other
  equitable relief that may be appropriate, including but not limited to an order restraining
  NDT, NDMO, NDM, NDI, Rote Enterprises and NDM Delaware from further discrimination
  and retaliation against Plaintiff because of Plaintiffs protected conduct.
         51.      Plaintiff is entitled to recover attorney fees and expert witness fees pursuant to
  ORS 659A.885 and ORS 20.107. Plaintiff also seeks an award of statutory interest and
  reasonable costs incurred in pursuing this matter.
                                  THIRD CLAIM FOR RELIEF
                            (Aiding & Abetting - ORS 659A.030(1)(g))
                                            Against Rote
         52.      Plaintiffrealleges paragraphs 1-30 by reference.
         53.      Rote has aided, abetted, incited, compelled and coerced by directly subjecting
  and causing NDT, NDMO, NDM, NDI, Rote Enterprises and NDM Delaware to subject
  Plaintiff to harm and adverse employment actions because of Plaintiffs protected
  employment activities.
          54.     Plaintiff suffered damages as set forth in paragraph 29 as a direct and
  proximate result of Rote's conduct.
          55.     Plaintiff seeks an assessment of punitive damages against Rote as set forth in
  paragraph 30.
          56.     Plaintiff seeks temporary and permanent injunctive relief and any other
  equitable relief that may be appropriate, including but not limited to an order restraining Rote



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  from further discrimination and retaliation against Plaintiff because of Plaintiffs protected
  conduct.
         57.     Plaintiff is entitled to recover attorney fees and expert witness fees pursuant to
  ORS 659A.885 and ORS 20.107. Plaintiff also seeks an award of statutory interest and
  reasonable costs incurred in pursuing this matter.
                                     PRAYER FOR RELIEF
         WHEREFORE, Plaintiff prays for the following relief:
         a.      Compensatory damages in the amount of $150,000.00;
         b.      Punitive damages in the amount of $1,000,000.00;
         c.      Temporary and permanent injunctive relief and any other equitable relief that
                 may be appropriate, including but not limited to an order restraining
                 Defendants from further discrimination and retaliation against Plaintiff
                 because of Plaintiffs protected conduct;
         d.      Attorneys' fees and expert witness fees pursuant to ORS 659A.885 and ORS
                 20.107;
         e.      Statutory interest and reasonable costs incurred in pursuing this matter;
         f.      Any other relief appropriate under the circumstances.


         Dated: December 24, 2015

                                                        /s/ Joel Christiansen
                                                        Joel Christiansen, OSB #080561
                                                        Of Attorneys for Plaintiff




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  4

  5                                                 BEFORE THE

  6                                       ARBITRATION SERVICE OF PORTLAND

  7   NORTHWEST DIRECT TELESERVICES,
      INC., an Oregon corporation,
  8
                              Claimant,                   ASP No. 050511-1
  9
               v.                                         OPINION AND ORDER
10                                                        AND ARBITRA TlON AWARD
      MAX ZWEIZIG, an individual,
 II
                              Respondent.
12

13             Because of a variety of circumstances this matter has not reached a conclusion for an

14    extended period of time.

15             The parties have now had ample opportunity to put on their witnesses and have presented

 16   the exhibits they wished.

17             The parties have also submitted lengthy memoranda.

18             The time for additional argument or submissions has now expired.

19             The vitriol found in the submissions and the accusations of fraud, lying, and intentional

20    misconduct have been of little benefit to the arbitrator.

21             I find that, by and large, the witnesses (with the exception of Mr. Kawiuk) were credible.

22    It seems clear from the exhibits introduced that Mr. Kawiuk searched for documents intended to

23    discredit Respondent, although he denied such an effort. Promptly upon the report of

24    Respondent of what he believed to be wrongful or illegal conduct, an active search was

25    commenced to locate all correspondence that might put Respondent in a bad light.

26
                                                                                     SCHWABE. WILI.IAMSON & WYATl I' C
Page 1 -    OPINION AND ORDER AND ARBJTRATJON AW ARD                                            Attorneyij at I.aw
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                 Because of the lapse of time from the beginning of the dispute (through no particular

 2    fault of anyone, with the regular change of counsel by both parties contributing significantly to

 3    the delays), memories have dimmed and testimony has been based on memories of events that to

 4    a large extent happened years ago. Therefore, I find that when memories conflict among the

 5    witnesses and parties, or the exhibits, I must rely on contemporaneous writings to resolve the

 6    conflicts.

 7               For example, Claimant relies in several instances in his briefing on Exhibit I, page 64.

 8    and his testimony on May 24, 20 I 0, pages 168-170. (The actual quote comes from page 160 of

 9    the transcript.)

10               "Rote explained his response to Zweizig's 'So I take it I'm fired" email:

11               "And I said, 'Yes, so you seem to want that. You seem to kind want to exit on m1
                 exclamation point, in spite of the fact you've asked for this additional time, in
12               spite of the fact we're working together, you seem to want to exit with some kind
                 of drama. And so here it is, some kind of drama."' Post-Hearing Memorandum
13               of Northwest Direct Teleservices, p. 67.

14

15               While "Yes" might have been an appropriate response to the comment in Respondenl' s

16    email if that had been the intention, it was not so expressed until the hearing. The responsive

17    email from Mr. Rote is quite different than his testimony about what he sajd. Indeed. a part of

18    the response in Mr. Rote's email states "If you think you can get more money for your work

19    effo1t, elsewhere, you should seek other employment and give your notice according to the terms

20    of your contract." Although I do not find that Mr. Rote intentionally misrepresented the

21    exchange, it does represent an example of why I find that the exhibits prepared

22    contemporaneously with the dispute are more reliable than the memories dimmed by time.

23               The parties are in disagreement about when the October 2, 2003, email was prepared and

24    sent. The testimony of the experts leaves questions open about that controversy, but to the

25    arbitrator it is difficult to harmonize this email with the one written by Mr. Rote just 80-90 hours

26    earlier.

                                                                                      SCHWABE, WILLIAMSON & WYATT.PC.
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                                                                                                Portland, OR 97204
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               The regular exchange of emails from October 2, 2003, do not suggest that Respondent

  2   has been terminated, but rather are consistent with the expectation of continued employment. As

  3   late as October 23, 2003 , Mr. Rote sent an email to Respondent: "Hope all is OK Max. Let me

  4   know ifl can help." (Exhibit 1, page 83)
  5            Only after the report by Respondent of his concerns over the possibility of overcharging

  6   and correspondence with the State of Oregon to that effect did Mr. Kawiuk start his search for

  7   emails trying to discredit Respondent and did the correspondence between Respondent and

  8   Mr. Rote take on the hint that termination was imminent.

 9             l turn first to the claims of the claimant, Northwest Direct Teleservices, Inc.

IO                                            First Claim for Relief

11             Claimant's primary claim is that Respondent breached his employment agreement by

12    deleting, destroying, or otherwise failing to return to Claimant certain software programs, codes,

13    and applications all to Claimant's damages of$56,320.

14             Respondent denies any such deletion, destruction, or failure to deliver all property in his

15    possession belonging to his employer.

16             It appears from the testimony and exhibits that another employee, Cox, was able to

 l7   extract data, create reports, and send data to clients as needed. His testimony was that the

18    programs were readily available and that he routinely accessed the programs for his own use.

19             Claimant during these proceedings attempted to belittle Cox or accuse him of disloyalty

20    because of his resignation, but it also appears that Cox was the only one in Claimant's employ

21    who could have recovered the claimed destroyed, deleted, or lost information. Thal, coupled

22    with the continuous use of the involved computers over a period of years, seemingly made it

23    impossible for the various experts called by the parties to confirm or deny any deletion or
24    destruction. Claimant was, or should have been, advised by his counsel at the beginning of the
25    threat of litigation that the preservation of the integrity of the computers and the information to
26    be found there was paramount to proving the claims now made.

                                                                                      SCHWABE, WILLIAMSON & WIATT, PC
Page 3 -    OPINION AND ORDER AND ARBITRATJON A WARD                                             Altorneya at Law
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              Given that the burden is on Claimant to prove this claim, the arbitrator cannot find that

 2   the burden has been borne and, therefore, this claim for relief is denied.

 3                                           Second Claim for Relief

 4            Claimant's second claim for reHef is one for conversion and requires the exercise of

 5   dominion or control over a chattel. The arbitrator finds no evidence to support a claim of

 6   conversion.

 7                                           Third Claim for Rdief

 8            The arbitrator makes no finding as to whether Respondent had a fiduciary duty to

 9   Claimant. The existence of a fiduciary relationship between master and servant is one that is

1O   subject to great controversy and disagreement.

11            Having found that Claimant did not prove the destruction or deletion of the sub}~ct

12   materials, this claim is also denied.

13                                           Fourth Claim for Relief

14            Claimant claims damages of $125,000 in the form of attorney fees and costs incurred to

15   defend Respondent's litigation commenced in the Superior Court of New Jers.ey. Claimant

16   claims that the employment agreement obligated Respondent to participate in mandatory

17   mediation and arbitration, thus foreclosing any right to proceed in courts.

18            Respondent believed correctly that he had a right to a determination by a court with

19   appropriate jurisdiction whether he was bound by the agreement limiting his legal rights. It

20   appears that Claimant failed to give notice within 90 days of an intent to mediate any and all

21   disputes arising out of the employment of Respondent by Claimant and thus waived that

22   exclusive remedy. The employment agreement further provides that the arbitrator shall have no

23   power to alter, amend, or modify any provision of the employment agreement.

24            Respondent had a legal right to a determination of whether.his legal remedies were

25   limited to those set forth in the employment agreement. If Claimant is correct that there was

26   such a limitation and that filing the action was wrongful, an immediate response advising the

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      court of Claimant's position should have been done to mitigate damages. In any event,

  2   Respondent had the right to a court decision as to the scope of his remedies.

  3              This claim is, therefore, denied.

  4                                             Fifth Claim for Relief

  5              The arbitrator finds that Claimant has a claim for the $4,3 I 6. 94 paid for court reporting

  6   fees that were the obligation of Respondent and it is so ordered. Claimant may have judgment

  7   against Respondent in that amount.

  8                                              Respondent's Claims

  9              It is clear from the exchange of emails between the two prior to the actual termination
 1O   that trouble was brewing. Mr. Rote, as is his custom, expressed himself rather strongly in his

 I1   belief that Respondent's performance was unsatisfactory. It is likely that the relationship of

 12   employer and employee was doomed to an early grave given the animosity and concerns

13    expressed by both parties with or without the notice of improper billings,

14               I find thatthe catalyst for the termination at the time it took place was in retaliation for

15    the action Respondent took over his belief that there might have been efforts at overbilling some

16    clients.

17               I need not, and do not make, any finding or conclusion as to whether Respondent's

18    concerns were true, but I do find that he had a reasonable belief that they were.

19               Because of my conclusion that Respondent was terminated at the time he was because of

20    retaliation, I must then determine the damages suffered by Respondent.

21               As mentioned above, it is clear that the relationship was not going to last long.

22    conclude that the damages suffered by Respondent must co1Tespond to that likelihood.

23               Therefore, I find that Respondent's damages must be confined to a reasonable period of

24    time during which he could have expected his employment to continue. A reasonable period of

25    time for these purposes is nine months.

26

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Page 5 -    OPINION AND ORDER AND ARBITRATION AW ARD                                                Attorney9 at Law
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               Respondent is entitled to recover his salary for a period   or nine months from
 2    November 15, 2003. He is, therefore, entitled to a judgment of $67,500 plus one week's pay

  3   reflecting vacation pay in the amount of $1,875. Respondent also seeks attorney fees, which I

 4    decline to award.

 5             Respondent also claims damages as a consequence of the actions taken by Claimant or its

 6    agent in pre-discharge actions as set forth in Respondent's reply brief at pages 32-33 . Although,

 7    as discussed above, Mr. Rote's messages are frequently abusive and inflamniatory, Respondent

 8    should have become accustomed to such behavior and developed a. tolerance for it. I find that

 9    any claim for damages for the circumstances described there cannot be sustained, and I award

JO    none.

11             Respondent also seeks damage for the post-discharge actions as describe in the rcpl}

12    brief at page 33. Respondent did suffer damages because of the report to the Department of

13    Labor that he had been discharged for fraud and because he was required to appear at a hearing

14    to obtain unemployment benefits to which he was rightfully entitled. I find that his damages in

15    connection with those activities are $1,000.

16             Respbndcnt's claimed damages for the actions of Mr. Rote in a letter to Judge Kugler, the

17    letter sent suggesting to former co-workers that they should keep children away from

18    Respondent, and the report to insurers of theft are more difficult of assessment. There is no

J9    evidence in the record that insurers relied on those reports; and, in fact, they refused the claims

20    submitted. There is no evidence that Respondent has been damaged as a result ofany insurance

21    company actions. Given other actions of which Judge Kugler is aware, it is doubtful that he put

22    much stock in those letters, and it is more likely the letters resulted in injury to the author's

23    reputation than to Respondent. l can find no reason to award damages for those letters to

24    Respondent.

25             Claimant claims (Post-Hearing Memorandum ofNorthwest Direct Teleserviees, p. 92)

26    that it filed complaints with law enforcement officials on advice of counsel. The Arbitrator has

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     searched the record but can find no support for that assertion. The letter to co-workers was

 2   unwarranted and seemingly was done solely in an effort to embarrass Respondent. Such actions

 3   were done in retaliation for Claimant's perceived misconduct by Respondent and his apparent

 4   anger. It is particularly difficult to find an appropriate remedy for such conduct, but a reasonable

 5   sum to award for it and its consequences is $5,000, and it is so ruled.

 6

 7                                           MONEY A WARD

 8            To comply with the special requirements of ORS 36.685, set forth below is the following

 9   information:

10                                       AW ARD FOR CLAIMANT

1I
     Award Creditor(s):                                 Northwest Direct Teleservices, Inc.
12                                                      24790 SW Big Fir Road
                                                        West Linn, OR 97068-9601
13
     Attorney for Award Creditor(s):                    Timothy C. Rote, CEO - pro se
14                                                      Northwest Direct Teleservices, Inc.
                                                        24790 SW Big Fir Road
15                                                      West Linn, OR 97068-9601
                                                        Telephone: (503) 722-1640
16
     Award Debtor(s):                                   Max Zweizig
17                                                      140 Ford Avenue
                                                        Woodbury, NJ 08096
18
     Attorney for Award Debtor(s):                      Linda L. Marshall
19                                                      PMB 408
                                                        3 Monroe Parkway, Suite P
20                                                      Lake Oswego, OR 97035
                                                        Telephone: (503) 699-2082
21
     Principal Amount of Award:                         $4,316.94
22
     Pre-A ward Interest:                               0
23   Total amount of Award upon which simple            0
     interest is to accrue at rate of9% per annum
24   from and after the date of this Award:
     Costs (ASP Rule 33)                                0
25       Filing Fee: $_N~/~A~--
         Arbitrator's Compensation: $ NIA
26       Attorney Fees:
                                                                                   SCHWABE. WILLIAMSON & WYAH. PC
Page 7-    OPINION AND ORDER AND ARBITRATION AWARD                                            Attorneys at law
                                                                                              Pacweat Center
                                                                                        1211 SW 5th Ave.. Suite 1900
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  3                                      AW ARD     FOR RESPONDENT
  4
      Award Creditor(s):                                Max Zweizig
  5                                                     140 Ford Avenue
                                                        Woodbury, NJ 08096
  6
      Attorney for Award Creditor(s):                   Linda L. Marshall
  7                                                     PMB 408
                                                        3 Monroe Parkway, Suite P
  8                                                     Lake Oswego, OR 97035
                                                        Telephone: (503) 699-2082
  9
      Award Debtor(s):                                  Northwest Direct Teleservices, Inc.
10                                                      24790 SW Big Fir Road
                                                        West Linn, OR 97068-9601
11
      Attorney for Award Debtor(s):                     Timothy C. Rote, CEO - pro se
12                                                      Northwest Direct Teleservices, Inc.
                                                        24 790 SW Big Fir Road
13                                                      West Linn, OR 97068-9601
                                                        Telephone: (503) 722-1640
14
      Principal Amount of A ward:                       $75,375.00
15
      Pre-Award Interest:                               0
16    Total amount of Award upon which simple           0
      interest is to accrue at rate of 9% per annum
17    from and after the date of this Award:
      Costs (ASP Rule 33)                               0
18        Filing Fee: $$.·-'N"""/o..a-A=----,-
          Arbitrator' s Compensation: $_N_/_A_ _
19        Attorney Fees:

20
21             Dated this 5th day of April, 2011.

22
23                                                     / (;;.__ 6-dn.r" __ ___
                                                     ~ ~Crow
24                                                   Arbitrator

25
26
                                                                                 SCHWABE, WILLIM1SON & WYATT. PC
Page 8 -    OPINION AND ORDER AND ARBITRATION A WARD                                          Allorneys al Law
                                                                                              Pacwe.i Center
                                                                                        1211 SW 5th Ave.. Su_ile 1900
                                                                                            Portland, OR 97204
                                                                                 Telephone 503.222 9981 Fax 503.796 2900
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                                          CERTIFICATE OF SERVI CI~
  2            I hereby certify that on the 5th day of April, 2011, l served the foregoing Opinion and

  3   Order and Arbitration A ward on the following parties:

  4            Mr. Timothy C. Rote
               Northwest Direct Teleservices, Inc.
  5            Email: tim@nwdirectmarketing.com

  6            Mr. Scott T. Cliff
               The Law Office of Scott T. Cliff
  7            5550 SW Macadam Avenue, Suite 220
               Portland, OR 97238
  8            Email: scott@scottcliff.com

  9            Ms. Linda L. Marshall
               PMB408
1O             3 Monroe Parkway, Suite P
               Lake Oswego, OR 97035
 11            Email: marshall.l@comcast.net

12

13    by emailihg to them a true and correct copy thereof, certified by me as such, at the email

 14   addresses listed above on said day.

15

16
                                                     William B. Crow
17
18

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26
                                                                                   SCHWABE . W1U1M1S0N & WIATT PC
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(503) 699-2082
Fax: (971) 269-2888
  Of attorneys for plaintiff

Joel W. Christiansen, 058 080561
joel@oremploymentlawyer.com
Vogele & Christiansen
812 NW 171h Avenue
Portland , OR 97209
(503) 841-6722
  Of attorneys for plaintiff



                                UNITED STATES DISTRICT COURT
                                     DISTRICT OF OREGON
                                      PORTLAND DIVISION


      MAX ZWEIZIG,

                   Plaintiff,                                                         Case No. 3:14-cv-00406-ST

             V.


      TIMOTHY C. ROTE , a citizen of the state                                 SECOND AMENDED COMPLAINT
      of Oregon, NORTHWEST DIRECT
                                                                             (Uniform Fraudulent Conveyance Act;
      TELESERVICES, INC., an Oregon for-                                                piercing the corporate veil ;
      profit corporation, NORTHWEST DIRECT                                                  conspiracy to defraud)
      MARKETING OF OREGON, INC. an
      Oregon for-profit corporation ,                                                 DEMAND FOR JURY TRIAL
      NORTHWEST DIRECT MARKETING,
      INC. , an Oregon for-profit corporation ,
      NORTHWEST DIRECT OF EUGENE,
      INC., aka Northwest Direct Marketing ,
      Inc., NORTHWEST DIRECT OF IOWA,
      INC. , an Iowa for-profit corporation , ROTE



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                                                Linda L. Marshall
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                                    linda. marshall.altomeyaUaw@gmai l.com
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     ENTERPRISES, LLC, an Oregon limited
     liability company, NORTHWEST DIRECT
     MARKETING, INC., aka Northwest Direct
     Marketing (Delaware), Inc. , a Delaware
     Corporation,

                     Defendants.



                                                 JURY DEMAND

                     Plaintiff Max Zweizig demands a trial by jury of all issues properly

     subject to a jury trial.


                     Plaintiff alleges:

                                     JURISDICTION AND VENUE

                     Diversity.


                     1.     This court has jurisdiction over all claims in this action

     pursuant to 28 USC § 1332(a)(1) because there is complete diversity between

     plaintiff and all defendants and the amount in controversy exceeds $75,000,

     exclusive of interest and costs .

                    2.          Plaintiff Max Zweizig is a citizen of the State of New

     Jersey.

                     3.         Defendant Timothy C. Rote ("Rote") is a citizen of the

     State of Oregon and resides in Oregon. Defendant Northwest Direct

     Teleservices , Inc. ("NDT"), is a for-profit corporation organized and existing

      under the laws of the State of Oregon with its principal place of business in




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     Oregon. Defendant Northwest Direct Marketing of Oregon , Inc. ("NDMO"), is a

     for-profit corporation organized and existing under the laws of the State of

     Oregon with its principal place of business in Oregon. Defendant Northwest

     Direct Marketing , Inc. ("NDM"), is a for-profit corporation organized and existing

     under the laws of the State of Oregon with its principal place of business in

     Oregon . Defendant Northwest Direct of Eugene, Inc. ("NOE"), is a for-profit

     corporation organized under the laws of the State of Oregon with its principal

     place of business in Oregon. On June 30, 2010, NOE changed its name to

     NDM. Defendant Northwest Direct of Iowa, Inc. ("NOi"), is a for-profit

     corporation organized under the laws of the State of Iowa with its principal

     place of business in Oregon. Rote Enterprises, LLC, is a limited liability

     company organized under the laws of the State of Oregon with its principal

     place of business in Oregon. Northwest Direct Marketing Inc., aka Northwest

     Direct Marketing (Delaware), Inc., is a for-profit corporation organized under

     the laws of the state of Delaware. ("NDM ("Delaware").

                   4.      The amount in controversy is at least $75,375, exclusive

     of interest and costs.

                                   Ancillary jurisdiction.

                    5.     Plaintiff's First Claim for Relief is for relief under the

     Uniform Fraudulent Transfer Act ("UTFA") as adopted in Oregon , ORS 95 .200-

     95.310 .   This court has ancillary jurisdiction over this claim to exercise its

      inherent power to avoid fraudulent conveyances and enforce a judgment


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       entered by the District of Oregon in accordance with the principles adopted in

       Turner v. Hallberg, No. 04-cv-276-KI (D Or 2011 ), and Jones                  v. North West

       Telemarketing, Inc., 136 F Supp 2d 1166 (D Or 2001).

              Venue.

              6.       Venue is proper in this District pursuant to 28 USC § 1391 (b)

because a substantial part of the events or omissions giving rise to plaintiff's

claims occurred in this District. Pursuant to LR 3-2(a)(1 ), divisional venue is

proper in the Portland Division because defendants reside in and/or have a

principal place of business in Clackamas County.

                                GENERAL ALLEGATIONS

                     7.      Over the last approximately 20 years defendant Rote has

       operated telemarketing businesses which included call centers providing in-

       bound and out-bound telemarketing services to a variety of clients nation-

       wide. During that time, he has operated two call centers at a time, one in

       Oregon and one in Iowa .     Yet, he has created a complex, confusing and

       ever-changing web of corporate entities to own and operate these call centers

       and to receive revenues generated by the call centers .                  As described below,

       Rote's creation and manipulation of corporate entities suggests that his motive

       was , in substantial part, to defeat the rights of disfavored creditors and/or

       potential creditors, such as plaintiff as a claimant in an arbitration proceeding .

                     8.      In July 1995, Rote filed Articles of Organization with the

       Oregon Secretary of State for Rote Enterprises , LLC , which is described as


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      holding company. Its members include defendant Rote and Rote & Company,

      PC.

                    9.     In July 1995, Rote filed Articles of Incorporation with the

      Iowa Secretary of State for NOi.

                    10.     In October 1996, Rote filed Articles of Incorporation with

     the Oregon Secretary of State for Northwest Telemarketing of Oregon, Inc.,

     which operated Rote's Oregon call center.

                    11 .   In February 1998, Rote filed Articles of Incorporation with

     the Oregon Secretary of State for Northwest Direct Telemarketing, Inc.                    In

     September 1998, he changed the name of this corporation to Northwest Direct

     Teleservices , Inc.

                    12.    In July 1999 an employee of Northwest Telemarketing of

     Oregon, Inc. , filed an action in federal court captioned Jones v. North West

      Telemarketing, Inc., 99 cv 990-JO .             A jury returned a verdict in favor of the

     plaintiff. On August 14, 2000, the court awarded plaintiff his costs and

     attorney fees. On August 31 , 2000 , the court entered judgment on the verdict,

     together with the award of costs and attorney fees .

                    13.    On ,t.,ugust 24, 2000, (between the award of attorney fees

     and the entry of final judgment in Jones v. North West Telemarketing, Inc.)

      Rote filed Articles of Incorporation with the Oregon Secretary of State for

      Northwest Direct of Sisters , Inc.

                    14.     In January 2001 , after unsuccessful attempts to collect the


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     judgment in Jones v. North West Telemarketing, Inc., the plaintiff brought a

     supplemental proceeding to amend his pleadings to set aside fraudulent

     conveyances to NOT, North West Direct of Sisters, Inc. and Timothy Rote. On

     March 6, 2001, the court allowed the amendment. On July 23 , 2001 , Rote

     changed the name of Northwest Telemarketing of Oregon, Inc. , to Northwest

     Telemarketing of Iowa, Inc.       In December 2001 , he changed the name of

      Northwest Telemarketing of Iowa, Inc. , to Northwest Direct of Iowa, Inc.

     ("NOi")

                    15.     In August 2001 , NOT, entered into a written employment

     agreement with plaintiff under which plaintiff became the Director of its IT

     Department.      Plaintiff oversaw IT services for the Oregon and Iowa call

     centers from September 1, 2001 to November 14, 2003, when he was

     terminated .

                    16.     In September 2001, Rote filed Articles of Incorporation

     with the Oregon Secretary of State for NOE.

                    17.     In April 2006 , NOT commenced an arbitration proceeding

     against plaintiff with the Arbitration Services of Portland, Northwest Direct

      Teleservices, Inc , v. Max Zweizig, .A.SP No . 050511-1 ("the ,A,rbitraticn

     Proceeding"). On or about June 30 , 2006, Zweizig brought counterclaims in

     the Arbitration Proceeding against Rote , NOi , NOE, Rote Enterprises, LLC,

      Northwest Telemarketing , LLC, and Northwest Holding, LLC . In reliance on the

      representation of the defendants' then attorney that NOT was the umbrella


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                                             Linda L. Marshall
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     corporation and would be financially responsible for any award, plaintiff

     dropped the other defendants and litigated his claims in the Arbitration

     Proceeding against NOT only.

                   18.    In July 2007 , Rote filed Articles of Incorporation with the

     Oregon Secretary of State creating NDMO.

                   19.    Corporate minutes for NOT dated July 4, 2008 show that ,

     as the parties were engaged in discovery and motion practice in the Arbitration

     Proceeding, in his capacity as sole member of the Board of Directors of NOT,

     Rote decided that client and vendor contracts would no longer be issued by

     NOT, but rather would be issued in the name of NDM (Delaware) and that

     NOT would become a subsidiary of NDM . Plaintiff was unaware of this

     information until he received documents produced by defendants in August

     2015 .

                   20.    In April 2009, defendant Rote testified under oath that

     NOT was the parent of NDM , NDMO , NOi , and NOE. He testified that he was

     the owner, sole member of the Board of Director, President, and Chief

     Executive Officer of NOT and that he was the sole member of the Board of

     Directors and Chief Executive Officer of the subsidiaries . He failed to mention

     that all service contracts had been transferred to NDM (Delaware) and the

     plan was that NOT was to become a subsidiary of NDM .

                   21.    According to admissions of defendants, effective July 1,

     2009, NOT entered into an agreement (hereinafter the "Reorganization


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     Agreement") , which included the following plan: (1) NOT would transfer its 100

     percent ownership interest in NDMO and NOi to NOE; (2) NOE would change

     its name to NDM; (3) NOT would transfer its 100 percent ownership interest in

     NDM to its shareholder (Rote) ; (4) Rote would contribute the stock in NOT to

     NDM; (5) all call center contracts held by NDM (Delaware) would be

     transferred to NDM; (6) NOT would transfer all its service contracts to NDM;

     (7) clients would be notified of the new name and banking relationship ; (8)

     accounts receivables for call center activity would be transferred to NDM; (9)

     NDM assumed no liabilities, including equipment financing and equipment

     lease charges, which would remain with NOT; (10) no cash or equipment

     would be transferred. The plan would leave NOT responsible for NDT's

     liabilities and without assets to satisfy the liabilities, to wit, insolvent. In

     addition, in 2009 Rote paid himself $75 ,000 as a dividend .

                    22.     During the period August through November 2009 , NOT

     and Rote represented to the US District Court for the District of Colorado that

     NOT owned and operated two call centers, one in Oregon and one in Iowa,

     that NOT controlled contracts for well over one hundred 800 numbers , and that

     the call centers were producing monthly reven ues for NOT of approximately

     $350,000 and employing more than 100 people.

                    23 .    For various reasons, the Arbitration Proceeding consumed

     some five years.      The evidentiary hearings occurred in ten non-consecutive

     days between May 24 , 2010 and November 2010.                            On May 24, 25, 26 , 27,


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     28 , and June 1, 2010 , NOT put on evidence , including the testimony of Tim

     Rote. In the hearing on May 24 , 2010, Rote testified under oath that at all

     times during the arbitration case NOT was the parent company of all

     operating subsidiaries.

                   24.    In February 2011 and March 2011 respectively, NOT, and

     Zweizig submitted post-hearing briefs and replies .

                   25.    In February 2011 , after the parties completed their post-

     hearing briefing but before the arbitrator's decision, Rote launched a new

     website under the name Northwest Direct Marketing, offering the inbound and

     outbound telemarketing services previously provided by NOT.

                   26.    On April 5, 2011, the arbitrator issued an Opinion and

     Order and Arbitration Award in which he awarded Zweizig the total amount of

     $75,375.00 (hereinafter the "Arbitration Award") .

                   27 .   On July 15, 2011 , Northwest Direct Teleservices, Inc., filed

     Plaintiff's Petition to Modify or Vacate Arbitration Award in the Circuit Court for

     the State of Oregon for the County of Clackamas, Northwest Direct

      Teleservices, Inc. v. Max Zweizig, Clackamas County Case No. CV11070441.

     On .A.ugust 1, 2011 , plaintiff removed the action to fede ral court where it was

     captioned, Northwest Direct Teleservices, Inc. v. Max Zweizig, US District

     Court Case No . 3:11-cv-910-PK.

                   28.    On November 18, 2011 , Magistrate Judge Papak entered

      Findings and Recommendations that the Arbitration Award be confirmed .


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                                              Linda L. Marshall                                   3
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     The parties appealed the recommendation to Judge Anna J. Brown.

                   29 .    On February 14, 2012, Judge Brown entered a judgment

     confirming the Arbitration Award in the amount of $75 ,375 against NOT and in

     favor of plaintiff ("the Judgment").

                   30.     On May 25 , 2012 , plaintiff filed and registered the

     Judgment as a foreign judgment with a money award in the Circuit Court for

     the State of Oregon County of Clackamas, where it was captioned In the

     Matter of a Foreign Judgment Rendered in the Case of Northwest Direct

     Teleservices, Inc. , v. Max Zweizig, US District Court Case No . CV 11-910,

     Clackamas Case No. CV 12050701.

                   31.     On May 25 , 2012 , plaintiffs attorney mailed a Notice of

     Filing of Foreign Judgment and Notice of Demand to Pay Judgment to NOT

     c/o Rote, its Registered Agent. Plaintiff demanded payment of the Judgment

     within 10 days . NOT failed to respond to the notice.

                   32 .    On or about May 29 , 2012, Rote filed a UCC Financing

     Statement with the Oregon Secretary of State on behalf of NDM , as the

     secured party, and showing NOT as the debtor ("the May 29, 2012 Security

     Interest"). By its terms , the May 29, 2012 Security !nterest covers:

                 "[a]II accounts (including health care insurance receivables) ,
                 deposit accounts , contract rights , chattel paper, (whether electronic
                 or tangible) , comme rcial contract and tort claims , instruments,
                 promissor; notes, investment property, general intangibles, letters
                 of credit and other rights to payment of every kind no (sic) existing
                 or at any time hereafter arising. "



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             33.     As far as plaintiff was aware, as of May 25 , 2012, NOT owned

and operated two call centers, one in Oregon and one in Iowa, owned numerous

contracts to provide in-bound and out-bound telemarketing services for a number of

companies nation-wide , received the revenues from such contracts and owned bank

accounts into which the revenues were deposited.                     The service contracts, right to

receive revenues from the contracts , and ownership of the bank accounts into which

the revenues were deposited are hereinafter referred to collectively as "the Assets."

             34.     On July 29 , 2015 , defendants informed plaintiff for the first time

that on July 1, 2009 , NOT transferred or assigned its assets to NOM , provided a copy

of NOM's 2009 tax return, and the Reorganization Agreement.

             35 .    Because NOT and the other entities are private entities, plaintiff

did not have knowledge of or any reason to know about the information in NOM's

2009 tax return and the Reorganization Agreement until it was disclosed by

defendants' attorney on July 29 , 2015.

             36.     NOT has satisfied no part of the Judgment.

                    FIRST CLAIM FOR RELIEF

          (For relief under the UFT A, ORS 95.200-95 .300)

                            COUNT ONE

                   (For relief under ORS 95 .230 -
              against defendants Rote, NOT, and NOM)



              37.     Plaintiff incorporaies by reference the aiiegations in




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paragraphs 1 through 36, as if fully set forth herein.

               38.      The May 29, 2012 Security Interest constituted a transfer of all

or substantially all of NDT's remaining assets

               39.      The May 29, 201 2, Security Interest was fraudulent as to

plaintiff under ORS 95 .230 in one or more of the following particulars:

               a. The May 29, 2012 Security Interest was granted with actual intent

to hinder, delay, or defraud plaintiff in his ability to enforce the Arbitration Award and

Judgment; or

               b. The May 29 , 2012, Security Interest was granted without receiving a

reasonably equivalent value in exchange for the transfer or obligation , and

               c. Defendants knew that NDT's remaining assets were insufficient to

satisfy the Arbitration Award and Judgment; or

               d.    Defendants intended to incur or believed or reasonably should have

believed that NDT's assets after the May 29 , 2012 Security Interest would be

insufficient to satisfy the Arbitration Award and Judgment.

               40.      Defendants acted with actual intent under ORS 95.230(1 )(a) in

that:

               a.       The Arbitration Proceeding, state and federal court action to

confirm the Arbitration Award, and the Judgment were all of record and plaintiff had

served a Notice of Demand to Pay Judgment when the May 29, 2012 Security Interest

was granted;




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                b.     The transfer was of all or substantially all of NDT's remaining

assets;

                c.     The value of the consideration received by NOT, was not

reasonably equivalent to the value of NDT's remaining assets;

                d.     NOT was or became insolvent shortly after the transfer; and/or

                e.     The transfer occurred shortly after the Judgment confirming the

Arbitration Award was entered and plaintiff served a Demand to Pay Judgment.

                41.    Pursuant to the ORS 95.260, plaintiff is entitled to relief against

defendants Rote, NOT, and NDM, and each of them, as follows :

                a.     An order avoiding the May 29, 2012 Security Interest to the

extent necessary to satisfy the Judgment;

                b.     Attachment or other provisional remedy against any asset

transferred or other property of NOT in accordance with the procedure prescribed by

the Federal Rules of Civil Procedure, the Oregon Rules of Civil Procedure, or a

provision of any other applicable statute;

                c.     An order that plaintiff may levy execution on the Assets

transferred or their proceeds in order to satisfy the Judgment; and/or

                d.     Any other relief the circumstances may require .

                                         COUNT TWO

          (For relief under ORS 95 .240 - against defendants Rote NOT, and NDM)

                42.    Plaintiff incorporates by reference the allegations in paragraphs

1 through 41, as if fully set forth herein.


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              43.      Plaintiff's claims arose before the May 29, 2012 Security

Interest.

              44.      The May 29, 2012 Security Interest was fraudulent as to

plaintiff in one or more or more of the following particulars:

              a.       The transfer was made without receiving a reasonably

equivalent value in exchange and NOT was insolvent or became insolvent as a result

of the transfer(s); and/or

              b.       NOT transferred the Assets to or for the benefit of NOM for

other than a present, reasonably equivalent value ;

              c.       NOT was insolvent at that time, and defendant Rote had

reasonable cause to believe that NOT was insolvent.

              45.      Pursuant to the ORS 95.260, plaintiff is entitled to relief against

defendants Rote , NOT, and NOM , and each of them , as follows:

              a.       An order avoiding the transfer and/or transfers of Assets to the

extent necessary to satisfy the Arbitration Award and Judgment;

              b.       Attachment or other provisional remedy against any asset

transferred or other property of NOT in accordance with the procedure prescribed by

the Federal Rules of   c,vi! Procedure, the Oregon             Ru!es of Civil Procedure , or a

provision of any other applicable statute;

              c.       An order that plaintiff may levy execution on the Assets

transferred or their proceeds in order to satisfy plaintiff's Judgment; and/or

              d.       Any other relief the circumstances may require .


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                                       COUNT THREE

                            (ORS 95.230 -- against all defendants)

               46.        Plaintiff incorporates by reference the allegations in paragraphs

1 through 45, as if fully set forth herein.

               47.        Plaintiff was not aware of the information in NDM's 2009 tax

return or the Reorganization Agreement until it was first disclosed by defendants'

attorney on July 29, 2015.

               48.        The transfer of NDT's assets under the Reorganization

Agreement was fraudulent as to plaintiff under ORS 95.230 in one or more of the

following particulars :

               a.         The transfers were made with actual intent to hinder, delay, or

defraud plaintiff in his ability to enforce any subsequent award issued by the arbitrator

against NOT; or

               b.         The transfers were made without receiving a reasonably

equivalent value in exchange for the transfer or obligation , and

               c.         Defendants knew that NDT's remaining assets were insufficient

to satisfy any subsequent award issued by the arbitrator against NOT; and/or

               d.         Defendants intended to incur or believed or reasonably should

have believed that NDT's assets after the transfers would be insufficient to satisfy

any subsequent award issued by the arbitrator against NOT.

               49.        NOT acted with actual intent under ORS 95.230(1 )(a) in that:

               a.         The Arbitration Proceeding , state or federal court action to


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confirm the Arbitration Award, and/or the Judgment were pending when the

transfer(s) were made;

              b.      The transfer(s) were to insiders;

              c.      The transfer(s) were concealed, or at least not disclosed ;

              d.      The transfer(s) were of substantially all of NDT's assets;

              e.      The value of the consideration received by NOT was not

reasonably equivalent to the value of the Assets transferred ; and

              f.      NOT was or became insolvent shortly after the transfer(s) .

              50 .    Pursuant to ORS 95 .260 , plaintiff is entitled to relief against

all defendants , and each of them , as follows:

              a.      An order avoiding the transfer and/or transfers of Assets to the

extent necessary to satisfy the Arbitration Award and Judgment;

              b.      Attachment or other provisional remedy against any asset

transferred or other property of NOT in accordance with the procedure prescribed by

the Federal Rules of Civil Procedure, the Oregon Rules of Civil Procedure , or a

provision of any other applicable statute;

              c.      An order that plaintiff may levy execution on the Assets

tiansferred or their proceeds in order to satisfy piaintiff's Judgment; and/or

              d.      Any other relief the circumstances may require.

                             SECOND CLAIM FOR RELIEF

                                        COUNT ONE




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      (Pierce the corporate veil - alter ego - against defendants Rote and NDM)


               51.        Plaintiff incorporates by reference the allegations in paragraphs

  through 50 , as if fully set forth herein.

               52.        At all times material herein , NDT was under the actual control

of defendant Rote and/or NDM, whose control amounted to complete domination of

NDT's corporate actions , stock ownership, finances , policy, and business practices

so that NDT had no separate mind, will, or existence of its own.

               53 .       Defendants Rote and/or NDM exercised control over NDT and

its wholly owned subsidiaries so as to conceal , transfer, and otherwise divert assets

of NOT with the foreseeable effect of hindering , delaying , or defrauding plaintiff in his

ability to enforce any subsequent award issued by the arbitrator against NOT.

               54 .       Defendants' conduct was wrongful in one or more of the

following particulars :

               a.         Defendants exercised control over NOT at a time and in such a

manner as to permit NOT to pursue its claims against Zweizig for thousands of dollars

without exposing NDT's assets to liability based on plaintiff's counterclaims;

               b.         Defendants exercised control in a manner and at a time with the

foreseeable effect of hindering , delaying , or defrauding plaintiff in his ability to enforce

an award issued by the arbitrato r against NDT;

               c.         Defendants exercised control in a manner and at a time so as to

cause NOT to fail to satisfy any part of an award issued by the arbitrator against NOT



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or the Judgment;

              d.       Defendants exercised control over NDT in order to interfere with

or prevent NDT from satisfying an award issued by the arbitrator against NDT;

              e.       Defendants exercised control over NDT in order to perpetuate the

violation of NDT's statutory and/or other positive legal duties as adjudicated in the

Arbitration Proceeding;

              f.       Defendants exercised control over NDT to commit a dishonest

and unjust act in contravention of plaintiffs rights, including relief for wrongful

discharge based on whistle blowing as adjudicated in the Arbitration Proceeding and

confirmed by a Magistrate Judge and a Federal Judge;

              g.       Defendants exercised control over NDT to commit a dishonest

and unjust act in contravention of plaintiff's rights, including plaintiff's rights under

UFTA.

              55.      As a result of the conduct of defendants, NDT has failed to

satisfy any part of the Arbitration Award and Judgment and has thereby subjected

plaintiff to an unjust loss in the amount of the Judgment, plus interest.

               56.     Plaintiff is entitled to an order piercing the corporate veil and

subjecting defendants Rote and ~JD~v1 directly to the liability in the Arbitration Avvard

as confirmed in the Judgment.

                                       COUNT TWO

                           (Pierce the corporate veil - agency)




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              57.       Plaintiff hereby incorporates by reference the allegations

in paragraphs 1 through 56, as if fully set forth herein .

              58.       At all times material herein, defendant Rote has

represented NOT and NDM as their agent and attorney.

                               THIRD CLAIM FOR RELIEF

                   (Civil conspiracy to defraud - against all defendants)

              59.       Plaintiff hereby incorporates by reference the allegations

in paragraphs 1 through 58, as if fully set forth herein .

              60.       Defendants, and each of them, knowingly agreed and

conspired with each other and/or others to defraud plaintiff, and to knowingly

and/or wantonly, recklessly, or negligently commit overt acts in furtherance of

their conspiracy to defraud in one or more of the following particulars:

              a.        Prior to July 2009, NDT's primary source of revenue was

service contracts under which its call centers provided services. On July 4,

2008, Rote, NOT, and NDM (Delaware) agreed that effective on that date all

service contracts would be issued in the name of NDM (Delaware), with the

foreseeable effect of hindering, delaying, or defrauding plaintiff in his ability to

enforce any subsequent award issued by the arbitrator against NOT. NDM

(Delaware) accepted and entered into said service contracts, which diverted

revenue from NOT to itself;

              b.        Effective July 1, 2009, defendants Rote, NOT, NOE,

NDMO, NOi and NDM (Delaware) knowingly agreed and conspired with each


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other to divest NOT of all or substantially all of its remaining assets with the

foreseeable effect of hindering, delaying, or defrauding plaintiff in his ability to

enforce any subsequent award issued by the arbitrator against NOT;

              c.       In 2009, Rote transferred his ownership interest in NDM

to Rote Enterprises, LLC, which accepted the transfer and became the

corporate parent of NDM and its subsidiaries including NOT. Defendant Rote

Enterprises, LLC, permitted and enabled the diversion of NDT's assets with

the foreseeable effect of hindering, delaying, or defrauding plaintiff in his

ability to enforce any subsequent award issued by the arbitrator against NOT;

              d.       In 2009, NDM issued cash distributions in the total

amount of $302,983, which would previously have been available to NOT, with

the foreseeable effect of hindering , delaying, or defrauding plaintiff in his

ability to enforce any subsequent award issued by the arbitrator against NOT;

              e.       All of the transfers were to insiders;

              f.       The transfers were concealed or at least not disclosed ;

              g.       The transfers were made after plaintiff's claims against

NOT;

              h.       The transfers were of substantially all of NDT's assets;

              i.       The value of the consideration received by NOT was not

reasonably equivalent to the value of the assets transferred ;

              j.       NOT was insolvent or became insolvent shortly after the

transfers were made;


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              k.         During the period August through November 2009, NOT

and Rote made positive representations that they knew or should have known

would be public records that members of the public could rely on that NOT

owned and operated two call centers, one in Oregon and one in Iowa, that

NOT controlled contracts for well over one hundred 800 numbers, and that the

call centers were producing monthly revenues for NOT of approximately

$350,000 and employing more than 100 people. These representations were

false.

              I.         On May 24 , 2010, on behalf of Rote and in his presence ,

Rote's attorney represented to plaintiff and the arbitrator that Rote owned and

operated NOT and that NOT was the parent company of Rote's other

telemarketing companies.       This representation was false . Rote knew the

representation was false and never corrected the misrepresentation;

              m.         On May 24 , 2010 , Rote testified under oath that he was

the sole owner of NOT and that NOT was the parent company of Rote 's call

centers.   This representation was false .

              61.        Rote knew or should have known that the

representations were false and would be believed and relied on by p!aintiff.

Plaintiff accepted Rote's representations as true and had no reason to suspect

that they were false .

              62 .       Because Rote and the corporate defendants are private

and did not disclose the truth to plaintiff, plaintiff had no way of knowing about


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the transfers of NDT's assets until the transfers were disclosed by defendants'

attorney on July 29 and August 4, 2015 .

                  63 .   The truth of the representations were material to plaintiff,

in that, in reliance on the representations, plaintiff spent substantial sums in

the litigation of his counterclaims. Had plaintiff known that NOT divested itself

of all or substantially all of its assets prior to May 24, 2010, or during the

period in which the parties engaged in evidentiary hearings, he would not

have invested substantial sums in order to prosecute his claims to the

Arbitration Award , confirm the Arbitration Award in federal court, reduce the

Arbitration Award to the Judgment, register the Judgment in state court, and

attempt to collect the Judgment.

                  64.    As a direct and proximate result of defendants' acts,

plaintiff has been damaged in the amount of at least $100,000 , to be updated

prior to trial.

                  65.    Plaintiff is entitled to pre-judgment interest at the legal

rate of 9 percent per annum.

                  66.    Defendants' actions were willful, malicious, and

intentionally designed to harm plaintiff and to subject plaintiff to economic

distress. Plaintiff is entitled to punitive damages in the amount of $500,000.

                                      PRAYER

                  WHEREFORE, plaintiff prays for the following relief:




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              Under plaintiffs First Claim for Relief, for the following:


              a.      An order avoiding the transfer and/or transfers of NDT's assets

to the extent necessary to satisfy plaintiff's Judgment;

              b.      Attachment or other provisional remedy against any asset

transferred or other property of NOT in accordance with the procedure prescribed by

the Federal Rules of Civil Procedure, the Oregon Rules of Civil Procedure, or a

provision of any other applicable statute;

              c.      An order that plaintiff may levy execution on the Assets

transferred or their proceeds in order to satisfy plaintiff's Judgment; and

              d.      Any other relief appropriate under the circumstances.

              Under plaintiff's Second Claim for Relief, for the following:

              a.      An order piercing the corporate veil and subjecting defendants

Rote and NDM to liability to the extent necessary to satisfy the Arbitration Award as

confirmed in the Judgment; and

              b.      Prejudgment interest at the legal rate;

              c.      Such other relief as the Court deems equitable and just.

              Under plaintiff's Third Claim for Relief, for the following :


              a.      Compensatory damages in the amount of at least $100,000, to

be made more specific prior to trial;

              b.      Pre-judgment interest at the legal rate; and

              c.      Punitive damages in the amount of $500,000.


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           DATED: December 10, 2015 .

                                                        /s/ Linda L. Marshall
                                                        Linda L. Marshall
                                                        Oregon State Bar No. 832793
                                                          Of attorneys for plaintiff

                                                        /s/ Joel W. Christiansen
                                                        Joel W. Christiansen
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                                                          Of attorneys for plaintiff




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      Sitting Duck Portland
      A Reflection on Arbitration Risks




      About
      This Blog is my continuing effort to expose issues that have arisen when Judges and Arbitrators give
      into activism, cronyism and favoritism. In the beginning I felt that that we were just so clearly
      encountering dishonest people. Then it gave way to that being too narrow a focus, that some of it is
      about an inability by the arbitrator or judge to understand facts and forensics. This in turn has lead me
      to consider that when there is confusion the opportunity for bias flourishes because there is a natural
      tendency to believe the person you know best and probably like ... and by person I mean attorney not
      the Plaintiff or Defendant. Although my litigation experience is not extensive, it is substantial and the
      number of times I have seen Arbitrators influenced by undisclosed prior relationships (such as past
      partners in a law firm, a friend, a keeper of past deeds), the more I'm convinced this discussion must
      find an audience. Something is broken here & we need to engage in this conversation to promote a
      moral and ethical judiciary.


      Bill Crow has been around quite awhile & is generally well respected. Quite frankly I like Bill too and
      have been torn as to why this arbitration went so south when there was enormous evidence in our
      favor. But as I share with you what we have found, it is clear that even the most respected of these
      arbitrators (and actively practicing attorneys) fall trap to embracing unethical & even criminal behavior
      when vested with what they perceive to be absolute power. They are free to reward friends and punish
      those they don't like & they do so without an adequate check and balance system. They get away with it.
      It promotes racism and lots of the other bad "isms."


      During the arbitration we challenged Mr. Crow independence and lack of bias when a previously
      unexposed relationship with the former employee's (lets call him M) new attorney finally w as exposed
      to me. Making that challenge undoubtedly effected the outcome of the arbitration. Not making it would
      have eliminated our opportunity to appeal based on this new information. A rock and a hard place as it
      were.


      This is not by and large about criminal behavior by arbitrators or judges. In one of my posts I write that
      "if one party is willing to use unethical methods to influence the outcome of the arbitration she has
      considerable chances of finding an arbitrator who will cooperate; second, if one party is not willing to
      use unethical methods to influence the outcome of the arbitration she may lose the case to the other

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      party." Certainly there are bribes and promises . But I think more of it is about favors.


      Judicial activism can easily take off in directions not predicted when a Judge chooses to vary from
      established precedent. Mr. Crows opinion, the more I read it, is about him bending over backwards to
      assist one of his former partners or doing a favor for a Judge that demanded his capitulation. Giving
      into that demand may have been easier for Bill had he been confused about the forensics. I hope that's
      the case, because in this blog I attack the evidence which means I also have to attack the arbitrator and
      to be truly honest it hurts me every time I do. I do not want to attack Bill.


      But can you imagine a judge asking today "what is this DNA stuff. Why is it important?" Hey we all watch
      CSL Forensics tells us the truths that Plaintiffs & Defendants very often don't want to tell.


      And so we have to begin this journey of the abuse I have seen. Don't go quietly. No more. No more
      because now we can all publish & garner the attention the internet can provide.




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      Sitting Duck Portland
      A Reflection on Arbitration Risks




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      Chapter 1-Arbitrators in Action
      Arbitration is defined as a form of alternative dispute resolution in which the two parties agree not to
      take their dispute to court, but instead to resolve the dispute by hiring an arbitrator to hear both sides.
      The arbitration process is shorter than litigation because many of the procedures of evidence are not
      included . The decision of the arbitrator is final and while an appeal of the arbitrator's decision is
      possible, it is not probable on the merits of the case. Many consumer, franchise, employment, and
      other business contracts include an arbitration clause; some of these clauses require mandatory
      arbitration.


      This was very popular 15 years ago and I did incorporate an arbitration clause in the employment
      agreements I had with key employees of many of the companies I owned. I had such an unbelievably
      poor experience with it however that my recommendation to you is to not do it. Avoid signing any
      document with an arbitration clause. Why? Because Arbitrators are for the most part incompetent,
      relying more on who they like as opposed to the evidence. Abuses that can be exposed in court cannot
      easily be dealt with in arbitration. In the interest of keeping arbitration decisions out of court, appeals
      on poor decisions and even clear and irrefutable bias get no traction. In fact mistakes of almost any
      kind will not be reviewed and reversed by our courts. You are better off in court.


      This Sittingduckportland story is about an arbitration involving one of my companies and a former IT
      manager who shall go by the name of M. He was terminated for a variety of job performance reasons.
       His fiancee practiced as an attorney for a time and during his employment with us they lived together in
      a small town in New Jersey. A year or so before M's false complaint, he was caught conspiring with
      another employee of ours in a plan to set up a company competing with my company. That of course
      was a violation of our non-compete agreement.

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      The Legal Complaints


      M filed two legal claims against us. The first was an Oregon Whistle Blower claim. The second claim was
      a wrongful discharge claim.
      ''The general rule is that most employees may be fired at any time-for any reason or for no reason at
      all-under what is known as the at-will employment doctrine. However, in the past half-century, many
      exceptions to the general rule have emerged. Exceptions to this general rule can come from two
      sources: (1) courts, which modify and make "common law protections" or (2) the legislature, which
      enacts "statutory protections." Statutory protections tend to be specific, addressing certain subject
      areas (such as discrimination, workers' compensation, etc.). Yet, legislators often lack the foresight to
      address every possible situation of retaliation. Common law protections, on the other hand, tend to "fill
      the gaps" where no statute exists for a given situation," from Zuckerman Law.


      The Whistle Blower claim filed sought damages because he claimed he was discharged (or
      discriminated against) in retaliation for performing any one of the following protected activities:
      • Reporting criminal activity by any person. The report must be made in good faith.
      • Causing criminal charges to be filed against any person.
      • Cooperating with any law enforcement agency conducting a criminal investigation.
      • Bringing a civil proceeding against an employer. The civil proceeding must be brought in good faith.
      • Testifying at a civil proceeding or criminal trial. The testimony must be made in good faith.


      These are the broad categories of this claim. And you will note that they need to be made in good faith.
      In our opinion they were not made in good faith and more importantly he was terminated before the
      complaint, eliminating this section altogether.
      Max also filed a wrongful discharge claim, which is rather large catch all of possible violations also
      themed in retaliation for protected behavior, but is broader than the Whistle Blower Statute.


      All of his claims are identified to being terminated for having informed the Oregon Department of
      Justice of alleged over-billing and/or Do Not Call Violations. Later M would testify that he never claimed
      what he alleged we were doing was illegal, only inappropriate, with respect to billing and we were
      exonerated by the arbitrator. His attorney claimed that the complaint was for DNC only and that the
      support the ODJ requested from M was never provided.


      I know the aforementioned provisions play an important role in protecting all of us. Again, if you were
      fired before a criminal complaint was filed you by and large have no claims under these provisions. But
      if you were fired because or over the protected behavior you do have a claim.
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      The question of whether someone who filed a complaint did so in good faith is a matter of some
      discussion. For example, if a disruptive employee was about to be fired and realized that and filed a
      criminal complaint claiming his boss had gone 55.05 mph in a 55 mph zone and then further notified
      his employer that he could not be fired because of the complaint, would that result in the protection the
      employee was looking for? And wouldn't the employees disruptive behavior just then be enough in
      addition to other performance problems so that the employer did fire him? Would that be a Whistle
      Blower event? I just don't see it. There needs to be some standard of reason here.


      But that's where we were. M claimed he was fired for notifying the DOJ that one of the employees of my
      company was doing something inappropriate (not criminal), something comparable to going 55.05 mph
      at a moment in time in a 55 mph zone. We on the other hand said he was already fired and moreover
      even if that had not been the case, the complaint was not made in good faith.


      From my perspective it just seems that attorneys are not busy enough with real litigation for this to
      have enough merit to last more than 7 days let alone 7 years. But it did.


      The Essence
      The essence of M's fiancee's litigation position was that he was fired for filing a complaint with the
      Oregon Department of Justice about my company modifying hours we billed clients. We did not. In fact
      he did not file such a complaint. His fiancee contacted an attorney in Albany, Oregon, who filed the
      complaint on their (his) behalf. When the Oregon Department of Justice requested evidence supporting
      the complaint, nothing more was provided. In fact the file was opened and closed within 48 hours. We
      believe the attorney that filed the complaint also contacted the Department again and retracted it. But
      it set in motion litigation under the arbitration section of our agreement.


      Eventually M testified as to what his complaint was and he claimed that it was based on a document, an
      excel spreadsheet, he received from a former employee. He refused to identify who the employee was
      at first. He refused to turn over the email by which he claimed to have received the spreadsheet. He did
      turn over the spreadsheet in hard copy form. It showed a company writing off time on a group of
      unnamed clients and in some cases writing up time. When M testified on the spreadsheet he claimed
      that writing off time, as in my company billing less than we could, was inappropriate because it gave us
      an unfair advantage against other companies (like the one he was setting up) that may want to compete
      for that business. What a stunning epiphany. The analogy I would draw is that he essentially claims that
      anyone offering a product or a service for a discount is doing something inappropriate, if not criminal.
      When the car companies put their cars on sale, they are according to M engaging in criminal activity ...
      but not really criminal, just inappropriate.


      The Arbitrator was a gentlemen by the name of Bill Crow. He is 80 years old or so by now. And Bill is not
      longer a partner in a Regional Law Firm called Schwabe Williamson . I know a number of the partners
      there and think it generally a good firm. Bill use to be a partner in a law firm called Miller Nash. That will
      become important here pretty quick. Bill has served as Chairman of the Ethics Committee for the
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      Oregon State Bar.


      M had a number of attorneys on the case. The first wanted to litigate this in New Jersey, in violation of
      our agreement. We fought and won that battle. Two plus years later the case came back to Oregon. Five
      law firms and five years later M ended up with an attorney who represented him through the
      arbitration, a woman named Linda Marshall.


      We questioned how M came to find Linda Marshall, but he refused to answer this question even under
      oath. It is our opinion that recommendation came from Bill Crow. M had previously written arbitrator
      Crow asking for an extension. Linda Marshall was his former partner at Miller Nash. I discovered this
      when the arbitration was almost over. My attorney had not told me. This is shocking stuff. Corrupt stuff.
      Immoral stuff. And so I fired my attorney and pursued the arbitration my self.


      When we filed the closing briefs I took a position that we wanted to preserve for appeal the apparent
      bias shown Bills former partner. Arbitrator Crow immediately stepped down from the case. He recused
      himself. Linda Marshall objected telling Mr. Crow that he did not have the right to step down because
      that was the exclusive right of the Arbitration Service of Portland. And these are the games that lawyers
      play, conspiring together to steal someone's money under the umbrella of a legal proceeding... a
      kangaroo proceeding. The Arbitration Service of Portland agreed with Marshall, but that defies all logic.
      A conflict of this nature if it exists only exists when there is an element leading to bias and that can only
      exist at the individual level. If it were about appearances alone there would be bias. After all Crow and
      Marshall practiced together. But it's more than that.


      At the beginning of every session Bill Crow asked Marshall where we left off from the day before. And
      she told him. He never asked us. Marshall told him what and when to think and Bill Crow perhaps only
      out of confusion followed the lead. I wish it was that easy. But it is not.


      When M was asked under oath how he found Linda Marshall or if someone close to this arbitration
      referred her to him or referred him to her, he refused to say. Marshall objected of course. No one
      wanted the truth of this referral to be revealed.


      It is of course clear that the referral to Marshall is not an isolated incident and that there is more than
      money at stake. There is the reputation of an older and often considered respectable senior member of
      the Oregon Bar, someone with secrets effecting more than himself and more than his family and
      partners. The revelation would unfortunately strike at the core of the moral self opinion of the Oregon
      State Bar and a few revered members of our Judiciary. But the truth must come out. And so this blog is
      dedicated to the revelations to follow.


      And we will tell this story which reflects our opinion of bias, of cronyism, perhaps of bribery, of
      corruption, of fraud . And it spans over 7 years and involves Judges coast to coast.

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      This story will upset you. What will become apparent is that the opportunity for abuse is far too great in
      the arbitration form and unless the courts take a more active role in returning it to a an honest
      opportunity, it should be avoided at all costs.


      Our initial post has been edited to remove the emotional finger pointing and offers instead evidence
      that I think you'll find persuasive.


      Lets dive into the story.


      This entry was posted in Uncategorized and tagged attorney, judicial corruption, Legal corruption, Linda
      Marshall Portland attorney, Robert Jones, Sandra Ware, William Crow on February 27, 2015
      [https://sitti ngduckportland.wordpress.com/2015/02/27 /chapter-1-the-seven-year-bitch-or-arbitrators-
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4/25/2016                                             Chapter 19-Are Arbitrator's Above The Law? I Sitting Duck Portland




      Sitting Duck Portland
      A Reflection on Arbitration Risks




      Chapter 19 - Are Arbitrator's Above The Law?
      A discussion of THE "MANIFEST DISREGARD OF THE LAW" standard.


      Quoting and citing the work of Michael Leroy, "Common law doctrines provide non-statutory avenues to
      prevent awards from becoming binding. This Article contemplates the role of courts when they review
      awards that "manifestly disregard the law''-a term that means the arbitrator knew the law but
      deliberately ignored it. When judges review awards too closely, they undermine finality. But when a
      judge confirms an award in which the arbitrator flouts the law, does the finality rule put the arbitrator
      above the law?" See more from Michael Leroy here.02_1eroy


      The discussion of many a legal scholar discusses, explores, and it appears universally conclude that as
      general concepts like "manifest disregard of the law (md)", which have been developed over centuries of
      legal precedent and analysis, when these generalized but broad moral directives are codified into more
      specific guidelines of a review, that the broader concept can be lost. That appears to be the case for the
https://sittingduckportland.wordpress .com/2015/11 /12/chapter-19-are-arbitrators-above-the-law/                             EXHIBIT        ~     1/3

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      Federal Arbitration Act, which has offered more specificity and guidance to the bench. But the
      interpretation of that guidance in the hands of any given Judge is that broader more concepts like md
      may be seen as in addition to the Act or in the alternative already considered by the ACT, precluding
      further consideration.


      Consider this example. Lets say that an arbitrator refuses to allow evidence in and therefore is subject
      to having his ruling vacated. In the alternative arbitrators could allow the evidence to be presented,
      allow it to become part of the record and simply choose to ignore it. Reversing an arbitration award
      even when an arbitrator makes a mistake is not generally grounds enough for a Judge to vacate the
      award. Arbitrators make a lot of mistakes. However, a judge who believes that the Manifest Disregard of
      The Law standard is still available may choose to weigh the egregiousness of the arbitrators refusal to
      follow the law... and would perhaps Vacate the Award or Modify the Award.


      And so lets consider this in context to the M arbitration. Mr. Crow decided that M would not be
      penalized for knowingly destroying his computers, emails (that we owned), reformatting a hard drive we
      owned, withholding software programs written by him (which we owned) and otherwise destroying key
      evidence. By contrast M's attorney demanded that we not destroy our hard dries, our computers, etc.
      and we did not destroy that evidence. But M did. How did Marshall know they would get away with that?
      The law would have required that M's knowing destruction of the evidence he held would either require
      a dismissal of his case or an inference that the evidence he destroyed was damaging to him. Thus the
      evidence would have proven that he received the email sent to him terminating his employment and
      therefore his entire case fails and it fails because he was fired before he filed his false complaint to the
      Oregon Department of Justice. When we testified and presented forensically verifiable evidence that an
      email was sent and M was terminated before he filed the complaint, then M's destroyed computers and
      emails infer agreement with our evidence. But Crow did not follow this law. It's as if we did not present
      the evidence.


      There is of course more. When M testified that he never did claim we were engaged in criminal activity,
      but rather inappropriate activity, he was saying that his attorney filed an incorrect complaint...that his
      attorney misinterpreted his intention. His case fails. But Crow did not follow this and it was M's
      testimony supporting our position this time. If you recall M testified that he believed we were engaging
      in inappropriate behavior if we reduce a client's invoice. We are all "inappropriate" when we buy at a
      discount. Childish. An arbitrator need not embrace childishness.


      When a Judge uses judicial discretion, he does so recognizing that an Appeals Court is itching to reverse
      him ... if there are other errors of significance. But the abuses by Crow were beyond judicial discretion. I
      can understand that he may have been angry, but the job requires putting the facts ahead of any form
      of bias. He did not do that.


      I keep coming back to the get out of jail card Marshal submitted during arbitration. Doing this during a
      regular trial, in front of a real judge, may have been enough to cause a mistrial and loss of a jury. And                           b
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4/25/2016                                            Chapter 19-Are Arbitrator's Above The Law? I Sitting Duck Portland

      yet Crow received it. The get out of jail card was a case summary where Robert E. Jones, U.S. Federal
     Judge, assisted a Plaintiff in an earlier trial before him. That Plaintiff was Sean Jones. I don't think he was
      related to Judge Jones but it did not dawn on me to ask at that time. And the message is that Judge
     Jones did not like Rote (me) and you should set the facts aside to dislike him as well. As transparent as
      that was, and believe me I was surprised that she did it on the record, it may have had an impact. Is it
      code? Is it just one attorney's knowledge that the system is broken and this is the road to a win. There is
      a disgusting inference to be drawn by Marshall putting the Jones case on the record. It's sad and
      demeaning. But it's Marshall & apparently Crow.


      Mr. Crow I think you proved you are above the Law. No one stopped you. And I suspect that you knew
      no one would. But this history, this written record of the arbitration, this blog and the book that follows
      will be an exclamation point on the abuse. At least it will be that.


      The Honorable Robert E. Jones is receiving a lifetime achievement award tomorrow night. The press will
      be there. Congratulations Judge Jones. Perhaps more often than not our legacies are not what we
      wanted them to be.


      This entry was posted in Uncategorized and tagged arbitrator corruption, judicial corruption, Manifest
      disregard of the law, robe rt E. Jones on November 12, 2015
      [https://sittingduckportland.wordpress.com/2015/11 /12/chapter-19-are-arbitrators-above-the-law/] .




      One thought on "Chapter 19 -Are Arbitrator's Above The Law?"



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     Case 3:19-cv-00082-MO                       Document 1-2                Filed 01/16/19           Page 258 of 351



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                                                                                                                           Exhibit 2
                                                                                                                           62 of 65
Case 3:19-cv-00082-MO                    Document 1-2        Filed 01/16/19         Page 259 of 351



Case 1:04-cv-02025-RBK-JBR Document 22 Filed 05/27/05 Page 1 of 2 PagelD: 374



                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW JERSEY
                                      CAMDEN VICINAGE
                                 HONORABLE ROBERT B. KUGLER


MAX ZWEIZIG,

                        Plaintiff(s ),

                        V.                                 Civil No. 04-2025(RBK)

TIMOTHY ROTE, INDIVIDUALLY AND
D/B/A NORTHWEST DIRECT
TELESERVICES, INC., JOHN DOES l-5,
AND JOHN DOES 6-10,

                        Defendant(s).



                                     ORDER TO SHOW CAUSE


               THIS MATTER HAVING come before the Court upon its own Motion, and it

appearing that Timothy C . Rote, on May 22, 2005, faxed to the undersigned, a letter of the same date

which purports to seek "reconsideration" of an Order of this Court, and it further appearing that in

this letter, Mr. Rote implies that a law clerk employed in this Court had improper contact with

plaintiff through plaintiffs girlfriend, and it further appearing that Mr. Rote implies that a law clerk

employed in this Court had improper contact with plaintiff through a pedophile web site, and that

these comments, and the conduct in contacting the Court, may constitute contempt,

               IT IS ON THIS             27th   day of May, 2005, ORDERED that Timothy C. Rote,

SHOW CAUSE before this Court on June 21, 2005, at 4:00 P.M., in Courtroom 4D, Mitchell H.

Cohen United States Courthouse, 1 John F. Gerry Plaza, Camden, New Jersey, why he should not

be subject to CRIMINAL CONTEMPT PROCEEDINGS, pursuant to F.R.Crim.P. 42(a). Rote

is cautioned that failure to appear in Court on that date in response to this Order to Show Cause may

result in an arrest warrant being issued to take him into custody.



                                                           s/Robert B. Kugler
                                                           ROBERT B. KUGLER
                                                           United States District Judge

                                                                                            EXHIBIT
                                                                                            PAGE
                                                                                                           i of- 2-

                                                                                                      Exhibit 2
                                                                                                      63 of 65
 Case 3:19-cv-00082-MO      Document 1-2     Filed 01/16/19   Page 260 of 351



Case 1:04-cv-02025-RBK-JBR Document 22 Filed 05/27/05 Page 2 of 2 PagelD: 375




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                                                                             Exhibit 2
                                                                             64 of 65
Case 3:19-cv-00082-MO                Document 1-2         Filed 01/16/19         Page 261 of 351




 From: grote8503@charter.net To: maxz@erols.com Subject: Tim Rote Date: 1/16/2008
 12:12:59 AM

 Max,

 I am writing this email to see how your legal actions came out against Tim Rote. He has filed a
 law suit against me, even though I am his brother. I know that you are probably reluctant to
 speak to me, but I was curious if you know about any other law suits that Tim hasfiled.

 Greg Rote
 /www.adw



 From: grote@fireserve.net To: maxz@erols.com Subject: Tim Rote Date: 10/9/2008 4:52:56
 PM


 Max. you to not know me but my brother is Tim Rote. Tim explained to me an incident he had
 with you, where he claimed you were suing him for 50K, he also said your wife was an attorney.
 Tim is now suing me, for monies not owed to him as he violated a contract we had .

I am writing you because approximately 1.5 - 2 years ago, Tim wanted me to fly to New Jersey
and send you a message. He wanted me to commit a criminal act. I obviously would not comply
w ith him demands, so I was biting the hand that fed me.

t am wanting to know how many other bullshit law suits tim has filed on people. as he was going
to court in Klamath County Oregon very soon . Please have your wife check with the courts I am
not lying to you .

If you would like to talk please email back.

Greg Rote




                                                                                     EXHIBIT
                                                                                     PA.GE         / of-/



                                                                                                    Exhibit 2
                                                                                                    65 of 65
            Case 3:19-cv-00082-MO          Document 1-2          Filed 01/16/19        Page 262 of 351

                                                     16CV07564




 2
 3

 4                          IN THE CIRCUIT COURT OF THE STATE OF OREGON
                                   FOR THE COUNTY OF CLACKAMAS
 5
     TIMOTHY C. ROTE,                                   )   Case No. 16CV07564
 6                                                      )
               Plaintiff,                               )
 7                                                      )   ORDER ON (1) PLAINTIFF'S MOTION
               v.                                       )   TO RECONSIDER AND (2) THE
 8                                                      )   ATTORNEY DEFENDANTS' ANTI-
     LINDA MARSHALL, JOEL CHRISTIANSEN,)                    SLAPP MOTION
 9   OREGON STATE BAR, JOHN DOES (1-5), )
                                                        )
10             Defendants.                              )
                                                        )
11                                                      )
12
13             On May 27, 2016, Judge Winters, sittingpro tempore, granted Defendants Linda Marshall's
14   and Joel Christiansen's ("the Attorney Defendants'') anti-SLAPP Motion. On or about June 3,
15   2016, Plaintiff Timothy Rote filed a Motion to Reconsider that ruling. Plaintiff supplemented that
16   Motion with emails and letters to the court, which this Court considered. The Attorney Defendants
17   submitted an Opposition/Motion to Strike the Motion to Reconsider, which they subsequently
18   withdrew.
19             On August 3, 2016, this Court held a hearing on Plaintiff's Motion to Reconsider. Matthew
20   J. Kalmanson appeared on behalf of the Attorney Defendants. Plaintiff Tim Rote appeared prose.
21             After hearing argument on the Motion to Reconsider, this Court also heard argument on the
22   merits of the Attorney Defendants' anti-SLAPP motion, which this Court reviewed, together with
23   Plaintiff's Opposition to that Motion, the Attorney Defendants' Reply, and the evidence submitted
24   by the parties.

25   Ill/

26   /Ill

Page I - ORDER ON (1) PLAINTIFF'S MOTION TO                                     HART WAGNER, LLP
                                                                                   Trial Attorneys
            RECONSIDER AND (2) THE ATTORNEY                              1000 S.W. Broadway, Twentieth Floor
            DEFENDANTS' ANTI-SLAPP MOTION                                       Ponland, Oregon 97205
                                                                              Telcphonc:(503) 222-4499
                                                                                 Fax: (503) 222-2301



                                                                                                           Exhibit 3
                                                                                                            1 of 4
        Case 3:19-cv-00082-MO             Document 1-2        Filed 01/16/19             Page 263 of 351




 1          Now, based on the arguments and submissions of the parties, and the Court file, and for the
2    reasons described at the August 8, 2016 hearing, this Court ORDERS AS FOLLOWS:
 3          1.       Plaintiffs Motion to Reconsider Judge Winters' ruling is GRANTED.
4           2.       Having reconsidered that ruling in full, the Attorney Defendants' Anti-SLAPP
 5   Motion is GRANTED.
6

 7

 8                                                                       Signed: 8/15/2016 11:22 AM



 9

IO

11                                                            Circuit Court Judge Robert D. Herndon

12
     Presented by:
13
14   HART WAGNER, LLP
     Carey Caldwell, OSB #093032
15   cpc@hartwagner.com
     Of Attorneys for Defendants Linda Marshall
16   And Joel Christiansen
17
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Page 2 - ORDER ON (1) PLAINTIFF'S MOTION TO                                    HART WAGNER, LLP
                                                                                   Trial Attorneys
         RECONSIDER AND (2) THE ATTORNEY                                1000 S.W. Broadway, Twentieth Floor
         DEFENDANTS' ANTI-SLAPP MOTION                                         Portland, Oregon 9720S
                                                                             Telephone:(S03) 222-4499
                                                                                Fax: (503) 222-2301



                                                                                                          Exhibit 3
                                                                                                           2 of 4
          Case 3:19-cv-00082-MO           Document 1-2          Filed 01/16/19          Page 264 of 351




                            UTCR 5.100(1) CERTIFICATE OF READINESS

 2          I hereby certify that I complied with UTCR 5.100(1) and this proposed order or judgment

 3   is ready for judicial signature because:

4    [ ] 1. Each opposing party affected by this order or judgment has stipulated to the order or

 5          judgment, as shown by each opposing party's signature on the document being submitted.

 6   [ ] 2. Each opposing party affected by this order or judgment has approved the order or

 7          judgment, as shown by signature on the document being submitted or by written

 8          confirmation of approval sent to me.

 9   [ X] 3. I have served a copy of this order or judgment on all parties entitled to service and:

10          [X]     a. No objection has been served on me.

11          [ ]     b. l received objections that I could not resolve with the opposing party despite

12                  reasonable efforts to do so. I have filed a copy of the objections I received and

13                  indicated which objections remain unresolved.

14          [ ]     c. After conferring about objections, [role and name of opposing party] agreed to

15                  independently file any remaining objection.

16   [ ] 4. T he relief sought is against an opposing party who has been found in default.

17   [ ] 5. An order of default is being requested with this proposed judgment.

18   [ ] 6. Service is not required pursuant to subsection (3) of UTCR 5.100, or by statute, rule or

19          otherwise.

      [ ] 7. This is a proposed judgment that includes an award of punitive damages and notice has
20
            been served on the [role and name of opposing party] as required by subsection (4) of this
21

22          rule.

23   [ ] 8. I presented a copy of this order or judgment in o

24

25

26
Pagel -       UTCR 5.100(1) CERTIFICATE OF READINESS                            !!ART WAGNER, LLI'
                                                                                     Trial Anomcys
                                                                          1000 S.W. n roadway. Twentieth Floor
                                                                                 Portland, Oregon 97205
                                                                               Tclephonc:(503) 222-1499
                                                                                  Fax: (503) 222-230 I




                                                                                                             Exhibit 3
                                                                                                              3 of 4
           Case 3:19-cv-00082-MO          Document 1-2        Filed 01/16/19         Page 265 of 351




                                      CERTIFICATE OF SERVICE

 2           I hereby certify that on the l ih day of August, 20 16, I served the foregoing ORDER ON

 3   (1)    PLAINTIFF'S      MOTION       TO     RECONSIDER            AND   (2)    THE       ATTORNEY

 4   DEFENDANTS' ANTI-SLAPP MOTION, on the following parties at the following addresses:

 5           Timothy Rote
             24790 SW Big Fir Rd.
 6           West Linn, OR 97068
                   Defendant Pro Se
 7
             Mark Johnson Roberts
 8           16037 SW Upper Boones Ferry Rd.
             Tigard, OR 97281
 9                  Attorney for Defendant OSB
10
     by e-mail ing and mailing to them a true and correct copy thereof, certified by me as such, placed
11
     in sealed envelopes, addressed to them at the addresses set for     bove, and deposited in the U.S.
12

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Page I - CERTIFICATE OF SERVICE                                                     HAlffWAGNER LLP
                                                                                         Trial Attorneys
                                                                             IOOO S.W. Broadway, Twentieth Floor
                                                                                    l'orthtnd, Oregon 97205
                                                                                   Telephone: {503) 222-449?
                                                                                       Fax:{503) 222-2301




                                                                                                         Exhibit 3
                                                                                                          4 of 4
              Case 3:19-cv-00082-MO           Document 1-2       Filed 01/16/19      Page 266 of 351
                                                                                             RECEIVED
                               CIRCUIT COURT OF OREGON
                                          FIFTH JUDICIAL DISTIUCT
                                      CLACKAMAS COUNTY COURTHOUSE
                                         OREGON CITY, OREGON 97045
    ROBERT D. HERNDON                                                                                     (503) 655-8644
PRESIDING CIRCUIT COURTJUDGE                                                                            FAX (503) 650-8944

                                               December 30, 2016




       Timothy C. Rote                Matt hew Kalmanso n                     Mark j. Roberts
       24790 SW Big Fir Road          Hart Wagner LLP                         16037 SW
       West Linn, OR 97 068           1000 SW Broadway Suite 2000             Up pe r Boones Ferry Road
                                      Portland, OR 972 05                     Ti gard, OR 97281



       RE: Timothy C. Rote vs. Linda L. Marshall, Oregon State Bar, Joel Christensen, John Does 1-5
           Clackamas County Circuit Court Case # 16CV07564



              I have co mp leted my revi ew of defenda nt's motion a nd decla rati on for a ttorney fees
       and Mr. Rote's objecti on to th e sa me. ORS 31.1 52(3) provides th at a defe nd a nt who prevails
       on a special motion to strike provided by ORS 31.150 "s hall be awa rd ed reasonable
       attorney fees a nd costs". Defend a nts are entitl ed to th e benefi t of tha t prov ision subj ect to
       th e Court's a nalysis of th e reasonableness of the fees requ ested.                   ·

              The fo llo wing fac tors id entifi ed in ORS 20.075(1) and (2) support the awa rd of fees
       herein:

               (1) Plain tiff fil ed thi s case without a shred of ev idence to sup po rt it. Eve n with the
       benefit of all reasona ble inferences, it is imposs ible to co nclud e thi s claim was a nything but
       frivo lous in every respect. Plaintiff s co nduct in co mmencing thi s action withou t a ny
       evi dence supports thi s award .

               (2) The claims asserted by plaintiff a re with out merit a nd a re th e refore objecti vely
       unreasonable. Pl aintiff was una ble to offe r evid ence in s upport of th e claim beyond me re
       specu lation and co ntinu es to do so in the ma terials submitted in support of hi s motion for
       reconside rati on, and in hi s objection to this fee petition.

              (3) Hopefully, a n awa rd of a ttorn ey fees here will se rve to dete r plaintiff a nd othe rs
       from asserting meritl ess claims.



       Page 1 1



                                                                                                      Exhibit 4
                                                                                                       1 of 2
        Case 3:19-cv-00082-MO      Document 1-2      Filed 01/16/19    Page 267 of 351



        ( 4) Plaintiff admits and the court agrees the hourly rate of defendant's attorney was
reasonable and consistent with those typically charged for simi lar legal services in this
judicial district.

       (5) The deadlines required for anti-SLAPP motions required defendants and their
attorneys to proceed quickly. Although defendant's attorneys have some experience with
claims of this nature, anti-SLAPP motions and litigation a re not "garden variety" matters.
The court must a lso consider that despite the fact pl a intiff is self-represented, he is a
veteran litigator of considerable skill, likely one of the best this judge has seen in nineteen
(19) years on the bench.

       (6) I do agree with the plaintiff that there does appear to be some modest
duplication of work in defendant's request and as such I award total attorney fees in the
amount of $27,500 together with actual costs of $614.60 and the statutory preva iling fee of
$300.

        I request counsel for defendants prepare an appropriate supplemental judgement
for this award.




                                                        ROBERT D. HERNDON
                                                        Presiding Judge
                                                        Clackamas County Circuit Court



RDH/bb




Page   12


                                                                                    Exhibit 4
                                                                                     2 of 2
        Case 3:19-cv-00082-MO            Document 1-2          Filed 01/16/19                Page 268 of 351

                                                   16CV07564




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 4                       IN THE CIRCUIT COURT OF THE STATE OF OREGON
                                 FOR THE COUNTY OF CLACKAMAS
 5
     TIMOTHY C. ROTE,                                     Case No. 16CV07564
 6
            Plaintiff,
 7                                                        LIMITED JUDGMENT OF DISMISSAL
            v.
 8
     LINDA MARSHALL, JOEL CHRISTIANSEN,
 9   OREGON STATE BAR, JOHN DOES (1-5),
10          Defendants.

11

12          The above-entitled matter comes before the Court on Defendants Christiansen and

13   Marshall's (Defendants) Special Motion to Strike. The Court granted Defendants' motion by

14   Order herein dated 8/15/2016 . The Court further finds that there is no just reason for delay in

15   entry of this judgment.

16          IT IS HEREBY ORDERED AND ADJUDGED that Plaintiffs Amended Complaint

17   against Defendants is dismissed without prejudice. Attorney fees to Defendants will be

18   determined pursuant to ORS 31.152 and ORCP 68.

19
                                                               Signed: 8/15/2016 11:23 AM
20

21

22

23
     Submitted by:
24   Carey Caldwell, OSB No. 093032
     cpcfgjhartwaener.com
25   Of Attorneys for Defendants Linda
     Marshall and Joel Christiansen
26


Page 1 - LIMITED JUDGMENT OF DISMISSAL                                                      HART WAGNER LLP
                                                                                              Trial Attorneys
                                                                                    1000 S.W. Broadway, Twentieth Floor
                                                                                           Portland, Oregon 97205
                                                                                         Telephone: (503) 222-4499
                                                                                             Fax:(503) 222-2301



                                                                                                                Exhibit 5
                                                                                                                 1 of 3
        Case 3:19-cv-00082-MO             Document 1-2         Filed 01/16/19         Page 269 of 351




                            UTCR 5.100(1) CERTIFICATE OF READINESS

 2          I hereby certify that I complied with UTCR 5.100(1) and this proposed order or judgment

 3   is ready for judicial signature because:

 4   [ ] 1. Each opposing party affected by this order or judgment has stipulated to the order or

 5          judgment, as shown by each opposing party's signature on the document being submitted.

 6   [ ] 2. Each opposing party affected by this order or judgment has approved the order or

 7          judgment, as shown by signature on the document being submitted or by written

 g          confirmation of approval sent to me.

 9   [ X] 3.1 have served a copy of this order or judgment on all parties entitled to service and :

10          [X]     a. No objection has been served on me.

11          [ ]     b. I received objections that I could not resolve with the opposing party despite

12                  reasonable efforts to do so. I have filed a copy of the objections I received and

13                  indicated which objections remain umesolved.

14          [ ]     c. After conferring about objections, [role and name of opposing party] agreed to

15                  independently fi le any remaining objection.

16   [ ] 4. The relief sought is against an opposing party who has been found in default.

17   [ ] 5. An order of default is being requested with this proposed judgment.

18   [ ] 6. Service is not required pursuant to subsection (3) of UTCR 5.100, or by statute, rule or

19          otherwise.

20   [ ] 7. This is a proposed judgment that includes an award of punitive damages and notice has

21          been served on the [role and name of opposing party] as required by subsection (4) of this

22          rule.

23   [ ] 8.1 presented a copy of this order or judgment in ope#               • he

24
25                                                      Carex .Qaldwell, OSB #Vo.£..L..--~

26

Page I - CERTIFICATE OF READINESS                                                   HART WAGNER LLP
                                                                                        Trial Attorneys
                                                                             1000 S.W. Broadway, Twentieth Floor
                                                                                    Portland, Oregon 9720S
                                                                                  Telephone: (S03) 22?-4499
                                                                                      Fax:(503) 22202301




                                                                                                         Exhibit 5
                                                                                                          2 of 3
        Case 3:19-cv-00082-MO             Document 1-2         Filed 01/16/19        Page 270 of 351




                                   CERTIFICATE OF SERVICE

 2          I hereby certify that on the 1th day of June, 2016, I served the foregoing LIMITED

 3   JUDGMENT OF DISMISSAL, on the following party at the following address:

 4          Timothy Rote
            24790 SW Big Fir Rd.
 5          West Linn, OR 97068
                  Defendant Pro Se
 6
            Mark Johnson Roberts
 7          16037 SW Upper Boones Ferry Rd.
            Tigard, OR 97281
 8                 Attorney for Defendant OSB
 9
     by e-mailing and mailing to him a true and correct copy thereof, certified by me as such, placed
10
     in sealed envelope, addressed to him at the address set forth ab   e
11
     Post Office at Portland, Oregon on said day with posta
12

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Page I - CERTIFICATE OF SERVICE                                                   IIART WAGNER LLP
                                                                                        Trial Attorneys
                                                                            IOOO S.W. Broadway, Twentieth Floor
                                                                                   Portland, O regon 97205
                                                                                  T elephone: (503) 222-4499
                                                                                      Fax:(503) 222-230 I




                                                                                                        Exhibit 5
                                                                                                         3 of 3
        Case 3:19-cv-00082-MO          Document 1-2        Filed 01/16/19        Page 271 of 351

                                               16CV07564




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 3

 4                    IN THE CIRCUIT COURT OF THE STATE OF OREGON

 5                              FOR THE COUNTY OF CLACKAMAS
 6   TIMOTHY C. ROTE,                   )              Case No. 16CV07564
                                        )
 7        Plaintiff,                    )
                                        )              ORDER ON PLAINTIFF'S ORCP 71
 8        v.                            )              MOTIONTOVACATETHE
                                        )              SUPPLEMENTAL JUDGMENT,
 9   LINDA MARSHALL, JOEL CHRISTIANSEN,)               MOTION FOR LEAVE TO AMEND,
     OREGON STATE BAR, JOHN DOES (1-5), )              AND MOTION FOR RELIEF OF
10                                      )              JUDGMENT DATED AUGUST 16, 2016
          Defendants.                   )
11

12          Plaintiffs ORCP 71 Motion to Vacate the Supplemental Judgment, Motion for Leave to

13   Amend, and Motion for Relief of Judgment Dated August 16, 2016 came before the Honorable

14   Robert D. Herndon on Thursday, September 14, 2017. Plaintiff appeared Pro Se, and

15   Defendants Linda Marshall and Joel Christiansen appeared through their attorney, Carey

16   Caldwell.

17   I II
18   II I
19   II I
20   III

21   Ill
22   // I

23   //I
24   Ill
25   III

26   III

Page 1 - ORDER ON PLAINTIFF'S ORCP 71 MOTION TO                                HART WAGNER LLP
         VACATE THE SUPPLEMENTAL JUDGMENT,                                         Trial Attorneys
                                                                        1000 S.W. Broadway, Twentieth Floor
         MOTION FOR LEAVE TO AMEND, AND                                        Portland, Oregon 97205
         MOTION FOR RELIEF OF JUDGMENT DATED                                  Telephone: (503) 222-4499
         AUGUST 16, 2016                                                         Fax:(503) 222-2301



                                                                                                     Exhibit 6
                                                                                                      1 of 4
        Case 3:19-cv-00082-MO             Document 1-2        Filed 01/16/19                Page 272 of 351




 1            Having read the written submissions of the parties and being fully advised, IT IS

 2   HEREBY ORDERED:

 3           Plaintiff's ORCP 71 Motion to Vacate the Supplemental Judgment, Motion for Leave to

 4   Amend, and Motion for Relief of Judgment Dated August 16, 2016 are all hereby DENIED in

 5   their entireties.

 6
                                                                   Signed: 9/26/2017 09:39 AM
 7

 8

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10                                                     Circuit Court Judge Robert D. Herndon

11   Presented by:

12   HART WAGNER, LLP
13   Carey Caldwell, OSB #093032
     Of Attorneys for Defendants Linda Marshall
14   And Joel Christiansen

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Page 2 - ORDER ON PLAINTIFF'S ORCP 71 MOTION TO                                         HART WAGNER LLP
         VACATE THE SUPPLEMENTAL JUDGMENT,                                                  Trial Attorneys
                                                                                 1000 S.W. Broadway, Twentieth Floor
         MOTION FOR LEAVE TO AMEND, AND                                                 Portland, Oregon 97205
         MOTION FOR RELIEF OF JUDGMENT DATED                                          Telephone: (503) 222-4499
         AUGUST 16, 2016                                                                  Fax:(503) 222-2301



                                                                                                              Exhibit 6
                                                                                                               2 of 4
       Case 3:19-cv-00082-MO               Document 1-2          Filed 01/16/19         Page 273 of 351




 1                      CERTIFICATE OF COMPLIANCE WITH UTCR 5.100

 2          This proposed order or judgment is ready for judicial signature because:

 3           1. [ ] Each opposing party affected by this order or judgment has stipulated to the order or

 4   judgment, as shown by each opposing party's signature on the document being submitted.

 5          2. [ ] Each opposing party affected by this order or judgment has approved the order or

 6   judgment, as shown by signature on the document being submitted or by written confirmation of

 7   approval sent to me.

 8           3. [X] I have served a copy of this order or judgment on all parties entitled to service and:

 9                   a. [X] No objection has been served on me.

10                   b. [] I received objections that I could not resolve with the opposing party despite

11           reasonable efforts to do so. I have filed a copy of the objections I received and indicated

12           which objections remain unresolved.

13                   c. [] After conferring about objections, [role and name of opposing party] agreed

14            to independently file any remaining objection.

15           4. [ ] The relief sought is against an opposing party who has been found in default.

16           5. [] An order of default is being requested with this proposed judgment.

17           6. [] Service is not required pursuant to subsection (3) of this rule, or by statute, rule, or

18   otherwise.

19           7. [ ] This is a proposed judgment that includes an award of punitive damages and notice

20   has been served on the Director of the Crime Victims' Assistance Section as required by

21   subsection (4) of this rule.

22           DATED this 25th day of September, 2017.

23
                                                     Isl Carey Caldwell
24                                                   Carey Caldwell, OSB No. 093032
25

26

Page 1 - CERTIFICATE OF COMPLIANCE                                                    HART WAGNER LLP
                                                                                          Trial Attorneys
                                                                               1000 S.W. Broadway, Twentieth Floor
                                                                                      Portland, Oregon 9720S
                                                                                     Telephone: (503) 222-4499
                                                                                        Fax:(S03) 222-2301


                                                                                                            Exhibit 6
                                                                                                             3 of 4
       Case 3:19-cv-00082-MO             Document 1-2         Filed 01/16/19       Page 274 of 351




 1                                   CERTIFICATE OF SERVICE

2           I hereby certify that on the 25th day of September, 2017, I served the foregoing ORDER

 3   ON PLAINTIFF'S ORCP 71 MOTION TO VACATE THE SUPPLEMENTAL

4    JUDGMENT, MOTION FOR LEAVE TO AMEND, AND MOTION FOR RELIEF OF

 5   JUDGMENT DATED AUGUST 16, 2016, on the following parties at the following addresses:

 6          Timothy Rote
            24790 SW Big Fir Rd.
 7          West Linn, OR 97068
                  Defendant Pro Se
 8

 9   by e-mailing and mailing to them a true and correct copy thereof, certified by me as such, placed
10   in sealed envelopes, addressed to them at the address set forth above, and deposited in the U.S.
11   Post Office at Portland, Oregon on said day with postage prepaid.
12
                                                       Isl Carey Caldwell
13                                                     Carey Caldwell, OSB No. 093032
14
15
16
17
18
19
20
21
22
23
24
25
26
Page 1 - CERTIFICATE OF SERVICE                                                   HART WAGNER LLP
                                                                                      Trial Attorneys
                                                                           1000 S.W. Broadway, Twentieth Floor
                                                                                  Portland, Oregon 97205
                                                                                 Telephone: (503) 222-4499
                                                                                     Fax:(503) 222-2301



                                                                                                        Exhibit 6
                                                                                                         4 of 4
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             IN THE COURT OF APPEALS OF THE STATE OF OREGON

In the Matter of Aida T. Leverman,                   Clackamas County Circuit Court
                                                     Case No. 18CC07001
A Person A lleged to have a Mental Illness.

STATE OF OREGON,

              Respondent

       V.


Aida T. Leverman,
                                                     Judge Michael C. Wetzel
             A   ellant.
                                    AMENDED NOTICE OF APPEAL

                                                1.

       Appellant, through counsel, gives notice of appeal from the order entered in this
case on December 19, 2018, by the Honorable Michael C. Wetzel in the Clackamas
County Circuit Court.

                                                2.

The parties to this appeal are the State of Oregon, (Respondent) and Aida T. Leverman
(Appellant).

                                                3.

        This appeal is timely and otherwise properly before the Court of Appeals because
it is commenced within thirty days of December 19, 2018, the date of entry of the order
being appealed.

                                                4.

       A pdf of the original order is included for the com1 and a copy included for others
receiving serv ice.

                                                5.

Appellant designates the record in its entirety, including the trial court file, all exhibits
offered and/or received in evidence, and the record of oral proceedings of the involuntary
civil commitment hearing held on or about December 19, 2018 .


1 of3 NOTICE OF APPEAL
Gi nger Fitch, Attorney at Law P.O. Box 2656, Wilsonville, OR 97070 503-954-9829
    Case 3:19-cv-00082-MO          Document 1-2       Filed 01/16/19      Page 276 of 351



                                               6.

The names, bar numbers, addresses, and telephone numbers of the attorneys for the
parties are as follows :

Attorney for Appellant:
Ginger Fitch OSB#982260
Attorney at Law
P.O. Box 2656 Wilsonville, OR 97070
 (503) 954-9829
gingfitch@gmai I.com

Attorney for Petitioner-Respondent:
Benjamin Gutman OSB # 160599
1162 Court St. NE
Salem, OR 97301 -4096
(503) 378-4402
benjamin.gutman@doj .state.or.us

                                               7.

        I hereby certify that I served the foregoing Notice of Appeal on January 16, 2019,
by having a true copy sent by regular mail to Benjamin Gutman, Office of the Solicitor
General, 400 Justice Building, 1162 Court Street, N.E., Salem, Oregon 97301- 4096, and
Office of Public Defense Services, 1175 Court St NE, Salem, OR 97301 ; and by mailing
a true copy to each of the following:

Trial Court Administrator
Clackamas County Courthouse
807 Main Street
Oregon City, OR 97045

Transcript Coordinator
Clackamas County Cowihouse
807 Main Street
Oregon City, OR 97045

Clackamas County District Attorney
Clackamas County Courthouse
807 Main Street
Oregon City, OR 97045




2 of 3 NOT IC E OF A PPEAL
Ginger Fitch, Attorney at Law P.O. Box 2656, Wilsonville, OR 97070 503-954-9829
    Case 3:19-cv-00082-MO           Document 1-2        Filed 01/16/19     Page 277 of 351




                                                8.

       In additi on, a copy was emai led to CLA.TranscriptCoordinator@ojd.state.or.us.

                                                9.

       I hereby certify that on January 16, 20 19, I served the original of this notice of
appeal with the Appellate Court Administrator through the eFiling system.

DATED January 16, 20 19.                             /s/ G inger Fitch
                                                     Ginger F itch OSB#982260
                                                     gi ngfi tch@gmai I. com
                                                      Attorney for Appellant




3 of3 NOTICE OF APPEAL
Gi nger Fitch, Attorney at Law P.O. Box 2656, Wi lsonville, OR 97070 503-954-9829
                Case 3:19-cv-00082-MO                   Document 1-2         Filed 01/16/19        Page 278 of 351




                                     !NTHE CIRCUIT COURT OF THE STATE OF OREGON
                                                FORTHECOUN1YOFCLACKAMAS
                                                             807 Main St                           2018 DEC 19 PH 3: 39
                                                       Oregon City Oregon 97045
                                                                                                  rn, rnrn-,--__ IE,NTr.- R,ED
        In the Matter of:                                              Case No: 18CC07001
        Aida T. Leverman
                                                                      COMMITMENTHEARINGORDER By:                                      TG



    By virtue of a Notification of Mental Illness, a citation was issued and served upon the above
    named individual, who is alleged to be mentally ill.

    A hearing was thereupon held this date, in which the following namedpers';j's appeared:                        ~ uJ"-) .,,J,.1c:t~
    ..r     The above-named person who is alleged to be mentally ill;             r~ M<il.-"' ~      '""   r~~~-,v'~        ,t,<          0   f-u.J\,\,vi,J
                                                                                                             6•   ('1"-.\,• J       -f' v
    "5"C         Ging~r Fitch (Ba~9822~0) , appointed counsel for the above named;                                     ii                ~~
    i        (J r.o-.t.:..L~ <L   Qc;,r r   l..,...)   L---   it- C...1.-S            representing the State's interest                                  l
    '"N                                                                                                                                 -l.'1,C..N',1,,'I..~ r:S_
    _ v_J   Examiners certified by the Oregon Mental Health Division:
                                                                                                                                   t,vr.,._')       /yi,J
    j_           Linda O'Malia        and        Sand Carlyle                                                                                   . ,_
                                                                                                                                f ,l'<l...'j-C-,"'--1.
                                                                                                                            ~ r h,t.>1. rl."' ~
                                                                                                                                          "".JO,     tl,...1..
                                                                                                                                   rte<-'-         ,.,J5 .


    THE COURT HEREBY ORDERS AS FOLLOWS:

D The Notification of Mental Illness is DISMISSED and the above-named person is discharged based
    upon the following findings :
    _ The above-named person is not mentally ill pursuant to ORS 426.005.
    _       The above-named person is mentally ill, but is willing and able to participate in treatment on a
    voluntary basis and the court finds that the person will probably do so, pursuant to ORS 426 .130(b)



D   The hearing to detennine said person is mentally ill BE POSTPONED until the
    _ day of                                 , 20_ , at        AM/PM.
    _ The above person is to be DETAINED at                                    until the hearing.
        That                                    TRANSPORT the above person to the hearing.
                                                                          ·1 ecco1001 --- - --·-- - ----~
                                                                                                  ORCrll
                                                                                                  Order - Commument
                                                                                                  10342669


                                                                                                  111~,11wmi11111111mirm11
                   Case 3:19-cv-00082-MO          Document 1-2           Filed 01/16/19       Page 279 of 351




00
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!:!
0

tJ The above-named person is              CONDITIONALLY RELEASED pursuant to ORS 426.125 to:
              - - - - - - -- - - - - - - - - - - whose address and telephone number are:

6
~         for a period not to exceed _ _ days. The conditions of such release are attached.
u
0
~
0
u
~ The above-named person is COMMITTED and shall be promptly delivered to the Mental Health
~
      1
          Division for a period not exceeding    j '.i:<;:;:. days. If applicable, conditions of the outpatient
          commitment are attached. This Order is based upon the Court's finding upon clear and convincing
          evidence that the above-named person suffers from a mental disorder and, pursuant to ORS
          426.005(1 )(d):
          _    is dangerous to others, or
          _    is dangerous to self, or
          ~    is unable to provide for basic personal needs that are necessary to avoid serious physical hanu
          in the near future, and is not receiving such care as is necessary to avoid such harm

          _    is chronically mentally ill and meets the criteria in ORS 426.005 (l)(d)(C)
          _    is unwilling, unable or unlikely to participate in treatment on a voluntary basis
          _    a conditional release is either unavailable or not in the above named person's best interest

    D     Other:




              Signed and Dated this   fl     day of __\)~_~_c____,2ol_1.




                                                                 Ju ge

                                                                   (Vl 'l c..V'.."-d (
                                                                 (Judge Printed)
    Case 3:19-cv-00082-MO       Document 1-2      Filed 01/16/19   Page 280 of 351



            IN THE COURT OF APPEALS OF THE STATE OF OREGON

In the Matter of Aida T. Leverman,             Clackamas County Circuit Court
                                               Case No. l 8CC07001
A Person Alleged to have a Mental Illness.

STATE OF OREGON,

             Respondent

       V.

Aida T. Leverman,

        A ellant.
   AMENDED APPELLANT'S MOTION-APPOINT COUNSEL AND FOR
                            STATE PAID TRANSCRIPT

       Pursuant to ORS 426.135, appellant respectfully moves this court for a state
paid transcript and to appoint

             Ginger Fitch 0SB#982260
             PO Box 2656
             Wilsonville, OR 97070
             (503) 954-9829

as counsel on appeal. The appellant was previously determined to be financially
eligible for court-appointed counsel in this case.

       I hereby ce11ify that I served the above motion upon: Benjamin Gutman,
Office of the Solicitor General, 400 Justice Building, 1162 Court Street, N.E., Salem,
Oregon 97301-4096, and Office of Public Defense Services, 1175 Court St NE, Salem,
OR 97301 by regular mail on January 16, 2019.

       DATED January 16, 201.
                                         _ s/Ginger Fitch_ _ _ _ __ _ _
                                         Ginger Fitch 0SB#982260
                                         gingfitch@gmail.com
                                         Attorney for Appellant
         Case 3:19-cv-00082-MO           Document 1-2        Filed 01/16/19       Page 281 of 351




                                                                                 STAlt:oF OREGON      .
                                                                           l!LArnAt11\S C(!_UHTY COUR1S
                        IN THE COURT OF APPEALS OF THE STATE OF OREGO'NLt.O

                                            TIMOTHY C. ROTE,
                                                                            2818APR2~~
                                             Plaintiff-Appellant,                APR ~Z01B
                                                                           ENTERED.     ay~MAP
                                                       V.
C


                             LINDA L. MARSHALL and JOEL CHRISTIANSEN,
u
1J                                     Defend ants- Respondents,
t
8
                                                       and
j
     I                         OREGON STATE BAR and JOHN DOES 1-5,
                                          Defendants.


                                      Clackamas County Circuit Court
                                              16CV07564

                                                  A164406

                       APPELLATE JUDGMENT and SUPPLEMENTAL JUDGMENT


          Robert D. Herndon, Judge.

          Submitted on February 2, 2018.

          Before Hadlock, Presiding Judge, and DeHoog, Judge, and Aoyagi, Judge .

          Attorney for Appellant: Timothy C. Rote, prose

          Attorney for Respondents: Matthew J. Kalmanson

          AFFIRMED WITHOUT OPINION



                    DESIGNATION OF PREVAILING PARTY AND AWARD OF COSTS
          Prevailing party: Respondents
          [X]   Costs allowed, payable by Appellant.                                                ,- -:;;- - ~   .
                                                                                                          ci
                                                                                                           I




          APPELLATE JUDGMENT and SUPPLEMENTAL JUDGMENT
                 REPLIES SHOULD BE DIRECTED TO: State Court Administrator, Records Section,
                         Supreme Court Building, 1163 State St, Salem OR 97301 -2563
                                                  Page 1 of 2




                                                                                                  Exhibit 7
                                                                                                   1 of 2
       Case 3:19-cv-00082-MO            Document 1-2      Filed 01/16/19       Page 282 of 351




                                           MONEY AWARD


       Creditor(s):   Linda L. Marshall and Joel Christensen
       Attorney:      Matthew Kalmanson, 1000 SW Broadway Ste 2000, Portland OR 97205

 >.
       Debtor(s):     Timothy C. Rote
 0.
.: }   Attorney:      Timothy C. Rote
       Attorney Fees:       $4,646.00
       Costs:                  523.40
       Total Amount:        $5,169.40
       Interest: Simple, 9% per annum, from the date of this appellate judgment.




       Appellate Judgment                                                                    s
       Effective Date: April 24, 2018



       fmc




                                THIS IS THE APPELLATE JUDGEMENT OF
                                THEAPPELLATECOURTSANDSHOULD
                                BE ENTERED PURSUANT TO ORS 19.450.

       APPELLATE JUDGMENT and SUPPLEMENTAL JUDGMENT
              REPLIES SHOULD BE DIRECTED TO: State Court Administrator, Records Section,
                      Supreme Court Building, 1163 State St, Salem OR 97301-2563
                                              Page 2 of 2




                                                                                           Exhibit 7
                                                                                            2 of 2
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                       IN TH E UN ITED STATES DISTRICT CO URT

                            FOR THE DISTRICT OF OREGON




MAX ZWEIZIG ,
                                                     No. 3: 15-cv-0240 I-H Z
             Plaintiff/
             Counter Defendant,
                                                     OPIN ION & ORDER
      V.


NORTHWEST DIRECT TELESERVI CES, INC.;
NORTHWEST DIRECT MA RKETING OF
OREGON, INC.; TIMOTHY ROTE;
NORTHWEST DIRECT MARKETING
(DELA WARE), INC.; NORTHWEST DIRECT
OF IOWA, INC. ; ROTE ENTERPRISES, LLC;
NORTHWEST DIRECT MARKETING, INC.;
DOES 1-5.
           Defendant/Counter Claimant.


Joel W. Christiansen
812 NW 17th A venue
Portland, OR 97209

      Attorney for Plaintiff/Counter Defendant




I - OP INION & ORDER

                                                                               Exhibit 8
                                                                                1 of 6
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Andrew C. Brandsness
Brandsness Brandsness & Rudd, P.C.
41 1 Pine Street
Klamath Falls, OR 97601

       Attorney for Defendants/Counter Claimants No1thwest Direct
       Teleservices, Inc. ; No1thwest Direct Marketing of
       Oregon , Inc.; No1thwest Direct Marketing (Delaware)
       Inc.; Northwest Direct of Iowa, Inc.; Rote Enterprises,
       LLC; No1thwest Direct Marketing, Inc. ; Does 1-5.

Timothy Rote
24790 SW Big Fir Road
West Linn, OR 97068

        Pro Se Defendant/Counter Claimant


HERNANDEZ, District Judge:

       Pro se Defendant/Counter Claimant Timothy Rote seeks to join five pa1ties as

counterc la im defendants. For the reasons that follow, Rote's motion is denied.

                                         BACKGROUND

        Plaintiff Max Zweizig a lleges that he was terminated by Defendant Northwest Direct

Teleservices, Inc. (NOT), a corporate entity owned by Timothy Rote, after Zweizig repo1ted to

the Oregon Depaitment of Justice and the Lane County District Attorney that NOT had engaged

in criminal activity. Campi. 11 17-18, ECF I. Zweizig also alleges that Rote and NOT took other

adverse actions against Zweizig, including publishing statements to th ird pa1ties and the general

public accusing Zweizig of destro ying data and engaging in other crim ina l and civil misconduct

during his employment at NDT.    I.sL at 1 18.
       The parties engaged in arbitration related to this employment dispute for several years

and, ultimately, an arbitrator found in Zweizig' s favor and awarded damages to Zweizig. lsL at 1

21. T he arbitration award was reduced to a judgment; however, NOT has failed to sati sfy that



2 - OPINION & ORDER

                                                                                          Exhibit 8
                                                                                           2 of6
       Case 3:19-cv-00082-MO              Document 1-2         Filed 01/16/19   Page 285 of 351




judgment. & at ~ 22. On March 11 , 2014, Zweizig filed a lawsuit against NDT, Rote, and related

corporate entities, alleging that the defendants vio lated the Uniform Fraudulent Transfer Act and

engaged in other fraudul ent activity to defeat Zweizig' s abi lity to enforce hi s whistleblower

retaliation judgment.     & at ~ 23 .
           On or about February 27, 20 15, Defendants created a website, " Sitting Duck Portland,''

which describes the arbitration between Rote's companies and Zwe iz ig.         &   at ~ 25. According to

Zweizig, the Sitting Duck Pottland webs ite disparages Zweizig, his fia ncee, and hi s counsel. &

at~ 27 .

           On December 24, 20 15, Zwe izig filed the present employment di scrimination action

against Rote, a citizen of Oregon; six corporate entiti es alleged ly owned by Rote, including

N DT; and five Doe defendants. Zweiz ig alleges that the content of the Sitting Duck Pmtl and

website constitutes a seri es of ongoing adverse employment actions targeted at Zweizig due to

his participation in protected conduct.     & at 1 28. Zweizig brings claims of whistlebl ower
discrimination and retal iation, retaliation for oppos ing unlawfu l conduct, and aiding and abetting.

& at~~ 31-57.
           On January 28, 20 16, Rote fi led an answer to Zwe izi g's complaint, in which Rote asserts

fi ve counterclaims, including a counterclaim of defamati on. 1 Rote Am. Answer ~~ 30-34, ECF

19 . Rote' s defamation claim alleges that Zweiz ig, Zweizig's counse l, or other related parties,

contacted Judge Robe1t E. Jones and stated that Rote posed a threat to Judge Jones at hi s

Lifetime Achievement Award ceremony, which prompted an investigation by the U.S. Marshals.

& at~ 30. On February 5, 20 16, Rote moved to join four individual s and one entity (Plaintiff' s
counsel' s law firm) as counterclaim defendants to the defamation counterclaim. Rote Mot. Join

2, ECF 20.
1
    The other four counterclaims are not at issue in this Opinion & Order.

3 - OP INION & ORDER

                                                                                                Exhibit 8
                                                                                                 3 of 6
     Case 3:19-cv-00082-MO              Document 1-2         Filed 01/16/19        Page 286 of 351




                                             STANDARDS

        Federal Rule of C ivi l Procedure 13 governs counte rcla ims and authorizes the court to join

additional persons, purs uant to Rules 19 and 20, in order to adjudicate a counterc la im that is

a lready before the court. Fed. R. C iv. P. I 3(h); see also 6 C harl es A. W right, et al. , Federal

Practice & Procedure § 1435 (3d ed .).

                                             DISCUSSION

        Rote's defamation counterc laim is pro perly brought aga inst Zweiz ig as a permissive

co unterc laim under Rule I 3(b). See Fed . R. Civ. P. 13(b) (" A plead ing may state as a

counte rc laim against an o pposing party any c la im that is not compu lsory."). This Court has

subject matter jurisd iction over Rote' s defamation counterclaim against Zweiz ig because Rote (a

citizen of Oregon) and Zweiz ig (a citizen of New Jersey) are c itizens of different states and the

amount in controversy exceeds $75 ,000. See. e.g., Exxon Mobil Corp. v. A llapattah Servs .. Inc.,

545 U. S. 546, 552 (2005) (expla ining that district courts have ·' ori ginal di vers ity jurisdiction'· in

civil actions between citizens of different States w hen the matter in controversy exceeds

$75,000). This Court does not have federal-questio n jurisdictio n over the counterc la im because

the action does not arise under the Constitutio n, laws, o r treaties of the Un ited States.   1fL. (cit ing

28 U.S.C. § 133 1). Nor does the Court have suppleme ntal jurisdiction over the counterclaim ,

because it is not part of the same case or controversy as the c la ims asserted by Zweiz ig in his

complai nt.   1fL.

        The issue is w hether Rote may join five additio nal patties as counterc laim defendants

under Rule 19, w hich governs the req uired joinder of parties, o r Rule 20, which governs the

permiss ive j oinder of parties . Rot. Mot. Join 5-6. Rote may on ly join additi ona l parties to the

defamation counterc laim if they are ( I) subject to service of process; (2) someo ne w hose j o inder



4 - OP IN ION & ORDER

                                                                                                  Exhibit 8
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     Case 3:19-cv-00082-MO               Document 1-2           Filed 01/16/19        Page 287 of 351




would not destroy diversity or otherwise affect the court' s subject matter jurisdiction; and (3) a

necessary or proper pa11y to the claim for relief. See Fed. R. Civ. P. 19 and 20.

        Rote attempts to join Linda Marsha ll, prior counsel for Zweiz ig; Chester D. Marsha ll ,

Linda Marshal l' s spouse; Sandra Ware, Zweizig' s girlfriend; Joel Christiansen, Zweiz ig' s

current lawyer; and Vogele & Christiansen, the law firm where Joel C hristiansen is employed.

Rote Mot. Join 4. However, joining these additional pa11ies wou ld destroy diversity jurisdiction

because four of the five add itional pa11ies are Oregon citizens 2, as is Rote. Federal jurisdiction

pursuant to 28 U.S.C. § 1332 exists only if there is complete diversity between the parties.

        Therefore, the Cou11 denies Rote ' s motion to join five additional parties to the defamation

counterc laim because granting the motion would defeat this Court's subject matter jurisdiction

over the c laim. Fu11hermore, these add itional parties wo uld not be properly joined under Rules

19 or 20, even if doing so did not defeat subject matter jurisdiction. As written, the defamation

counterclaim does not name any party other than Zweiz ig. While the counterclaim does reference

"PALINTIFF [sic] COUNSEL & OR OTHER related pa11ies,'· there is nothing that ties the

allegations m ade in the counterclaim to the named parties that Rote now seeks to join. Rote Am .

Answer ,r 30. There are no facts alleged as to any of the five additional pa11ies that wou ld lead

this Cow1 to conclude that they are necessary for the counterclaim to proceed or that any

question of law or fact common to all potential counter defendants wou ld arise in the action . See

Fed. R. Civ. P. 19, 20.




2
   Rote's Motion to Join Parties alleges that all of the additional parties are Oregon res idents except for
Sandra Ware, who is a resident of New Jersey. Rote Mot. Join 6. The Court recognizes that an
individual ' s residence may be d ifferent than her state citi zenshi p, which is determined by her s tate of
domici le. Kanter v. Warner-Lambert Co ., 265 F.3d 853, 857 (9th Cir. 200 I). However, because it is
Rote's burden to assert subject matter jurisdiction as to his counterclaim and because he appears to
conflate res idency and citizenship, the Court construes his allegations regarding parties' residences as
a ll egations of the ir states of citizenship.

5 - OPIN ION & ORDER

                                                                                                      Exhibit 8
                                                                                                       5 of 6
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                                       CONCLUSION

     Defendant Rote ' s Motion to Join Parties [20] is denied .

IT IS SO ORDERED.



                                                                                    , 2016.




                                                    MARC
                                                    United States Di strict Judge




6 - OPINION & ORDER

                                                                                       Exhibit 8
                                                                                        6 of6
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                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF OREGON




MAX ZWEIZIG,
                                                      No. 3: l 5-cv-0240 I-H Z
             Plaintiff/
             Counter Defendant,
                                                      OPINION & ORDER
      V.

NORTHWEST DIRECT TELESERVICES, fNC. ;
NO RTHWEST DIRECT MARKETING OF
OREGON, INC. ; TIMOTHY ROTE;
NORTHWEST DIRECT MARKETING
(DELA WARE), IN C.; NORTHWEST DIRECT
OF IOWA, INC.; ROTE ENTERPRISES, LLC ;
NORTHWEST DIRECT MARKETfNG, INC.;
and DOES 1-5.
             Defendants/Counter Claimant.


Joel W. Christiansen
812 NW 17th Avenue
Portland , OR 97209

      Attorney fo r Plaintiff/Counter Defendant



I - OPIN ION & ORDER

                                                                                 Exhibit 9
                                                                                 1 of 16
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Andrew C. Brandsness
Brandsness Brandsness & Rudd, P.C.
41 I Pine Street
Klamath Falls, OR 9760 I

          Attorney for Defendants Northwest Direct
          Teleserv ices, Inc. ; Northwest Direct Marketing of
          Oregon, Inc.; Northwest Direct Marketing (Delaware)
          Inc. ; Northwest Direct of Iowa, Inc.; Rote Enterprises,
          LLC ; No1thwest Direct Marketing, Inc. ; and Does 1-5.

Timothy Rote
24790 SW Big Fir Road
West Linn, OR 97068

          Pro Se Defendant/Co unter C laimant


HERNANDEZ, Di strict Judge:

          Pro se Defendant/Counter C laimant T imothy Rote brings seven counterclaims against

Plaintiff/Counter Defendant Max Zweizig. Plaintiff moves to strike the first, sixth, and seventh

counterc laims pursuant to Oregon's anti-SLAPP s tatute. The Court grants Plaintiff s motion to

strike.

                                            BACKGROUND

          The patties' litigation history in thi s matter was set fotth by th is Court in a prior Opinion

& Order and, therefore, the Cou1t does not repeat it here. See Opinion & Order, February 25 ,

2016, ECF 25. Presently before the Court are three of Defendant' s counterclaims: (I)

defamation, (2) intentional infliction of emotional distress, and (3) aiding and abetting.1:L_

          Defendant a lleges that in November of 2015 , Plaintiff, Plaintiffs counsel , " or other

related parties," contacted the chambers of Dis trict of Oregon Judge Robert E. Jones and stated

that Defendant posed a threat to Judge Jo nes at hi s Lifetime Achievement Award ceremony,

thereby prompting an investigation of Rote by the U.S. Marshals. Sec. Am . A nswer~ 3 1.



2 - OPIN ION & ORDER

                                                                                                Exhibit 9
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        Defendant and Judge Jones have a long history. Judge Jones presided over a portion of a

case filed against Defendant in 1999. See Jones v. Nw. Telemarketing Inc. , No. C IV. 99-990-JO,

2000 WL 568352, at *I (D. Or. Apr. 7, 2000) (no relation between the plaintiff Jones and Judge

Jones). At some point during the proceedings in Jones, Defendant sent Judge Jones a letter,

prompting Judge Jones to recuse himself from the case. 1 Christianson Deel. Ex. 4 , ECF 41-1.

        On November 12, 2015, Defendant published a blog post titl ed "Are Arbitrator[s] Above

the Law?" in which he discussed the arbitration between himself and Plaintiff. Christiansen Deel.

Ex. 3, ECF 41-3. Defendant wrote that, during the arbitration, Plaintiff s attorney submitted a

" case summary" to the arbitrator of the case in which Judge Jones had rec used himself. J_g_,

According to Defendant, Plaintiffs attorney attempted to influence the arbitrator by suggesting

that Judge Jones did not like Defendant. Defendant ended hi s blog post by stating :

        The Honorable Robert E. Jones is receiving a lifetime achievement award tomo rrow
        night. The press will be there. Congratulations Judge Jones. Perhaps more often than not
        our legac ies are not what we wanted them to be. "




        Defendant believes that Plaintiff or his attorneys called Judge Jones' courtroom deputy

and told her about the blog post. According to Defendant:

        The information provided [by the U.S . Marshal Service to Defendant] was that Judge
        Jones was contacted and directed to a blog post written by [Defendant], which [Pla intiff]
        represented as a threat to Judge Jones. The intent of the contact with Judge Jones was to
        influence litigation already pending before Judge Stewart, presumabl y to influence the
        decisi on on the summary judgment motion still under advisement and to permanentl y
        harm [Defendant]. As a result of the contact and statement, Defendant seeks
        consequential damages of$ I million and punitive damages of $5 million against
        [Plaintiff] and Conspirators 2 .

1
  In a 2001 hearing, Judge Jones stated: " I don ' t want to have any thing to do w ith thi s case. I have utter
contempt for this person. He wrote the Court a very personal, very nasty letter. A hypocrite. So, get out of
here. I am not going to have anything to do wi th this. I wi ll recuse myself." Ch ri stianson Deel. Ex. 4, ECF
41-4.
2
  The Court assumes that "Conspirators" refers to the additional people that Defe ndant sought to j oin as
counterclaim defendants in this action. See Mot. Jo in, ECF 20. Because this Court already denied

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Sec. A m. Answer ~ 3 1. Joe l Chri stiansen, Plaintiff's attorney, declares that he and Linda

Marshall , Pla intiff's counsel in another matter, con tacted Judge Jones' courtroom deputy.

C hri stiansen Deel. ~ 5, ECF 4 1. However, taking the facts alleged by Defendant as true, the

Cowt proceeds with its ana lysis as if Pla intiff had made the statements at issue.

                                              STANDARDS

        "A SLAPP suit is one in w hich the plaintiffs a lleged injury resu lts from petitioning or

free speech activities by a defendant that are protected by the federa l or state constituti ons." Vess

v. C iba-Geigy Corp. USA, 3 17 F. 3d I 097, I I 09 (9th C ir. 2003). In response, a defendant in

federal cou1t may file a motion to strike under an app licab le anti-S LAPP statute. Vineyard v.

Soto, No. 10-CV-1481-SI , 20 11 WL 5358659, at *2 (D. Or. Nov. 7, 2011); see also

Thomas v. Frv's Elecs., Inc. , 400 F .3d 1206, 1206 (9th C ir. 2005).

        Oregon's anti-S LAPP provi sions "permit a defendant who is s ued over certa in actions

taken in the public arena to have a questionable case dismissed at an early stage." Staten v. Steel,

222 Or. A pp. 17, 27, 19 1 P. 3d 778 , 786 (2008) . A special motion to strike is treated " as a

motion to dismiss under Or. R. Civ. P. 2 1A and requires the court to enter a 'judgment of

dismissal without prejudice' if the motion is granted ." Gardner v. Martino , 563 F.3d 98 1, 986

(9th C ir. 2009) (applying O regon law).

        Ana lys is of a special motio n to strike is a two-step p rocess. "First, the defendant has the

initia l burden to show that the chall enged statement is within one of the categories of civil

actions described in [O.R.S.] 31.1 50(2)." lfL. " [T ]he critical point is w hether the plaintiff' s cause

of action itself was based on an act in fu1therance of the defendant's right of petition o r free

speech." Mann v. Quality Old Time Serv .. Inc. , 120 Cal. App . 4th 90, I 02, 15 Ca l. Rptr. 3d 2 15,


Defe ndant' s motion, the o nly counterclaim defendant in this case is Pl aintiff. See Opinion & Order,
February 25, 20 16, ECF 25.

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220 (2004) (referring to the California anti-SLAPP statute). The required s howing may be made

on the basis of the pleadings alo ne. Staten, 222 Or. App. at 31 , 191 P .3d at 788.

        If the defendant meets the initial burden, then " the burden shifts to the plaintiff in the

action to establish that there is a probabi Iity that the plaintiff wi II prevai I on the claim by

presenting substantial evidence to support a prima facie case." Or. Rev. Stat.§ (0.R.S.)

31.150(3); Gardiner, 563 F.3d at 986. In making this determination , the Cowt must take the facts

from the pleadings and from the suppo1ting and opposing affidavits, O.R.S. 3 1.150(4), and state

them " in the light most favorable to plaintiffs." Mullen v. Meredith Corp., 27 1 Or. App. 698 ,

702, 353 P.3d 598 , 60 1-02 (20 15) (quotation om itted). The court must deny the motion " [i]f the

plaintiff meets this burden." O.R.S. 31.150(3).

        Oregon courts look to California case law in constru ing Oregon's anti-SLAPP statute

because Oregon 's law was " modeled on California statutes" and ' [i]t was intended that

California case law would inform Oregon courts regard ing the application of ORS 3 1. 150 to

ORS 31.155." Page v. Parsons, 249 Or. App. 445, 461, 277 P.3d 609, 619(2012) (discussing the

Oregon anti-SLAPP statute' s legislative history). Therefore, this Court's analysis relies o n both

California and Oregon case law.

                                             DISCUSSION

        Plaintiff invokes Oregon's anti-SLAPP statute to strike Defendant' s counterclaims of

defamation, intentional infliction of emotional distress ( IIED), and aiding and abetting. Under

Oregon's anti-SLAPP statute, a defendant may make a special motion to strike against a claim in

a civil action that arises out of:

        (a) Any oral statement made, or w ritten statement or other document submitted, in a
            legis lative, executive or judicial proceeding or other proceeding authorized by law;




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        (b) Any oral statement made, or written statement or other document submitted, in
            connection with an issue under consideration or review by a legis lative, executive or
            judicial body or other proceeding authorized by law;

        (c) Any oral statement made, or written statement or other document presented , in a
            place o pen to the public or a public forum in connection with a n issue of public
            interest; or

        (d) Any other conduct in furtherance of the exercise of the constitutional right of petition
            or the constitutional right of free speech in connection w ith a public issue or an issue
            of pub! ic interest.

O.R.S. 3 1. 150(2) .

        Plaintiff' s initia l motion to strike contended that Defendant's counterc laim s are subject to

an a nti-SLAPP motion because the counterclaims arise o ut of statements or conduct described in

§§3 1. I 50(2)(b), (c), and (d). However, upon review of cases interpreting anti-SLAPP statutes in

Oregon and California , it appeared to this Court that Plaintiff's commun ication to Judge Jones·

coutiroom deputy was subject to an anti-SLAPP motion for a different reason-Plaintiff s

statement wo uld be considered preparatory to or in antic ipati on of commencing official

proceedings and thus wo uld be protected as a statement made in a proceed ing authorized by law

under O.R.S. 3 1. I 50(2)(a) or (b). Because Plaintiff did not make this argu ment, the Court

ordered futiher briefing from the patiies to ens ure that each party had the oppotiunity to be heard

o n the issue. See O rder, August 15, 20 16, ECF 60. After reviewing the parties · supplemental

memoranda, the Court conc ludes t hat Defendant's counterclaims are s ubject to Oregon's anti-

SLA PP provisions and, thus, the Cou1t strikes the counterc la im s.

I.      Plaintiff's statement was made in a "judicial proceeding or other proceeding
        authorized by law. "

        Oregon ' s anti-SLA PP statute provides that a defendant may make a special moti on to

strike against a cla im in a civil action that arises out of a statement made in a "judicial

proceeding or othe r proceeding authorized by law ." O.R.S. 31.1 50(2)(a). While this Court does


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not find binding precedent interpreting this portion of Oregon ' s law, cases from Californi a are

instructive.

        There can be no dispute that O.R.S. 31. 150(2)(a) e ncompasses statements repo11ing

wrongdoing to police. See Yan Der Valk v. AU Energy, LLC, No. 8252975 , 20 14 WL 6632930,

at *4 (Cal. Ct. App. Nov. 24, 20 14) (ho lding that anti-SLAPP statute encompasses statements

made to police in response to a perceived wrongdo ing for the purpose of garnering police

assistance); Comstock v. Aber, 212 Cal. App. 4th 93 1, 941-42, 151 Cal. Rptr. 3d 589, 598

(2012) ("The law is that communications to the po lice are w ithin SLAPP."); Chabak v. Monroy,

154 Cal. App. 4th 1502, 1512, 65 Cal. Rptr. 3d 641 , 648 (2007) (in action by physical therapi st

against client alleging fal se report of chi ld abuse, client's "statements to police clearly arose from

protected activity" ); Walker v. Kiousis, 93 Cal. App. 4th 1432, 1439, 114 Ca l. Rptr. 2d 69, 75

(2001) (finding that a citizen's complaint to the police is " made in connection w ith an official

proceeding a uthorized by law"). The issue, therefore, is whether the anti -SLAPP statute a lso

encompasses a statement to a courtroom deputy repo11ing potential wrongdo ing. The Cow1 finds

that it does.

        Californ ia courts have conc luded that the a nti-S LAPP statute protects not on ly

communications in a judicial or official proceeding, but a lso " [c ]ommunications that are

preparatory to or in anticipation of commencing official proceedings ." Siam v. Kizi lbash, 130

Cal.App.4th 1563, 3 1 Cal. Rptr. 3d 368,374 (Cal. Ct. App. 2005); see a lso ComputerXpress, Inc.

v. Jackson, 93 Cal. App. 4th 993 , 1009, 11 3 Cal. Rptr. 2d 625 , 640(200 1) (fil ing a complaint

with the purpose of soliciting an SEC investigation constitutes a "statement before an offic ia l

proceeding"); Lee v. Fick, 135 Cal. App. 4th 89, 97, 37 Cal. Rptr. 3d 375, 379 (2005), a s

modified (Dec. 23 , 2005) (parents' formal complaints to school board were '·part of the official



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proceedings" that followed). For example, in Siam, the court held that a father' s report of child

abuse to people who were legall y required to repo rt the abuse to the authorities was protected by

the anti-SLAPP statute. Siam v. Kizilbash, 130 Cal. App. 4th 1563, 1570, 3 1 Cal. Rptr. 3d 368,

374 (2005). The court reached this conclusion notwithstanding the fact that the ensuing child

abuse case was dete rmined to be unfounded.    kl
        Similarly, in Ottega v. Morales, No. Al20684, 2009 WL 778318 (Cal. Ct. App. Mar. 25,

2009), Morales, a customer at Club One, sued Club One and massage therapi st Ottega after

Ortega sexually assaulted Morales during a massage. Ortega filed counterclaims aga inst Morales

based on statements Morales made to Club One's assistant manager about Ortega's conduct

during the massage. & at *5. The court granted M orales' anti-SLAPP motion, holding that

Morales' statements to Club One were protected activity.     &   The coutt reasoned that Morales '

statements to Club One "must be deemed protected activity just as much as her later state ment to

the police and Club One's statement to the police," given the statutory mandate to inte rpret the

anti-SLAPP statute broadly to protect free speech rights.   &    Furthermore, Morales' statem ents to

Club One were "preparatory to or in anticipation of her repott of Ortega's alleged sexua l assault

to the police."   kl at 6. The coutt concluded that, even though   Club One was not legally required

to call the police as a result of Morales ' report, "one poss ibl e reasonable inference arising from

Morales telling C lub One their employee sexually assaulted her is that she anticipated a judicial

or official proceeding." kl,; see also Chabak, 154 Cal. App. 4th at 151 2, 65 Cal. Rptr. 3d at 648

(minor's report to her parents concerning her physical therapist's sexual abuse was directly

related to her report to the police and constituted protected activity). In other words,

communications are protected when they are made seeking " official investigations into perceived




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wrongdoing, which might culminate in criminal prosecution or other official proceedings."

Salma v. Capon, 161 Cal. App. 4th 1275, 74 Cal. Rptr. 3d 873, 882 (Cal. Ct. App. 2008).

       Here, Plaintiff s statement to Judge Jones' deputy is protected as a statement made in

anticipation of a proceed ing authorized by law. A reasonable inference arising from Plaintiff s

statement was that he anticipated an investigation into Defendant's alleged threat towards Judge

Jones. Whether or not the threat was real, Plaintiffs statement was made with the purpose of

obtaining assistance to address wrongdoing. The distinction between making the report to Judge

Jones' courtroom deputy and the U.S. Marshals is a di stinction without a difference under these

circumstances.

       Defendant's arguments to the contrary are unavailing. Defendant devotes the bulk of his

supplemental brief to a discussion of the litigation privilege and the reasons why it does not

apply in this case. Defendant asserts, without any support, that "Oregon case law precedence is

limited on the application of Oregon Anti-Stapp law to communications in connection with

anticipated litigation." Def.'s Supp. Mot. 4, ECF 63. The Court is unpersuaded by this

unsupported conclusory statement. The Court decides this motion based on its interpretation of

Oregon' s anti-SLAPP law and its application to statements made in a proceeding authorized by

law. The litigation privilege, while discussed in many California cases on this topic because of

its overlap with the anti-SLAPP statute, is s imply not at issue. See, e.g., Neville v. Chudacoff,

160 Cal. App. 4th 1255, 1262-63, 73 Cal. Rptr. 3d 383, 388- 89 (2008) (explaining that the

litigation privilege and anti-SLAPP statutes serve s imilar policy interests but are not coextensive

or substantively the same).

       Defendant also argues that Plaintiff s statements do not fall within the purview of the

anti-SLAPP statute because they were not made directly to law enforcement and they were false.



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As di scussed above, the Court finds that, in thi s case, the report to Judge Jones ' courtroo m

deputy was the equivalent of a report to the U.S. Marshals and, alternatively, is protected

because the courtroom deputy would obviously re lay such a report to law enforcement. As to the

alleged falsity of the report, Defendant's counterclaim alleges that " [t]he informatio n prov ided to

the U.S. Marshal Serv ice was that Judge Jones was contacted and directed to a blog post w ritten

by Defendant, w hich Plaintiff represented as a threat to Judge Jones." Sec. Am. A nswer 11 , ECF

29. The Cou1t fail s to see how any aspect of Plaintiff' s statement, w hich essentially just refe rred

the courtroom deputy to Defendant's blog, could be false. Any interpretation of the blog, such as

whether the language used was threatening, wo uld clearly be Plaintiff' s opinion as opposed to a

true or false statement.

        " [T]he plain language of Sectio n 3 1. 150(2) indicates a legis lati ve intent not to limit

application of the specia l motion to strike procedure to any narrow set of c ircumstances, but

rather to capture a broad range of claims arising both directl y and indirectly out of acts of free

and/or privileged speech." Schwern v. Plunkett, No. 3: 14-CV-00146-PK, 20 14 WL 3361902, at

*8 (D. Or. July 7, 2014) (citing Ho1ton v. Western Protector Ins. Co., 2 17 Or. App. 443 , 448 n. 2

(2008) (noting the broad scope of the language and disjunctive structure of Section 3 1.1 50(2),

and s uggesting that the provision wo uld in that respect be inconsistent with a legis lative intent to

limit the application of the special motion to strike procedure narrowly)) . Fu1thermore, as the

Schwern court explained:

        [I]t seem s clear that any overly limited constructi on of the scope of Section 3 1.150(2)
        would tend directl y to frustrate the purpose of the statutory scheme by systematica lly
        failing to provide the intended procedural and substantive protections to a ll victims of
        meritless lawsuits calculated to chill protected speech conduct, w hereas the risk of
        prejudicing plaintiffs through overly broad construction of the provi sion is effecti ve ly
        mitigated at the second step of the two-step process, at which only entirely baseless
        c laim s are stricken, and consequent dis missa l is without prejudice.



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Schwern, 2014 WL 336 1902, at *8. In light of the mandate to construe the anti-SLAPP statute

broadly, and taking into account all of the pers uasive authority from California courts, this Cow1

concludes that Plaintiffs statement falls within the purview of§ 3 1.150(2)(a).

II.     Defendant fails to establish a probability of prevailing on his claims

        The burden shifts to Defendant to establish through the presentation of substantial

evidence that there is "a probability" on a primafacie basis that he will ultimatel y prevail as to

each of his counterclaims. O.R.S. 31.150(3). The Oregon Court of Appeals recently explained:

        Although the statute refers to a plaintiffs need to show a " probability" of prevailing on
        the claim in order to proceed, we have interpreted that standard, in this context, as a " low
        bar." Young, 259 Or. App. at 508,314 P.3d 350. To clear that low bar, a plaintiff has the
        burden of presenting substantial evidence to suppo11 a primafacie case against the
        defendant. IQ,_ Typically, a plaintiff will not have access to discovery before being
        required to defend against a special motion to strike. See ORS 31.152(2) ("All discovery
        in the proceeding shall be stayed upon the filin g of a special motion to strike under ORS
        31.150. "). Therefore, a plaintiff may meet the burden of production by producing direct
        evidence, reasonable inferences that may be drawn from that evidence, and "affidavits
        setting fo11h such facts as would be admissible in evidence." OEA v. Parks, 253 Or. App.
        558, 567,291 P.3d 789 (2012). " [T]he trial court may not weigh the plaintiffs evidence
        against the defendant's" and "may consider defendant's evidence only insofar as
        necessary to determine w hether it defeats plaintiffs claim as a matter of law." Young,
        259 Or. App. at 509-10, 314 P.3d 350.

Handy v. Lane Cty., 274 Or. App. 644, 652, 362 P.3d 867, 874(2015), review allowed. 358 Or.

550,368 P.3d 25 (2016); see also Yes On 24-367 Comm. v. Deaton, 276 Or. App. 347, 361-62,

367 P .3d 937, 946 (2016). Only claims that entirely lack merit under that forgiving standard are

to be stricken at the seco nd step of the two-step process. See O.R.S. 31.150(3).

        Defendant brings claims of defamation , IIED, and aiding and abetting. For the following

reasons, Defendant fails to meet his burden on each claim as a matter of law.

        a.   Defamation

        The elements of a claim for defamation are: (I) the making of a defamatory statement;

(2) publicatio n of the defamatory material; and (3) a resu lting special harm , unless the statement


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is defamatory per se and therefore g ives ri se to presumptive specia l harm. L & D of Oregon. Inc.

v. Am. States Ins. Co ., 171 Or. App. 17, 22, 14 P.3d 6 17, 620 (2000) ; Nat'I Union Fire Ins. Co.

of Pittsburgh Pennsylvania v . Starplex Corp., 220 Or. App. 560, 584, 188 P.3d 332,347 (2008).

A defamatory statement is one that would subject another to " hatred, contempt or ridicule ...

[or] tend to diminish the esteem, respect, goodwill or confidence in which [the other] is held or

to excite adverse, derogatory or unpleasant fee lings or op inions against [the other]." .14,_ (quoting

Marleau v. Truck Ins. Exch., 333 Or. 82, 94, 3 7 P.3d 148, 154 (200 I)).

        Defendant concedes that he does not actual ly know what was conveyed to Judge Jones'

deputy or who conveyed the message, but he ins ists that "it suggested a threat," Def. ' s Resp. 19,

ECF 42, and that plaintiff, plaintiff s counsel , or related parties contacted Judge Jones' chamber,

Def. Second Am. Answer 13 1, ECF 29. However, allegations are not the same as ev idence.

O 'Connor v. Cty. of Clackamas, No. 3 :I I-CV-1297-SI , 2012 WL 3756321 , at * 17 (D . Or. Aug.

28, 2012) ("P laintiffs may not rely on their pleading a llegations in response to a motion to strike

under Oregon's Anti- SLAPP law).

        The only evidence Defendant submits as to what statement was made is an emai l from an

attorney, Mr. Hasson, to Defendant. Rote Deel. Att. 12, ECF 43-12. The emai l states :

        Received a message at office to call US Marshall [sic] about Rote. After gfing [s ic] with
        you, called number and US Marshall asked if I represented yo u. I said yes. He said there
        was a concern about you related to Judge Jones ' reception that evening. He asked if he
        shou ld be concerned about you and I said no. I told him I was with you and wou ld have
        you call him .... I told him I thought the complaint was from [Linda] Marshall but he
        said the cal l came from Judge Jones office .

.14,_ Defendant emai led back: "The commentary that this was a threat of harm is important. Is that

what the US Marshals conveyed to you."      kl Mr.   Hasson responded: "The US Marshall [s ic] was

investigating if you presented a threat to Judge Jones at the reception. I assured him that they did




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not have to be concerned about yo u."   llL. Nothing about that e ma il exchange constitutes evidence

of the existence of or the content of a statement made by Plaintiff to Judge Jones' deputy.

       Plaintiff subm its the declaration of his attorney, Joel C hristiansen, which states:

       After reviewing Rote 's comments contained in C hapter 19, Linda Marshall (Plainti ffs
       counsel in another matter) and I contacted Judge Jones' courtroom deputy and informed
       the court of Rote's publication concerning Judge Jones, which: ( 1) identified Judge
       Jones ' physical location at a specific time and location to receive a li fetime achievement
       award, (2) evidenced Rote' s belief that there would be media presence at the event, and
       (3) commented that "perhaps more often than not our legacies are not what we wanted
       them to be."

C hristiansen Deel.~ 5, ECF 41. Defendant does not subm it any evidence to contrad ict this

representation.

       The Court assu mes, without deciding, that Defe ndant can bring a c laim of defamation

against Plaintiff despite failing to refute the ev idence that any alleged ly defaming statement was

made by Plaintiffs attorneys, not by Plaintiff. See L & D of Oregon, 17 1 Or. App. at 22, 14 P.3d

at 620 (stating that "the making of a defamatory statement" is the first req uired e lement of a

claim for defamation). No matter who made the report to the courtroom deputy, a statement

suggesting that Defendant' s blog post constituted a threat is a n opinion statement protected by

the First Amendment. See Milkovich v. Lorain Journal Co., 497 U.S. I , 20 ( 1990) (statement of

opinion relating to matters of public concern that do not contain a provably fa lse factua l

connotation wi ll receive full constitutional protection) ; Obsidian Fin. Grp .. LLC v. Cox, 740

F.3d 1284, 129 1-92 (9th Cir.) ("[P]ublic allegations that someone is involved in crime generally

are speech on a matter of public concern.").

        Defendant acknowledges that " [t]he First Amendment abso lutely protects opinion

speech." Def.'s Resp. 17, ECF 42. However, Defendant argues that Plaintiff s statement to Judge

Jones ' deputy regarding Defendant' s intent in writing the blog post was not an o pinion but,



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rather, a "false assertion of objective fact. " Def. 's Resp. 17, ECF 42. In order to determine

w hether a reasonab le factfinder could conclude that a statement im plies an asse1tion of objective

fact, the Ninth Circu it has announced a three part-test, w h ich the Oregon Supreme Couit recently

adopted. Neumann v. Liles, 358 Or. 706,717, 369 P. 3d 111 7, 1124(2016) (adopting the test

from Uneiko, 9 12 F.2d I 049); see a lso Obsid ian Finance Group, 740 F.3d at 1293. Applying that

test to the present case, this Court must ask: "( I) whether the general tenor of the entire work

negates the im pression that the defendant was asse1ting an objective fact; (2) whether the

defendant used figurative or hyperbolic language that negates that impression; and (3) whether

the statement in question is susceptible of being proved true or fa lse." Uneiko, 912 F.2d at I 053.

        Even taking the facts as a lleged by Defendant in the light most favorable to him,

Defendant is unable to show that Plaintiffs statement was a false asse1tion of objective fact.

First, the general tenor of Plaintiffs statement s uggests that Plaintiff was making the cou1troom

deputy aware of the post and offering an opinion as to what the post's language meant, not

asse1ting an objective fact about the interpretation of the post. Second, because Defendant does

not know what exact language was used by Plaintiff, the Court is unable to opine whether it was

" figurative or hyperbolic." Finally, the statement in question is not capable of being proved true

or false . Plaintiff directed the deputy to the blog and offered an op inion as to what Defendant' s

intent was in writing the post. Because there is no way Plaintiff cou ld have actua ll y known

Defendant's intent, given that Plaintiff only saw the post on the internet, it is clear that Plaintiff

was offering an opinion to Judge Jones' deputy rather than asse1ting a fact.

        In sum, Plaintiffs statement was an expression of opinion on a matter of public concern

that is protected under the First Amendment. Therefore, Defendant fai ls to estab li sh a probability

on a primafacie basis that he wil l prevail on his defamation claim.



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                11.      IIED and A iding and Abetting Claims

        As to Defendant's II ED and aiding and abetting co unterclaim s, Defendant presents no

argument or evidence as to how he can support a primafacie case regarding either cla im. For this

reason alone, the Court could grant Plaintiff's motion to strike because Defendant has not met his

burden. Young, 259 Or. App. at 508, 314 P.3d 350 (explaining that the party bringing the c laim

has the burden of presenting substantia l evidence to s uppo,t a primafacie case).        kl
        Fu1thermore, Defendant cannot show the e lements of an II ED c laim:

        (I) that defendants intended to cause plaintiff severe emotiona l distress or knew with
        substantia l certainty that their conduct would cause such distress ; (2) that defendants
        engaged in outrageous conduct, i.e., conduct extraordinarily beyond the bounds of
        socially tolerable behavior; and (3) that defendants' conduct in fact caused plaintiff severe
        emotional distress.

McLean v. Pine Eagle Sch. Dist., No. 6 1, No. 3: 15-CV-654-Sl, 20 16 WL 3574017, at * 18 (D.

Or. July 1, 20 16) (citing House v. Hicks, 2 18 Or. App. 348, 357-58, 179 P.3d 730 (2008)) ; see

a lso McGanty v. Staudenraus, 321 Or. 532, 543, 901 P.2d 841 (1995)). No reasonable factfinder

could conclude that the a lleged statement to Judge Jones' deputy constituted "outrageous

conduct." Defendant's IIED claim fails as a matter of law.

        As to Defendant' s " aiding and abetting" c laim, the Cou1t find s no suppo,t for the

proposition that Oregon recogni zes this as an independent to1t. See, e.g., Cent. Bank of Denver,

N.A. v. First Interstate Bank of Denver, N.A., 5 11 U.S. 164, 181 ( 1994) (" Indeed, in some

States, it is still unclear w hether there is aiding and abetting tort liability[.]") .In states that do

recogn ize such a to1t, the tort is predicated upon the existence of some tortious conduct of other

parties. See, e.g., Saunders v. Superior Cowt, 27 Cal. App. 4th 832, 846, 33 Cal. Rptr. 2d 438,

446 ( 1994) ("Liability may also be imposed on one who aids and abets the commission of an

intenti ona l to,t if the person (a) knows the other's conduct constitutes a breach of duty and g ives



15 - OPINION & ORDER

                                                                                                  Exhibit 9
                                                                                                  15 of 16
    Case 3:19-cv-00082-MO             Document 1-2        Filed 01/16/19       Page 304 of 351




substantial assistance or encouragement to the other to so act or (b) gives substantial assistance

to the other in accomplishing a tortious result and the person's own conduct, separate ly

considered, constitutes a breach of duty to the third person."). Because Defendant fai ls to

establish any tortious conduct of Plaintiff or anyone else, this claim necessarily fail s.

                                           CONCLUSION

        The Court grants Plaintiffs Motion to Strike [40]. If Defendant wishes to amend his

counterclaims, he must seek leave to amend pursuant to Federal Rule of Civi l Procedure 15 and

Local Rule 15-1. Upon receipt of this Opinion & Order, the parties are instructed to contact the

Cowt to set a schedu ling conference to reset the case schedule.

        IT IS SO ORDERED.


        Dated this -~--~--+--- day of          ~ W , 2016.




                                                   wuo
                                                        United States District Judge




16 - OPINION & ORDER

                                                                                             Exhibit 9
                                                                                             16 of 16
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                       IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

                                    PORTLAND DIVISION



MAX ZWEIZIG,
                                                       No. 3: l 5-cv-0240 I-HZ
                      Plaintiff,
                                                       OPINION & ORDER
      V.


NORTHWEST DIRECT TELESERVICES;
INC., NORTHWEST DIRECT MARKETING
OF OREGON, INC,; TIMOTHY ROTE;
NORTHWEST DIRECT MARKETING
(DELA WARE), IN C.; NORTHWEST DIRECT
OF IOWA, INC.; ROTE ENTERPRISES, LLC;
and NORTHWEST DIRECT MARKETING, INC.;

                      Defendants.



Joel Chri stiansen
YOGELE & CHRISTIANSEN
8 12 NW 17th Avenue
Po1iland, OR 97209

      Attorney for Plaintiff



I- OPIN ION & ORDER


                                                                                 Exhibit 10
                                                                                   1 of 6
      Case 3:19-cv-00082-MO          Document 1-2        Filed 01/16/19       Page 306 of 351




Timothy Rote
24 790 SW Big Fir Road
West Linn, OR 97068

        Pro Se Defendant

HERNANDEZ, District Judge:

        Plaintiff Max Zweizig brought this retaliation claim against Defendants Northwest Direct

Teleservices, Inc., No11hwest Direct Marketing of Oregon, Inc. , Timothy Rote, No11hwest Direct

Marketing (Delaware), Inc., No11hwest Direct of Iowa, Inc., Rote Enterprises, LLC, and

Northwest Direct Marketing , Inc. Currently pending before this Court are Defendant Rote's

Objection to Plaintiffs Proposed Form of Judgment, Motion for Stay, and Motion for Re lief

from the Court' s Anti-SLAPP Order dismissing Defendant' s counterclaims. The Court denies

Defendant' s Motions.

                                         BACKGROUND

        Plaintiff is the former IT director of Defendant Northwest Direct Teleservices, Inc.

Defendant Rote (" Defendant") is the former executive of Defendant N OT and the other business

entities involved in this case. Because they were unrepresented, all the business entities in thi s

case have defaulted. The claims against Defendant Rote, however, proceeded to a two-day jury

trial on January 16 and 17, 2018. The jury returned a verdict for Plaintiff and awarded him

$1 ,000,000 in noneconomic damages. On July 25 , 20 18, the Court denied Defendant Rote' s

motion to set aside the judgme nt but found that Plaintiff s noneconom ic damages were capped

pursuant to Oregon law. O&O, ECF 228. Defendant Rote s ubsequently filed the present motions.

Judgme nt has not yet been entered in this case.

Ill

Ill



2- OP IN ION & ORDER


                                                                                          Exhibit 10
                                                                                            2 of 6
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                                           DISCUSSION

I.        Motion for Relief from Order

          Defendant' s "Motion for Relief from Order," though styled as a relief from the judgment,

is more appropriately characterized as a motio n for reconsideration. A motion for recons iderati on

should not be the occasion to tender new legal theories for the first time, but rather sho uld serve

to correct manifest errors of law or fact or to present newly discovered ev idence. Publishers

Res., Inc. v. Walker-Davis Publ 'ns, Inc. , 762 F.2d 557, 561 (7th Cir. 1985); see also Ma(jack

Prod. , Inc. v. Goodtimes Home Video Corp., 81 F.3d 881 , 888 (9th Cir. 1996) (new facts or law

may warrant recons ideration); Backlund v. Barnhart, 778 F.2d 1386, 1388 (9th Cir. 1985)

(motion for recons iderati on of summary judgment order properly denied where " it presented no

arguments that had not already been raised in opposition to summary judgment"). Thus,

" [r]econsideration is appropriate if the district cou1t ( 1) is presented with newl y discovered

evidence, (2) committed clear error or the initial decis ion was manifestly unjust, or (3) if there is

an intervening change in controlling law.'' School Dist. No. JJ v. AcandS, Inc. , 5 F .3d 1255,

1263 (9th Cir. 1993).

          Defendant argues that the Court should reconsider its September 2016 Opinion & Order

granting Plaintiff's motion to strike Defendant' s counterclaims under Oregon ' s anti-SLAPP

statute. He specifically points to a 2018 opinion from the Ninth Circuit that clarified the proper

procedures to be used when analyzing anti-SLAPP motions in federal court. There, the Ninth

C ircuit noted that under California's anti-SLAPP statute : 1

          Once it is determined that an act in furtherance of protected expression is being
          challenged, the plaintiff must show a " reasonable probability" of prevailing in its
          claims for those claims to survive di smissal. To do thi s, the plaintiff must
          demons trate that "the complaint is legall y sufficient and suppo1ted by a prima
1
     Oregon courts look to California case law in construing Oregon ' s anti-SLAPP statute. See Page
v. Parsons, 249 Or. App. 445 , 461,277 P.3d 609 (20 12).

3- OPINION & ORDER


                                                                                            Exhibit 10
                                                                                              3 of 6
     Case 3:19-cv-00082-MO            Document 1-2        Filed 01/16/19      Page 308 of 351




       facie showing of the facts to sustain a favorable judgment if the evidence
       submitted by plaintiff is credited ."

Planned Parenthood Fed. of Am., Inc. v. Ctr.for Med. Progress, LLC, 890 F.3d 828, 833 (9th

C ir. 2018) (internal citations omitted). The court went on to discuss the extent to which these

anti -SLAPP provi sions are consistent with the Federal Rules of Civil Procedure. Id. Ultimately,

it found that the anti-SLAPP provision "require[ed] a presentation of evidence without

accompanying discovery ... improperly transform [ing] the motion to strike under the anti-

SLAPP law into a motion for summary judgment without any of the procedural safeguards ." Id.

at 833-34. This would effectively allow state law to " usurp the federal ru les." Id. at 834. Thus,

the circuit court determined that "when an anti-SLAPP motion to strike challenges on ly the lega l

sufficiently of a claim," the court should apply the standards applicable to motions under Fed. R.

C iv. P. 12(b)(6). Alternatively, where the motion chal lenges the factual s ufficiency of a claim,

the summary judgment standard under Fed. R. Civ. P. 56 applies and "discovery must be

allowed." Id.

        This Court' s 2016 Opinion & Order was issued without this guidance from the circuit

cowt and thus found that Defendant was required "to establish through the presentation of

substantial evidence that there is 'a probabi lity' on a primafacie basis that he wil l ultimately

prevail as to each of hi s counterclaims." O&O at 11 , ECF 68. The Court further c ited to evidence

provided by Plaintiff and Defendant in its analysis. Defendant argues that, accordingly , the

Court's decision to grant the anti-SLAPP motion w ithout discovery was improper under Planned

Parenthood. This Cou1t disagrees.

        Even applying the standards outlined in Planned Parenthood, the Court's dec ision to

grant Plaintiff s anti-SLAPP motion wou ld be no different. As the Court indicated in its prior

opinion, Defendant fai led as a matter of law to adeq uatel y state hi s counterclaims. For example,


4- OPINION & ORDER

                                                                                           Exhibit 10
                                                                                             4 of 6
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with regard to Defendant Rote's defamati on claim, the Court found that " [n]o matter w ho made

the report to the courtroom deputy, a statement suggesting that Defendant' s blog post constituted

a threat is an opinion statement protected by the First Amendment." Id. at 13. Simi larl y,

Defendant Rote ' s claims for Intentional Infliction of Emotiona l Distress and Aiding a nd Abetting

claim s failed "as a matter of law" because " [n]o reasonable factfi nder cou ld conc lude that the

alleged statement to Judge Jones' courtroom deputy constituted " outrageous conduct." Id. at 15.

Accordingly, Defendant's counterclaims were legally insuffici ent, and the Court did not err in

granting Plaintiff' s motion without additional di scovery. 2

II.     Objection to Plaintifrs Proposed Judgment

         Defendant appears to object to Pla intiff's proposed judgment because (1) it is overly

broad in finding the other corporate defendants- bes ides NOT- liable; and (2) it seeks damages

in an amount greater than pleaded in the operative complaint at the time of default. As a

preliminary matter, the Court notes that Defendant cannot advocate on behalf of the corporate

defendants in thi s case. See O&O at 3, ECF 96 (" As this Court has previo usly informed

Defendant, he may not represent the Corpo rate Defendants."); see also United States v. High

Country Broad. Co., 3 F.3d 1244, 1245 (9th C ir. 1993) (stating that a corporation may appear in

federa l court only through licensed counsel). In addition , the amount of the proposed judgment is

consistent with Plaintiff' s Amended Complaint, w hich seeks compensatory damages in the

a mount of $2,000,000 against the corporate defendants for their acts of retaliation. See Am.

Comp!.   ,r,r 29- 34, ECF   193. Accord ingly, the Cowt wi ll enter Plainti ff's proposed form of

judgment.

Ill
2
  Defendant Rote also filed a Motion to Stay the proceedings pending the outcome of hi s Motion
for Relief. ECF 233. Becau se the Court has now ruled on Defendant' s Motion fo r Relief,
Defendant's Motion to Stay is moot.

5- O PI N ION & ORDER


                                                                                            Exhibit 10
                                                                                              5 of 6
    Case 3:19-cv-00082-MO          Document 1-2        Filed 01/16/19     Page 310 of 351




                                        CONCLUSION

       The Court DEN IES Defendant' s Moti on to Set Aside [229] and w ill enter Plaintiff s

Proposed Judgment [23 1]. Accordingly, Defendant's Motion to Stay [233] is DEN IED as moot.

       IT IS SO ORDERED.

                      Dated this   cj Oday of tJvu~bev                    '2018.




6- OP INION & ORDER

                                                                                       Exhibit 10
                                                                                          6 of 6
    Case 3:19-cv-00082-MO            Document 1-2   Filed 01/16/19     Page 311 of 351




                        IN THE UN ITED STATES DISTRICT COU RT

                               FOR THE DISTRICT OF OREGON



MAX ZWEIZIG,                                            No . 3: 15-cv-0240 I-H Z

                      Plaintiff,                        JUDGMENT

       V.

NORTHWEST DIRECT TELESERYICES,
INC.; NORTHWEST DIRECT MARKETING
OF OREGON , INC,; TIMOTHY ROTE;
NORTHWEST DIRECT MARKETING
(DELA WARE), INC.; NORTHWEST DIRECT
OF IOWA, INC.; ROTE ENTERPRISES, LLC;
and NORTHWEST DIRECT MARKETING, INC.;

                       Defendants.



HERNANDEZ, Di strict Judge:

       This matter was tried before a jury from January 16 to January 17, 2018, in Po11land,

Oregon, the Honorable Marco A. Hernandez presid ing. The matter being tried and the jury

having rendered its verdict,

       IT IS ORDERED AN D ADJUDGED that Judgment is entered for Plaintiff and against

Defendants Timothy C. Rote, Northwest Direct Teleservices, Inc., No11hwest Direct Marketing

of Oregon, Inc. , Northwest Direct Marketing, Inc. , Not1 hwest Direct of Iowa, Inc. , Rote



I -J UDGMENT
                                                                                   Exhibit 11
                                                                                     1 of 2
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Enterprises, LLC, and Northwest Direct Marketing, Inc (Delaware) j ointly and severally in the

amount of five hundred thousand dollars ($500,000 .00) with interest accruing on Plaintiff s

claims against Defendants under Oregon Revised Statutes Chapter 659A at the rate of 2. 70% per

annum from the date judgment is entered.




       DATED thi s   _'"'),"--C.4,,0'--- day of November, 20 18.


                                             ~        MARCOA. HERNAN DE
                                                      United States DistricLludge




2 -JUDGM ENT
                                                                                    Exhibit 11
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                       Case 3:19-cv-00082-MO                                   Document 1-2                          Filed 01/16/19        Page 313 of 351

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                                                                               REGISTER OF ACTIONS
                                                                                 CASF 'fo. I 6CV0 7564


 Timothy C Rote vs Linda L Marshall, Oregon State Bar, Joel Christensen, §                                                        Case Type:     Tort • General
 John Does 1-5                                                           §                                                        Date Filed :   03/ 09/2016
                                                                         §                                                          Location:    Clackamas
                                                                                                    §                       Court of Appeals:    CA162972
                                                                                                    §                                            CA164406
                                                                                                    §
                                                                                                    §




                                                                                                                                                      Attorneys
 Defendant               Christensen, Joel                                                                                                            MATTHEW J KALMANSON
                                                                                                                                                       Retained
                                                                                                                                                      503 222-4499(W)



                                                                                                                                                      CAREY CALDWELL
                                                                                                                                                       Retained
                                                                                                                                                      503 222-4499(W)


 Defendant               John Does 1-5
                          Dism


 Defendant               Marshall, Linda L                                                                                                            MATTHEW J KALMANSON
                                                                                                                                                       Retained
                                                                                                                                                      503 222-4499(W)



                                                                                                                                                      CAREY CALDWELL
                                                                                                                                                       Retained
                                                                                                                                                      503 222-4499(W)


 Defendant               Oregon State Bar                                                                                                             Mark Johnson Roberts
                                                                                                                                                       Retained
                                                                                                                                                      503 43 1-6363(W)


 Plaintiff               Rote, Timothy C                                                                                                              Pro Se
                          24790 SW Big Fir Rd
                          West Linn. OR 97068


                                                                                 E\·E1"TS   & 01w i::RS o..- T IIE Coun.T

                      DISPOSITI01'"S
 08/12/2016 Judgment · Limited Dismissal (Judicial Officer: Herndon, Robert D)
                Party( John Does 1-5)
              Created: 08/12/201 6 8:28 AM

 08/ 16/2016 Judgment - Limited Dismissal (Judicial Officer: Herndon, Robert D)
                 Comment (ptfs amended complaint against def s is dismissed)
               Created: 08/ 16/20 16 11:12 AM

 02/03/2017 Judgment - Supplemental (Judicial Officer: Herndon, Robert D)
               Monetary Award (Unsatisfied, 02/03/2017)
                  Signed Date: 02/03/2017
                  Expira tion Date: 02/03/2027
                  Monetary Award:
                                         Creditor: Linda L Marshall, Joel Christensen. Debtor: nmothy C Rote, Unsatisfied, Award Type: Judgment Prevailing Fees, Amount:
                                         $300.00
                                      Monetary Award:
                                         Cred itor: Linda L Marshall, Joel Christensen, Deotor: nmothy C Rote, Unsatisfied, Award Type: Judgment Court Costs, Amount:
                                         $6 14.60
                                      Monetary Award:
                                  Creditor: Linda L Marshall, Joel Christensen, Deotor: Timothy C Rote, Unsatisfied, Award Type: Judgment Attorney Fees, Amount:
                                  $27500.00
                             Total: $28414 .6
                       Created: 02/09/2017 1:36 PM

 08/30/2017 Judgment - Supplemental (Judicial Officer: DEHOOG. ROGER)
               Monetary Award (Unsatisfied, 08/30/2017)

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               Case 3:19-cv-00082-MO                        Document 1-2               Filed 01/16/19              Page 314 of 351

12/14/2018                              https://publicaccess.courts .oregon.gov/ PublicAccesslogin/CaseDetail .aspx?CaselD=28317805
                     Signed Date: 08/30/2017
                     Expiration Date: 08130/2027
                     Monetary Award:
                         Creditor: Linda L Marshall, Joel Christensen, Debtor: Timothy C Rote. Unsatisfied, Award Type: Judgment Court Costs, Amount:
                         $505.00
                     Monetary Award:
                         Creditor: Linda L Marshall, Joel Christensen, Debtor: Timothy C Rote, Unsatisfied , Award Type: Judgment Attorney Fees, Amount:
                         $8341 .50
                     Total: $8846.5
               Created: 08/31 12017 9:35 AM

 04/26/2018 Judgment· Supplemental Creates Lien
               Monetary Award (Unsatisfied, 04/2612018)
                  Signed Date: 04126/2018
                  Expiration Date: 04/26/2028
                  Monetary Award:
                         Creditor: Linda L Marshall, Joel Christensen, Debtor: Timothy C Rote, Unsatisfied, Award Type: Judgment Court Costs , Amount:
                         $523.40
                     Monetary Award:
                          Creditor: Linda L Marshall, Joel Christensen, Debtor: Timothy C Rote, Unsatisfied, Award Type: Judgment Attorney Fees, Amount:
                          $4646 .00
                     Total: $5169.4
               Created: 04/27/2018 3:54 PM


             OTHER EVENTS A.'ID HEARl!'iCS
 03/09/20 16 ComP.laint
               Created: 03/09/2016 10:54 AM
 03/0912016 Service
                Marshall, Linda L                                     Unserved
                Oregon State Bar                                      Unserved
                Rote, Timothy c                                       Unserved
                Christensen, Joel                                     Served                   03/16/2016
                John Does 1-5                                         U nserved
               Created: 03/09/2016 10:54 AM
 03/1012016 ComP.laint • Amended
               C reated: 03/ 11/20 16 10:24 AM
 03/11/2016 Service
                Marshall, Linda L                                     Unserved
                Oregon State Bar                                      Unserved
                Christensen, Joel                                     Unserved
                John Does 1-5                                         Unserved
               Created: 03/ 11/2016 10:24 AM
 03/15/2016 Notice • ReP.resen tation
               Created: 03/ 16/2016 7:40 AM
 03125/2016 ComP.laint - Amended
               Second
               Created: 03/25/20 16 1 :14 PM
 0312512016 Service
                Marshall, Linda L                                     Unserved
                Oregon State Bar                                      Unserved
                Christensen, Joel                                     Unserved
                John Does 1-5                                         Unserved
               Created: 03/25/2016 1:16 PM
 0 4107/2016 Proof - Service
               RE: COMPLAINT
               Created: 04108/2016 9:38 AM
 04/2512016 Notice. Intent Take Default
               Created: 04125/2016 11 :59 AM
 04/25/2016 Notice - Intent Take Default
               Created: 04/25/2016 12:00 PM
 04/25/2016 Notice - Intent Take Default
               Created: 04/25/2016 12:00 PM
 04/2612016 Motion. Dismiss with Prejudice
               no fee ORS 20.140.Civil Motions lo Schedule Workflow..
               Created : 04/26/2016 10:44 AM
 04/26/2016 Motion
               Civil Motions to Schedule Workflow
               Created: 04/27/2016 10:34 AM
 04126/2016 Declaration
               C reated: 04127/2016 10:35 AM
 05/02/2016 RepJy_
               Created: 0510 2120 16 3:25 PM
 05/02/2016 Declarati on
               Created: 05/0 2/20 16 3:27 PM
 05/04/2016 Declaration
               Created: 05/05/2016 8:58 AM
 05/04/2016 Re pJy_
               & Memorandum to Oregon State Bar Motion to Dismiss and Ptf motion for leave to amend pleadings; Oral Arguement requested; workflowed to
               Civil Motions to Schedule Workflow
               Created: 05/09/20 16 12:26 PM
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                 Case 3:19-cv-00082-MO                           Document 1-2                  Filed 01/16/19                Page 315 of 351

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                  Created: 05/ 1212016 2:53 PM
 05112/2016    RepJy.
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 05118/2016    Motion -Disgualify Judg~
                  JSJ, ELM and HLK
                  Created: 05/18120 16 11:47 AM
 05/2312016    Hearing - Motion (9:00 AM) (Judicial Officer Winters, Eric Skip)
                  OSB's mldismiss; defs' anti-SLAPP motion also to be heard; aty Caldwell rdy 30 min 5119; aty Johnson rdy 30 min 5/19;
               Result: Held
                  Created : 04126/2016 11 :25 AM
 0610312016    Motion - Reconsider
                  Civil Motions to Schedule Workflow
                  Created: 06/06/2016 9:23 AM
 06106/2016    Judgment - ProJlosed (Judicial Officer: Winters, Eric Skip)
                  not to be signed
                  Created: 06/06/2016 2:10 PM
 06/07/2016    Motion - Strike
                  ptfs mlto reconsider.. Civil Motions to Schedule Workflow
                  Created: 06107/2016 4:13 PM
 06/ 14/2016   Letter
                  From Plft Timothy C. Rote e-mailed to ROH.
                  Created: 06114/2016 2:32 PM
 06/14/2016    Letter (Judicial Officer: Herndon, Robert D)
                  In response to e-mail from Timothy C. Rote;
                  Created: 06/ 14/2016 2:34 PM
 06122/2016    Notice - Dismiss Want Prosecution
                  Created: 06122/2016 3:45 PM
 06123/20 16   Notice
                  Created: 06124/201610:39AM
 0612712016    Motion - Reconsider
                  Civil Motions to Schedule Workflow
                  Created: 06/27/2016 9:43 AM
 08/03/201 6   Hearing - Motion (1:30 PM) (Judicial Officer Herndon. Robert D)
                  Hearing on Plaintiffs Motion for Reconsideration on Order Granting Oregon State Bar's Motion to Dimiss and Consideration of New Evidence. Atty
                  Caldwell ready, 1 hr(?) 8/ 1;
               Result: Held
                  Created: 07/261201 6 9:50 AM
 08112/2016    !l!gitized Judgment Document (Judicial Officer: Herndon, Robert D)
                  Signed Date: 08112/2016
                  Created: 08/12/2016 8:29 AM
 08112/2016    Notice - Judgment Entry
                  Created: 08112120 16 8:30 AM
 08/12/2016    Statement -Attorney Fees
                  Created: 08/12/20 16 1:13 PM
 08/12/2016    Declaration
                  Created: 08/12120 16 1:13 PM
 08/1612016    Order (Judicial Officer: Herndon. Robert D )
                  mlto reconsider and anti slapp motion
                  Signed: 08115/201 6
                  Created : 08116/2016 11:10 AM
 08/ 16/2016   Qlgitized Judgment Document
                  Created : 08116/2016 11:16 AM
 0812512016    QP.P.osition
                   to ptfs Atty fees. In paper. Fwd l o ctnn 2 to possibly set hrg.
                  Created: 08131/2016 10:28 AM
 08125/201 6   Declaration
                  in paper
                  Created: 08/31/2016 10:29 AM
 08/2912016    Notice - Al!l!eal
                   CA162972/Record in its entirety
                  Created: 08/29/2016 9:59 AM
 0910 1/2016   Declaration
                  Created: 09/02/201 6 10:27 AM
 0910 1/2016   RepJy_
                   in support of atty fees, cost
                  Created: 09102/2016 10:27 AM
 09/07/2016    Motion - Stay Execution
                  and award of atty fees pending disposition of appeal. In paper. Fwd to ctrm 5
                  Crea ted: 09/09/2016 9:06 AM
 09108/2016    Notice
                  of monies deposited in lieu of undertaking ff500
                  Crea ted: 09109/2016 11 :24 AM
 09116/2016    Ql!P.OSition
                   to ptfs mlto stay execution
                  Created: 09116/2016 3:50 PM
 09122/2016    Order (Judicial Officer: Herndon, Robert D )
                  re: ptfs mlto stay execution as Denied. In paper
                   Signed: 0912 112016
                  Created: 09/221201 6 9:20 AM
 09/23/2016    Order (Judicial Officer: Winters, Eric Skip )
                   OSB's mlto dism; vacated 11/ 2112016 by Judge Winters
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1211412018                                 https://publicaccess .courts.oregon.govlPublicAccessloginl CaseDetail .aspx?Case1D=28317805
                 Signed: 0912312016
                 Created: 0912312016 9:40 AM
 1011812016    Notice
                 CA162972/Transcript deemed settled; Electronic transcript and certifica te due within 14 days; Opening Briefs due 11/ 29/2016
                 Created: 1011812016 9:55 AM
 1110812016    Motion - Reconsider
                 Civil Motions to Schedule Work/low
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 11/0812016    Declaration
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 1112212016    ResP.onse
                 to ptfs m!to reconsider.
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 1210412016    Declar ation
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 12/0412016    Exhibit
                 Created: 12105/2016 9:48 AM
 1211912016    Hearing_ (10:30 AM) (Judicial Officer Herndon, Robert D)
                 Statement for Attorney fees, costs and disbursements for Defendants Linda Marshall and Joel Christiansen.
               Result: Held
                 Created : 11/171201611 :45AM
 12/30/2016    QP.inion - L etter (Judicial Officer: Herndon, Robert D)
                 Signed: 12/3012016
                 Created: 12/30/2016 9:05 AM
 02/0912017    Order (Judicial Officer: Herndon, Robert D )
                 ptrs m!to reconsider
                 Signed: 02/03/2017
                 Created: 02109120 17 1:30 PM
 02/0912017    Qjgitized Judgment Document
                 Created: 02/09/20 17 1 :37 PM
 02/0912017    Notice - Judgment Entry_
                 Created: 02/09/20 17 1 :37 PM
 0311512017    Notice - AP.P.eal
                  CA 164406/Record in its entirety; Judgment entered 02109/2017
                 Created: 03/ 16/20 17 11:38 AM
 0411012017    Notes - Correspondence
                 Notice of Transcriber Assignment filed with the Court of Appeals. K. Bradford assigned to prepare transcript Re: A 164406/Dec. 19, 2016 hrg.
                  Created: 04/ 11/2017 8:49 AM
 0411112017    Regu est - Record Proceeding§.
                  CA 162972/Trial Court File requested by GOA; No Trial Court Exhibits
                  Created: 04/1 1/2017 1:57 PM
 0411712017    Order (Judicial Officer: Nass, James W)
                  CA 164406/Granting Motion for Extension of Time; Transcript now due 05/03/2017
                  Signed: 0411712017
                  Created: 0411712017 1:03 PM
 0412 112017   Certificate
                  CA 162972/Trial Court File sent e Transmission to GOA; No Trial Court Exhibits
                  Created: 0412112017 9:36 AM
 0412 112017   N otice
                  CA 162972/Email confirmation Trial Court File sent eTransmission; No Trial Court Exhibits
                  Created: 0412112017 11 :48 AM
 05117/2017    Notice
                  CA 164406/Transcript settled; Electronic transcript and certificate due within 14 days; Opening Briefs due 06/28/2017
                  Created: 05/1 7/2017 1:45 PM
 07/24/2017    Motion - Relief from Judgment
                  ff100 for jgmt entered against ptf to Civil Motions to Schedule Workflow
                  Created: 07/24/2017 3:47 PM
 07/24/2017    Declara tion
                  Created: 07/24/2017 3:47 PM
 07124/2017    E xhibit
                  Created: 07/24/2017 3:47 PM
 07/24/2017    E xhibit
                  Created: 07124/ 2017 3:47 PM
 07/24/2017    E x hibit
                  Created: 07/ 24/2017 3:47 PM
 07/24/2017    Motion - Amen d
                  amended m!for relief to Civil Motions to Schedule Workflow
                  Created: 07/25/2017 10:49 AM
 07/24/2017    Declaration
                  Created: 07/25/2017 10:49 AM
 08109/2017    Q1mosition
                  to ptfs m!to amend to Civil Motions to Schedule Workflow
                  Created: 08/09/2017 1:36 PM
 08/ 17/2017   Motion
                  for Leave to File 2nd Amended Motion to Dismiss
                  Created: 08/ 17/2017 3:54 PM
 08117/2017    E xhibit

https://publicaccess.courts.oregon.govl PublicAccessLoginl CaseDetail.aspx?CaselD=283 17805                                                                     416
                                                                                                                                          Exhibit 12
                                                                                                                                            4 of 6
                 Case 3:19-cv-00082-MO                     Document 1-2                       Filed 01/16/19           Page 317 of 351

12/14/2018                               https://publicaccess .courts.oregon.govlPublicAccessLogin/CaseDetail .aspx?CaselD=28317805
                  Exhibit 1
                  Created : 08/17/2017 3:54 PM
 08/17/2017     Exhibit
                  Exhibit 2
                  Created: 08/171201 7 3:54 PM
 08117/201 7    RepJY.
                  in Support of Motion to Vacate Judgment
                  Created: 08/ 17/2017 3:54 PM
 0812112017     Motion. Relief from Judgment
                  ff100 to Civil Motions to Schedule Workflow
                  Created: 08/2 1/2017 3:44 PM
 08/2112017     Declaration
                  Created: 08/2112017 3:44 PM
 08/21/2017     Exhibit
                  Created: 08121 /20 17 3:44 PM
 08/2 1/2017    Exhibit
                  Created: 08/21/20 17 3:44 PM
 08/2 1/2017    Exhibit
                  Created: 08/2 1/20 17 3:44 PM
 08/2912017     Letter
                  req to back date 8/21 motion to 8117 to ROH in paper
                  Created: 08131/2017 11 :16 AM
 08/31/2017     Filing COP.Y • Affirm on AP.P~(Pre-DiSP.OSition).
                  CA 162972/AFFIRMED WITHOUT OPINION; Costs allowed, payable by Appellant; Effective 08/30/2017
                  Created: 08/31/2017 9 :22 AM
 08/3 1/2017    Qjgitized Judgment Document (Judicial Officer: DEHOOG, ROGER)
                  Signed Date: 08/30/2017
                  Created: 08131/2017 9 :37 AM
 0813 1/20 17   Notice - Judgment Entry_
                  Created: 08131 /2017 9:42 AM
 09105/20 17    QP.P.Osition
                   TO PLAINTIFF'S MOTION TO AMEND AND TO THE AUGUST 17,2017 ORCP 71 MOTION TO VACATE JUDGMENT
                  Created: 09105/2017 10:34 AM
 0911312017     RepJY.
                  in Support of Memorandum for Relief
                  Created: 09/1312017 1 :05 PM
 09/14/2017     Hearin g_ (9:00 AM) (Judicial Officer Herndon, Robert D)
                  Pitt. 's Amended Motion for Relief of Judgment; 30 min;
                Result: Held
                  Crea ted: 08/11/2017 1:35 PM
 09126/20 17    O rder (Judicial Officer: Herndon, Robert D )
                   ON PLAINTIFF'S ORCP 71 MOTION TO VACATE THE SUPPLEMENTAL JUDGMENT, MOTION FOR LEAVE TO AMEND, AND MOTION FOR
                  RELIEF OF JUDGMENT DATED AUGUST 16,2016 is DENIED.
                  Signed: 09/26/2017
                  Created: 09/26120 17 11 :14 AM
 12/0112017     Reguest • Record Proceeding 2
                   CA 164406/Trial Court File requested by GOA; No Trial Court Exhibits
                  Created: 12101120 17 9:26 AM
 12/07/2017     Certificate
                   CA 164406/Trial Court File sent e Transmission; No Trial Court Exhibits
                   Created: 12/07/2017 11 :43 AM
 12/0712017     Notice
                   CA 164406/Email confirmation Trial Court File sent e Transmission; No Trial Court Exhibits
                   Created: 12/07/2017 2:37 PM
 04/2612018     Filing COP.Y • Affirm on AP.P~(Pre-DiSP.OSition).
                   CA 164406: Affirmed without opinion
                   Created : 04127/2018 3:52 PM
 04127/20 18    Notice· Judgment Entr,,.
                   Created: 04/27/2018 3:55 PM


                                                                   F 11':ANCIAI. I NFOR)TATIO:\"




                Attorney CALDWELL, CAREY
                Total Financial Assessment                                                                                                    14.40
                Total Payments and Credits                                                                                                    14.40
                Balance Due as of 12/1412018                                                                                                   0.00

 0912 1/20 18   Transaction Assessment                                                                                                         14.40
 09121/ 2018    Phone Payment             Receipt# 2018-871667                                     Gordon L Wellborn                         (1 4.40)



                Defendant Christensen, Joel
                Total Financial Assessment                                                                                                   158.00
                Total Payments and Credits                                                                                                   158.00
                Balance Due as of 12/1412018                                                                                                   0.00

 0412712016     Transaction Assessment                                                                                                     158.00
 04127/2016     xWeb Accessed eFile       Receipt# 2016-2087426                                    Christensen, Joel                     (158.00)



https://publicaccess.courts.oregon .govlPublicAccessLogin/CaseDetail.aspx?CaselD=2831 7805                                                        516
                                                                                                                                Exhibit 12
                                                                                                                                  5 of 6
                 Case 3:19-cv-00082-MO                     Document 1-2               Filed 01/16/19            Page 318 of 351

12/ 14/2018                             https://publicaccess .courts .oregon.gov/PublicAccesslogin/CaseDetail.aspx?Case 10=28317805


               Plaintiff Rote, Timothy C
               Total Financial Assessment                                                                                                    993.00
               Total Payments and Credits                                                                                                    993.00
               Balance Due as of 12/14/2018                                                                                                    0.00

 03/09/2016    Transaction Assessment                                                                                                      793.00
 03/09/2016    Counter Payment           Receipt# 2016-1 910442                            Rote, Timothy C                               (793.00)
 07/24/2017    Transaction Assessment                                                                                                      100.00
 07/24/2017    xWeb Accessed eFile       Receipt # 2017-668082                             Rote, Timothy C                               (100.00)
 08/2 1/2017   Transaction Assessment                                                                                                      100.00
 08/21/2017    xWeb Accessed eFile       Receipt# 2017-758337                              Rote. Timothy C                               (100.00)




https://publicaccess.courts.oregon .gov/PublicAccesslogin/CaseDetail .aspx?Casel0=28317805                                                        6/6
                                                                                                                                Exhibit 12
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                                                                 CT,PROT ECTI VE ORD,TERM JN ATED

                                   U.S. District Court
                            District of Oregon (Portland (3))
                     CIVIL DOCKET FOR CASE#: 3:14-cv-00406-HZ


Zweizig v. Rote et al                                            Date Filed: 03/11/2014
Assigned to: Judge Marco A. Hernandez                            Date Terminated: 07/25/2018
Demand: $600,000                                                 Jury Demand: Both
Cause: 28: 1332 Diversity-Fraud                                  Nature of Suit: 370 Other Fraud
                                                                 Jurisdiction: Diversity
Plaintiff
 Max Zweizig                                    represented by Linda L. Marshall
                                                               PMB 408
                                                               3 Monroe Parkway
                                                               Suite P
                                                               Lake Oswego, OR 97035
                                                               503-699-2082
                                                               Fax: 503-697-8477
                                                               Email:
                                                               linda.marshall.attorneyatlaw@gmai l.com
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                                 Joel W. Christiansen
                                                                 8 12 NW 17th Avenue
                                                                 Portland, OR 97209
                                                                 503 -84 1-6722
                                                                 Fax: 503-928-5580
                                                                 Email: joel@oremploymentlawyer.com
                                                                 TERMINATED: 06/24/2016

                                                                 Shawn M. Sornson
                                                                 Shawn M. Sornson, PC
                                                                 34 15 Corrunercial Street, SE
                                                                 Suite 106
                                                                 Salem, OR 97302
                                                                 (503) 585-3224
                                                                 Fax : (503) 585-3755
                                                                 Email: smsattorney@hotmail.com
                                                                 TERMINATED: 04/ 13/2015


V.
Defendant
                                                represented by



https://ecf.ord.uscourts.gov/cgi-bin/DktRpt. pl? l 06337936326286-L_ l _ O- l                 12/14/20 18
                                                                                              Exhibit 13
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District of Oregon CM/ECF LIVE Release Version 6.1                                      Page 2 of 33



Timothy C. Rote                                              Timothy C. Rote
a citizen of the State of Oregon                             24790 SW Big Fir Road
                                                             West Linn, OR 97068
                                                             Email: timothy.rote@gmai l.com
                                                             PRO SE

                                                             Jeffrey I. Hasson
                                                             Hasson Law, LLC
                                                             9385 SW Locust Street
                                                             Tigard, OR 97223
                                                             503-255-5352
                                                             Fax: 503-255-6 124
                                                             Email: hasson@hassonlawllc.com
                                                             TERMINATED: 12/28/2015

 Defendant
Northwest Direct Teleservices, Inc.           represented by Northwest Direct Teleservices, Inc.
an Oregon.for-profit corporation.                            c/o Timothy C. Rote
De.fa ult entered 2/20/2017                                  24790 SW Big Fir Road
                                                             West Linn, OR 97068
                                                             PRO SE

                                                             Andrew C. Brandsness
                                                             Brandsness Brandsness & Rudd, P.C.
                                                             411 Pine Street
                                                             Klamath Falls, OR 9760 I
                                                             54 1-882-6616
                                                             Fax: 541-882-357 l
                                                             Email: andy@brandsnessrudd.com
                                                             TERMINATED: 11/01/2016

                                                             Jeffrey I. Hasson
                                                             (See above for address)
                                                             TERMINATED: 12/28/2015

Defendant
Northwest Direct Marketing of                 represented by Northwest Direct Marketing of
Oregon, Inc.                                                 Oregon, Inc.
an Oregon.for-pro.fit corporation.                           PRO SE
Default entered 2/20/2017
                                                             Andrew C. Brandsness
                                                             (See above for address)
                                                             TERMINATED: 11/01/2016

                                                             Jeffrey I. Hasson
                                                             (See above for address)
                                                             TERMINA TED: 12/28/2015
 Defendant




https://ecf.ord. uscourts.gov/cgi-bin/DktRpt.pl? 106337936326286-L_I_O- l                 12/ 14/20 18
                                                                                          Exhibit 13
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Does 1-10
TERMINATED: 12/ 11/2015

Defendant
Northwest Direct Marketing, Inc.                 represented by Northwest Direct Marketing, Inc.
an Oregon for-profit corporation.                               PROSE
Default entered 2/20/2017
                                                                 Andrew C. Brandsness
                                                                 (See above for address)
                                                                 TERMINATED: l l/0112016
Defendant
Northwest Direct of Eugene, Inc.
Removed.fi-om docker per Order [111}
TERMINATED: 02/ 11/2016
also known as
Northwest Direct Marketing, Inc.

Defendant
Northwest Direct of Iowa, Inc.                   represented by Northwest Direct of Iowa, Inc.
an Iowa for-profit corporation. Default                         PRO SE
entered 2/20/2017
                                                                 Andrew C. Brandsness
                                                                 (See above for address)
                                                                 TERMINATED: 11101/2016

Defendant
Rote Enterprises, LLC                            represented by Rote Enterprises, LLC
an Oregon limited liability company.                            PROSE
Default entered 2/20/2017
                                                                 Andrew C. Brandsness
                                                                 (See above for address)
                                                                 TERMINATED: 11/01/2016
Defendant
Northwest Direct Marketing, Inc.                 represented by Northwest Direct Marketing, Inc.
a Delaware Corporation. Default                                 (See above fo r address)
entered 2/20/2017                                               P ROSE
also known as
No1thwest Direct Marketing                                       Andrew C. Brandsness
(De laware), Inc.                                                (See above for address)
                                                                 TERMINATED: 11/01/2016


 Date Filed        #       Docket Text
 03/11 /20 14          I   Complaint. Fili ng fee in the amount of $400 collected. Agency Tracking ID :
                           0979-3607994 Jury Trial Requested: Yes. Filed by Max Zweizig against All




https ://ecf.ord. uscomts.gov/cgi-bin/DktRpt.pl? 10633 7936326286-L_ l _O- l                    12/ 14/2018
                                                                                                Exhibit 13
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                          Defendants (Attachments: # l Civil Cover Sheet). (Marshall, Linda) (Entered:
                          03/1 1/2014)
 03/11/2014         ')
                          Notice of Case Assignment to Magistrate Judge Janice M. Stewart and
                          Discovery and Pretrial Scheduling Order. NOTICE : Counsel shall print and
                          serve the summonses and all documents issued by the Clerk at the time of
                          filing upon all n amed parties in accordance with Local Rule 3-5. Discovery
                          is to be completed by 7/9/20 14. Joi nt Alternate Dispute Resolution Report is
                          due by 8/8/2014. Pretrial Order is due by 8/8/2014. Ordered by Magistrate
                          Judge Janice M. Stewart. (cib) (Entered: 03/12/2014)
 03/ 13/2014        J.'   Proposed Summons of Timothy C. Rote Filed by Max Zweizig. (Marshall,
                          Linda) (Entered: 03/13/20 14)
 03/ 13/20 14       4     Proposed Summons to Northwest Direct Teleservices, Inc. Fi led by Max
                          Zweizig. (Marshall, Linda) (Entered: 03/13/20 14)
 03/13/2014         i     Proposed Summons lo Northwest Direct Marketing o.lOregon, Inc. F iled by
                          Max Zweizig. (Marshall, Linda) (Entered: 03/13/2014)
 03/ 13/20 14       ~     Proposed Summons to Northwest Direct Marketing, Inc. Filed by Max
                          Zweizig. (Marshall, Linda) (Entered: 03/ 13/2014)
 03/ 13/2014        l     Amended Proposed Summons to Northwest Direct Teleservices, Inc. Filed by
                          Max Zweizig. (Marshall, Linda) (Entered: 03/13/2014)

 03/ 13/20 14       1i Amended Proposed Summons to Northwest Direct Marketing o.l Oregon, Inc.
                          Filed by Max Zweizig. (Marshall, Linda) (Entered: 03/13/2014)
 03/13/2014         2     Amended Proposed Summons to Timothy C. Rote Filed by Max Zweizig.
                          (Marshall, Linda) (Entered: 03/13/20 14)
 03/13/20 14       J.Q    Amended Proposed Summons to Northwest Direct Teleservices. Inc. F iled by
                          Max Zweizig. (Marshall, Linda) (Entered: 03/13/2014)
 03/ 14/2014       11     Summons Issued Electronically as to Northwest Direct Marketing of Oregon,
                          Inc., Northwest Direct Marketing, Inc., Northwest Direct Teleservices, Inc.,
                          T imothy Rote. NOTICE: Counsel shall print and serve the summonses and
                          all documents issued by the Clerk at the time of filing upon all named
                          parties in accordance with Local Ru le 3-5. (A ttachments: # l NW Direct
                          Teleservices, Inc. ,# l NW Direct Marketing of O regon, # l issued summons
                          Timothy Rote) (cib) (Entered: 03/14/20 14)
 05/23/20 14       12     Waiver of Service of Summons Returned Executed by Timothy Rote waiver
                          sent on 4/ 16/2014. Filed by Max Zweizig. (Marshall, Linda) (Entered:
                          05/23/2014)
  05/23/2014       13     Waiver of Service of Summ ons Returned Executed by No11hwest Direct
                          Marketing, Inc. waiver sent on 4/16/20 14. F iled by Max Zweizig. (Marshall,
                          Linda) (Entered: 05/23/20 14)
  05/23/20 14      B      Waiver of Service of Summons Returned Executed Filed by Max Zweizig.
                          (Marshall, Linda) (Entered: 05/23/2014)
  05/23/20 14       15




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                                                                                                Exhibit 13
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                            Waiver of Service of Summons Return ed Executed by No11hwest Direct
                            Marketi ng of Oregon, Inc. waiver sent on 4/16/2014. Filed by Max Zweizig.
                            (Marshall, Linda) (Entered : 05/23/2014)
 05/23/20 14      16        Waiver of Service of Summons Returned Executed by No11hwest Direct
                            Teleservices , Inc. waiver sent on 4/ 16/20 I 4. Filed by Max Zweizig. (Marshall,
                            Linda) (Entered: 05/23/20 14)
 06/03/20 14      ll        Amended Complai nt . Filed by Max Zweizig against A ll Defendants.
                            (Marshall, Linda) (Entered: 06/03/20 14)

 06/04/2014       JJi       Notice of Appearance of Jeffrey I. Hasson appearing on behalf of Northwest
                            Direct Marketing of Oregon, Inc., Northwest Direct Marketing, Inc., No rt hwest
                            D irect Teleservices, Inc., Timothy Rote Filed by on behalf of Northwest Direct
                            Marketing of Oregon, Inc. , Northwest Direct Marketing, Tnc., Northwest Direct
                            Teleservices , Inc. , Timothy Rote (Hasson, Jeffrey) (Entered: 06/04/2014)

 06/16/2014       l2        Motion to Dismiss fo r Lack of Jurisdiction . Oral Argument requested. Filed by
                            Northwest Direct Marketing, Inc., No11hwest Direct Marketing of Oregon, inc.,
                            Northwest Direct Teleservices, Inc., Timothy Rote. (Hasson, Jeffrey) (Entered:
                            06/ 16/20 14)
 06/ 16/2014      :2.0 Corporate Disclosure Statement . Filed by Northwest Direct Teleservices, Inc ..
                            (Hasson, Jeffrey) (Entered: 06/1 6/20 14)

 06/16/20 I 4     2 1 Corporate Disclosure Statement. Fi led by Northwest Direct Marketing of
                      Oregon, Inc .. (Hasson, Jeffrey) (Entered: 0 6/ 16/2014)
 06/ 16/20 14
                  =
                  "')   ~
                            Corporate Disclosure Statement . Filed by Northwest Direct Marketi ng, Inc ..
                            (H asson, Jeffrey) (Entered: 06/ 16/20 14)

 06/16/20 I 4     23        Unopposed Motion fo r Stay Discove1y and Pretrial Order Deadlines . Fi led by
                            Northwest Di rect Marketing of Oregon, Inc., Northwest D irect Marketing, Inc. ,
                            Northwest Direct Teleservices, Inc., Timothy Rote. (H asson, Jeffrey) (Entered:
                            06/16/20 14)

 06/17/20 14      24        ORDER: Granting Defendants' Unopposed Motion To Stay Discovery and
                            Pretrial Order Deadlines 23 pending outcome of Motion to D ismiss 12. .
                            Ordered by Magistrate Judge Janice M. Stewart. (j lr) (Entered: 06/17/2014)

 06/20/2014       25        Scheduling Order by Magistrate Judge Janice M. Stewart: SETTING Motion to
                            D ismiss for Lack of Jurisdiction 12. for Oral Argument on Thursday, 8/21/2014
                            at 09:30AM in Po11land Courtroom l IA before Magistrate Judge Janice M.
                            Stewart. Please see attached Notice Regarding Civil Case Procedures in cases
                            assigned to Judge Stewart. (jl r) (Entered : 06/20/201 4)
 06/30/20 14       :?. (i   Unopposed Motion for Extensio n of Time. Filed by Max Zwe izig. (Marshall,
                            Linda) (Entered: 06/30/2014)
 06/30/2 0 14      27 Declaration ofLinda L. Marsha ll in Support for Unopposed Motion.for
                            Extension o_f Time. Fi led by Max Zweizig. (Related docurnent(s): Motion for
                            Extension of Time 26 .) (Marshall, Linda) (Entered: 06/30/2014)
  07/0 1/2014      28




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                                                                                                    Exhibit 13
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                          ORDER: Granting Motion for Extension of Time 26 to file response to Motion
                          to Dismiss for Lack of Jurisdiction l2 . Response is due by 7/2/2014. Ordered
                          by Magistrate Judge Janice M. Stewart. (jlr) (Entered: 07/01/2014)
 07/02/2014        29 Memorandum in Opposition to Motion to Dismiss fo r Lack of Jurisdiction .l.2.
                          Oral Argument requested. Filed by Max Zweizig. (Marshal l, Linda) (Entered:
                          07/02/2014)
 07/1 6/2014       30 Reply to Motion to Dismiss fo r Lack of Jurisdiction l.2 . Filed by Northwest
                      Direct Marketing of Oregon, Inc., Northwest Direct Marketing, Inc., Northwest
                      Direct Teleservices, Inc., Timothy Rote. (Hasson, Jeffrey) (Entered:
                      07/16/2014)
 08/21 /20 14      3 1 MINUTES of Proceedings: before Magistrate Judge Janice M. Stewart.
                       Motion Hearing Held regarding Motion to Dismiss/Lack of Jurisdiction l.2 .
                       ORDER: Plaintiffs Supplemental Brief is due 8/29/2014 ; Defendants'
                       Supplemental Response Brief is due 9/5/20 14. Defendants' Motion to Dismiss
                       (docket # 19 ) will be taken under adv isement upon receipt of the supplemental
                       briefing. Linda Marshall present as counsel for plaintiff(s). Jeffrey Hasson
                       present as counsel for defendant(s). Court Reporter: Jill Erwin (503) 326-8 19 1.
                       (jlr) (Entered: 08/2 1/2014)
 08/29/2014
                   .,,
                   .) ~   Supplement Memoradum In Opposition to Defendant's Motion to Dismiss.
                          Fi led by Max Zweizig. (Related document(s): Motion to Dismiss/Lack of
                          Jurisdiction l..2. .) (Mars hall, Linda) (Entered: 08/29/20 14)
 09/03/2014        33     Sur-Reply (Response to Plaintiff's Supplemental Memorandum) to Motion to
                          Dismiss for Lack of Jurisdiction l2 . Filed by Northwest Direct Marketing of
                          Oregon, Inc., Northwest Direct Marketing, Inc., Northwest Direct Teleservices,
                          Inc., Timothy Rote. (Hasson, Jeffrey) (Entered: 09/03/20 14)
 09/03/2014        34     Order: Taking defendants' Motion to Dismiss for Lack of Jurisdiction .l.2. under
                          advisement as of 9/5/20 14. Ordered by Magistrate Judge Janice M. Stewart.
                          (stewart l , ) (Entered: 09/03/2014)
 10/22/2014        35 Findings & Recommendation: Motion to Dismiss fo r Lack of Jurisdiction l2
                          should be granted as to the Third Claim with leave to replead and othe,wise
                          should be denied. Objections to the Findings and Recommendation are due by
                          11/10/20 14. Signed on 10/22/14 by Magistrate Judge Janice M. Stewai1. (ST)
                          (Entered: 10/22/20 14)
 10/23/20 14       36     Order by Magistrate Judge Janice M. Stewart refeITing Findings &
                          Recommendation 35 , and Motion to Dismiss for Lack of Jurisdiction 1..2 to
                          Judge Marco A. Hernandez fo r his consideration. (jlr) (Entered: I0/23/20 14)
 11 /10/20 14      37 Objections to Findings & Recommendation: Motion to Dismiss for Lack of
                      Jurisdiction .!.2 35 Oral Argument requested. Filed by Northwest Direct
                      Marketing of Oregon, Inc., No11hwest Direct Marketing, Inc., Nmthwest Direct
                      Teleservices, Inc., Timothy Rote. (Hasson, Jeffrey) (Entered: l l/10/20 14)
 11/24/2014        38     STRICKEN pursuant to order dated 12/4/2014. Meffiera11:El1:1fH iA
                          GflflSSitieA [)ejemkm(s Pe,·hel Qbjeehe>"1 te Fi11:EliAgs & Reee&-:.ffieAElatien:
                          Metien te DisfHiss fer Laek ef JHrisElietieR 19 3 5 Gral Argument requesteEI.




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                                                                                                     Exhibit 13
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                        F iled by Ma1, Zweizig. (Marshall , Linda) Modified on 12/4/2014. (mr)
                        (Entered: 11/24/2014)
 12/04/20 14      39    Order fo r Administrative Correction of the Record pursuant to Fed. R. Civ. P.
                        60(a) regarding Memorandum in Opposition 38 filed by Max Zweizig. A
                        Clerical error has been discovered in the case record. The Clerk is directed to
                        make the following administrative conections to the record: Docket entry 3X
                        fi led by pla intiff, is a refiling of docket entry 37 (defendant's objection to
                        F&R). Thus, docket entry 3X is not what it purports to be and the Clerk's Office
                        is directed to strike the filing from the docket. Plaintiff shall immediately file
                        the intended response to opposition to F&R. Ordered by Judge Marco A.
                        Hernandez. (mr) (Entered: 12/04/2014)
 12/04/20 14      40 Response to Objections to Findings & Recommendation (titled by filer:
                        Memorandum in Opposition to Defendants' Pa1tial Oj bections to F&R).
                        Related document(s): 35 Findings & Recommendation, and 3 7 Objections to
                        F indings & Recommendation, Oral Argument requested. Filed by Max
                        Zweizig. (nu-) (Entered: 12/04/20 14)
 12/ 16/20 14     ±l ORDER: The Court adopts Magistrate Judge Stewart's Findings and
                     Recommendation 35 . Therefore, Defendants' Motion to Dismiss l2 is denied
                        with respect to Plaintiffs fi rst and second claims for rel ief, and granted with
                        respect to Plaintiffs third claim for relief, which is dismissed with leave to
                        amend. See 3-page order attached. Signed on 12/16/20 14 by Judge Marco A.
                        Hernandez. (mr) (Entered: 12/17/20 14)
 12/29/201 4       42   Answer to l.1 Amended Complaint . Filed by No1t hwest D irect Marketing,
                        Inc., Northwest Direct Marketing of Oregon, Inc., Northwest Direct
                        Teleservices, Inc., Timothy Rote. (Hasson, Jeffrey) (Entered: 12/29/20 14)
 04/l 0/201 5      43   Scheduling Order by Magistrate Judge Janice M. Stewart: SETTING a
                        TELEPHONE Rule 16 Conference fo r Wednesday, 4/22/201 5 at 09:3 0AM
                        befo re Magistrate Judge Janice M. Stewa1t. Court staff wi ll initiate the call to
                        counsel. Ulr) (Entered : 04/1 0/20 15)
 04/ 13/2015       44 Notice of Attorney W ithdrawal: Filed by Max Zweizig (Somson, Shawn)
                        (Entered: 04/ 13/20 15)
 04/22/2015        45   MINUTES of Proceedings: Telephone Ru le 16 Conference held; No tice
                        Regarding C ivil Case Procedures. ORDER: Setting the following case schedule
                        and deadlines: Joi nt Alternate D ispute Resolution Report is due by 8/28/20 15.
                        Discovery is to be completed and dispositive motions are due by 9/30/2015.
                        Written consents to proceed before a Magistrate Judge, if any, are to be fi led by
                        9/30/2015. Please see the Civil Case Assignment Order (docket# ~, p. 6) fo r
                        Consent fo m1. The Pretrial Order is due and Expert Witness Statements are to
                        be exchanged by 11/2/201 5, unless dispositive motions are filed, in which case,
                        the Pretrial Order is due and Expert Witness Statements are to be exchanged
                        withi n 30 days after a final ru ling on the dispositive motions . Please see the
                        attached Notice regarding additional procedures applicable in cases assigned to
                        Magistrate Judge Stewa1t. Linda Marshall present as counsel fo r plaintiff(s).
                        Jeffrey Hasson present as counsel fo r defendant(s). Court Reporter: none. Tape




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                            No: none.Magistrate Judge Jan ice M. Stewa11 presiding. (stewart l , ) (Entered:
                            04/22/20 15)
 08/18/20 15       46       Stipulated Motion for Protective Order . Filed by Northwest Direct Marketing
                            of Oregon, Inc., Northwest Direct Marketing, Inc., Northwest Direct
                            Teleservices, Inc., Timothy Rote. (Hasson, Jeffrey) (Entered: 08/ 18/2015)
 08/18/2015        47       STIPULATED PROTECTIVE ORDER regarding Stipulated Motion fo r
                            Protective Order 46 . Signed on 8/18/15 by Magistrate Judge Janice M.
                            Stewart. (j Ir) (Entered: 08/18/20 15)
 08/J 9/2015       48       Motion fo r Protective Order. (DOCU iV IENT RESTRICTED AC:CORDl!\G
                            TO PROTECTIVE ORDER) Oral Argument requested. Filed by No11hwest
                            Direct Marketing of Oregon, Inc., No11hwest Direct Marketing, Inc. , Northwest
                            Direct Teleservices, Inc. , Timothy Rote. (Hasson, Jeffrey) (Entered:
                            08/19/2015)
 08/19/2015        49       Declaration of Jeffrey I. Hasson. (DOCUMENT RESTRICTED
                            ACCORDING TO PROTECTIV E ORDER) Filed by N011hwest Direct
                            Marketing of Oregon, Inc. , No11hwest Direct Marketing, Inc., Northwest Direct
                            Teleservices, Inc., Timothy Rote. (Related document(s): Motion fo r Protective
                            Order, 48 .) (Attachments: # l Exhibit A,# I Exhibit B, # J. Exhibit C, # ±
                            Exhibit D, # 2 Exhibit E) (Hasson, Jeffrey) (Entered: 08/ 19/2015)
 08/24/20 15       50       Scheduling Order by Magistrate Judge Janice M. Stewart regarding Motion for
                            Protective Order 48 . TELEPHONE Oral Argument is set for Thursday,
                            9/10/2015 at 11:00AM before Magistrate Judge Janice M. Stewart. Court staff
                            will initiate the call to counsel. (jlr) (Entered: 08/24/2015)
 08/26/201 5       51 Order by Magistrate Judge Janice M. Stewart. Counsel are to call the AT&T
                      toll-free conference line for the TELEPHONE Oral Argument which is set for
                      Thursday, 9/1 0/2015 at 11 :OOAM. The number will be provided to counsel by
                      separate e-mail. (jlr) (Entered: 08/26/20 15)
 08/3 1/2015       52 Joint ADR Report. Filed by Max Zweizig.(Marshall, Linda) (Entered:
                            08/3 1/2015)
                   _,,
 09/02/2015        ::, .)   Motion for Summary Judgment . (DOCUMENT RESTRICTED
                            ACCORDING TO PROTECTIVE ORDER) Filed by No11hwest Direct
                            Marketing of Oregon, Inc., No11hwest Direct Marketing, Inc. , Northwest Direct
                            Teleservices, Inc. , Timothy Rote. (Hasson, Jeffrey) (Entered : 09/02/20 15)
 09/02/2015        54       Declaration ofTimothy C. R ote. (DOCUMENT RESTRICTED
                            ACCORDING TO PROTECTIVE ORDER) Filed by No11hwest Direct
                            Marketing of Oregon, Inc., No11hwest Direct Marketing, Inc., Northwest Direct
                            Teleservices, Inc., Timo thy Rote. (Related document(s): Motion fo r Summary
                            Judgment, 53 .) (Attachments: # l Exhibit A,# ~ Exhibit B) (Hasson, Jeffrey)
                            (Entered: 09/02/20 I 5)
 09/02/2015        55       Declaration of Jeffrey I. Hasson. (DOCU\1E!\T RESTRICTED
                            ACCORDING TO PROTECTIVE ORDER) Filed by Northwest Direct
                            Marketing of Oregon, Inc., No11hwest Direct Marketing, Inc., Northwest Direct
                            Teleservices, Inc., Timothy Rote. (Related document(s): Motion fo r Summary




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                        Judgment, 53 .) (Attaclunents: #   l   Exhibit A) (Hasson, Jeffrey) (Entered:
                        09/02/2015)

 09/03/2015       56    Scheduling Order by Magistrate Judge Janice M. Stewart regarding Motion for
                        Summary Judgment 53 . Response due by 9/28/20 15. Reply due by
                        10/15/2015. Motion fo r Summary Judgment 53 will be taken under advisement
                        on I 0/ 15/2015. P lease refer to Notice regarding additional procedures
                        applicable in cases assigned to Magistrate Judge Stewart attached to document
                        45 . (jlr) (Entered: 09/03/2015)
 09/07/20 15       57   Response in Opposition to Motion for Protective Order 48 oral argument
                        requested. (DOCUME:\T RESTRICTED ACCORDING TO
                        PROTECTIVE ORDER) Filed by Max Zweizig. (Marshall, Linda) (Entered:
                        09/0 7/2015)
 09/07/2015        58 Declaration of Linda L. Marshall in Response to Defendants' Motion.for
                      Protective Order. (DOCli:VIENT RESTRICTED ACCORDl~G TO
                      PROTECTIVE ORDER) Filed by Max Zweizig. (Related document(s):
                      Response in Opposition to Motion 57 .) (Attachments:# l Exhibit F , # ~
                      Exhibit G, # } Exhibit H , # 1 Exhibit I, # 2. Exhibit J, # Q Exhibit K, # 1 Exhibit
                      L, # f Exhibit M) (Marshall, Linda) (Entered: 09/07/2015)
 09/07/2015        59   Response To Defendants' Motion For Protective Order. (DOCU\H~NT
                        RESTRICTED ACCO RD ING TO PROTECTIVE ORDER) Filed by Max
                        Zweizig. (Related document(s): Response in Opposition to Motion 57 .)
                        (Attachments:# l Exhibit N, # I Exhibit 0 , # l Exhibit P, #::!. Exhi bit Q, # 2.
                        Exhibit R, # !i Exhibit S, # 1 Exhibit T, # li Exhibit U, # 2 Exhibit V, # _ill
                        Exhibit W, # ll Exhibit X, # 11 Exhibit Y) (Marshall , Linda) Modified on
                        9/ 14/2015 docket text to response instead of declaration (cib ). (Entered:
                        09/07/20 15)
 09/07/20 15       60 Declaration of Max Zweizig Submitted in Response to Defendants' Motion for
                        Protective Order. (DOCUMENT RESTRICTED ACCORDL\G TO
                        PROTECTIVE ORDER) Filed by Max Zweizig. (Related document(s):
                        Response in Opposition to Motion 57 .) (Marshall, Linda) (Entered:
                        09/07/2015)
 09/ 10/2015       6 1 MINUTES of Proceedings: Telephone Motion Hearing and Scheduling
                       Conference held. ORDER: Defendants' Motion fo r Protective Order, docket #
                       48 , is DENIED. ORDER: Setting the following new case schedule and
                       deadlines: Plaintiffs Response to Defendants' Motion for Summary Judgment,
                       docket# 53, is due 10/13/2015. Discovery is to be completed and dispositive
                       motions are due by 11 /2/20 15. Defendants' Reply to their motion is due
                       11 /4/20 15. The Pretrial Order remains due 30 days after a final ruling on
                       dispositive motions. Please see the Notice of Civil Case Procedures (docket #
                       45 ) for dispositive motions requirements and other procedures applicable in
                       cases assigned to Judge Stewart. Linda Marshall present as counsel for pla intiff
                       (s). Jeffrey Hasson present as counsel for defendant(s). Court Reporter:
                       Amanda LeGore. Tape No: none.Magistrate Judge Janice M. Stewa1t
                       pres iding. (st! ) (Entered: 09/10/2015)
  09/29/2015       62




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                         Moti on fo r Imposition of Sanctions. (DOcc,rnNT RESTRICTED
                         ACCORD l NG TO PROTECTIVE ORDER) F iled by Northwest Direct
                         Marketing of O regon, Inc., Northwest Direct Marketing, Inc. , Northwest Direct
                         Teleservices, Inc., Timothy Rote. (Hasson, Jeffrey) (Entered: 09/29/2015)
 09/29/20 15        63   Declaration of Jeffrey I. Hasson. (DOCCi\lENT RESTRICTED
                         ACCORDl\fG TO PROTECTIVE ORDER) F iled by Northwest Di rect
                         Marketing of Oregon, Inc., No11hwest D irect Marketing, Inc. , Northwest Direct
                         Teleservices, Inc., Timothy Rote. (Rela ted document(s): Motion fo r Imposition
                         of Sanctions, 62 .) (Attachments: # l Exhibit A) (Hasson, Jeffrey) (Entered:
                         09/29/20 15)
 0 9/29/20 15       64   Ce1tifica te of Service by No1thwest Direct Marketing of Oregon, Inc.,
                         N01thwest Direct Marketing, Inc. , Northwest D irect Teleservices, Inc.,
                         Timothy Rote of Motion for Imposition of Sanctions 62 and Declaration 63
                         with Service by Mail and Electronically on September 2, 2015 Fi led by
                         Northwest Direct Marketin g of O regon, Inc., Northwest D irect Marketing, Inc.,
                         N01t hwest D irect Teleservices, Inc., Timothy Rote. (Hasson, Jeffrey) (Entered:
                         09/29/20 15)
 09/29/20 15        65   Scheduling O rder by Magistrate Judge Janice M. Stewart: Setting the followi ng
                         new schedule for the pending motions in th is case: Wri tten Consents to proceed
                         before a Magistrate Judge, if any, are due 10/ 19/20 15 (Consent fo rm avai lable
                         in the Civil Case Assigm11ent Order (docket # J, p. 6)). P laintiffs Responses to
                         Defendants' Motion for Summary Judgment (d ocket # 53 ) and Defendants'
                         Motion fo r Imposition of Sanctions (docket # 62 ) a re d ue 10/ 19/20 15.
                         Defenda nts' Replies to both pending motions are due 11/9/2015. The motions
                         will be taken under adv isement on 11 /16/20 15. Please see the Notice
                         Regarding C ivil Case Procedures (d ocket # 25 ) for requirements regarding
                         d ispositive motions practice before Judge Stewart. O rde red by Magistrate
                         Judge Janice M . Stewart. (stl ) (Entered: 09/29/2015)
 10/13/20 15        66    Motion for Extension o f T ime to F il e a Response/Reply to Motion for
                          Impositio n of Sanctions (J2 . Filed by Max Zweizig. (Marshall, Li nda)
                          (Entered: I 0/13/2015)
 10/13/20 15        67    Declaration of Linda L. Marshall in Suport.for Motion.for Extension of Time.
                          Filed by Max Zweizig. (Related documen t(s): Motion for Extens ion of Ti me to
                          File Response/Reply to a Motion 66 .) (Marshall, Linda) (Entered: I 0/ 13/2015)
 10/13/20 15        68    Response in Opposition Plan tiff's Response to Motion fo r Summa1y Judgment
                          53 Oral Argument requested. (DOCUME:\IT RESTRICTED ACCORDl~G
                          TO PROTECTIVE ORDER) F iled by Max Zweizig. (Marshall, Linda)
                          (Entered: 10/13/2015)
  I 0/13/2015       69 Dec laration ofLinda L. Marshall in Suport.for Response to Motion/or
                       Summmy Judgement. (DOC CM ENT RESTRICTED ACC:ORDl\fG TO
                         PROTECTIVE ORDER) Filed by Max Zweizig. (Related document(s):
                         Response in O pposition to Moti on, 6R .) (Attac hments: # l Exhibit Ex A ,# I
                         Exhib it Ex B, # .2. Exh ibit Ex C, #:± Exhibit Ex D , # i Exhibit Ex E, # ~ Exhibit
                         Ex F, # 1 Exhi bi t Ex G, #~ Exhibit Ex H, # .2. Exhibit Ex I,# _ill Exhibit Ex J, #
                         ll Exhibit Ex K , # 12 Exhibit Ex L, # 13 Exhibit Ex M, # 14 Exhibit Ex N, #



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                          .12 Exhibit Ex 0 , # 1.2 Exhibit Ex P, # ll Exhibit Ex Q , # _lB Exhibit Ex   R)
                          (Marshall, Linda) (Entered: I 0/ 14 /2015)

 10/14/20 15         70   ORDER: P er e-mail from plaintiffs counsel, the Motion for Extension of
                          T ime to File Response 20 is w ithdrawn. Ordered by Magistrate Judge Janice
                          M. Stewart. (jlr) (Entered : 10/14/2015 )

     10/19/20 15     7 1 Response Plantiff's Response to Motion fo r Impos ition of Sanctio ns (,~ Oral
                         Argument requested. (DOC UiVIEN T RF:STRICTED ACCORDlt\G TO
                         PROTECTIVE O RDER) Filed by Max Zweizig. (Marshall, Linda) (Entered:
                         10/ 19/201 5)

     10/1 9/20 15    72   Declaration of Max Zwei zig in Responce to Defendent's Motion/or Sanctions.
                          (DOCUMENT R ESTRICTED ACCORDING TO PROTECTIVE
                          ORDER) Filed by Max Zweizig. (Related document(s) : Response to Motion
                          1l .) (Marshall, Linda) (Entered: I 0/19/2015)
     I 0/ 19/20 15   73   Declaration of Linda L. Marshall in Response to Defendent's Motion/or
                          Sanctions . (OOC:Ui\lENT RESTRICTED ACCO R DING TO
                          PROTECTIVE O RD ER) Filed by Max Zweizig. (Related document(s):
                          Response to Motion ll .) (Attachments: # _L Exhibit Ex S, # ~ Exhibit Ex T , # J
                          Exhibit Ex U, # 1 Exhib it Ex V, # ;i Exhibit Ex W , # S;i Exhibit Ex X)
                          (Marshall, Linda) (Entered: 10/19/2015)
     10/19/20 15     74   Amended Response in Opposition of D(!fendent's Motion.for Summary
                          Judgment to Motion for Sununary Judgment 53 Oral Argument requested.
                          (DOCUMENT REST RICTED ACCORD ING TO PROTECTIVE
                          ORD ER) Filed by Max Zweizig. (Marshall, Linda) (Entered: 10/ 19/20 15)

     11/02/201 5     75 Notice of Appearance o f Joel W. Christiansen appearing on behalf of Max
                        Zweizig Filed by on behalfofMax Zweizig (Christiansen, Joel) (Entered:
                        11/02/2015)

     11/06/20 15     76   Scheduling Order by Magistrate Judge Janice M . Stewart: SETTING Motion
                          for Summa1y Judgment 53 , and Motion for Imposition of Sanctions 6 2 for
                          Oral Argument on Wednesday, 12/9/2015 at 09:30AM in Portland
                          Courtroom 1 lA before Magistrate Judge Janice M. Stewart. Defendant
                          will appear by phone. The toll-free conference line number will be
                          provided to Mr. Hasson by separate e-mail. Ulr) (Entered: 11/06/2015)
     11 /09/2015     77   Reply to Motion for Summary Judgment 53 . Filed by Northwest Direct
                          Marketing of Oregon, Inc., Northwest Direc t Marketing, Inc., Northwest Direct
                          Teleservices, Inc., Timothy Rote. (Attachments: # _L Attachment TouchStar
                          Complaint, # 2. Attachment TouchStar Contract) (H asson, Jeffrey) (Entered:
 '
                          I I /09/20 15)
     11 /09/2015     78   Reply to Motion for Imposition of Sanctions 62 . Filed by Northwest Direct
                          Marketing of Oregon, Inc. , No1thwest Direct Marketing, Inc. , Northwest Direct
                          Teleservices, Inc. , Timothy Rote. (Attachments: # _L Attachment TouchStar
                          Complaint,# _l Attachment TouchStar Contract) (H asson, Jeffrey) (Entered :
                          11 /09/20 15)
     11 /09/20 15    79




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                        Declaration of Jeffrey I. Hasson . Filed by No1thwest Direct Marketing of
                        Oregon, Inc. , Northwest Direct Marketing, Inc., No1thwest Direct Teleservices,
                        Inc., Timothy Rote. (Related document(s): Motion for Imposition of Sanctions,
                        62 .) (Attachments:# l Exhibit A, # 2. Exhibit B , #} Exhibit C, #:! Exhibit D)
                        (Hasson, Jeffrey) (Entered: I 1/09/2015)
 11/17/20 15       80 Motion for Leave to File Second Amended Complaint/Petition (DOCL\!El\T
                        RESTRICTED ACCORDI:'IIG TO PROTECTIVE ORDER) Filed by Max
                        Zweizig. (Marshall, Linda) Added Motion for Leave To Join Certain
                        Defendants In Substitution of Doe Defendants and Motion for Extension of
                        Discovery on 11/ 17/20 15 (cib). (Entered: 11 / 17/20 15)
 11 /1 7/20 15     B    Declaration of Linda L. Marshall in Support of Motion for Leave to File
                        Second Amended Complaint, Join Defendants and Substitute/or DOE
                        Defendan ts, andfor Ex tension of Discovery. (DOCU\IE:\T RESTRICTED
                        ACCORDING TO PROTECTIVE ORDER) Filed by Max Zweizig.
                        (Related document(s): Motion for Leave to File Amended Complaint/Petition,
                        80 .) (Attaclunents: # l Exhibit EX B, # 1 Exhibit EX C) (Marshall , Linda)
                        (Entered: 11/17/20 15)
 11/17/2015        82 Exhibits in Support of Motion.for l eave to File Second Amended Complaint,
                        Join Defendants and Substitute.for DOE Defendants, and/or Extension of
                        Discove1y re Motion for Leave to File Amended Complaint/Petition to Join
                        Defendents and Substitute DOE Defendents and Ex tension/or
                        Discove1y Motio11 for Extension of Discovery & PTO Deadlines XO .
                        (DOCUMl~NT RESTRICTED ACCORDl:'IIG TO PROTECTIVE
                        ORDER) Filed by Max Zweizig. (Attachments: # l Exhibit EX D) (Marshall ,
                        Linda) (Entered: 1 1/17/2015)
 11 /17/20 15      83   Exhibits E to Declaration of Linda L. Marshall in Support of Motion to File
                        Second Amended Complaint, Join Def enants and Subsfitutefor DOE
                        Defendants and, Extension ofDiscovery re Motion for Leave to File Amended
                        Complaint/Petition to Join De.fendents and Substitute DOE Def endents and
                        Ex tension.for DiscoveryMotion for Extension of Discovery & PTO Deadlines
                        80 . (DOCU.\'IENT RESTRICTED ACCORDING TO PROTECTIVE
                        ORDER) Filed by Max Zweizig. (Attachments: # l Exhibit EXE) (Marshall,
                        Linda) (Entered: 11/17/20 15)
 11/17/201 5       84 Exhibits F-1 to Declaration ofLinda L. Marshall in Support ofMotion to File
                        Second Amended Complaint, Join Defendants and Substitute.for DOE
                        Defendants and, Extension of Discove1y re Motion fo r Leave to File A mended
                        Complaint/Petition to Join Defendents and Substitute DOE Def endents and
                        Ex tension.for Discove,yMotion for Extension of Discovery & PTO Deadlines
                        80 . (DOC U:VIENT RESTRICTED ACCORDl~G TO PROTECT IVE
                        ORDER) Filed by Max Zweizig. (Attachments: #       l Exhibit EX F-1 )
                        (Marshall, Linda) (Entered: 11/17/20 15)
 11 / 17/2015      XS Exhibits F-2 to Declaration of Linda L. Marshall in Support of Motion to File
                        Second Amended Complaint, Join Defendants and Substitute.for DOE
                        Def endants and, Extension of Discove,y re Motion for Leave to File Amended
                        Complaint/Petition to Join De.fendents and Substitute DOE Defendents and
                        Extension for Discove1y Motion for Extension of Discovery & PTO Deadlines



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                          XO . (DOCUMENT RESTRICT ED ACCORDil\G TO PROTECTIVE
                          ORDER) Filed by Max Zweizig. (Attachments:# l Exhibit EX F-2)
                          (Marshall, Linda) (Entered: 11/17/2015)
  11/17/2015        X6    Exhibits G-J to Declaration of Linda L. Marshall in Support of Motion to File
                          Second Amended Complaint, Join Defendants and Substitute.for DOE
                          Defendants and, Extension o/Discove,y re Motion for Leave to File Amended
                          Complaint/Petition to Join D~fendents and Substitute DOE D~fendents and
                          Extension.for Discove,y Motion for Extension of Discovery & PTO Deadlines
                          80 . (DOCUMENT RESTRI CTED ACCORDl l\G T O PROTECT IV E
                          ORD ER) Filed by Max Zweiz ig. (Attachments: # .l Exhibit EX G, # J Exhibit
                          EX H, # l Exhibit EX I, # :± Exhibit EX J) (Marshall , Linda) (Entered:
                          11/17/2015)
  11 /17/2015       X7    Exhibits K to Declaration of Linda L. Marshall in Support o(Motion to File
                          Second Amended Complaint, Join D~fendants and Substitute.for DOE
                          Defendants and, Extension ofDiscove,y re Motion for Leave to Fi le Amended
                          Complaint/Petition to Join D~fendents and Substitute DOE D~fendents and
                          Extension.for Discove,yMotion for Extension of Discovery & PTO Deadlines
                          80 . (DOC UM ENT RESTRI CTED ACCORDl'," G T O PROTECT IV E
                          ORDER) Filed by Max Zweizig. (Attachments: # l Exhibit EX K) (Marshall,
                          Linda) (Entered: 11/17/2015)
  11/17/20 15       ~x    Exhibits L-0 to Declaration of Linda L. Marshall in Support of Motion to File
                          Second Amended Complaint, Join Defendants and Substitute.for DOE
                          Defendants and, Extension of Disco ve,y re Motion for Leave to File Amended
                          Complaint/Petition to Join Defendents and Substitute DOE D~fendents and
                          Extension.for Discove,y Motion for Extension of Discovery & PTO Deadlines
                          80 . (DOCU M ENT REST RI CTED ACCO RDl '.'JG TO PROTECTI V E
                          ORDE R) Filed by Max Zweizig. (Attachments: # .l Ex hibit EX L, # J Ex hib it
                          EX M , # } Exhibit EX N , # ::!. Exhibit EX 0) (Marshall, Linda) (Entered:
                          11/ 17/2015)
  11/18/2015        89    Scheduling Order by Magistrate Judge Janice M. Stewart regarding Motion for
                          Leave to File Amended Complaint/ to Join Defendants and Substitute DOE
                          Defendants and Extension for Discovery 80 . Response is due by 12/2/2015.
                          Rep ly(if any)is due by 12/7/2015. Oral Argument is set for 12/9/20 15 at
                          09:30AM in Portland Courtroom l lA before Magistrate Judge Janice M.
                          Stewart. Ulr) Modified on 11 /1 8/2015. NEF regenerated Ulr). (Entered:
                          11 /1 8/2015)
 11 /30/2015        -90   Response in Opposition to Motion fo r Leave to File Amended
                          Complaint/Petition to Join Defendents and Substitute DOE Defendents and
                          Extension.for Discove,y Motion for Extension of Discovery & PTO Deadlines
                          80 . Filed by Northwest Direct Marketing of Oregon, Inc. , No1thwest Direct
                          Marketing, Inc. , Northwest Direct Teleservices, Inc. , Timothy Rote. (Hasson,
                          Jeffrey) (Entered: 11 /30/20 15)
 11/30/2015         9I    Declaration of Jeffrey I. Hasson . Filed by North west Direct Marketing of
                          Oregon, Inc., Northwest Direct Marketing, Inc., No1thwest Direct Teleservices,
                          Inc., Timothy Rote. (Related document(s): Motion fo r Leave to File Amended




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                         Complaint/Petition, Motion for Leave, Motion for Extension of Discovery &
                         PTO Deadlines,,, 80 .) (H asson, Jeffrey) (Entered: 11 /30/2015)
  12/01 /20 15      92   Amended Response in Opposition (Corrects Case Caption and Footer to
                         reflect Plaint(ffs Motion instead ofDefendants' Motion) to Motion for Leave to
                         File Amended Complaint/Petition to Join De.fendents and Substitute DOE
                         Defendents and Extension.for Discove,yMotion for Extension of Discovery &
                         PTO Deadlines 80 . Filed by Northwest Direct Marketing of Oregon, Inc.,
                         Northwest Direct Marketing, Inc., Northwest Direct Teleservices, Inc. ,
                         Timothy Rote. (Hasson, Jeffrey) (Entered: 12/01/2015)
  12/01 /20 15      93   Amended Declaration of Jeffrey I. Hasson (Corrects Case Caption to reflect
                         P/aint!!fs Motion instead o,/Defendants' Motion). Filed by Northwest D irect
                         Marketing of Oregon, Inc., No11hwest Direct Marketing, Inc., Northwest Direct
                         Teleservices, Inc., Timothy Rote. (Related document(s): Motion fo r Leave to
                         File Amended Complaint/Petition, Motion for Leave, Motion for Extension of
                         Discovery & PTO Deadlines,,, 80 .) (Hasson, Jeffrey) (Entered: 12/01/2015)
  12/07/20 15       94   Reply lo Response to Plaint![fs Motions to File Second Amended Complaint to
                         Motion for Leave to File Amended Complaint/Petition to J oin Defendents and
                         Substitute DOE Defendents and Extension/or Discove1y Motion fo r Extension
                         of Discovery & PTO Deadlines 80 Oral Argument requested. (DOC:U:\IENT
                         RESTRICTED ACCORDl:"IG TO PROTECTIVE ORDER) Filed by Max
                         Zweizig. (Marshall, Linda) (Entered: 12/07/20 15)
 12/09/20 15       95    MINUTES of Proceedings: Oral argument held on pending motions. ORDER:
                         For the reasons stated on the record, Plaintiffs Motion for Leave to File
                         Amended Complaint/Petition XO is GRANTED. The Second Amended
                         Complaint is due by 12/16/20 15. ORDER: Granting Plaintiffs Motion for an
                         Extension of Discovery & PTO Deadlines 80 and extending the discovery
                         dead line through Februaiy 29, 20 16. ORDER: Defendant's Motion fo r
                         Summaty Judgment, 53 is construed as filed against the Second Amended
                         Complaint (due 12/16/ 15) and is taken under advisement. ORDER:
                         Defendant's Motion for Impositi on of Sanctions, 62 is taken under advisemen t.
                         Linda Marshall and Joel Clu-istiansen present as counsel for plaintiff(s). Jeffrey
                         Hasson present as counsel for defendant(s). (Court Rep011er None.) Magistrate
                         Judge Janice M. Stewart presiding. (st l) Modified on 12/15/2015 to include
                         this hearing was recorded FTR: 11 A) (jlr). (Entered: 12/09/2015)
 12/1 1/20 15      96    Second Amended Complaint . Filed by Max Zweizig against All Defendants.
                         (Marsha ll, Linda) (Entered: 12/1 1/2015)
 12/23/2015        97    Appl ication for CM/ECF Registration as a Self-Represented Party. Fi led by
                         Timothy Rote. (Attachments: # 1 Certificates) (sss) (Entered: 12/28/20 15)
 12/28/20 15       98    Unopposed Motion to Withdraw or Substitute an Attorney . Filed by Northwest
                         Direct Marketing of Oregon, Inc., Northwest Direct Marketing, Inc., Northwest
                         Direct Teleservices, Inc., Timothy Rote. (Hasson, Jeffrey) (Entered:
                         12/28/2015)
 12/28/2015        99




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                           ORDER: Granting Defendant's Unopposed Motion to Withdraw as Attorney
                           for defendant's Rote, NDT, NDMO and NDM 98 . Ordered by Magistrate
                           Judge Janice M. Stewart. Ulr) (Entered: 12/28/2015)
  12/28/2015       lllil   ORDER: Granting 97 Application for CM/ECF Registration as a Self-
                           Represented Party (CM!ECF Registered User). Ordered by Magistrate J udge
                           Janice M. Stewart. Ulr) (Entered: 12/28/20 15)
  12/28/20 15      101     Clerk's Notice of Mai ling to Timo thy C. Rote regard ing Order on Application
                           for CMECF Registration as a Self-Represented Party liill, Order on mo tio n to
                           withdraw/substitute attorney 99 . Ulr) (Entered: 12/28/2015)
  12/29/2015       102 Notification of CM/ECF Account fo r Pro Se Filer Timothy C. Rote. Your login
                       is: trote. Go to the Ci'vl i ECF logi n page to set your password. (sss) Modified
                       text on 12/29/20 15 (sss). (Entered: 12/29/2015)
  12/30/2015       I 03    First Answer to 96 Amended Complaint with Jury Demand . F iled by Timothy
                           Rote. (Rote, Timothy) (Entered: 12/30/2015)
 0 I /26/2016      104     Motion Plaintiff Opposition to Tim Rote as AttorneY,for Co1porate Defendants.
                           (DOCUME:"IT RESTRICTED ACCORDING TO PROTECTIVE
                           ORDER) Oral Argument requested.Expedited Hearing requested. F il ed by
                           Max Zweizig. (Marshall, Linda) (Entered : 0 l/26/2016)
 01 /28/20 16      105     Scheduling Order by Magistrate Judge Janice M. Stewart regarding Plaintiffs
                           Opposition to Tim Rote as Attorney for Corporate Defendants and Req uest for
                           Telephone Conference I 04 . A TELEPHONE Conference is set for Tuesday,
                           2/16/2016 at 09 :30AM before Magistrate Judge Janice M. Stewart. Parties are
                           to call the toll-free conference line a few minutes before the scheduled time.
                           Ulr) (Entered: 0 1/28/20 16)
 02/10/2016        106     Proposed Summons NORTHWEST DIRECT OF EUGENE, INC F iled by Max
                           Zweizig. (Marshall, Linda) (En tered: 02/10/20 16)
 02/ 10/20 16      107     Proposed Summons NORTHWEST DIRECT OF IO WA, INC Filed by Max
                           Zweizig. (Marshall, Linda) (Entered: 02/ I 0/2016)
 02/10/2016        108 Proposed Summons ROTE ENTERPRISES, LLC Filed by Max Zweizig.
                       (Marshall, Linda) (Entered: 02/10/2016)
 02/10/2016        I 09    Summons Issued Electronically as to Northwest Direct of Eugene, Inc. ,
                           No1thwest Direct oflowa, Inc., Rote Enterprises, LLC. NOTICE: Counsel
                           shall print and serve the summonses and all documents issued by the
                           Clerk at the time of filing upon all named parties in accordance with Local
                           Rule 3-5. (cib) (Entered: 02/ 10/2016)
 02/ 15/2016      ll.Q Proposed Summons NORTHWEST DIRECT MA RKETING, INC, aka
                           Northwest Direct Marketing (Delaware), Inc. Filed by Max Zweizig.
                           (Marshall, Linda) (Entered: 02/ 15/2016)
 02/16/20 16       111     MINUTES o f Proceedings: Telephone Status Conference held. Granting
                           plaintiffs objection to Timothy Rote appeaiing on behalf of corporate
                           defendants I 04 . ORDER: Amending the docket sheet to remove Northwest
                           Direct of Eugene, Inc. , as that is not a separate entity, but is an assumed




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                         business name for defendant Northwest Direct Marketing, Inc. ORDER:
                         Setting the following case deadlines: the Discove1y deadline is STRICKEN, to
                         be reset at the March 11, 2016 telephone scheduling conference (see below) .
                         The corporate defendants' Answer to the Second Amended Complaint and
                         Corporate Disclosure Statements (including the expanded Corporate Disc losure
                         required by the LLC defendant, per Local Rule 7 . 1-1) are due by Friday,
                         February 26, 20 16. ORDER: Setting a telephone scheduling conference for
                         Friday, 3/ 11/2016 at 09:30AM. All parties shall call the same AT&T
                         conference line that was used for today's telephone hearing -- available to
                         attorneys on the ECF docket s heet - entiy dated 1/28/2016. Linda Marshall
                         present as counsel for plaintiff(s). Timothy Rote, proceeing prose, present.
                         (Court Repo11er none.)Magistrate Judge Janice M. Stewart presiding. (stl)
                         (Entered: 02/ 16/2016)
 02/19/20 16      112    Findings & Recommendation: Defendants Motion for Summary Judgment
                         (docket# 53 ) and Motion for Sanctions (docket# 62 ) should be DENIED.
                         Objections to the Findings and Recommendation are due by 3/7/2016. Fm1her
                         ORDER SEALING the Findings and Recommendation until March 7, 20 16.
                         Any REDACTIONS required by the Stipulated Protective Order 47 are due by
                         March 7, 20 16, at which time the Findings and Recommendation will be
                         unsealed with the requested redactions. Parties are to submit any redactions by
                         e-mail to Judge Stewart's com1room deputy at Jenny_ Raun@o rd.uscourts.gov.
                         Signed on 2/ 19/16 by Magistrate Judge Janice M. Stewart. (jlr) Unsealed on
                         5/4/2016 (pvh). (Entered: 02/ 19/2016)
 02/ 19/2016      113    Order by Magistrate Judge Janice M. Stewart referring Motion for Sunu11a1y
                         Judgment 53 , Motion for Imposition of Sanction 62 , and Findings &
                         Recommendation ill to Judge Marco A Hernandez for his review. (j lr)
                         (Entered: 02/19/2016)
 02/26/20 16      114    Answer to 96 Amended Complaint . Filed by Northwest Direct Marketing,
                         Inc., Northwest Direct of Iowa, Inc., No11hwest Direct Teleservices, Inc.,
                         Northwest Direct Marketing of Oregon, Inc. , Northwest Direct Marketing, Inc .,
                         Rote Enterprises, LLC. (Brandsness, Andrew) (Entered: 02/26/2016)
 02/26/2016       I 15   Corporate Disclosure Statement . Filed by Northwest Direct oflowa, Inc ..
                         (Brandsness, Andrew) (Entered: 02/26/2016)
 02/26/2016       I I6   Corporate D isclosure Statement . Filed by Rote Enterprises, LLC. (Brandsness,
                         Andrew) (Entered: 02/26/2016)
 02/26/2016       117    Corporate D isclosure Statement . Filed by Northwest Direct Marketing, Inc ..
                         (Brandsness, Andrew) (Entered: 02/26/20 16)
 03/02/2016       118    Notice of Case Reassigmnent: This case has been reassigned from Magistrate
                         Judge Janice M. Stewart to Magistrate Judge You lee Yim You. ( eo) (Entered:
                         03/02/20 16)
 03/03/2016       119    Scheduling Order by Magistrate Judge Youlee Yim You. The TELEPHONE
                         Scheduling Conference is set for 3/ 11/2016 at 09:30AM before Magistrate
                         Judge Youlee Yim You. All parties shall call the same AT&T confe rence line
                         number that was previously provided. (jlr) (Entered: 03/03/2016)




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  03/07/201 6      120   O bjections Motion For Reconsideration to Findings & Recommendation,
                         Applicable Party,,,, l 12 . Filed by Timothy Rote. (Attachments: # l Ex hibit EX
                         A) (Rote, Ti mothy) (Entered: 03/07/20 16)
  03/1 1/20 16     12 1 MINUTES of Proceedings: Telephone Scheduli ng Conference reset due to
                        absence of pro se party. O RDER: Setting a telephone scheduling conference
                        for Tuesday, 3/29/201 6 at 09:30AM before M agistrate Judge Youlee Yim You.
                        All parties shall call the same AT&T conference line that was previously
                        provided. Linda Marshall and Joel Christi ansen present as counsel fo r plaintiff
                        (s) . Andrew Brandsness present as counsel fo r the corporate defendants. Pro se
                        defendant T imothy Rote absent due to illness. Court Reporter: none. Tape No:
                        none . Magistrate Judge Youlee Yim You presiding. (yy l ) (Entered:
                        03/ 11/201 6)
 03/29/20 16       122   MINUTES of Proceedings: Ti me set for a telephone scheduling conference.
                         Telephone conference to be rescheduled when parties available. (Plaintiff's
                         counsel notified the co urt that she had d ifficulty connecting to the telephone
                         confe rence). Magistrate Judge Youlee Yim You presiding. Counsel not present
                         for plaintiff. A ndrew B randsness present fo r corporate defendants. Pro Se T im
                         Rote present. Com1 Reporter: none. Tape No : none. Ulr) (Entered : 03/29/2016)
 03/30/2016        123   Scheduling Order by Mag istrate Judge Youlee Yim You. A TELEPHONE
                         Scheduling Confe rence is set for Wednesday, 4/6/2016 at 09:30AM before
                         Magistrate Judge Youlee Yim You. Paii ies are to call the to ll-free conference
                         number that was previous ly provided. Ulr) (Entered: 03/30/2016)
 04/06/201 6       124   MIN UTES of Proceedings: Telephone Scheduling Confe rence held. ORDER :
                         Setting the fo llowing case schedule and deadlines: Discovery is to be
                         completed within 90 days from the date of a final ruling on the pending
                         Findings & Recomm endation 112 . Dispositive moti ons are due wi thi n 30 days
                         after the close of discovery. Motions on any matters previously decided will be
                         stricken. Dispositive m otions will be fi led in the manner set fo1ih in the
                         previous Notice Regarding Civil Case Procedures 25 , except that electronic
                         copies of documents are to be sent to Judge Y ou's courtroom deputy c lerk,
                         Trish Hunt at trish_hunt@ord.uscourts.gov and questions are to be directed to
                         her either via email or via phone at 503.326.8057 . The Pretrial Order is due 30
                         days after a final ruling on any fu1iher dispositi ve motions. Linda Ma rsha ll
                         present as counsel fo r p laintiff(s). Timothy Ro te, prose, and Andrew
                         Brandsness for the corporate defendants present as counsel for defendant(s).
                         Court Reporter: none. Tape No: none.Magistrate Judge Youl ee Y im You
                         presiding. (yy I) (Entered : 04/06/201 6)
 04/17/20 16       125   ORDER. The Court ADOPTS Magistrate Judge Stewait 's F ind ings and
                         Recorrunendation I 12 . Accordingly, Defendants' Motion for Summary
                         Judgm ent 53 and Motion fo r Sancti ons 62 are denied. Signed on 4/ 17/201 6 by
                         Judge Marco A. Hernandez. (pvh) Modified on 4/2 1/201 6 pursuant to Order
                         126 (pvh). (Entered: 04/20/2016)
 04/2 1/20 16     126    Order fo r Administrative CoITectio n of the Record pursuant to Fed. R. Civ. P.
                         60(a) regard ing O rder on Findings & Recommendation 125 . A Clerical e1TOr
                         has been discovered in the case record. The Clerk is directed to modify the text




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                            of entry 125 to reflect 4/17/ 2016 as the signature date of Judge Marco A.
                            H ernandez. (pvh) (Entered: 04/21 /2016)

 04/ 22/20 16     127       Scheduling Order by Magistrate Judge You lee Yim You. ORDER - Setting
                            new case sc hedule (per 124 ). ORDER - Discovery is to be completed by
                            7/ 18/ 2016. Disposi tive Motions are due by 8/1 7/2016. The Pretrial Order is due
                            by 9/16/2016 (if no dispositive motions a re filed), or 30 days after the final
                            ruling o n dispositive motions, if such motions a re filed. Ordered by Magistrate
                            Judge Youlee Yim You. (pvh) (Entered: 04/22/ 2016)

 05/04/20 16      128       ORDER: Unsealing Findings & Recommendation ill as the redaction request
                            deadline has passed a nd no party requested redactions. Ordered by Magistrate
                            Judge Youlee Yim You. (pvh) (Entered: 05/04/ 20 16)

 06/ 24/2016      129       Notice of Attorney Withdrawal : Filed by Max Zweizig (Christiansen, Joel)
                            (Entered: 06/24/ 20 16)

 07/13/2016       .Ll..!2   Motion for Pai1ial Summary Judgment . Filed by Timothy Rote. (Rote,
                            Timothy). Added Motion to Compe l Discovery on 8/8/20 16 (cib). (Entered:
                            07/13/2016)

 07/13/ 20 16     ill       Declaration of Timothy R ote . Filed by Timothy Rote. (Related docum ent(s):
                            Motion for Partial Summary Judgment I 30 .) (A ttachments: # .L Exhibit, #~
                            Exh ibit, # J. Exhibit,#.:!. Exhibit, # 2 Exhibit, # t_ Exhibit,# 1 Exhibit) (Rote,
                            Timothy) (Entered: 07/13/ 2016)

 07/18/20 16       l:~2     Unopposed Motion for Extension of Time and Opposed Motion.for Protective
                            Order Pursuant to Fed R Civ P 26(c)(J)(B). Filed by Max Zweizig. (Marshall,
                            L inda) (Entered: 07/18/ 2016)

 07/ 18/2016       133      D eclaration of Max Zweizig In Support of Plaint[fl's Unopposed Motion for
                            Extension and Opposed Motion for Protective Order Pursuant to Fed R Civ P
                            26(c)(l)(B). Filed by Max Zweizig. (R e lated document(s): Motion for
                            Extension of Time 132 .) (Marshall, Linda) (Entered: 07/ 18/201 6)

 07/ 18/20 16      134      Declaration of Linda L. Mars hal In Support of Plaintiff's Unopposed Motion
                            for Extension and Opposed Motion for Protective Order Pursuant to Fed R Civ
                            P 26(c)(J)(B). Filed by Max Zweizig. (Related document(s): Motion for
                            Extension of Time 132 .) (Marshall, Linda) (Entered : 07/18/ 2016)

  07/18/20 16      135      Motion to Compel . Fi led by Northwest Direct Marketing of Oregon, Inc.,
                            Northwest Direct Marketing, Inc., Northwest Di rect Marketing, Inc., Northwest
                            Di rect Teleservices, Inc., Northwest Direct oflowa, Inc. , Rote Enterprises,
                            LLC. (Brandsness, Andrew) (Entered: 07/18/ 2016)

  07/ 19/2016      136      ORDER: Granting Unopposed Motion to Extend Time to Complete Discovery
                            (part of 132 ). Discovery is extended through 8/ 17/ 2016, solely fo r the purpose
                            of taking scheduled depositions. ORDER: Defendants' Response to Plaintiff's
                            Opposed Motion fo r a Protec tive Order (part of 132 ) is due on o r before
                            August 4 , 2016. Ordered by Magistrate Judge You lee Y im You. (yy l )
                            (Entered: 07/ 19/2016)

  07/19/2016       137      Scheduling Order by Magistrate Judge Youlee Yim You: Defendants' Motion
                            to Compel (# 135) wi ll be h andled by infonnal telephone discovery co nference.




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                          ORDER: Setting a telephone discovery conference before Magistrate Judge
                          Youlee Yim You on Monday, August 1, 20 16 at 10:00 a.rn. Plaintiff may
                          respond at the telephone conference and need not file a written response to the
                          motion. However, should plaintiff opt to file a w ritten response, it is due on
                          Thursday, July 29, 2016. Ordered by Magistrate Judge Youlee Yim You. (yyl)
                          (Entered: 07/ 19/20 16)
 07/25/2016        13 8   Response in Opposition to Unopposed Motion for Extension of Time and
                          Opposed Motion.for Protective Order Purs uant to Fed R Civ P 26(c)(J)(B)
                          132 . Filed by Timothy Rote. (Rote, Timothy) (Entered: 07/25/2016)
 07/25/2016        139    Motion Rule 502. Filed by Timothy Rote. (Rote, Timothy) (Entered:
                          07/25/2016)
 07/26/2016       140     Order: GRANTING Plaintiffs Opposed Motion for Protective Order Pursuant
                          to Fed R Civ P 26(c)(l)(B) (part of docket# 132 ). Plaintiffs depos ition shall
                          proceed remotely with plaintiff attending either from his home in New Jersey
                          or a location in New Jersey in reasonable proximity to plaintiffs home.
                          Ordered by Magistrate Judge Youlee Yim You. (yyl) (Entered: 07/26/2016)
 08/02/20 16      141     MINUTES of Proceedings: Telephone Discove1y Hearing held regarding
                          Motion to Compel (docket# 135 ). Separate order on the motion to follow.
                          Linda Marshall present as counsel for plaintiff(s). Timothy Rote, prose, and
                          Andrew Brandsness for the corporate defendants present as counsel for
                          defendant(s). Court Reporter: none. Tape No: none.Magistrate Judge Youlee
                          Yim You presiding. (yyl) (Entered: 08/02/2016)
 08/02/20 16       142 Notice of Civil Case Procedures. Please see the attached notice regarding
                       procedures applicable to cases assigned to Judge You. In particular, the parties
                       shall submit the required hard copies of their materials o n the pending motions
                       (See Notice, item 3). (Notice regarding Motion Re: Rule 502(docket # 139 )
                       and Motion for Partial Summa1y Judgment (docket # 130 ). Ordered by
                       Magistrate Judge Youlee Yim You. (yyl) (Entered: 08/02/2016)
 08/02/20 16       143    Order on Corporate Defendants' Motion to Compel Discove1y from Plaintiff.
                          Signed on 8/2/2016 by Magistrate Judge Youlee Yim You. ( copy mailed to pro
                          se party) (pvh) (Entered: 08/02/2016)
 08/03/2016       144     Amended Motion Rule 502. Filed by Timothy Rote. (Rote, Timothy) (Entered:
                          08/03/2016)
 08/20/2016        145    Motion for Protective Order Pursuant to Fed R Civ P 26(c)(J) and Plaintiffs
                          response to Defendant Rote's Rule 502 Motion and Motion.for leave to
                          Amend. (DOCll.\TENT RESTR ICTED AC:CORDl l\"G TO PROTECTIVE
                          ORDER) Filed by Max Zweizig. (Marshall, Linda) (Entered: 08/20/2016)
 08/20/2016       146     Fifth Declaration of Linda L. Marshall Filed in Support ofPlaintiff's Cross
                          Motionfor Protective Order. (DOCU\IENT RESTRICTED ACCORDI~G
                          TO PROTECTIVE ORDER) Filed by Max Zweizig. (Related document(s):
                          Motion for Protective Order, 145 .) (Attachments: # l Exhibit Ex 1, # ~ Exhibit
                          Ex 2, # .l Exhibit Ex 3, # ::!: Exhibit Ex 4) (Marshall, Linda) (Entered:
                          08/20/2016)




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 08/25/20 16      147   Scheduling Order: by Magistrate Judge Youlee Yim You. Defendant's
                        Responses to Motion for Protective Order 145 are due by 9/8/20 16. Reply, if
                        any, is due by 09/26/20 16. Plaintiffs Reply to Amended Motion (Rule 502)
                        144 is due by 09/08/20 16. Defendant's Motion (Rule 502) [ 139) is STRICKEN
                        due to the fi ling of Amended Motion (Rule 502) 144 . Motions will be taken
                        under advisement on 10/ 11/2016. Ordered by Magistrate Judge Youlee Yim
                        You. (pvh) (Entered: 08/25/2016)
 09/06/2016       148   Rep ly to Motion for Protective Order Pursuant to Fed R Civ P 26(c)(J) and
                        Plaint(fj's response to Defendant Rote's Rule 502 Motion and Motion.for Leave
                        to Amend 145 . Filed by Timo thy Rote. (Rote, Timothy) (Entered: 09/06/20 16)
 09/22/201 6      149   Motion for Summary Judgment . (DOCU!VIENT RESTRICTED
                        ACCORDING TO PROTECTIVE ORDER) Filed by T imothy C. Rote.
                        (Ro te, Timothy) (Entered: 09/22/20 16)
 09/22/20 16      150   Declaration of Timothy Rote . (DOCUiVI E'IT RESTRICTED ACCORDll\G
                        TO PROTECTIVE ORDER) Filed by Timothy C. Rote. (Related document
                        (s): Motion for Summary Judgment 149 .) (Attac hments: # l Exhibit, # ~
                        Exhibit, # } Ex hibit, # ::!: Exhibit, # i Exhibit, # Q Exhibit, # ]_ Exhibit, # 0.
                        Exhibit,# .2. Exhibit, # lQ Exhibit, # 11 Exhibit, # 12 Exhibit, # 13 Exhibit, #
                        14 Exhibit, # 15 Exhibit, # ~ Exhibit, # 12 Exhibit, # 18 Exhibit, # l..2. Exhibit,
                        # 20 Exhibi t, # 2 1 Exhibit) (Rote, Timothy) (Entered: 09/22/20 16)
 09/23/2016       [5 1 Motion for Imposition of Sanctions. (DOCV \ lENT RESTRICTED
                       ACCORDING TO PROTECTI VE ORDER) Filed by Timothy C. Rote.
                       (Rote, Timothy) (Entered: 09/23/20 16)
 09/23/20 16      152   Amended Motion for Imposition of Sanctions. (DOCU\'IE;\T
                        RESTRICTED ACCORDlNG TO PROTECTIVE ORDER) Filed by
                        Timothy C. Rote. (Rote, Timothy) (Entered: 09/23/2016)
 10/12/20 16      153   Moti on to Withdraw or Substitute an Attorney. Filed by Northwest Direct
                        Marketing of Oregon, Inc. , Northwest Direct Marketing, Inc., Northwest Direct
                        Marketing, Inc., Notthwest Direct Teleservices, Inc., Northwest Direct of Iowa,
                        Inc., Rote Enterprises, LLC. (Brandsness, Andrew) (Entered: l 0/ 12/2016)
  10/14/20 16     154   Scheduling Order: by Magistrate J udge You lee Yim You regarding Motion to
                        Wi thdraw or Substitute an Attorney 153 . ORDER - Setting a Hearing by
                        telephone for Tuesday, 10/18/20 16 at 09:30AM before Magistrate Judge
                        Youlee Yim You. (pvh) (Entered: 10/ 14/20 16)
 10/1 7/20 16     155   ORDER: Defendant Rote's Amended Rule 502 Motion (docket# 144 ) is
                        DENIED. Plaintiffs Motion for a Protective Order (docket # 145 ) is
                        GRANTED. ORDER: To protect the Privileged Memorandum from further
                        disc losure or use, on or before October 24, 2016, Defendant Rote shall take all
                        actions identified in items (a) throug h (g) of the motion (docket # 145 , pp.
                        3 -4). Ordered by Magistrate Judge Youlee Y im You. (yy l ) (Entered:
                        10/17/20 16)
 10/1 7/201 6     156   ORDER: Striking Motion for Sanctions (docket # ill ), as the motion was
                        filed w ith the wrong case number and has been replaced by an amended motion




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                       (docket # 152 ). Ordered by Magistrate Judge You lee Yim You. (yy I)
                       (Entered: 10/ 17/2016)
 10/17/2016      157   Opposed Motion for Extension. Filed by Max Zweizig. (Marshall, Linda)
                       Modified docket event to motion for extension of time on I 0/18/2016 (cib).
                       (Entered: 10/17/2016)
 10/ 17/2016     158   Declaration of Linda L. Marshall . Filed by Max Zweizig. (Related document
                       (s): Motion - Miscellaneous 157 .) (Marshall, Linda) Modified docket text to
                       reflect the pdf document on I 0/1 8/2016 (cib ). (Entered: 10/ 17/2016)
 I 0/18/2016     159   MINUTES of Proceedings: Record of telephone motion hearing. ORDER:
                       GRANTING Motion to Withdraw or Substitute an Attorney (docket # 153 ), on
                       the condition that cutTent counsel notifies the corporate defendants that they
                       may not appear without counsel and that the failure to appear with counsel may
                       result in adverse action by the comt. ORDER: GRANTING the Motion to
                       Extend Time (docket# 15 7 ) and resetting the briefing schedule on defendant
                       Rote's Motion for Summary Judgment (docket # 149 )and Amended Motion for
                       Sanctions (docket# 152 ): Responses due I 0/18/20 16; Rep lies due 11/ 1/20 16.
                       A ll pending dispositive motions will be taken under advisement on 12/ I /2016 .
                       Linda L. Marshall present as counsel for plaintiff. Andrew C. Brandsness
                       present as counsel for defendants. Defendant Timothy Rote appearing pro se.
                       Court Reporter: FTR- l 2B. Magistrate Judge Youlee Yim You presiding. (pvh)
                       (Entered: 10/18/20 16)
 I 0/19/2016     160   Response in Opposition to Amended Motion fo r Imposition of Sanctions I 52 ,
                       Motion for Summary Judgment 149 . (DOC Ui\·l ENT R ESTRICTED
                       ACCO RDI NG TO PROTECTIVE ORDER) Filed by Max Zweizig.
                       (Marshall, Linda) (Entered: 10/ 19/2016)
 10/19/20 16     ill   Declaration of Linda L. Marshall. (DOCUMENT RESTRICT ED
                       ACCORDING TO PROTECTIVE ORDER) Filed by Max Zweizig.
                       (Related document(s): Response in Opposition to Motion, lfill .) (Marshall,
                       Linda) (Entered: I 0/19/2016)
 10/19/2016      162   Amended Response in Opposition to Amended Motion for Imposition of
                       Sanctions 152 , Motion for Summary Judgment 149 . (DOCLMEI\T
                       RESTRICTED ACCORDING TO PROTECTIVE ORDER) Filed by Max
                       Zweizig. (Marshall, Linda) (Entered: I 0/19/2016)
 10/ 19/20 16    163   Amended Declaration of Linda L. Marshall . (DOClJME:'IJT RESTRICTED
                       ACCORDING TO PROTECTIVE ORDER) Fi led by Max Zweizig.
                       (Related document(s): Response in Opposition to Motion, 162 .) (Attachments:
                       # l Exhibit I , # J Exhibit 2 , # ,l Exhibit 3, # :! Exhibit 4, # j_ Exhibit 5 , # 0.
                       Exhibit 6) (Marshall , Linda) (Entered: I0/19/2016)
 10/ 19/2016     164   Declaration of Chester D Marshall. (DOC U, 'IENT RESTR I CTED
                       ACCORD JI\G TO PROTECTIVE ORDER) Filed by Max Zweizig.
                       (Related document(s): Response in Opposition to Motion, I 62 .) (Attachments:
                       # l Exhibit 7, # 1 Exhibit 8) (Marshall, Linda) (Entered: I 0/ 19/2016)
 10/ 19/2016     165 Exhibits re Response in Opposition to Motion, I (,2 . (DOCL; \IF.:\T
                       RESTRICTED ACCORDl~G TO PROTECTIVE ORDER) Fi led by Max




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                        Zweizig. (Attachments: # l Exhibit 9, #   J Exhibit l 0) (Marshall, Linda)
                        (Entered: l 0/ 19/2016)
  10/19/2016      166   Exhibits re Response in Opposition to Motion, 162 . (DOCUME'iT
                        R ESTRICTED ACCORDl:\'G TO PROTECTIVE ORDER) Filed by Max
                        Zweizig. (Attaclunents: # l Exhibit l l) (Marshall, Linda) (Entered:
                        10/ 19/2016)
  10/19/2016      167   Exhibits re Response in Opposition to Motion, 162 . (DOC:U\I E:--.iT
                        RESTRICTED ACCORDING TO PROTECTIVE ORDER) Filed by Max
                        Zweizig. (Attachments:# l Exhibit 12, # l Exhibit 13, # l Exhibit 14)
                        (Marshall, Linda) (Entered: I 0/19/2016)
  I 0/20/2016     168   ORDER: ORDER: Defendant Rote's Motion to Compel (pait of docket# 130 )
                        is GRANTED IN PART AND DENIED IN PART, and all ru li ngs from the
                        prior Order on Corporate Defendants' Motion to Compel Discovery from
                        Plaintiff (docket# 143) are incorporated by reference with respect to the same
                        discovety requests set o ut in defendant Rote's Motion to Compel. Additionally
                        the issue raised in defendant Rote's Motion for Partial Summaty Judgment
                        (docket# 130) is also raised in his subsequently filed Motion for Summaty
                        Judgment (docket# 149 ). The court will consider the issue when it decides the
                        subsequently filed motion and, therefore STRIKES the Motion fo r Partia l
                        Summary Judgment (docket# 130 ) as duplicative. Defendant Rote may restate
                        any arguments raised in (docket# .LlJ1 ) not adequately set fo1t h in (docket#
                        149 ) in his Reply, due on November I, 20 16 (per docket# 159 ) . Ordered by
                        Magistrate Judge Youlee Yim You. (yyl) (Entered: 10/20/2016)
 11 /0 1/20 16    169   ORD ER:. Pretrial Order deadline stricken and to be reset, if necessa1y
                        following resolution of the pending motions. Ordered by Magistrate Judge
                        Youlee Yim You. (cib) (Entered : 11/01 /20 16)
 11/01/2016       170   Letter Regarding Motion To Withdraw 153 and Conditions of Granting of Said
                        Motion 15 3 Filed by Northwest Direct Marketing of Oregon, Inc., Northwest
                        Direct Marketing, Inc. , N01thwest Direct Marketing, Inc., Northwest Direct
                        Teleservices, Inc., Northwest Direct of Iowa, Inc. , Rote Enterprises, LLC
                        (Brandsness, Andrew) Modified docket text to reflect pdf document on
                        1.1/4/2016 (cib). (Entered: 11/01 /2016)
 11 /02/2016      ill   Reply to Amended Motion for Imposition of Sanctions 152 . (DOCT \I E'iT
                        RESTRICTED ACCORDI\IG TO PROTECTIVE ORDER) Filed by
                        Timothy C. Rote. (Rote, Timothy) (Entered: 11 /02/20 16)
 11/02/2016       172   Reply to Motion for Summa1y Judgment 149 . Filed by Timothy C. Rote.
                        (Rote, Timothy) (Entered: 11/02/2016)
 11/ 16/20 16     173   Scheduling Order: SETTING Oral Argument for Wednesday, 12/ 14/2016 at
                        I O:OOAM by telephone before Magistrate Judge Youlee Yim You regarding
                        Motion for Summa1y Judgment 149 and Amended Motion for Imposition of
                        Sanctions 152 . Ordered by Magistrate Judge Youlee Yim You. (pvh) (Entered:
                        11 / 16/2016)
 11 / 16/2016     174




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                         Clerk's Notice of Mailing Scheduling Order 173 to Northwest Direct
                         Teleservices, Inc. c/o Timothy C. Rote 24790 SW Big Fir Road West Linn, OR
                         97068. (pvh) (Entered: 11 / 16/20 16)
 11 /30/2016       175   ORDER: On October 18, 2016, this comt allowed withdrawal of the corporate
                         defendants' attorney only on the condition that the corporate defendants be
                         notified that they were not permitted to appear without counsel and that the
                         fai lure to appear with counsel may result in adverse action by the court (ECF#
                         159 ). This is the second time this comt has intervened and made clear that the
                         corporate defendants must retain counsel, as required by Local Rule 83-9(b)
                         (ECF # 111 ) (granting Plaintiffs Objection to Timothy Rote appearing on
                         behalf of corporate defendants (ECF # I 04 , and # 159 ). ORD ER: The court
                         will not consider arguments on any motion on behalf of an unrepresented
                         corporate entity. Instead, at the upcoming hearing on December 14, 2016, the
                         court will entertain motions for default judgment against umepresented
                         corporate entities. See Employee Painters Tr. v. Ethan Enters., Inc. , 480 F.3d
                         993, 998 (9th Cir 2007), citing United States v. High Country Broadcasting
                         Co., Inc. , 3 F.3d 1244, 1245 (9th Cir 1993) (per curium) . Ordered by
                         Magistrate Judge Youlee Yim You. (pvh) (Entered: 11/30/2016)
 11 /30/2016       176   Clerk's Notice of Mailing to Northwest Direct Teleservices, Inc. regarding
                         Order 175. (pvh) (Entered: 11 /30/2016)
 12/13/20 16       177   ORDER: Directing the Clerk of Comt to docket the letter received by email on
                         12/12/2016 from Defendant Timothy Rote to be part of the record. Ordered by
                         Magistrate Judge Youlee Yim You. (pvh) (Entered: 12/ 13/2016)
 12/13/2016        178   Letter to Magistrate Judge Youlee Yim You (sent by email on 12/ 12/2016).
                         Filed by Timothy C. Rote. (pvh) (Entered: 12/13/20 16)
 12/13/2016        179   Clerk's Notice of Mailing to Timothy Rote regarding Order 177 . (pvh)
                         (Entered: 12/ 13/2016)
 12/13/2016        180 Scheduling Order: STRIKING the 12/14/20 16 Oral Argument and
                       RESETTING Oral Argument for Thursday, 1/12/2017 at 10:00AM by
                       telephone before Magistrate Judge Youlee Yim You regarding Motion for
                       Summary Judgment 149 and Amended Motion for Imposition of Sanctions
                       152 . Ordered by Magistrate Judge Youlee Yim You. (pvh) (Entered:
                       12/ 13/2016)
 12/13/20 16       181   Clerk's Notice of Mailing to Northwest Direct Teleservices, lnc. c/o Timothy
                         C. Rote regarding Scheduling Order 180. (pvh) (Entered: 12/ 13/2016)
 01 /11/20 17      182   Scheduling Order by Magistrate Judge Youlee Yim You: STRIKING oral
                         argument from Judge You's calendar of Thursday, January 12, 2017. Oral
                         argument on defendant Rote's Motion for Summary Judg ment 149 and
                         Amended Motion for Imposition of Sanctions 152 will be reset to a mutually-
                         agreeable date and time. Ordered by Magistrate Judge Youlee Yim You. (yy l )
                         (Entered: 01 / 11 /2017)
 0 1/30/2017       183   Scheduling Order: SETTING Oral Argument for Thursday, 2/9/2017 at
                         1O:OOAM by telephone before Magistrate Judge Youlee Yim You regarding
                         Motion fo r Summary Judgment 149 and Amended Motion fo r Imposition of




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                         Sanctions 152 . Ordered by Magistrate Judge Youlee Yim You. (pvh) (Entered:
                         01/30/20 l 7)
 01 /30/2017       184   Clerk's Notice of Mailing Scheduli ng Order 183 to No11hwest Direct
                         Teleservices, Inc. c/o Timothy C. Rote 24790 SW Big Fir Road West Linn, OR
                         97068 regarding. (pvh) Modified on 1/30/20 17 (pvh). (Entered: 01/30/2017)
 02/09/2017        185   MINUTES of Proceedings: Oral Argument held by telephone on 2/9/2017
                         regarding Motion fo r Summary Judgment 149 and Motion fo r Imposition of
                         Sanctions 152 . Motions are taken under advisement as of2/9/20 17. ORDER -
                         Pretrial Order will be due 30 days after the final ruling on dispositive motions.
                         Linda L. Marshall present as counsel for plaintiff. Defendant Timothy C. Rote
                         appearing pro se. Com1 Reporter: Bonita Shumway. Magistrate Judge Youlee
                         Yim You presiding. (pvh) (Entered: 02/09/20 17)
 02/09/20 17       186   Clerk's Notice of Mailing to Timothy Rote regarding MINUTES of
                         Proceedings 185 . (pvh) (Entered: 02/09/20 17)
 02/09/20 17       137   Motion TO DEFER DEFAULT. Filed by Timothy C. Rote. (Rote, Timothy)
                         (Entered: 02/09/20 17)
 02/ 10/20 17      188   Motion for Entry of Default of Corporate Defendants . Filed by Max Zweizig.
                         (Marshall, Linda) (Entered: 02/10/20 17)
 02/10/20 17       189   Dec laration of Linda L. Marshall. Filed by Max Zweizig. (Related document
                         (s): Motion for defau lt 188 .) (Marshall, Linda) (Entered: 02/10/2017)
 02/13/20 17       190   ORDER: REFERRING Motion TO DEFER DEFAULT 137 and Motion for
                         Entry of Default of Corporate Defendants 188 to Judge Marco A. Hernandez
                         for his review and detennination. Ordered by Magistrate Judge Youlee Yim
                         You. (pvh) (Entered: 02/13/2017)
 02/ 13/2017       19 1 Clerk's Notice of Mai ling to Timothy Rote regarding ORDER 190. (pvh)
                        (Entered: 02/ 13/2017)
 02/20/20 17       192   Opinion & Order.The Court grants Plaintiffs Motion fo r Default of Corporate
                         Defendants 188 . In addition, the Court strikes Corporate Defendants Initial
                         Answer and Affinnative Defenses 42 and Corporate Defendants Answer and
                         Affirmative Defenses to the Second Amended Complaint ill . Defendant
                         Rotes Motion Requesting Deferring Decision to Grant Default Judgment
                         against Corporate Defendants 187 is denied. The Clerk is directed to issue an
                         entryof defau lt against Northwest Direct Teleservices, Inc.; No11hwest Direct
                         Marketing ofOregon,Inc.; No11hwest Direct Marketing, Inc.; N011hwest Direct
                         of Iowa, Inc. ; Rote Enterprises, LLC; and Northwest Direct Marketing, Inc.,
                         aka Northwest Direct Marketing (Delaware), Inc. Signed on 2/20/17 by Judge
                         Marco A. Hernandez. ( cib) (Entered: 02/23/20 17)
 02/20/20 [ 7      193   C lerk's Entry of Default as of 2/20/20 17 pursuant to Judge Marco A.
                         Hernandez's Opinion and Order 192 dated 2/20/20 17 to N011hwest Direct
                         Marketing of Oregon, Inc. , N011hwest Direct Marketing, Inc., Northwest Direct
                         Marketing, Inc., aka Northwest Direct Marketing (Delaware), Inc, Northwest
                         Direct Teleservices, Inc. , No11hwest Direct oflowa, Inc., Rote Enterprises,




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                         LLC. (pvh) Modified on 4/ 17/20 17 pursuant to Order 194 (pvh). (Entered:
                         03/2 3/201 7)

 04/17/20 17      194    Order for Administrative Correction of the Record pursuant to Fed. R. Civ. P.
                         60(a) regarding Clerk's Entry of Default# 193 . The Clerk is directed to make
                         the fo llowing administrative cotTections to the record; ORDER - C01Tecting the
                         Clerk's Entry of Default issued on February 20, 20 17, to include the alias of
                         one of the defaulted parties and amending that party's name from "Northwest
                         Direct Marketing, Inc." to "Northw es t Direct Marketing, Inc., aka Northwest
                         Direct Marketing (De laware), Inc.". (pvh) (Entered: 04/17/2017)

 04/19/2017       195    Findings & Recommendation : Rote's Motion for Summary Judgment (ECF #
                         .!..±2.) and A mended Motion for Sanctions (ECF # 152 ) should be DENI ED.
                         The Findings and Recommendations wi ll be refetTed to a district judge.
                         Objecti ons, if any, are due by 5/3/201 7. If no o bjections are filed, then the
                         Findings and Recommenda tions w ill go under advisement on that date. If
                         objections are filed, then a response is due within 14 days after being served
                         w ith a copy o f the obj ections. When the response is due or filed, whichever
                         date is earl ier, the Findings and Recom mendations w ill go under advisement.
                          Signed on 4/19/2 01 7 by Magistrate Judge Youlee Yim You. (pvh) (Entered:
                         04/1 9/201 7)
 04/ 19/2017       196   ORDER: REFERRING Findings & Recommendation 195 , Motion fo r
                         Summary Judgment 149 , and Amended Motio n fo r Sanctions 152 to Judge
                         Marco A Hernandez fo r his review and dete1mination. O rdered by Magistrate
                         Judge Youlee Yim You. (pvh) (Entered: 04/19/2017)
 04/1 9/20 17      197   ORDER: SEALING the Findings and Recommendation 195 until May 3,
                         20 17. Any RED ACTIONS required by the Stipulated Protective Order 47 are
                         due by May 3, 2 0 17, at which time the court w ill apply those redactions it
                         approves and unseal the Findings and Recommendation. Parties are to submit
                         any redactions by e-mail to Judge You's courtroom deputy at
                         Trish_Hunt@ ord.uscourts.gov. Ordered by Magistrate Judge Youlee Yim You.
                         (pv h) (Entered: 04/ 19/2017)
 05/0 1/2017       198   Objections to Amended Motio n for Imposition of Sanctions 152 , Motio n for
                         Summary Judgment 149 . Filed by T imothy C. Rote. (Rote, T imothy) (Entered :
                         05/0I /201 7)
 05/3 1/2017       199   ORDER: Unsealing F indings & Recommendation 195 as the redaction request
                         deadline has passed and no party requested redactions. O rdered by Magistrate
                         Judge Y oulee Y im You. (pvh) (Entered: 05/31/2017)
 06/ 13/201 7     :?.00 (STRICKEN) Motion to Vacate . (DOCU:\H;:NT RESTRICTED
                        ACCORDING TO PROTECTIVE ORDER) Filed by T imothy C . Rote.
                        (Rote, T imothy) Modified pursuant to Order 202 on 6/ 14/20 I 7 (pvh). (Entered:
                        06/13/20 17)
 06/ 13/20 17     20 1 (STRICKEN) Declaratio n of Ti mothy Rote. (OOCU,1E:\T RESTRICTED
                       ACCORDll'\G TO PROTECTIVE ORDER) Filed by Timothy C. Rote.
                       (Re lated documen t(s): Motion to Vacate '.200 .) (Attachments: # l Exhi bi t 1, # ~
                       Exh ibit, # J Exhibit, # :! Exhibit, # ~ Ex hibit, # Q Exhibi t, # 2 Exhibit, # ~




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                        Exhibit, # .2 Exhibit, # lQ Exhibit, # l..l Exhibit, # 12 Exhibit, # 13 Exhibit, #
                        H. Exhibit, # .12 Exhibit) (Rote, Timothy) Modified on 6/14/20 17 pursuant to
                        Order 202 (pvh). (Entered: 06/ 13/2017)
 06/ 13/2 017     202   ORDER: Defendants' Motion for Relief From Judgment (ECF # 200 and
                        Declaration filed in suppo1t 20 1 asks this court to vacate the j udgment in
                        Northwest Direct Teleservices, Inc. v. Max Zweizig, United States District
                        Court for the District of Oregon Case No. 3: l l-CV-00910-PK. As it seeks
                        relief from judgment entered in another case, the motion and declaration are
                        both STRICKEN as improperly filed in this case, without prejudice to filing
                        the motion in the correct case. Ordered by Magistrate Judge Youlee Yim You.
                        (yy 1) Modified on 6/14/2017 (pvh). (Entered: 06/13/2017)
 06/ 15/2017      203   ORDER: The Court adopts in part and declines to adopt in part Magistrate
                        Judge You's Findings and Recommendations 195 . Accordingly, Defendant
                        Rote's Motion for Summary Judgment 149 and Amended Motion for Sanctions
                        152 are denied, except to the ex tent Mr. Rote argues that P laintiff may not
                        recover damages for expenses incurred in the prior arbitration proceeding. IT
                        IS SO ORDERED. Signed on 6/15/2017 by Judge Marco A. Hernandez. (pvh)
                        (Entered: 06/15/2017)
 06/ 19/20 17     204   Notice of Case Reassig mnent: This case has been reassigned from Magistrate
                        Judge Youlee Yim You to Judge Marco A. Hernandez. (eo) (Entered:
                        06/19/2017)
 06/ 19/2017      205   Scheduling Order by Judge Marco A. Hernandez. The Court will set f01th a
                        trial schedule in this case after the Court resolves the parties' dispositive
                        motions in Zweizig v. NW Direct Te/eservices, Inc., et al, 3: l 5-cv-0240 I-HZ.
                        Therefore, the Comt sets a Rule 16 in this case for 9/11 /2017 at 3 :OOPM. T he
                        Court directs the parties to submit a jointly proposed schedule to the courtroom
                        deputy no later than Noon the day before the hearing. The parties shall call into
                        the comt's conference line (the phone number provided via separate email) five
                        minutes prior to the scheduled conference time. Ordered by Judge Marco A.
                        Hernandez. (jp) (Entered: 06/ 19/20 I 7)
 09/11 /2017      206   MINUTES of Proceedings: Rule 16 Telephone Conference held. The Court
                        set the following schedule: A Pretrial Conference is set for l/3/20 18 at
                        09:00AM in Po1tland Courtroom l4B before Judge Marco A. Hernandez. This
                        will also be the date of the pretrial conference in the related case, Zweizig v.
                        Northwest Direct Teleservices, 3: l 5-cv-2401. Counsel shall refer to the Trial
                        Management Order for pretrial submission timelines. The 2-3 day Jury Trial in
                        this case is set for 1/9/20 18 at 09:00AM in P01tland Courtroom l 4B before
                        Judge Marco A. Hernandez. Linda L. Marshall present as counsel for plaintiff
                        (s). Timothy Rote, appeared Pro Se. Court Reporter: Nancy Walker. Judge
                        Marco A. Hernandez presiding. (jp) (Entered: 09/ 12/20 17)
 10/04/2017       207 Jury Trial Managem ent Order. Signed on I 0/4/2017 by Judge Marco A.
                        Hernandez. (jp) (Entered : 10/04/2017)
 1 1/14/20 17     208   Scheduling Order by Judge Marco A. Hernandez. A Telephone Status
                        Conference is set for 1/17/2017 at O1:30PM before Judge Marco A. Hernandez.
                        The paities shall call into the cowt's conference line (the phone number




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                          provided via separate email) fi ve minutes prior to the scheduled conference
                          time. O rdered by Judge Marco A H ernandez. (jp) (Entered: l l /14/20 17)
  11/17/20 17      209 lndiviuual Pa rty Consent to .Jurisdiction by U.S. i'vlagislratc Judge. (Entered:
                          11/17/20 17)
  11 /17/20 17     2 12   MINUTES of Proceedings: Telep honic Status Conference held. Status of case
                          discussed as stated on the record. The Court discussed consenting to a
                          magistrate judge for trial. The Clerk is instructed to email consent fom1s to the
                          parties. The Court continued the Telephone Status Conference to 11 /21 /2017 at
                          09:00AM before Judge Marco A. Hernandez. Linda L. Marshall present as
                          counsel for plaintiff(s). Timothy Rote, Pro Se present as counsel for d efendant
                          (s). Court Reporter: Bonita Shumway. Judge Marco A. H ernandez presiding .
                          (jp) (Entered: 11/20/2017)
  11/20/201 7      2 I0   lnu ividual Pa rt y Consent LO Jurisd iction by U.S. Magistr(1Lc Judge by
                          Defendant. (jp) (Entered: 11/20/20 17)
  11/20/20 17      2 11   ORDER: Counsel for Plaintiff Zweizig and Defendant Rote have fil ed
                          Consen ts to Magistrate Judge Jurisdiction 209 a nd 2 10 . This case w ill be
                          transferred to a magistrate judge. The Pretrial Conference scheduled for
                          1/3/2018 at 9:00AM and the 2 -3 day T rial scheduled for 1/9/2018 are
                          CANCELED . Ordered by Judge Marco A. Hernandez. (jp) (Entered:
                          11 /20/2017)
  11/20/2017       213    Scheduling Order by Judge Marco A. Hernandez. As consents have been
                          fil ed in this case, the Telephone Status Confere nce set for 11 /2 1/2017 at
                          9:00AM is CANCELED. Ordered by Judge Marco A. Hernandez. (jp)
                          (Entered: 11/20/2017)
  11 /21/20 17     214 Notice of Case Reassignment: This case has been reassigned from Judge
                          Marco A. He rnandez to M agistrate Judge Paul Papak. (eo) (En tered:
                          11/21/2017)
  11 /2 1/2017     215 Notice of Case Reassignment: This case has been reassigned from Magistrate
                          Judge Paul Papak to Magistrate Judge Stacie F. Becke1man. (eo) (Entered:
                          11 /2 1/2017)
  11 /27/20 17     2 17   ORDER striking the "Full Consent" designation (ECF No. 2 16 ), because the
                          defendants in default have not consented to the jurisdiction of a U.S.
                          Magistrate Judge, and reassigning the case back to Judge Marco A. Hernandez.
                          Ordered by Magistrate Judge Stacie F. Beckern1an on 11/27/201 7. (gw)
                          (Entered: 11 /27/20 17)
  11 /27/20 17     218    Clerk's Notice of Mailing to No1thwest Direct Teleserv ices, Inc., Northwest
                          Direct Marketing of Oregon, Inc., No1thwest Di rect Marketing , Inc., Northwest
                          Direct of Iowa, Inc., Northwest Direct Marketing, Inc. (Delaware), a nd Rote
                          Enterprises, LLC , c/o Timothy C. Rote, of Order 217 . (gw) (Entered:
                          11 /27/20 17)
  11 /28/2017      219    Notice of Case Reassignment: This case has been reassigned from Magistrate
                          Judge Stacie F. Beckennan to Judge Marco A. He rna ndez. (eo) (Entered:
                          I I /28/20 17)




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 11/29/20 17      220   Scheduling Order by Judge Marco A. Hernandez. A Rule 16 Telephone
                        Conference is set for 12/5/2017 at 09:30AM before Judge Marco A.
                        Hernandez. The parties shall call into the court's conference line (the phone
                        number provided via separate email) five minutes prior to the scheduled
                        conference time. The Court directs the parties to file a j ointly proposed
                        schedule no later than Noon on 12/4/2017. Ordered by Judge Marco A.
                        Hernandez. UP) (Entered: 11/29/201 7)
 12/04/2017       221   Proposed Joint Case Management Schedule . Filed by Max Zweizig. (Marshall,
                        Linda) (Entered: 12/04/20 17)
 12/05/2017       222   MINUTES of Proceedings: Rule 16 Telephone Conference held. The Court
                        set the following case schedule: The Pretrial Conference is set for 4/30/2018 at
                        1:30PM in Portland Courtroom 14B before Judge Marco A. Hernandez. A
                        3-day Jury Trial is set for 5/7/2018 at 09:00AM in Portland Courtroom 148
                        before Judge Marco A. Hernandez. Counsel shall use the Jury Trial
                        Management Order [ECF 207] as a guide to calculate their pretrial submission
                        deadlines given the pretrial conference date. Linda L. Marshall present as
                        counsel for plaintiff(s). Timothy Rote, Pro Se present as counsel fo r defendant
                        (s). Court Reporter: Nancy Walker. Judge Marco A. Hernandez presiding. UP)
                        (Entered: 12/05/20 17)
 03/06/2018       223   Supplemental Jury Trial Management Order. To facilitate the use of the
                        Jury Evidence Recording System (JERS) during trial in this action: IT IS
                        HEREBY ORDERED that no later than 4/30/20 18 at OI :30PM, the parties
                        shall submit their trial exhibits to the courtroom deputy in electronic fo nn
                        pursuant to the instructions in the Submission Requirements for Electronic
                        Trial Exhibits document attached hereto. The patties shall also submit paper
                        judges copies and originals as previously ordered. Ordered by Judge Marco A.
                        Hernandez. UP) (Entered: 03/06/20 18)
 03/07/201 8      224   Scheduling Order by Judge Marco A. Hernandez. Due to a conflict in the
                        Court's schedule, the Pretrial Confe rence set for 4/30/2018 at 1:30PM is
                        RESET to 4/20/20 18 at O1:30PM in Portland Courtroom 148 before Judge
                        Marco A. Hernandez. Counsel shall refer to the Revised Trial Management
                        Order (to follow) for pretrial submission timelines. The deadline for submitting
                        the exhibits in electronic "JERS" format is rest to 4/20/201 8 at I :30PM.
                        Ordered by Judge Marco A. Hernandez. UP) (Entered: 03/07/2018)
 03/07/201 8      225   Amended Trial Management Order. This Order supersedes Trial
                        Management Order 207 . Signed on 3/7/20 18 by Judge Marco A. Hernandez.
                        Up) (Entered: 03/07/2018)
 03/20/20 18      226   Unopposed Motion for Extension of Time.for Submission o.lPretrial
                        Materials. Fi led by Max Zweizig. (Marshall, Linda) (Entered: 03/20/201 8)
 03/20/201 8      227   Declaration of Linda L. Marshall Submitted in Support ofPlaintiff's
                        Unopposed Motion.for 2-day Extension for Initial Subm ission ol Pretrial
                        Materials. Filed by Max Zweizig. (Related document(s): Motion for Extensio n
                        of Time 226 .) (Marshall , Linda) (Entered: 03/20/2018)
 03/21 /20 18     228




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                            ORDER: Finding as Moot M otion for Extension of Time 226 . First Wave
                            Pretrial Documents are due by 3/23/2018. Ordered by Judge Marco A.
                            Hernandez. Up) (Entered: 03 /21 /2018)
 03/23/2018       229 Trial Memorandum . Filed by Max Zweizig. (DOCC\lEl\T Rf.STRICTED
                            ACCORDING TO PROTECTIVE ORDER) (Marshall , Linda) (Entered:
                            03/23/2018)
 03/23/2018       230       Witness Statement . F iled by Max Zweizig. (Marshall, Linda) (Entered:
                            03/23/2018)
 03/23/2018       23 1 Exhibit List. Filed by Max Z weizig. (DOCC\1E.NT RESTRICTED
                       ACCORDING TO PROTECTI VE ORDE R) (Marshall, Linda) (Entered:
                       03/23/2018)
 03/23/20 18      -~'"-
                  ')"')
                            Trial Memorandum. Filed by Timothy C. Rote. (DOCUME~T
                            RESTRICTED ACCORD I NG TO PROTECTIVE ORDER) (Rote,
                            Timothy) (Entered: 03/23/2018)
                  ') ')')
 03/23/2018       L.).)     Exhibit List . Filed by T imothy C. Rote. (Rote, Timothy) (Entered:
                            03/23/20 18)
 03/23/20 18      234       Witness List . Filed by Timothy C. Rote. (Rote, Timothy) (Entered:
                            03/23/201 8)
 03/30/2018       235       Amended Exhibit List . F iled by Max Zweizig. (Marshall, Linda) (Entered:
                            03/30/201 8)
 03/30/20 18      236       Proposed Jury Verdict Form. Filed by Max Zweizig. (Marshall, Linda)
                            (Entered: 03/30/2018)
 03/30/2018       237       Objection to Trial Exhibit (Motions in Liminie) . Filed by Max Zweizig.
                            (Marshall, Linda) (Entered: 03/30/201 8)
 03/30/20 18      238 Statement of Damages. Filed by Max Zweizig. (Marshall, Linda) (Entered:
                            03/30/201 8)
 04/01 /2018      239 Motion To Take Judicial Notice. Filed by Timothy C. Rote. (Attachments: # l
                            Exhibit, # J Exhibit, # } Exhibit, #   :1 Exhibit) (Rote, Timothy) (Entered:
                            04/0 I/2018)
 04/02/20 18      240       Scheduling Order by Judge Marco A. Hernandez. A Telephone Conference
                            is set for 4/2/2018 at I O:OOAM before Judge Marco A. Hernandez. The parties
                            shall call into the court's conference line (the phone number provided via
                            separate email). Ordered by Judge Marco A. Hernandez. UP) (Entered:
                            04/02/201 8)
 04/02/201 8      241       MINUTES of Proceedings: Telephone Conference held. The Court d iscussed
                            Plaintiff's counse l's concerns as discussed on the record. Linda L. Marshall
                            present as counsel for plaintiff(s). Timothy Rote, appearing pro se. Court
                            Reporter: Nancy Walker. Judge Marco A. Hernandez presiding. Up) (Entered:
                            04/02/20 18)
 04/03/201 8      242 Proposed Jury Verdict Form. Filed by Timothy C. Rote. (Rote, Timothy)
                            (Entered: 04/03/2018)




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 04/03/20 18     243   Motion for Stay ofLitigation. Filed by Timothy C. Ro te. (Attachments: #      l
                       Exhibit, # 1, Exhibit, # J Exhibit, # :1 Exhibit) (Rote, Timothy) (Entered:
                       04/03/2018)
 04/04/2018      244   Memorandum in Opposition To Plaintiff's Motion in limine. Fi led by Timothy
                       C. Rote. (Rote, Timothy) (Entered: 04/04/2018)
 04/05/2018      245   Motion for Leave To File Summary Judgment. Filed by Timothy C. Rote.
                       (Rote, Timothy) (Entered: 04/05/20 18)
 04/05/201 8     246   Objection to Tri al Exhibi t . Filed by Timothy C. Rote. (Rote, Timothy)
                       (Entered : 04/05/20 18)
 04/05/20 18     247   Motion in limine . Filed by Timothy C. Rote. (Rote, Timothy) (Entered:
                       04/05/2018)
 04/06/2018      24X   Response to Motion in limine 247 . Filed by Max Zweizig. (Marshall, Linda)
                       (Entered: 04/06/20 18)
 04/06/201 8     249 STRICKEN PER ORDER 253: Objeetion to Trial Exhibit . Filed b)' Ma>,
                     Zweizig. (Marshall, Linda) Modified on 4/ 11/2018 to strike Up). (Entered:
                     04/06/2018)
 04/06/201 8     250   Witness List . Filed by Max Zweizig. (Marshall, Linda) (Entered: 04/06/2018)
 04/06/201 8     251   Exhibit List Rebuttal Exhibits . Filed by Timothy C. Rote. (Rote, T imothy)
                       (Entered: 04/06/20 18)
 04/06/2018      252 Objection to Trial Exhibit (Response to Defendant's) . Filed by Max Zweizig.
                       (Marshall, Linda) (Entered : 04/06/2018)
 04/ 11/201 8    253   Order for Administrative CotTection of the Record pursuant to Fed. R. Civ. P.
                       60(a). A C lerical error has been discovered in the case record. The Clerk is
                       directed to make the following administrative conections to the record and, if
                       necessary, regenerate the Notice of Electronic Filing to all parties: ECF 249 is
                       a duplicate of ECF 250 . The C lerk is directed to instruct Plaintiff to refile the
                       intended document (wh ich is now ECF 252 ) and strike ECF 249 . Up)
                       (Entered: 04/11 /20 18)
 04/ 13/2018     254   O bjection to Trial Exhibit . Filed by Max Zweizig. (Marshall, Linda) (Entered:
                       04/ 13/2018)
 04/16/20 18     255   Joint Proposed Ju1y Instructions . Filed by Timothy C. Rote. (Rote, Timothy)
                       (Entered: 04/ 16/2018)
 04/ 17/20 18    256   Supplement Defendant Jury Instruction. Filed by Timothy C. Rote. (Re lated
                       document(s): Jury instructions - Proposed 255 .) (Rote, Timothy) (Entered:
                       04/ 17/201 8)
 04/ 17/20 18    257   STRICKEN PER ECF #260 Amended Claim Cew1tacleim. Filed by
                       Timothy C. Rote. (Rote, Timotl1y) Modified on 4/20/2018 to strike UP).
                       (Entered: 04/ 17/2018)
 04/20/2018      25X   Amended Trial Memorandum . F iled by Timothy C. Rote. (Rote, Timothy)
                       (Entered: 04/20/20 18)




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 04/20/2018        259   STRICKEN PER ECF #260 £eeoBd Claim emcnried ceunterc!eim. Filed by
                         Timothy C. Rote. (Rote, Timothy) Modified on 4/20/20 18 to strike (jp).
                         (Entered: 04/20/201 8)
 04/20/2018        260   MINUTES of Proceedings : Pretrial Conference held. As stated on the record:
                         The Comt reserved ru ling on motions in limine and objections to exhibits.
                         Because the Comt has determined that Plaintiff cannot bring a civil conspiracy
                         claim against Defendant Rote, the CoUit wi ll conduct a bench trial on Plaintiffs
                         remaining claims, which the parties agree are to be tried to the Court. The
                         parties are instructed to submit Proposed Findings of Fact and Conclusions of
                         Law by the close of trial. ORDER: With trial set to commence on May 7, 2018,
                         the Court strikes D efendant Rotes Amended Counterclaims 259 257 as
                         untimely. Linda L. Marshall present as counsel for p laintiff(s). Timothy Rote,
                         Pro Se present as counsel for defendant(s). Court Reporter: Nancy Walker.
                         Judge Marco A. H ernandez presiding. (jp) (Entered: 04/20/201 8)
 04/24/2018        261   ORDER Defe ndant Rote's Motion to Take Judicial Notice 239 , Motion for
                         Stay of Litigation 243 , and Motion for Leave to File Summary Judg ment 245
                         are DEN IED. Ordered by Judge Marco A. He rnandez. (jp) (Entered:
                         04/24/2018)
 05/0 1/20 18      262   Motion to Test{fy Remotely by Video Co,?ference . Oral Argument
                         requested.Expedited Hearing requested. Fi led by Max Zweizig. (Marshall,
                         Linda) (Entered: 05/0 1/2018)
 05/01 /2018       263   Declaration of Max Zweizig in Support of Motion to Test{fy by Video
                         Conference. Filed by Max Zweizig. (Related document(s): Motion -
                         Miscellaneous 262 .) (Attachments:# l Exhibit I) (Marshall, Linda) (Entered:
                         05/01/2018)
 05/01 /2018       264   Declaration of Linda L. Marshall in Support of Motion to Test(fy by Video
                         Conference. Fi led by Max Zweizig. (Related document(s): M otion -
                         Miscellaneous 262 .) (Attachments:# l Exhibit I) (Marshall , Linda) (En tered:
                         05/01/20 18)
 05/01/2018        265   STRICK.EN - DUPLICATIVE TO 264 Deelaration of Linda L. Marshall in
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                         (Related doe1:1ment(s): Motion Miseellaneous 262 .) (Attaehments: # l
                         EJchibit I) (Marshall , Linda). Modified on 5/4/2018 to strike (jp ). (Entered:
                         05/01 /2018)
 05/01 /20 18     266 Response in Opposition to Motion to Testify Remotely by Video CoJ?ference
                         262 . (DOCU:VIENT RESTRICTED ACCORDING TO PROTECTIVE
                         ORDER) Filed by Timothy C. Rote. (Rote, Timothy) (Entered: 05/01 /2018)
 05/01 /2018      267    Dec laration ofTimo thy Rote . (DOCU:VIEl\T R ESTRICTED ACCO RDIN G
                         TO PROTECTIVE ORDER) Filed by Timothy C. Rote. (Related document
                         (s): Response in Opposition to Motion 266 .) (Attachme nts: # l Exhibit,# l
                         Exhibit, # l. Exhibit, # :!. Exhibit) (Rote, Timothy) (Entered: 05/0I /201 8)
 05/02/2018       268    ORDER: Plaintiffs Motion to Testify Re motely by Video Conference 262 is
                         DENIED. Ordered by Judge Marco A. Hernandez. (jp) (Entered: 05/02/20 18)




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 05/07/201 8      269   MINUTES of Proceedings: First Day of Court Trial. Plaintiffs opening
                        statement given. Defendants' opening statement given. Witnesses sworn a nd
                        evidence addu ced. Both sides rest. ORDER: Court Trial continued to 5/8/2018
                        at 09:00AM in Portland Courtroom 14B before Judge Marco A. Hernandez.
                        The parties shall have until close of bus iness 5/8/ 2018 to submit proposed
                        Findings of Fact and Conclusions of Law. Linda L. Marshall present as counsel
                        for plaintiff. Defendant Timothy Rote appearing Pro Se. Court Reporter: Nancy
                        Walker. Judge Marco A. Herna ndez presiding. UP) (Entered : 05/07/2018)
 05/0 8/2018      270   MINUTES of Proceedings: Court Trial - Day 2. C los ing arguments g iven.
                        The Court took the matter under advisement. C lerk's list of exhibits and
                        witnesses to follow. Linda L. Marshall present as counsel for p laintiff.
                        Defendant Timothy Rote appearing Pro Se. Court Reporter: Nancy Walker.
                        Judge Marco A. Hernandez pres iding. UP) (Entered: 05/08/2018)
 05/08/2018       27 1 Proposed Findings of Fact. Filed by Timothy C. Rote. (Rote, Timothy)
                       (Entered: 05/08/2018)
 05/0 8/2018      272   Proposed Findings of Fact and Conclusions ofLaw. (DOCU.\ IE!\T
                        REST RI CTED ACCORDI NG TO PROTECTI V E O RDE R) Filed by Max
                        Zweizig. (Marshall, Linda) (Entered: 05/08/2018)
 05/14/2018       ?.7 3 STRICKEN PER ECF #274 RespeHse . Filed by TiR'lotl:iy C. Rete. (Rete,
                        TiR'l.otl:i~•j Modified on 5/ 17/2018 to stricke UP). (Entered: 05/ 14/ 201 8)
 05/.17/20 18     274   ORDER: The Court STRIKES Defendant's Response 273 to Plaintiffs
                        Proposed Findings of Fact and Conclusions of Law as no response is pern1itted
                        to this filing. Ordered by Judge Marco A. H erna ndez. Up) (Entered:
                        05/ 17/ 2018)

 05/1 7/2018      275 Motion for Leave. Filed by Timothy C. Rote. (Rote, Timothy) (Entered:
                        05/ 17/2018)

 05/ 18/201 8     276   Motion for C larification. Filed by Timothy C. Rote. (Rote, Timothy) (Entered :
                        05/ 18/2018)
 05/ 25/2018      277   ORDER: Defendant's Motion for Leave to Amend Proposed Findings of Fact
                        and Conclusions of Law 2 75 is GRANTED. D efendant shall file his amended
                        filing within fourteen days of this O rder. Ordered by Judge Marco A .
                        Hernandez. Up) (Entered: 05/ 25/20 18)
 06/05/2018       278   Amended Proposed Findings of Fact . Fi led by Timothy C. Rote. (Rote,
                        Timothy) (Entered: 06/05/ 20 18)
 06/06/2018       279   Memorandum in Opposition to Motion for C larification ?.7b . Filed by All
                        Plaintiffs. (Marshall, Linda) (Entered: 06/06/2018)
 06/07/201 8      280 Reply to Motion for C larification 276 . Filed by Timothy C. Rote. (Rote,
                        Timothy) (Entered: 06/07/ 2018)
 06/0 7/20 18     2RJ   Declaration of Timoth y Rote . Filed by Timothy C. Rote. (Related d oc ument
                        (s): Reply to Motion 280 .) (Attachments: # l Ex hibit M cAnn T estimony)
                        (Rote, Timothy) (Entered: 06/07/ 2018)
 07/25/2018       282




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                            Findings of Fact and Conclusions of Law. The Court finds in favor of
                            Defendant Rote on all of Plaintiffs claims against him. Because it would be
                            inconsistent to enter a j udgment in favor of Plaintiff on the same claims against
                            the remaining defaulted Defendants, the Court declines to do so. Judgment,
                            therefore, shall be entered in favor of Defendants on all claims. Signed on
                            7/25/20 18 by Judge Marco A. Hernandez. Up) (Entered: 07/25/2018)
 07/25/2018      28.3       Judgment. Judgment is entered in favor of all Defendants and Plaintiffs
                            claims are dismissed w ith prejudice. Signed on 7/25/2018 by Judge Marco A.
                            H ernandez. UP) (Entered: 07/25/2018)




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